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     1               UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF OHIO
     2                      EASTERN DIVISION
     3
            IN RE: NATIONAL              )
     4      PRESCRIPTION                 )   MDL No. 2804
            OPIATE LITIGATION            )
     5      _____________________        )   Case No.
                                         )   1:17-MD-2804
     6                                   )
            THIS DOCUMENT RELATES        )   Hon. Dan A.
     7      TO ALL CASES                 )   Polster
     8
                       TUESDAY, JANUARY 8, 2019
     9
             HIGHLY CONFIDENTIAL – SUBJECT TO FURTHER
   10                   CONFIDENTIALITY REVIEW
   11                               – – –
   12                  Videotaped deposition of Ginger
   13      Collier, held at the offices of STINSON
   14      LEONARD STREET LLP, 7700 Forsyth Boulevard,
   15      Suite 1000, St. Louis, Missouri, commencing
   16      at 9:10 a.m., on the above date, before
   17      Carrie A. Campbell, Registered Diplomate
   18      Reporterand Certified Realtime Reporter.
   19
   20
   21
   22                               – – –
   23
                      GOLKOW LITIGATION SERVICES
   24             877.370.3377 ph | 917.591.5672 fax
                             deps@golkow.com
   25

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    1       APPEARANCES:                               1      ARNOLD & PORTER
    2
                                                              BY: DAVID HIBEY                          09:11:42
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    8                                                  6
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                                                       7
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   18
   19   COVINGTON & BURLING LLP                       18
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   21   Washington, DC 20001-4956
        (202) 662-6000                                22
   22   Counsel for McKesson Corporation              23
   23
                                                      24
   24
   25                                                 25

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   13      CASSANDRA A. LARUSSA                                      MNK-T1_0007277847
           Cassandra.LaRussa@ropesgray.com            16
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                                                    Page 10                                                             Page 12
    1        VIDEOGRAPHER: We are now on              08:47:29    1      reporter is Carrie Campbell, and she   09:12:31
    2   the record. My name is James Arndt.       09:10:34        2      will now swear in the witness.       09:12:33
    3   I'm a videographer for Golkow           09:10:37          3
    4   Litigation Services.               09:10:39               4              GINGER COLLIER,
    5        Today's date is January 8,      09:10:39             5   of lawful age, having been first duly sworn
    6   2019, and the time is 9:10 a m.        09:10:42           6   to tell the truth, the whole truth and
    7        This video deposition is being 09:10:44              7   nothing but the truth, deposes and says on
    8   held in St. Louis, Missouri, in the    09:10:46           8   behalf of the Plaintiffs, as follows:
    9   matter of the National Prescription     09:10:47          9                                    09:12:39
   10   Opiate Litigation for the United       09:10:49          10             DIRECT EXAMINATION                      09:12:39
   11   States District Court for the Northern 09:10:52          11   QUESTIONS BY MR. GOTTO:                             09:12:40
   12   District of Ohio, Eastern Division.     09:10:54         12        Q. Good morning, Ms. Collier.             09:12:42
   13        The deponent is Ginger Collier. 09:10:56            13        A. Good morning.                     09:12:43
   14        Will counsel please identify     09:10:58           14        Q. How are you?                     09:12:43
   15   themselves.                      09:10:59                15        A. Very good, thank you.               09:12:44
   16        MR. GOTTO: Gary Gotto, Keller 09:11:00              16        Q. Great.                       09:12:45
   17   Rohrback, LLP, for the plaintiffs.      09:11:03         17             As you just heard, my name is       09:12:45
   18        MR. VERDUGO: Gabe Verdugo,              09:11:07    18   Gary Gotto. I'm one of the lawyers              09:12:47
   19   Keller Rohrback, LLP, also for the       09:11:07        19   representing the plaintiffs in this         09:12:49
   20   plaintiffs.                   09:11:09                   20   litigation.                         09:12:50
   21        MR. BENSON: Fred Benson,             09:11:11       21             Could you please state your       09:12:52
   22   Covington Burling, LLP, for McKesson         09:11:12    22   business address, please?                  09:12:56
   23   Corporation.                     09:11:15                23        A. My business address? I do not 09:12:57
   24        MS. HARMON: Sarah Harmon with 09:11:17              24   have a business address. My home address?           09:13:00
   25   Armstrong Teasdale for Cardinal          09:11:17        25        Q. Sure, home address is fine.          09:13:02

                                                    Page 11                                                             Page 13
    1   Health.                      09:11:19                     1       A.    Okay.
    2        MS. DURFEE: Laura Jane Durfee 09:11:20                                                                09:13:07
    3   with Jones Day for Walmart.            09:11:20           3       Q. Okay. And are you currently          09:13:11
    4        MS. LARUSSA: Cassandra              09:11:20         4   employed?                           09:13:11
    5   Larussa, Ropes & Gray, for            09:11:24            5       A. Yes, I am.                   09:13:12
    6   Mallinckrodt, LLC, SpecGx and Ginger        09:11:25      6       Q. By whom?                       09:13:12
    7   Collier.                     09:11:28                     7       A. Hisun Pharmaceutical.              09:13:13
    8        MR. O'CONNOR: Andrew O'Connor 09:11:28               8       Q. Okay. And what's your position 09:13:15
    9   from Ropes & Gray for Mallinckrodt,       09:11:30        9   at Hisun?                         09:13:18
   10   LLC, SpecGx and Ginger Collier.          09:11:34        10       A. Vice president, national          09:13:19
   11        VIDEOGRAPHER: Will counsel on 09:11:34              11   accounts.                        09:13:21
   12   the phone please identify themselves? 09:11:35           12       Q. Okay. And when did you join           09:13:22
   13        MR. HIBEY: David Hibey of           09:11:42        13   Hisun?                           09:13:24
   14   Arnold & Porter on behalf of the Endo 09:11:43           14       A. In 2017.                   09:13:25
   15   defendants.                    09:11:45                  15       Q. Where is Hisun located?            09:13:28
   16        MS. WINSTON: Sylvia Winston           09:11:45      16       A. New Jersey.                   09:13:29
   17   Nichols on behalf of AmerisourceBergen 09:11:49          17       Q. Where in New Jersey?               09:13:30
   18   Drug Corporation.                 09:11:49               18       A. Bridgewater. Sorry, we just         09:13:31
   19        MS. MUSKETT: Eileen Muskett of 09:11:52             19   moved from Princeton, so I'm still thinking 09:13:35
   20   Fox Rothschild on behalf of Validus.     09:12:03        20   Princeton.                        09:13:41
   21        MS. WINSTON: Yes, this is          09:12:20         21       Q. Okay. Great.                  09:13:41
   22   Sylvia Winston.                  09:12:22                22           Have you ever given a           09:13:42
   23        MS. HERZFELD: Tricia Herzfeld 09:12:25              23   deposition before?                    09:13:43
   24   on behalf of the Tennessee plaintiffs. 09:12:26          24       A. No.                      09:13:44
   25        VIDEOGRAPHER: The court               09:12:31      25       Q. Okay. Have you ever testified 09:13:45

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    1 under oath in any setting?                  09:13:46                1 embellishment. If that's the case, please     09:15:46
    2        A. Not that I can recall.          09:13:47                  2   let me know, and we'll be happy to          09:15:49
    3        Q. Okay. And you understand              09:13:51            3   accommodate that as well.                09:15:50
    4   you're under oath today?                  09:13:52                4            Okay?                    09:15:52
    5        A. Yes.                        09:13:53                      5       A. Okay.                       09:15:52
    6        Q. Okay. And I'm sure your             09:13:54              6       Q. Are you taking any medications 09:15:53
    7   counsel has given you a preview of how           09:13:55         7   that could impair your memory or ability to 09:15:54
    8   depositions proceed generally, but I'll just 09:13:59             8   testify accurately here today?           09:15:57
    9   give you a few ground rules.                09:14:01              9       A. No.                       09:15:58
   10            I will do my best not to talk 09:14:03                  10       Q. Great.                     09:16:00
   11   over you, and if you could reciprocate that, 09:14:06            11            And you're represented by       09:16:00
   12   that'll make for the court reporter to be     09:14:10           12   counsel here today, correct?             09:16:03
   13   able to take down a good, clean transcript so 09:14:11           13       A. Yes, I am.                   09:16:05
   14   folks can understand what we're saying here 09:14:14             14       Q. And are you paying your counsel 09:16:05
   15   today if they ever choose to look at it down 09:14:16            15   for today's representation?             09:16:08
   16   the road.                           09:14:19                     16       A. No, I am not.                 09:16:09
   17            I will try to make my questions 09:14:19                17       Q. Okay. Do you know who is             09:16:10
   18   as clear as I can. If they're in any way     09:14:21            18   paying them?                         09:16:12
   19   unclear to you, please let me know, and I'll 09:14:26            19       A. I assume Mallinckrodt.            09:16:12
   20   try to clarify them.                   09:14:29                  20       Q. Okay. Let's go ahead and           09:16:14
   21            If you -- you know, if you       09:14:30               21   mark...                          09:16:22
   22   answer a question, I'll assume you understand 09:14:30           22            (Mallinckrodt-Collier Exhibit 1 09:16:22
   23   it and thought it was reasonably clear to      09:14:32          23       marked for identification.)         09:16:29
   24   you.                               09:14:35                      24   QUESTIONS BY MR. GOTTO:                          09:16:29
   25            Is that fair?              09:14:35                     25       Q. We've marked as Exhibit 1 the        09:16:41

                                                            Page 15                                                           Page 17
    1        A. Yes.                         09:14:35                     1 notice we served for today's deposition.       09:16:47
    2        Q. If you need a break at any          09:14:36              2            Have you seen this document       09:16:52
    3   point, just let me know, and we'll find a       09:14:39          3 before?                            09:16:52
    4   convenient breaking spot. We will take           09:14:42         4        A. Yes, I did.                09:16:52
    5   regular breaks, approximately every hour or 09:14:44              5        Q. Okay. And when do you recall 09:16:53
    6   so, in any event.                      09:14:46                   6   seeing it for the first time?          09:16:54
    7             The court reporter is here, of 09:14:47                 7        A. Yesterday.                  09:16:54
    8   course, making a transcript. We also have         09:14:53        8        Q. Okay. When did you first          09:16:55
    9   this on video. There are various purposes in 09:14:56             9   become aware that there was a request to take 09:16:56
   10   the litigation that your testimony could be 09:14:59             10   your deposition in this matter?           09:16:58
   11   used for in the future. And if you have         09:15:00         11        A. About two months ago.             09:16:59
   12   any -- any questions regarding procedure at 09:15:07             12        Q. Did you undertake personally        09:17:05
   13   all today, just feel free to let me know at 09:15:14             13   any effort to locate documents that would be 09:17:08
   14   any point.                           09:15:16                    14   responsive to the document request that's     09:17:15
   15             Today is not a memory test.        09:15:18            15   included in the deposition notice?         09:17:17
   16   Many of the events we're going to be talking 09:15:20            16        A. No, I don't recall having any 09:17:18
   17   about happened several years ago, and I          09:15:23        17   documents in my possession. I retired when I 09:17:21
   18   understand that, you know, your memory may            09:15:25   18   left Mallinckrodt.                   09:17:23
   19   not be as clear on certain things as on        09:15:29          19        Q. Okay. And when did you leave 09:17:24
   20   others. That's perfectly natural, to be       09:15:31           20   Mallinckrodt?                       09:17:25
   21   expected.                             09:15:35                   21        A. February of 2015.              09:17:25
   22             In the course of the day you      09:15:35             22        Q. Okay. And at that point did       09:17:27
   23   may find that an answer that you gave            09:15:37        23   you take with you any of your -- any files 09:17:30
   24   earlier, later on in the day you realize was 09:15:39            24   that you had maintained while you were at      09:17:33
   25   perhaps incomplete or could stand some            09:15:42       25   Mallinckrodt?                       09:17:35

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    1      A.    No.                     09:17:35                        1       ask if there are documents that        09:19:22
    2      Q.    Okay. Any computer records,         09:17:36            2       pertain to Ms. Collier's            09:19:23
    3 laptop, anything of that nature?            09:17:38               3       Mallinckrodt-issued phone account,         09:19:26
    4      A.    No.                     09:17:39                        4       text messages, et cetera, that those    09:19:28
    5      Q.    Okay. Did you -- while you         09:17:40             5       be produced.                      09:19:30
    6 were at Mallinckrodt, did you maintain            09:17:46         6            MR. O'CONNOR: I understand the 09:19:30
    7 personally any files -- and when I say         09:17:48            7       request.                       09:19:31
    8 "personally," I mean independent of your          09:17:51         8            MR. GOTTO: Thank you.               09:19:32
    9 place of work.                        09:17:52                     9   QUESTIONS BY MR. GOTTO:                            09:19:32
   10           Did you maintain any files that   09:17:53              10       Q. Okay. Ms. Collier, I'd like to 09:19:35
   11 pertained to your work at Mallinckrodt?           09:17:55        11   know what you did to prepare for today's         09:19:38
   12      A.    No, there were occasions when I     09:17:57           12   deposition. I don't want you to divulge the 09:19:40
   13 would do work from home on my computer, but I 09:18:01 13              communications you had with any of your            09:19:43
   14 would transfer it to my work computer and          09:18:03       14   counsel in giving me that description, but      09:19:47
   15 send it to myself in e-mail or transfer it to 09:18:05            15   perhaps you can tell me generally what you        09:19:50
   16 my work computer via USB hub.                    09:18:07         16   did to prepare.                      09:19:52
   17      Q.    Okay. Great.                09:18:12                   17       A. I had two meetings with general 09:19:52
   18           Did you ever use -- while you     09:18:12              18   counsel, one in October and another one just 09:19:55
   19 were at Mallinckrodt, did you use any            09:18:13         19   yesterday.                          09:19:58
   20 personal e-mail accounts to communicate with         09:18:15     20       Q. Okay. And who was present at            09:19:59
   21 respect to professional activities?         09:18:19              21   those meetings?                        09:20:01
   22      A.    No.                     09:18:20                       22       A. Bill was the first meeting. I 09:20:02
   23      Q.    Did you use your phone to send      09:18:21           23   don't remember his last name. And Andrew           09:20:05
   24 text messages that pertained to Mallinckrodt       09:18:28       24   O'Connor and Cassandra were at the second          09:20:07
   25 business while you were at Mallinckrodt?           09:18:30       25   meeting yesterday.                      09:20:11

                                                             Page 19                                                             Page 21
    1       A. I had a Mallinckrodt phone at          09:18:32           1       Q.    And Bill is an attorney?          09:20:11
    2   the time, so I may have.                  09:18:35               2       A.    Yes.                       09:20:12
    3       Q. Okay. When you say "a                 09:18:37            3       Q.    Okay. A Ropes & Gray lawyer             09:20:13
    4   Mallinckrodt phone," what do you mean by             09:18:38    4   or --                              09:20:16
    5   that?                             09:18:38                       5       A.    He's at Ropes & Gray, yes.          09:20:16
    6       A. A company-issued phone that I            09:18:40         6       Q.    Okay. Great.                  09:20:19
    7   returned. It was company property.              09:18:42         7            Approximately how long did each 09:20:20
    8       Q. Okay. Do you know who the                 09:18:44        8   one of those meetings last?                 09:20:21
    9   cellular carrier was on that -- for that     09:18:46            9        A. The first one was about six          09:20:22
   10   phone?                               09:18:49                   10   hours, and yesterday was seven and a half. 09:20:24
   11       A. Possibly AT&T, I think is who            09:18:50        11        Q. Okay. Independent of the              09:20:31
   12   was doing it.                         09:18:53                  12   meetings with counsel, did you do anything 09:20:33
   13       Q. Okay. It was an account that           09:18:53          13   else to prepare for today's deposition?         09:20:35
   14   Mallinckrodt handled, though, paid for, et        09:18:55      14        A. No, sir.                     09:20:37
   15   cetera?                            09:18:56                     15        Q. Didn't review any documents?            09:20:37
   16       A. Correct.                       09:18:56                  16        A. I don't have any to review.          09:20:39
   17       Q. Okay. So you don't have any             09:18:57         17        Q. Okay. Have you spoken with              09:20:41
   18   records from that account; is that right?       09:18:58        18   anyone who has given testimony in this            09:20:42
   19       A. No, I do not.                   09:19:00                 19   litigation with respect to the litigation?     09:20:48
   20       Q. Okay. Do you know who at                 09:19:01        20        A. No, I have not.                 09:20:49
   21   Mallinckrodt would have any records that           09:19:08     21        Q. Okay. Have you reviewed any              09:20:51
   22   exist today with respect to your             09:19:12           22   transcripts of any depositions or any other 09:20:52
   23   Mallinckrodt-issued phone account?                09:19:14      23   proceedings --                         09:20:55
   24       A. No.                          09:19:16                    24        A. No.                         09:20:55
   25            MR. GOTTO: Counsel, we would              09:19:21     25        Q. -- pertaining to -- okay --        09:20:56

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    1   pertaining to this litigation?           09:20:58            1   counsel in preparation for the deposition?       09:22:29
    2       A. (Witness shakes head.)              09:21:00          2        A. Not in preparation for the          09:22:30
    3       Q. In your meetings with counsel, 09:21:01               3   deposition, no.                        09:22:31
    4   did you review any documents?                 09:21:07       4        Q. Okay. Have you reviewed the -- 09:22:33
    5       A. Yes, I did.                   09:21:09                5   any of the complaints on file in this         09:22:38
    6       Q. Okay. Did any of those              09:21:10          6   litigation?                          09:22:41
    7   documents refresh your recollection in any 09:21:11          7        A. No, I knew that there was a          09:22:42
    8   regard?                            09:21:14                  8   lawsuit. I was aware there was a lawsuit,        09:22:45
    9       A. On some issues, yes.               09:21:14           9   but I haven't reviewed any of the materials. 09:22:46
   10       Q. What issues can you recall your 09:21:16             10        Q. Okay. When did you first             09:22:49
   11   recollection being refreshed on?            09:21:18        11   become aware that this litigation was           09:22:50
   12       A. Some memos that were sent in            09:21:21     12   pending?                              09:22:52
   13   e-mail.                           09:21:26                  13        A. I can't remember. And I can't 09:22:53
   14       Q. In terms of subject matter of 09:21:26               14   remember how I found out either.               09:22:57
   15   the nature of the issues that you were        09:21:28      15        Q. Okay. Do you have an                 09:22:59
   16   refreshed on, do you have a recollection of 09:21:29        16   understanding of the nature of the claims        09:23:03
   17   what those were?                        09:21:31            17   that are asserted in the litigation?        09:23:05
   18            MR. O'CONNOR: Objection. I'm 09:21:32              18        A. Yes, I do.                    09:23:07
   19       going to instruct the witness not to 09:21:33           19        Q. And what's that understanding? 09:23:08
   20       answer to the extent this is getting 09:21:34           20        A. My understanding is that             09:23:09
   21       into attorney-client communications        09:21:36     21   federal facilities and counties and states     09:23:13
   22       and work product.                   09:21:38            22   are suing to -- because they believe there is 09:23:16
   23            MR. GOTTO: Well, I think if         09:21:39       23   lack of diligence or something on behalf of 09:23:24
   24       they refreshed her recollection, we're 09:21:41         24   the companies and that they want to sue on        09:23:28
   25       entitled to know the subject matter on 09:21:45         25   behalf of the counties for cost, for opioid 09:23:32

                                                        Page 23                                                           Page 25
    1       which they refreshed her recollection, 09:21:46          1 abuse.                              09:23:37
    2       which is --                   09:21:48                   2       Q. Do you have any personal             09:23:38
    3            MR. O'CONNOR: You can answer           09:21:48     3   opinion as to the merits of any of those      09:23:40
    4       at a very high level.            09:21:49                4   claims?                            09:23:43
    5            THE WITNESS: Sure. Specific         09:21:50        5       A. Yes, I do.                   09:23:44
    6       customer meetings or specific customer 09:21:52          6       Q. What are those opinions?            09:23:46
    7       communication.                    09:21:54               7       A. I think they're probably          09:23:48
    8   QUESTIONS BY MR. GOTTO:                          09:21:55    8   overreaching and misguided.                 09:23:53
    9       Q. Okay. Do you remember what             09:21:55       9       Q. Okay. What do you base that           09:23:55
   10   customers?                         09:21:57                 10   on?                              09:23:57
   11       A. Yes, I do.                  09:21:57                 11       A. My knowledge of the industry.          09:23:57
   12       Q. Which were they?                 09:21:59            12   And I don't have explicit knowledge about        09:24:00
   13       A. KeySource and Masters were            09:22:00       13   abuse and how abuse occurs, but it's         09:24:02
   14   mentioned in them.                     09:22:05             14   basically on my knowledge of the industry and 09:24:05
   15       Q. Okay. Well, we'll be looking        09:22:05         15   some of the assertions that have been made. 09:24:07
   16   at some documents today on each of those -- 09:22:07        16       Q. Okay. Are you being                09:24:10
   17       A. Okay.                      09:22:09                  17   compensated in any way for your testimony         09:24:19
   18       Q. -- and we can get into that in 09:22:10              18   here today?                         09:24:21
   19   some more detail at that point.           09:22:12          19       A. No, I'm not.                  09:24:22
   20            So the two -- the two meetings 09:22:14            20       Q. Are you being reimbursed for          09:24:23
   21   you had with counsel were personal meetings, 09:22:17       21   any of your expenses?                    09:24:25
   22   not telephonic; is that right?          09:22:19            22       A. For my $12 parking today, I          09:24:26
   23       A. They were personal.              09:22:21            23   assume, yes.                         09:24:28
   24       Q. Okay. And did you have any           09:22:22        24       Q. Okay. Travel expense or hotel 09:24:29
   25   other telephonic meetings or conferences with 09:22:23      25   or anything?                         09:24:32

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                                                         Page 26                                                               Page 28
    1        A. I live here, so there's no       09:24:34              1       A. No.                         09:26:48
    2   expense involved.                       09:24:36               2       Q. Did you take any courses            09:26:49
    3        Q. Okay. Great.                   09:24:37                3   related to pharmaceuticals more generally?      09:26:53
    4             I'd like to ask you just a    09:24:38               4       A. No.                         09:26:57
    5   little bit about your background.           09:24:43           5       Q. When you were pursuing your            09:26:57
    6             Could you describe generally       09:24:44          6   bachelor's or master's degrees, did you have 09:27:02
    7   your post-high school education?              09:24:45         7   an intent to pursue a career in the        09:27:06
    8        A. Yes. I have a master's --         09:24:46             8   pharmaceutical industry?                  09:27:10
    9   yeah, a master's in business administration, 09:24:48          9       A. I was already in the             09:27:10
   10   a bachelor's in management, and those are my 09:24:53         10   pharmaceutical industry. I just was pursuing 09:27:12
   11   two levels of education.                 09:24:58             11   my degree to round out my education and to be 09:27:15
   12        Q. Okay. And from what                 09:25:00          12   a better manager.                     09:27:18
   13   institutions did you receive those degrees? 09:25:02          13       Q. Okay. Well, then let's go          09:27:20
   14        A. University of Phoenix in           09:25:04           14   back. Tell me when you first became involved 09:27:21
   15   Fountain Valley, California.               09:25:07           15   in any position in the pharmaceutical        09:27:23
   16        Q. And approximately when did you 09:25:08               16   industry.                          09:27:25
   17   receive your degrees?                    09:25:09             17       A. That was all the way back to         09:27:25
   18        A. It's been a while. 23 years       09:25:11            18   1975. I worked in a drugstore. From the        09:27:29
   19   ago I received my bachelor's, and 20 years       09:25:17     19   drugstore, I worked for a drug wholesaler, 09:27:34
   20   ago I received my master's.                09:25:21           20   and from the drug wholesaler, I went to work 09:27:36
   21        Q. Okay. Great.                   09:25:23               21   for a pharmaceutical company.               09:27:38
   22             Beyond your bachelor's and        09:25:24          22            And so I stayed in the         09:27:39
   23   master's programs, have you received any         09:25:29     23   pharmaceutical company, went back to work for 09:27:40
   24   other -- or participated in any other formal 09:25:37         24   a drug wholesaler, then worked for another 09:27:42
   25   post-high school courses of study?            09:25:40        25   pharmaceutical company.                    09:27:47

                                                           Page 27                                                             Page 29
    1       A. Well, I've attended other           09:25:42            1        Q. Okay. So fair to say that when 09:27:48
    2   sessions on management and, you know,              09:25:46    2   you were pursuing your bachelor's and             09:27:51
    3   certification programs, but it's more         09:25:50         3   master's degrees, you were anticipating          09:27:52
    4   continuing education for management and            09:25:53    4   future employment in the pharmaceutical            09:27:56
    5   brushing up on skill sets, like that.       09:25:56           5   industry?                             09:27:57
    6       Q. Okay. So apart from the              09:25:59           6        A. I was anticipating staying in        09:27:59
    7   bachelor's and master's programs, are those 09:26:02           7   the pharmaceutical industry.                 09:28:02
    8   the -- were there any other times when you 09:26:05            8        Q. Okay. So were you continued -- 09:28:03
    9   were -- considered yourself to be a full- or 09:26:08          9   were you employed while you were pursuing             09:28:07
   10   part-time student --                   09:26:10               10   your degrees?                           09:28:08
   11       A. No.                         09:26:11                   11        A. Yes, I was.                     09:28:09
   12       Q. -- post-high school?              09:26:11             12        Q. I see. Okay. Okay. Thank              09:28:10
   13            Okay. Do you hold any             09:26:13           13   you.                                09:28:11
   14   professional licenses or certifications?      09:26:18        14              So by whom were you employed at 09:28:11
   15       A. No, I do not.                  09:26:19                15   that time?                            09:28:15
   16       Q. Have you at any time?               09:26:20           16        A. When I finished my degree, I           09:28:15
   17       A. No.                         09:26:22                   17   was employed with Schein Pharmaceutical.             09:28:16
   18       Q. Okay. And I'm sorry, you may 09:26:22                  18        Q. And what position did you have? 09:28:20
   19   have already told me this, but what was your 09:26:28         19        A. Product manager and national            09:28:22
   20   undergraduate major?                      09:26:30            20   account manager.                          09:28:24
   21       A. Bachelor of arts in management. 09:26:31               21        Q. Okay. So product manager, what 09:28:25
   22       Q. Okay. In either your              09:26:35             22   does that mean in the pharmaceutical             09:28:28
   23   undergraduate or master's degree programs, 09:26:37           23   industry?                             09:28:30
   24   did you take any courses that dealt with the 09:26:41         24        A. For a generic drug company,            09:28:30
   25   Controlled Substances Act?                   09:26:47         25   it's a little bit different. For generics, 09:28:32

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                                                           Page 30                                                        Page 32
    1 product management means forecasting, pricing 09:28:34           1 department or other division that was          09:30:52
    2 strategy, working with the national account        09:28:43      2   responsible for regulatory compliance?        09:30:54
    3   managers on customer strategy.                09:28:45         3       A. I don't know that. It's not      09:30:56
    4       Q. And when you said it's a little 09:28:46                4   anyone I interacted with or remember          09:30:59
    5   different in generics, did you mean that you 09:28:51          5   interacting with.                   09:31:02
    6   were in a branded manufacturer at the time? 09:28:52           6       Q. Okay. You were aware, though, 09:31:03
    7       A. No, I was always with the             09:28:57          7   that the narcotics that Schein was         09:31:04
    8   generic side.                        09:28:59                  8   distributing were scheduled under the        09:31:06
    9       Q. Okay. Okay. Including at              09:29:00          9   Controlled Substances Act?                09:31:10
   10   Mallinckrodt?                          09:29:01               10       A. That, I don't know.             09:31:10
   11       A. Correct.                      09:29:02                 11       Q. Okay. You know it now, but you 09:31:12
   12            At Elan, I did one branded        09:29:03           12   don't know if you were aware of it then?      09:31:15
   13   product that was nonpromoted, and so there        09:29:06    13       A. Correct.                    09:31:17
   14   was one brand product in my background.            09:29:09   14       Q. Okay. Did you stay at Schein         09:31:18
   15       Q. Okay. And so you indicated you 09:29:12                15   after you got your master's degree?         09:31:24
   16   were both a product manager and a national        09:29:15    16       A. Yes, I did.                 09:31:26
   17   account manager.                         09:29:16             17       Q. And for how long?                09:31:26
   18            What is a national account        09:29:17           18       A. For a brief period. And I got 09:31:27
   19   manager responsible for, typically, in the      09:29:20      19   promoted during that time and moved into the 09:31:30
   20   generic industry?                      09:29:22               20   home office. That's when I became a product 09:31:33
   21       A. A national account manager             09:29:22        21   manager, right after graduation, and I worked 09:31:36
   22   works with key accounts, largest accounts,       09:29:24     22   there for a brief period.             09:31:38
   23   national accounts, and negotiates contracts, 09:29:27         23            Then they were acquired by       09:31:41
   24   works on behalf of the customer to ensure        09:29:30     24   Watson, and then I stayed with Watson for a 09:31:43
   25   that they're getting all that they need taken 09:29:33        25   brief period and left there.           09:31:46

                                                           Page 31                                                        Page 33
    1 care of, and it also -- they also would        09:29:34          1       Q. Okay. And during the period           09:31:47
    2   negotiate pricing and determine who the         09:29:38       2   you were at Watson, did you continue to be a 09:31:48
    3   incumbent competitor is and try and displace 09:29:41          3   product manager?                        09:31:51
    4   the incumbent competitor.                  09:29:44            4       A. Yes.                        09:31:51
    5       Q. Okay. So in your career in the 09:29:49                 5       Q. Okay. And when you left              09:31:52
    6   pharmaceutical industry, when did you -- when 09:29:54         6   Watson, where did you go from there?            09:31:54
    7   were you first in a position that involved    09:29:58         7       A. I went to Baxter -- oh,           09:31:55
    8   responsibilities with respect to          09:30:04             8   actually, excuse me, I went to Elan for a     09:32:01
    9   pharmaceuticals that were scheduled under the 09:30:06         9   very brief period, only six months or seven 09:32:04
   10   Controlled Substances Act?                  09:30:09          10   months. I went to Elan; they were a business 09:32:06
   11       A. When I was working at Schein            09:30:10       11   partner of Watson. I went to work for them 09:32:09
   12   Pharmaceutical, we sold some narcotics, and I 09:30:14        12   in a specialty position, in product        09:32:11
   13   was product manager for them and sold them as 09:30:16        13   management, basically, but it was more          09:32:13
   14   a national account manager.                09:30:17           14   working with their business partners. So I 09:32:15
   15       Q. Okay. So when did you start at 09:30:19                15   didn't manage the products, per se, but I     09:32:18
   16   Schein?                             09:30:20                  16   worked with them on that side of the          09:32:19
   17       A. I believe it was 1980, early        09:30:21           17   business.                           09:32:22
   18   1980s.                             09:30:29                   18       Q. And so what was the nature of         09:32:22
   19       Q. Okay. And did you have               09:30:30          19   your responsibilities in this specialty     09:32:25
   20   occasion to become familiar with any aspect 09:30:32          20   product manager position?                  09:32:28
   21   of the regulatory requirements imposed under 09:30:36         21       A. It was any products that they        09:32:29
   22   the Controlled Substances Act while you were 09:30:40         22   were not promoting for generics and -- that 09:32:32
   23   at Schein?                          09:30:42                  23   became genericized, I would help them figure 09:32:37
   24       A. No.                         09:30:43                   24   out a strategy.                      09:32:40
   25       Q. Did Schein have a compliance           09:30:45        25            The other thing that I would do 09:32:42

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                                                         Page 34                                                          Page 36
    1 is I worked with -- did the analytics on         09:32:43       1      Q.     Great. Thank you.             09:34:35
    2   business partners to make sure that Elan was 09:32:46         2           You indicated Baxter sold         09:34:38
    3   correctly getting the amount owed to them in 09:32:48         3   injectables. What type of medication?         09:34:40
    4   the alliance, because we had profit share       09:32:53      4       A. Anesthesia products primarily, 09:34:43
    5   arrangements, and so I had to review.          09:32:55       5   and things used in the operating room or       09:34:47
    6   Because as a -- in a generic sector, if      09:32:57         6   surgical procedures.                   09:34:50
    7   you've doing this a little while, you realize 09:32:59        7       Q. Okay.                        09:34:52
    8   it's very complicated in the pricing. So I 09:33:01           8       A. Post and preop.                 09:34:52
    9   had to help them analyze the pricing and make 09:33:03        9       Q. Okay. So these were not             09:34:53
   10   sure that they -- the rebates, discounts and 09:33:05        10   Controlled Substances Act scheduled            09:34:55
   11   allowances were being calculated properly.        09:33:07   11   materials, correct?                   09:34:56
   12        Q. And after you left Elan, where 09:33:13              12       A. We had some schedule drugs, but 09:34:57
   13   did you go?                          09:33:15                13   I'm not sure which fell under the purview of 09:35:03
   14        A. I went to Baxter.               09:33:16             14   the Controlled Substances Act.              09:35:06
   15        Q. Okay. And what was your               09:33:17       15       Q. Okay. So while you were at           09:35:07
   16   position at Baxter?                     09:33:18             16   Baxter, did you have occasion to become         09:35:08
   17        A. Director of marketing.            09:33:19           17   familiar with any of the regulatory         09:35:10
   18        Q. How long were you at Baxter?           09:33:21      18   requirements imposed by the Controlled          09:35:13
   19        A. I was at Baxter two years.          09:33:25         19   Substances Act?                        09:35:15
   20        Q. What was your reason for             09:33:26        20       A. No.                        09:35:15
   21   leaving Elan and joining Baxter?              09:33:28       21       Q. Okay. And you were at Baxter           09:35:16
   22        A. Elan terminated my position.          09:33:30       22   for a couple of years; is that what you      09:35:19
   23        Q. And do you know the reason for 09:33:32              23   indicated?                          09:35:21
   24   that?                             09:33:33                   24       A. Yes.                        09:35:21
   25        A. They were moving the                09:33:34         25       Q. Okay. And where did you go            09:35:21

                                                         Page 35                                                         Page 37
    1 facilities. They were selling off the entire 09:33:36           1 from Baxter?                          09:35:22
    2 facility, and everybody was let go.            09:33:38         2       A. I went to Baxter, then I moved 09:35:24
    3       Q. Okay. So you went to Baxter            09:33:40        3   to Virginia, and I went to work for McKesson 09:35:29
    4   and you were director of marketing?            09:33:43       4   medical/surgical.                    09:35:33
    5       A. Correct.                      09:33:46                 5       Q. And what was your reason for          09:35:34
    6       Q. So tell me generally what your 09:33:46                6   leaving Baxter and going to McKesson?           09:35:35
    7   responsibilities were as director of        09:33:48          7       A. My husband retired, and I got        09:35:36
    8   marketing at Baxter.                    09:33:50              8   an opportunity at McKesson med/surg.           09:35:39
    9       A. Again, it was a generic            09:33:52            9       Q. And what position did you have 09:35:43
   10   division of Baxter. It sold -- we sold       09:33:54        10   at McKesson?                         09:35:45
   11   injectables, and so it was working with        09:33:56      11       A. Director of marketing.            09:35:45
   12   customers on the contracts. The NAMs would 09:33:59          12       Q. Okay. Were your                  09:35:46
   13   come up with contracts, and I would review        09:34:02   13   responsibilities at McKesson similar to the 09:35:49
   14   the contracts and adjust any terms and         09:34:04      14   responsibilities you had at Baxter?         09:35:52
   15   conditions that I didn't think that we could 09:34:06        15       A. No, McKesson's different. They 09:35:53
   16   honor or that were too costly for the        09:34:09        16   work with the vendors, so my job there was to 09:35:55
   17   company.                             09:34:12                17   work with various vendors to negotiate        09:35:58
   18           And my team was responsible for 09:34:12             18   contracts, bring in new products, help the 09:36:02
   19   forecasting any programs that we had to         09:34:14     19   team. Because it was different than the way 09:36:10
   20   ensure the compliance to the contracts, and 09:34:18         20   McKesson operated because they're a little 09:36:13
   21   then forecasting and pricing.              09:34:22          21   more independent, and then worked with them 09:36:15
   22       Q. Okay. And you used the acronym 09:34:26               22   on understanding how contracts work and         09:36:17
   23   NAMs. Is that national account manager?           09:34:29   23   contract administration and chargebacks and 09:36:20
   24       A. National account manager, I'm          09:34:32       24   everything else.                    09:36:22
   25   sorry.                            09:34:35                   25           So I worked -- I helped the      09:36:23

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    1 team work on their programs to improve what            09:36:25    1 controlled substances there.               09:38:19
    2   they were doing in Virginia.                09:36:27             2        Q. Okay.                     09:38:20
    3       Q. Okay. You've used the term             09:36:29           3        A. That I remember.               09:38:20
    4   "chargebacks" a couple of times.              09:36:31           4        Q. Okay. So approximately, just        09:38:21
    5             What do you mean by chargeback? 09:36:32               5   so we have some dates -- and I realize -- you 09:38:23
    6       A. Well, in the industry, in order 09:36:33                  6   know, they don't have to be precise.        09:38:25
    7   to sell to everybody at a certain price --    09:36:35           7   Approximately when you were at Baxter and         09:38:27
    8   everybody has different prices based on          09:36:39        8   then at McKesson?                      09:38:29
    9   different terms that they have and what value 09:36:42           9        A. I was at McKesson from 1997 -- 09:38:31
   10   they can bring to the company, so you           09:36:44        10   wait a minute -- 2007, excuse me, 2007 to      09:38:36
   11   negotiate with them on pricing.              09:36:45           11   2000 -- let me back up. I have to work       09:38:43
   12             So CVS and Rite Aid might have 09:36:47               12   backwards. I'm sorry.                  09:38:47
   13   two different prices. Well, McKesson's not 09:36:50             13             Do you happen to have my         09:38:48
   14   going to know what that pricing -- they're       09:36:53       14   résumé? Because that would help.             09:38:50
   15   not going to sell -- we're not going to sell 09:36:55           15        Q. I have your -- your offer        09:38:52
   16   to McKesson at that. We have to have a            09:36:57      16   letter from Mallinckrodt.               09:38:54
   17   threshold. So wholesale acquisition cost is 09:36:59            17        A. Yes.                     09:38:57
   18   that threshold. So everybody buys at one         09:37:01       18        Q. And I believe it's in 2009, if 09:38:57
   19   price for which we can administer contracts. 09:37:04           19   that helps.                      09:38:59
   20             After that, if we sell to CVS    09:37:07             20        A. Right. I started at          09:38:59
   21   for a certain price, then -- McKesson might 09:37:10            21   Mallinckrodt in 2009, and I was with         09:39:01
   22   have paid $20, but the contract price that      09:37:12        22   GeneraMedix from 2004. That's it. So I was 09:39:03
   23   they sell it to CVS for might be 7.50, so      09:37:14         23   with McKesson from 2002 to 2004, and with         09:39:06
   24   they have to issue a chargeback. They charge 09:37:18           24   Baxter about 2000 to 2002.                09:39:15
   25   us back for the difference between the list 09:37:21            25        Q. Okay. Great.                 09:39:19

                                                           Page 39                                                            Page 41
    1 price of WAC, we call it, and the contract      09:37:22           1            And so when you left McKesson, 09:39:20
    2 price.                             09:37:25                        2   you went where?                         09:39:23
    3       Q. Okay. And when you were using 09:37:25                    3       A. To GeneraMedix.                    09:39:24
    4   the pronoun "us" in that setting, "charge us 09:37:27            4       Q. And what position did you hold 09:39:27
    5   back," "us" is the manufacturer?            09:37:32             5   there?                            09:39:31
    6       A. Yes, sir.                    09:37:33                     6       A. Vice president of marketing.         09:39:31
    7       Q. Okay. And McKesson was not a            09:37:34          7       Q. And just describe generally          09:39:33
    8   manufacturer when you were there; is that       09:37:37         8   what your responsibilities were at           09:39:41
    9   correct?                           09:37:38                      9   GeneraMedix.                           09:39:43
   10       A. Correct.                     09:37:38                    10       A. GeneraMedix was a startup             09:39:44
   11       Q. Okay. They were a distributor? 09:37:38                  11   company. It was an injectable company            09:39:44
   12       A. However, McKesson had to issue 09:37:43                  12   started by the president -- former president 09:39:46
   13   chargebacks, so we had to set up the system 09:37:55            13   of Baxter, and so I was helping him set        09:39:47
   14   so that when the vendors needed to get their 09:37:47           14   strategy for the company, what products would 09:39:51
   15   money back, we could do that. So we were         09:37:49       15   we want to bring in, what customers would we 09:39:53
   16   working through getting that system set up. 09:37:51            16   work with, and, again, reviewing contracts, 09:39:57
   17       Q. Okay. How long were you at            09:37:57           17   setting strategy, pricing, and then mostly     09:40:01
   18   McKesson?                             09:38:01                  18   managing the portfolio.                  09:40:05
   19       A. I think I was there two years. 09:38:02                  19       Q. Okay. And how long were you at 09:40:07
   20       Q. And during your time at             09:38:06             20   GeneraMedix?                           09:40:12
   21   McKesson, did you have occasion to become          09:38:10     21       A. Five years.                   09:40:13
   22   familiar with any of the regulatory         09:38:13            22       Q. Okay. Until you went to             09:40:14
   23   requirements under the Controlled Substances 09:38:15           23   Mallinckrodt?                         09:40:17
   24   Act?                              09:38:16                      24       A. Correct.                     09:40:17
   25       A. No, we weren't distributing any 09:38:16                 25       Q. Okay. What was your reason for 09:40:17

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    1 leaving McKesson and joining GeneraMedix?              09:40:20      1 long-term incentive plan, correct?             09:42:38
    2      A.    Because the former president of       09:40:21            2       A. Correct.                     09:42:40
    3 Baxter called me and asked me if I would be         09:40:23         3       Q. How long did you stay at            09:42:40
    4 interested with working with him, and it was        09:40:27         4   Mallinckrodt?                         09:42:44
    5 a startup company, so I had options available 09:40:28               5       A. Five years.                   09:42:44
    6 to me, which was desirable.                 09:40:31                 6       Q. Okay. And I say                  09:42:46
    7      Q.    Okay. During your time at           09:40:32              7   "Mallinckrodt." I see that the letterhead     09:42:49
    8 GeneraMedix, did you have occasion to become           09:40:34      8   actually says "Covidien." In 2009, was there 09:42:50
    9 familiar with any of the regulatory            09:40:36              9   a distinction in your mind between            09:42:53
   10 requirements under the Controlled Substances         09:40:37       10   Mallinckrodt and Covidien?                  09:42:55
   11 Act?                                09:40:38                        11       A. No. Covidien owned                 09:42:56
   12      A.    No, we didn't sell any         09:40:38                  12   Mallinckrodt, and we kept the Mallinckrodt        09:43:00
   13 controlled substances.                   09:40:40                   13   name on the product.                    09:43:02
   14      Q.    Okay. And in 2009, you left         09:40:42             14       Q. Okay. During your period at           09:43:03
   15 GeneraMedix and joined Mallinckrodt, correct? 09:40:46              15   Mallinckrodt, did your compensation change? 09:43:10
   16      A.    Correct.                  09:40:48                       16       A. Yes, it did.                 09:43:12
   17      Q.    What was your reason for making        09:40:48          17       Q. And can you describe for me           09:43:13
   18 that move?                            09:40:49                      18   approximately how -- the manners in which it 09:43:15
   19      A.    GeneraMedix sold as a startup,       09:40:50            19   changed?                            09:43:18
   20 that's what we do, and so they sold the          09:40:53           20       A. Well, I got an increase when I 09:43:18
   21 company. I'm from St. Louis, so I got the         09:40:55          21   became a senior director of marketing.         09:43:21
   22 opportunity to move home and work with              09:40:57        22   They -- Mallinckrodt reviewed all the          09:43:23
   23 Mallinckrodt with my former boss.                09:40:59           23   employees and corrected salaries for those      09:43:25
   24      Q.    Okay. Great.                09:41:01                     24   that were started at a lower base, and I got 09:43:29
   25           (Mallinckrodt-Collier Exhibit 2      09:41:35             25   moved to be called a senior director. And my 09:43:32

                                                                Page 43                                                         Page 45
    1       marked for identification.)           09:41:36                 1 salary eventually, when I left, was 203,000 a 09:43:35
    2   QUESTIONS BY MR. GOTTO:                            09:41:36        2 year.                              09:43:39
    3       Q. Ms. Collier, we've marked as          09:41:37              3       Q. Okay. When did you become a             09:43:40
    4   Exhibit 2 what I believe is a copy of your      09:41:38           4   senior director?                     09:43:42
    5   offer letter from Mallinckrodt. It's a      09:41:45               5       A. That had to be probably in          09:43:43
    6   multipage document that begins at             09:41:47             6   2010, 2011 time frame.                   09:43:47
    7   MNK-T1_0007277843.                           09:41:51              7       Q. Were you a corporate officer?        09:43:49
    8            If you could take a moment and 09:41:55                   8       A. No, I was not.                 09:43:53
    9   look through that document and tell me if you 09:41:56             9       Q. Were you at any time a member 09:43:54
   10   recognize it.                        09:42:01                     10   of any committees at Mallinckrodt for any       09:44:01
   11       A. Yes, I recognize this.            09:42:01                 11   period of time?                      09:44:13
   12       Q. Okay. And this was your offer 09:42:06                     12            MR. O'CONNOR: Object to form. 09:44:13
   13   letter when you joined Mallinckrodt?           09:42:07           13            THE WITNESS: Probably -- they 09:44:15
   14       A. Yes.                        09:42:08                       14       had a lot of committees, so I guess I 09:44:16
   15       Q. Okay. This indicates your            09:42:09              15       would need to understand what           09:44:18
   16   starting salary was an annual salary of       09:42:20            16       specifically you're looking for.      09:44:19
   17   $          when you began.                  09:42:23              17   QUESTIONS BY MR. GOTTO:                           09:44:20
   18            Is that consistent with your     09:42:25                18       Q. Sure. Sure.                   09:44:20
   19   recollection?                        09:42:26                     19            Any formal committee that met       09:44:21
   20       A. Yes.                        09:42:26                       20   on a regular schedule with agendas,          09:44:28
   21       Q. Okay. And you were also               09:42:27             21   maintained minutes, that sort of thing?       09:44:30
   22   eligible to participate in an annual        09:42:30              22       A. Most of them were informal           09:44:33
   23   incentive plan, correct?                 09:42:33                 23   committees, and I don't remember them having 09:44:35
   24       A. Correct.                      09:42:34                     24   a lot of committees with minutes. We're kind 09:44:38
   25       Q. And as well as the company's           09:42:34            25   of not as well-coordinated as we should have 09:44:43

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    1 been in that effect, but there were            09:44:46           1 receive a chargeback or not receive a          09:46:47
    2   committees.                            09:44:48                 2   chargeback in certain instances.          09:46:49
    3            I remember being on the            09:44:49            3       Q. Okay. And did you have an            09:46:51
    4   committee, for example, we were doing             09:44:51      4   understanding as to the interplay between      09:46:54
    5   serialization. It's a new regulation that's 09:44:56            5   chargebacks and the suspicious order          09:47:00
    6   come up, and so they asked me to be part of 09:44:59            6   monitoring program?                     09:47:03
    7   that from a customer representative            09:45:01         7            MR. O'CONNOR: Object to form. 09:47:03
    8   perspective.                          09:45:03                  8            THE WITNESS: Yes.                09:47:05
    9            So I didn't participate in all 09:45:03                9   QUESTIONS BY MR. GOTTO:                           09:47:06
   10   the meetings, even when I was on committees, 09:45:05          10       Q. And what was that?               09:47:07
   11   because I was very busy, and so I asked only 09:45:08          11       A. What was -- I'm sorry, please       09:47:08
   12   to be included when it was absolutely           09:45:10       12   explain your question.                 09:47:12
   13   necessary to include me.                   09:45:11            13       Q. Sure.                      09:47:13
   14       Q. Okay. Do you recall being on            09:45:13        14            You mentioned in terms of --     09:47:13
   15   any committees, formal or informal, that had 09:45:15          15   part of the information you provided to the 09:47:16
   16   any responsibilities with respect to          09:45:19         16   SOM committee that you were part of related 09:47:18
   17   compliance with any requirements under the          09:45:23   17   to the chargeback process, and so my question 09:47:21
   18   Controlled Substances Act?                   09:45:26          18   was what your understanding was of the         09:47:24
   19       A. I was on an SOM committee,               09:45:26       19   interplay between the chargeback process and 09:47:26
   20   which was about the development of the            09:45:30     20   the SOM process.                      09:47:28
   21   suspicious order monitoring, as a peripheral 09:45:33          21            MR. O'CONNOR: Same objection. 09:47:30
   22   partner on that.                       09:45:38                22            THE WITNESS: I honestly don't 09:47:30
   23       Q. And what do you mean by that?             09:45:39      23       know, because I would explain to them 09:47:32
   24       A. It means that I offered advice 09:45:41                 24       how it worked and what we could          09:47:34
   25   on customer reporting, customer information, 09:45:44          25       possibly -- information we could pull, 09:47:36

                                                          Page 47                                                             Page 49
    1 but I was not part of the establishment of        09:45:48        1        and then it was up to the SOM team to 09:47:38
    2   rules, policies, things of that nature.     09:45:52            2        decide how to use that data and what      09:47:40
    3       Q. Okay. And do you recall              09:45:55            3        to look at.                   09:47:42
    4   approximately when you were on that              09:45:57       4   QUESTIONS BY MR. GOTTO:                            09:47:43
    5   committee?                            09:45:58                  5        Q. Okay. And so did you provide           09:47:43
    6       A. Probably 2012 or 2013.               09:45:59            6   that information with respect to the         09:47:45
    7       Q. Okay. For approximately what            09:46:05         7   chargeback process pursuant to a request you 09:47:46
    8   period of time, if you recall?             09:46:08             8   received from the committee?                 09:47:51
    9       A. I don't recall.                09:46:09                  9        A. No, actually some of that was         09:47:52
   10       Q. Okay. Did you attend meetings 09:46:11                  10   volunteered earlier on.                  09:47:54
   11   of that committee?                      09:46:13               11        Q. Okay. And what was your               09:47:57
   12       A. Yes.                         09:46:14                   12   reasoning for volunteering that information 09:47:58
   13       Q. Okay. And you indicated you             09:46:16        13   to the SOM committee?                       09:48:00
   14   offered advice on customer reporting and         09:46:18      14        A. Because during the Sunrise           09:48:01
   15   customer information.                     09:46:20             15   Medical -- there were rumors that Sunrise        09:48:06
   16            What sort of advice can you        09:46:21           16   Medical had a problem with the DEA, and one 09:48:10
   17   recall offering?                      09:46:24                 17   of my employees was able to -- I don't want 09:48:11
   18       A. Well, we would get IMS data,            09:46:24        18   to say it's a backdoor, but she got into the 09:48:16
   19   which is industry reporting, so we could pull 09:46:29         19   system, or hacked, I don't know how you say 09:48:20
   20   industry reporting data in certain formats. 09:46:31           20   it, but she figured out a way to get into the 09:48:21
   21            I understood how the chargeback 09:46:35              21   contract admin system and pull reports and 09:48:26
   22   process worked. Not necessarily had             09:46:38       22   look for specific -- very specific data      09:48:27
   23   responsibility for the chargebacks, but I      09:46:40        23   related to Sunrise.                    09:48:29
   24   understood how the process worked. So I           09:46:43     24             And so when we showed that to        09:48:30
   25   would offer guidance on that on why we would 09:46:45          25   the compliance team, they asked us, how can 09:48:35

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    1 we do this on a regular basis, what           09:48:40           1        A. Yes.                        09:50:08
    2   information you get, how do we pull           09:48:42         2        Q. Okay. And what can you recall 09:50:10
    3   information.                       09:48:44                    3   about her raising that with you?            09:50:13
    4           And so we provided them            09:48:44            4        A. She said, well, I can pull        09:50:14
    5   guidance because we certainly couldn't do it 09:48:46          5   their chargeback data, but we wouldn't know 09:50:17
    6   ourselves on a regular basis. It was just 09:48:48             6   what to look for because chargeback data is 09:50:20
    7   too much data.                       09:48:51                  7   voluminous. There's so much information,          09:50:25
    8       Q. And so which employee was it           09:48:51         8   unless you're looking specifically for        09:50:26
    9   who got this Sunrise data?               09:48:53              9   something at a specific point in time, you're 09:50:27
   10       A. Kate Neely. Kate Muhlenkamp at 09:48:55                10   not going to be able to tease it out.       09:50:30
   11   the time.                         09:49:02                    11            So she told me this, that she 09:50:33
   12       Q. Okay. That's the same person, 09:49:02                 12   could get that, but we didn't know what to 09:50:37
   13   Kate Neely?                         09:49:03                  13   look for. So we decided to look for specific 09:50:39
   14       A. Yes.                       09:49:06                    14   words and query the system for that.           09:50:43
   15       Q. Okay. Great.                   09:49:07                15        Q. Okay. What types of words did 09:50:45
   16           So Ms. Neely -- you used the       09:49:09           16   you look for?                         09:50:47
   17   word "hacked." I'm sure you didn't mean to 09:49:12           17        A. "Doctor" or "MD."                 09:50:47
   18   suggest she did anything improper?           09:49:15         18        Q. Okay. And why did you choose 09:50:49
   19       A. Not illegal, but, yeah, just      09:49:16             19   those words to look for?                  09:50:55
   20   outside company norms.                    09:49:18            20        A. Because from what we were              09:50:56
   21       Q. Okay. So the information that 09:49:20                 21   reading, it sounded as if Sunrise Medical was 09:50:58
   22   she obtained was information that           09:49:22          22   in trouble for selling to doctors in Florida. 09:51:01
   23   Mallinckrodt maintained internally, correct? 09:49:24         23   And if that's a problem, then we need to        09:51:08
   24       A. It was -- yes, it was in the     09:49:26              24   understand that and why.                   09:51:10
   25   system.                           09:49:27                    25        Q. Okay. And when you say               09:51:11

                                                          Page 51                                                           Page 53
    1       Q. And do you know how she --             09:49:28         1 "reading," do you mean in press accounts?          09:51:13
    2   well, did you instruct her to attempt to     09:49:32          2       A. Yes. I don't remember exactly 09:51:15
    3   access that information?                 09:49:37              3   where the information came from, but I do        09:51:17
    4           MR. O'CONNOR: Object to form. 09:49:38                 4   remember seeing that they were in trouble for 09:51:19
    5           THE WITNESS: No.                   09:49:39            5   that.                            09:51:21
    6   QUESTIONS BY MR. GOTTO:                            09:49:39    6       Q. Okay. Do you recall how the           09:51:22
    7       Q. Do you know -- go ahead.             09:49:40           7   Sunrise issues with the DEA first came to       09:51:32
    8       A. No, I did not instruct her.       09:49:40              8   your attention?                       09:51:34
    9       Q. Okay. Was it her idea?             09:49:43             9            MR. O'CONNOR: Object to form. 09:51:35
   10       A. Yes.                        09:49:44                   10            THE WITNESS: I believe they          09:51:37
   11       Q. Okay. Do you know how she --            09:49:45       11       came from Victor Borelli, one of our      09:51:39
   12   how she came to believe that that information 09:49:47        12       national account managers.             09:51:44
   13   might be accessible in some fashion?          09:49:51        13   QUESTIONS BY MR. GOTTO:                           09:51:45
   14       A. She may have told me --             09:49:53           14       Q. Okay. So the chargeback data          09:51:48
   15           MR. O'CONNOR: Objection.               09:49:53       15   that Ms. Muhlenkamp was able to access,          09:51:50
   16           THE WITNESS: Oh, I'm sorry.           09:49:54        16   what's the nature of the information that's 09:51:56
   17           She may have told me, and I        09:49:55           17   contained there?                       09:51:58
   18       would not remember --                 09:49:57            18       A. From what I know, because it's 09:52:00
   19   QUESTIONS BY MR. GOTTO:                            09:49:58   19   limited in the amount of information that I 09:52:04
   20       Q. Okay.                        09:49:58                  20   get, but there's standard forms that are     09:52:07
   21       A. -- what she did because it was 09:49:59                21   transferred back and forth between the         09:52:09
   22   over my head.                         09:50:00                22   wholesaler/distributor and the vendor. And 09:52:11
   23       Q. Okay. Did she -- before            09:50:01            23   so from what I've seen, it contains the      09:52:14
   24   seeking to access the information, did she      09:50:04      24   customer name, the pharmacy or physician, in 09:52:16
   25   discuss that with you at all?            09:50:06             25   the cases there's a physician dispensing, the 09:52:21

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    1 address to which it was shipped, the state,       09:52:30        1 previously used chargeback data in connection 09:54:17
    2   you know, obviously, in the address, and the 09:52:33           2 with any suspicious order monitoring program? 09:54:20
    3   quantity that they purchased and the amount 09:52:34            3      A.      I was not --              09:54:23
    4   of the debit memo that they're requesting.      09:52:35        4            MR. O'CONNOR: Object to form. 09:54:23
    5   So if there were ten units, then the        09:52:40            5            THE WITNESS: I was not aware 09:54:24
    6   chargeback amount was $10 per unit, then it's 09:52:43          6       of that.                     09:54:25
    7   a hundred dollars.                     09:52:45                 7   QUESTIONS BY MR. GOTTO:                            09:54:25
    8       Q. Okay. And again, the "they" in 09:52:46                  8       Q. Do you know if there came to be 09:54:29
    9   this context would be the distributor that     09:52:48         9   a time when Mallinckrodt regularly used          09:54:33
   10   was --                             09:52:49                    10   chargeback data as part of its suspicious      09:54:36
   11       A. And the wholesaler, yes.            09:52:49            11   order monitoring?                      09:54:40
   12       Q. Okay. And so it would be data 09:52:51                  12       A. I was not aware of what             09:54:40
   13   that would show -- so Mallinckrodt -- let me 09:52:53          13   information was used by the SOM team.             09:54:42
   14   back up. Strike that.                  09:52:55                14       Q. Okay. At any time?                 09:54:44
   15             So Mallinckrodt's customer in     09:52:56           15       A. Right.                      09:54:45
   16   this setting is a distributor or a       09:52:57              16       Q. Okay. Including when you were 09:54:47
   17   wholesaler, correct?                    09:52:59               17   on the committee that you were describing         09:54:48
   18       A. Correct.                      09:53:00                  18   earlier?                          09:54:49
   19       Q. And then the chargeback data           09:53:00         19       A. Right. They did ask me for           09:54:50
   20   would have information regarding whom the           09:53:03   20   information, but I didn't know if they --     09:54:52
   21   ultimate customer of that wholesaler or        09:53:07        21   after that, I gave them guidance, but I don't 09:54:55
   22   distributor was, correct?                09:53:10              22   know if they used it and I don't -- they     09:54:57
   23             MR. O'CONNOR: Objection.             09:53:11        23   would ask me sometimes for information, but I 09:54:59
   24             MS. DURFEE: Objection.             09:53:13          24   don't know what they were using to make           09:55:02
   25             THE WITNESS: I want to be           09:53:14         25   decisions.                          09:55:05

                                                          Page 55                                                             Page 57
    1       clear: You don't always know who the 09:53:15               1        Q. Okay.                      09:55:06
    2       ultimate customer is, so it would       09:53:18            2        A. If that makes sense.            09:55:06
    3       contain information about who            09:53:20           3        Q. Okay. Back on to your offer         09:55:08
    4       purchased that particular product on      09:53:23          4   letter, Exhibit 2. You described how your       09:55:12
    5       that date.                     09:53:25                     5   salary changed over time while you were at       09:55:17
    6   QUESTIONS BY MR. GOTTO:                            09:53:25     6   Mallinckrodt.                        09:55:19
    7       Q. Okay. So strike the word            09:53:26             7            Did the bonus structure change 09:55:20
    8   "ultimate" from my question.                09:53:28            8   over time at all as well?               09:55:25
    9            The chargeback information         09:53:30            9        A. My bonus percentage remained          09:55:27
   10   would include information regarding the         09:53:31       10   the same, and it fluctuated.             09:55:29
   11   identity of the -- of the customer of       09:53:34           11        Q. The dollar amount fluctuated?        09:55:32
   12   Mallinckrodt's customer, correct?            09:53:37          12        A. Correct.                   09:55:34
   13            MS. DURFEE: Objection. Form. 09:53:39                 13        Q. Okay. And what were the --          09:55:35
   14            THE WITNESS: Yes.                 09:53:41            14        A. Well, can I correct?            09:55:37
   15   QUESTIONS BY MR. GOTTO:                            09:53:41    15        Q. Please.                   09:55:38
   16       Q. Okay. And I think we'll look         09:53:42           16        A. Okay. The dollar amount            09:55:39
   17   at some documents in a bit regarding Sunrise. 09:53:49         17   fluctuated depending on the overall company 09:55:41
   18            Do you have a recollection of     09:53:53            18   performance. And there was a percentage of 09:55:44
   19   the approximate time frame when                09:53:56        19   the company performance, but there were other 09:55:46
   20   Ms. Muhlenkamp accessed this information?           09:53:59   20   metrics for --                     09:55:48
   21       A. I believe it was around 2010.        09:54:01           21        Q. Okay. What were the metrics          09:55:50
   22   It was probably in the first half of 2010.    09:54:03         22   that came into play in determining your        09:55:51
   23       Q. Okay. And do you know if prior 09:54:06                 23   bonus?                            09:55:54
   24   to Ms. Muhlenkamp accessing that information, 09:54:09         24        A. Forecast accuracy; the team's       09:55:54
   25   do you know if anyone at Mallinckrodt had         09:54:14     25   participation in different programs, if we    09:56:01

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    1 developed good programs that worked well for          09:56:07    1 time you joined Mallinckrodt?                 09:59:30
    2   the customer; allocation process, if we       09:56:09          2           MR. O'CONNOR: Object to form.           09:59:31
    3   developed processes that worked well for the 09:56:11           3           THE WITNESS: Yes. Yes, it is.         09:59:32
    4   customers and for Mallinckrodt.             09:56:13            4 QUESTIONS BY MR. GOTTO:                                09:59:34
    5       Q. Okay. Were total sales an           09:56:16             5      Q.    Okay. And so when you joined         09:59:34
    6   element of the bonus determination?            09:56:22         6 as director of marketing, did the individuals 09:59:37
    7       A. Yes.                        09:56:24                     7 that are listed in the far right column,      09:59:41
    8       Q. Okay. And during your six or          09:56:25           8 beginning with Kate Muhlenkamp and the names              09:59:43
    9   so years at Mallinckrodt, apart from the       09:56:33         9 under hers, report to you?                  09:59:46
   10   annual incentive plan and the long-term         09:56:36       10      A.    Yes, they did.              09:59:48
   11   incentive plan, were there any other bonus       09:56:38      11      Q.    Okay. And you reported to          09:59:49
   12   programs that you were eligible to           09:56:41          12 Mr. Gunning; is that right?                 09:59:52
   13   participate in?                      09:56:42                  13      A.    Yes, I did.               09:59:53
   14       A. I received stock options and        09:56:43            14      Q.    Okay. When you started as          09:59:54
   15   stock grants, but they were not related to    09:56:46         15 director of marketing at Mallinckrodt, did        09:59:59
   16   the team's performance.                  09:56:50              16 anyone else report to you other than the        10:00:00
   17       Q. Okay. And what was the basis           09:56:52         17 individuals who are identified in this org      10:00:03
   18   for the stock grants that you received, or    09:56:53         18 chart?                            10:00:06
   19   options?                           09:56:57                    19      A.    I cannot remember because the        10:00:06
   20       A. Honestly, I could never figure 09:56:57                 20 team changed considerably over time, but I         10:00:10
   21   that out.                         09:57:00                     21 can't remember at the time when I started if      10:00:14
   22       Q. Okay. Okay. You can set that 09:57:01                   22 it was the same team.                      10:00:15
   23   aside.                           09:57:06                      23      Q.    Okay. Tell me what you can          10:00:17
   24       A. Okay.                        09:57:06                   24 recall about the team changing under -- team          10:00:19
   25            (Mallinckrodt-Collier Exhibit 3 09:57:14              25 in terms of people who reported to you,          10:00:22

                                                           Page 59                                                                 Page 61
    1        marked for identification.)           09:57:14             1 directly or indirectly, how that changed over 10:00:24
    2   QUESTIONS BY MR. GOTTO:                             09:57:14    2 time, any particular personnel changes.           10:00:27
    3        Q. Ms. Collier, we have marked as 09:57:37                 3            And again, I realize it's a      10:00:29
    4   Exhibit 3 three pages from your personnel         09:57:38      4   several-year period and there were probably 10:00:32
    5   file beginning at MNK-T1_0007277883.                09:57:44    5   multiple changes, so I'm not expecting a         10:00:34
    6            The first page appears to be a 09:57:51                6   complete and comprehensive list, but whatever 10:00:36
    7   job description with respect to the director 09:57:54           7   comes to your mind in terms of changes in the 10:00:39
    8   of marketing position for specialty generics. 09:57:57          8   team over time, if you could describe those. 10:00:41
    9   Second page is blank, and the third page is 09:58:00            9       A. Okay.                          10:00:43
   10   an organizational chart.                  09:58:03             10            MR. O'CONNOR: Object to form. 10:00:43
   11            Would you take a moment and            09:58:05       11            THE WITNESS: Kate ended up              10:00:43
   12   look, and let me know if you recognize those 09:58:06          12       leaving the company, and she was the         10:00:47
   13   documents.                            09:58:10                 13       product manager. At one point she had 10:00:48
   14        A. I remember this.                 09:58:10              14       another employee, Lisa Lundergan,           10:00:50
   15        Q. Okay. If we could just start        09:58:47           15       reporting to her, who is now Lisa         10:00:54
   16   on the third page on the organizational         09:59:04       16       Cardetti.                        10:00:56
   17   chart.                             09:59:06                    17            We added analytical people to        10:00:57
   18            On this chart, the director of 09:59:09               18       the team, and I terminated Penny and        10:01:04
   19   marketing position is indicated as open. I 09:59:15            19       Margie and moved their products to          10:01:12
   20   take it this was before you joined the         09:59:18        20       other people.                      10:01:16
   21   company.                              09:59:20                 21   QUESTIONS BY MR. GOTTO:                             10:01:17
   22            Can you otherwise review the         09:59:21         22       Q. What was the reason for those           10:01:18
   23   chart and tell me if this is consistent with 09:59:24          23   terminations?                          10:01:20
   24   your recollection of the organization of the 09:59:26          24       A. Ineffective.                    10:01:20
   25   generic sales and marketing department at the 09:59:28         25       Q. And do you recall when                10:01:21

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    1 Ms. Muhlenkamp left Mallinckrodt?                 10:01:25        1 general opinion of her job performance?            10:03:26
    2       A. It was probably 2012 or 2013.         10:01:27           2       A.    She was an excellent employee         10:03:28
    3       Q. Okay. And did someone else             10:01:33          3 and very, very bright.                    10:03:30
    4   take her position after she left?         10:01:34              4       Q.    Okay. And judging from this          10:03:32
    5       A. Yes. Lisa Cardetti.              10:01:37                5 org chart, she had been at Mallinckrodt           10:03:35
    6       Q. Okay. So -- and Ms. Cardetti         10:01:39            6 before you joined, correct?                  10:03:37
    7   had previously reported to Ms. Muhlenkamp?          10:01:41    7       A.    Yes.                      10:03:38
    8       A. Correct.                     10:01:44                    8       Q.    Do you know how long she had           10:03:38
    9       Q. Okay. Do you recall what the          10:01:45           9 been there?                            10:03:40
   10   reasons were for Ms. Muhlenkamp -- or at         10:01:47      10       A.    No.                       10:03:40
   11   least what your understanding was as for the 10:01:50          11       Q.    Okay. And I take it           10:03:40
   12   reasons for her leaving?                 10:01:52              12 Ms. Cardetti joined Mallinckrodt sometime             10:03:47
   13            MR. O'CONNOR: Object to form. 10:01:52                13 after you did, judging from her absence on          10:03:50
   14            THE WITNESS: The reason she            10:01:53       14 this org chart; is that right?            10:03:52
   15       told us is that she wanted to move up 10:01:56             15       A.    No, she was working in another        10:03:54
   16       in an organization, and she left for a 10:01:59            16 department.                            10:03:56
   17       better opportunity.                10:02:02                17       Q.    Okay.                     10:03:57
   18   QUESTIONS BY MR. GOTTO:                            10:02:03    18       A.    And we brought her over for          10:03:57
   19       Q. Okay. Did you perform any             10:02:03          19 analytics.                            10:03:59
   20   periodic evaluation or review of the job       10:02:09        20       Q.    Okay. And then she took           10:04:00
   21   performance of the individuals that reported 10:02:12          21 Ms. Muhlenkamp's position when Ms. Muhlenkamp 10:04:02
   22   to you?                           10:02:14                     22 left.                             10:04:05
   23       A. Yes, I did.                  10:02:18                   23            And did she stay in that        10:04:05
   24       Q. And you indicated that you           10:02:19           24 position for the balance of your tenure at        10:04:07
   25   terminated some individuals from being          10:02:21       25 Mallinckrodt?                           10:04:09

                                                           Page 63                                                                     Page 65
    1 ineffective.                         10:02:22                     1       A. No, she went into a national        10:04:10
    2            Apart from them, do you recall 10:02:23                2   account manager role.                    10:04:12
    3   any other situations in which you felt that 10:02:24            3       Q. Okay. And who took that              10:04:13
    4   the job performance of any of the individuals 10:02:30          4   position, her position, under you at that     10:04:16
    5   that reported to you was unsatisfactory?      10:02:33          5   point?                            10:04:19
    6       A. I can't recall that because       10:02:37               6       A. We had hired another product          10:04:19
    7   this is an incomplete list.            10:02:44                 7   manager, Jennifer Block, to work for us at 10:04:22
    8            Oh, yes, actually, I do       10:02:46                 8   the time. And so Jennifer was also another 10:04:25
    9   remember one. Thomas Brown.                   10:02:47          9   product manager that worked during that         10:04:28
   10       Q. Okay. What can you recall           10:02:49            10   period, so we just realigned the products. 10:04:29
   11   about that?                        10:02:52                    11       Q. Okay. And approximately when 10:04:32
   12       A. Thomas Brown was hired as the          10:02:52         12   did Ms. Cardetti leave your team?            10:04:33
   13   communications support to work for -- with us 10:02:54         13       A. Probably 2014 -- 2015.             10:04:38
   14   on trade shows and the programs that I said 10:02:57           14       Q. Okay.                        10:04:43
   15   that we developed for customers, and just      10:03:00        15       A. 2014, 2015, sometime there.          10:04:43
   16   take some of the pressure off the product     10:03:04         16       Q. Okay. Did there come to be a          10:04:45
   17   managers for any materials, any support that 10:03:06          17   time when Mr. Vorderstrasse was on your team? 10:04:47
   18   he could provide, and he did not provide that 10:03:10         18       A. Yes.                        10:04:51
   19   level of support.                    10:03:12                  19       Q. When was that?                   10:04:51
   20       Q. Okay. Any other examples that 10:03:14                  20       A. I don't recall when he came on 10:04:53
   21   come to your mind of individuals who you felt 10:03:17         21   board. I'm sorry, I barely remember my own 10:04:59
   22   their job performance was unsatisfactory?      10:03:19        22   dates, let alone all the employees.        10:05:01
   23       A. No.                        10:03:22                     23       Q. I understand.                  10:05:03
   24       Q. Okay. How about                   10:03:23              24            What position did he hold?       10:05:04
   25   Ms. Muhlenkamp, did you -- what was your          10:03:24     25       A. Kevin was in charge of the          10:05:06

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    1 analytical team, and he helped -- because he       10:05:09       1 managers -- well, multiple product managers        10:07:24
    2   was a big data mining person, so he could do 10:05:13           2 reporting to you throughout your time,          10:07:26
    3   that. He also helped with business           10:05:17           3 correct?                              10:07:27
    4   development, which meant deciding what            10:05:20      4       A. Correct.                      10:07:27
    5   products to go pursue if we wanted to          10:05:23         5       Q. And did each of them have               10:07:28
    6   continue our pipeline growth.               10:05:25            6   responsibility for discrete products?          10:07:32
    7       Q. Okay. So --                     10:05:25                 7       A. Yes.                         10:07:34
    8       A. And he also launched a drug for 10:05:27                 8       Q. Okay. And so did                    10:07:36
    9   us, so...                          10:05:29                     9   Mr. Vorderstrasse, for example, have             10:07:39
   10       Q. Okay. What drug was that?             10:05:30          10   responsibility for discrete products?          10:07:41
   11       A. Methylphenidate. It's a            10:05:31             11       A. Yes, he did.                    10:07:42
   12   Concerta.                            10:05:34                  12       Q. Okay. Now, when you came to                10:07:44
   13       Q. Okay. So looking back at the          10:05:35          13   Mallinckrodt -- well, let's look at page 1 10:07:52
   14   org chart, this part of Exhibit 3,         10:05:38            14   of -- the first page, rather, of Exhibit 3, 10:07:56
   15   Ms. Muhlenkamp is identified as a product         10:05:43     15   which the top-half of the page has eight         10:07:59
   16   manager, as is Marock Montgomery?                10:05:45      16   numbered items which appear to be a               10:08:05
   17       A. It's actually Marc.              10:05:51               17   description of the role and responsibility of 10:08:08
   18       Q. Marc?                         10:05:51                  18   the -- of the director of marketing for        10:08:10
   19       A. That's a typo.                  10:05:52                19   specialty generics. So I'd like to go         10:08:13
   20       Q. Okay. How were -- how were              10:05:58        20   through those with you and understand if, in 10:08:15
   21   the -- how did their responsibilities differ? 10:06:00         21   fact, those were your roles and              10:08:20
   22       A. They each had different             10:06:03            22   responsibilities and what you did in these 10:08:22
   23   products that they were responsible for.       10:06:05        23   regards.                            10:08:24
   24       Q. Okay. And what products do you 10:06:06                 24            Let me begin by asking what -- 10:08:24
   25   recall Ms. Muhlenkamp being responsible for? 10:06:10          25   specialty generics, what did you understand 10:08:32

                                                          Page 67                                                              Page 69
    1       A. Oxycodone, oxy APAP. Marc had 10:06:11                   1 that phrase to means?                      10:08:34
    2   hydrocodone at the time. We had mixed salts, 10:06:17           2       A. It means different things to         10:08:35
    3   and I know Marc was responsible for that, but 10:06:26          3   different people. At Mallinckrodt they meant 10:08:36
    4   I don't remember exactly how the products          10:06:30     4   that it was just a niche, that not everyone 10:08:39
    5   lined up after that.                   10:06:31                 5   can produce and sell in a certain area.        10:08:42
    6       Q. Okay. And then you indicated            10:06:33         6       Q. Okay. Did Mallinckrodt                10:08:43
    7   Mr. Vorderstrasse had particular             10:06:39           7   manufacture other generic drugs that it did 10:08:46
    8   responsibility for analytics.             10:06:42              8   not categorize as specialty generics?          10:08:49
    9            Was there any similar division 10:06:43                9       A. No, because they use that as an 10:08:51
   10   of responsibilities before he joined the      10:06:45         10   umbrella comment.                         10:08:57
   11   team, where one of the product managers had a 10:06:48         11       Q. Okay. So specialty generics, 10:08:57
   12   particular responsibility for analytics?      10:06:51         12   in the Mallinckrodt setting, anyway, meant 10:08:58
   13            MR. O'CONNOR: Object to form. 10:06:53                13   all generics that Mallinckrodt was            10:09:00
   14            THE WITNESS: That is a very            10:06:54       14   manufacturing?                          10:09:01
   15       broad question because they each --        10:06:56        15       A. Correct.                      10:09:01
   16       everyone on the team has to do some          10:07:00      16       Q. Okay. So I take it when you            10:09:05
   17       form of analytics, so I'm not sure      10:07:05           17   became director of marketing, you needed to 10:09:09
   18       what you're asking for.              10:07:07              18   become familiar with Mallinckrodt's product 10:09:12
   19   QUESTIONS BY MR. GOTTO:                             10:07:08   19   line in the generic area, correct?          10:09:14
   20       Q. Okay. I was just trying to          10:07:08            20       A. Correct.                      10:09:16
   21   understand if the nature of the -- let me ask 10:07:10         21       Q. And so what did you do to             10:09:16
   22   the question this way.                   10:07:11              22   become familiar with what Mallinckrodt            10:09:17
   23            Throughout your time as           10:07:12            23   manufactured and sold, the generics that they 10:09:21
   24   director of marketing at Mallinckrodt, was it 10:07:13         24   manufactured and sold?                     10:09:24
   25   the case that you had one or more product         10:07:16     25       A. Met with the product managers 10:09:25

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    1 to understand their products, looked at IMS       10:09:27       1        A. So I can't say if I understood 10:11:30
    2   data to understand the sales, the          10:09:30            2   any of that or not.                   10:11:32
    3   competitors. I sat with different team       10:09:34          3        Q. Okay. So when you say you were 10:11:32
    4   members in different parts of the           10:09:36           4   already familiar with, for example, the 222 10:11:34
    5   organization, such as logistics, to        10:09:38            5   form, that was from prior employment you were 10:11:36
    6   understand how products were being shipped, 10:09:41           6   familiar with that?                   10:11:37
    7   and did a tour of our warehouse -- not        10:09:43         7        A. Correct.                    10:11:38
    8   warehouse -- manufacturing site up in Hobart 10:09:47          8        Q. Okay. Although in your prior         10:11:39
    9   at one point.                       10:09:49                   9   employment I think you had indicated you had 10:11:43
   10       Q. Okay. Before we get into the         10:09:50          10   little --                        10:11:45
   11   individual items listed in paragraphs 1 to 8 10:09:59         11        A. At Schein, I did.              10:11:45
   12   here, when you joined Mallinckrodt, were         10:10:03     12        Q. I'm sorry?                   10:11:46
   13   there aspects of the director of marketing     10:10:05       13        A. At Schein Pharmaceutical.           10:11:48
   14   job that you were taking that you felt were 10:10:11          14        Q. Okay. So going back to your          10:11:48
   15   different from the responsibilities you had 10:10:17          15   time at Schein, you developed that           10:11:50
   16   had at prior employers?                  10:10:20             16   familiarity?                        10:11:52
   17            MR. O'CONNOR: Object to form. 10:10:23               17        A. Uh-huh.                      10:11:52
   18            THE WITNESS: Not really. The 10:10:23                18        Q. Was there any training that you 10:11:53
   19       responsibilities are similar across    10:10:28           19   received at Mallinckrodt with respect to       10:11:58
   20       any company. They were the same type 10:10:30             20   the -- any requirements under the Controlled 10:12:02
   21       of job.                       10:10:35                    21   Substances Act?                        10:12:04
   22   QUESTIONS BY MR. GOTTO:                           10:10:35    22        A. Not that I recall.            10:12:04
   23       Q. Okay. Now, Mallinckrodt              10:10:36          23        Q. Okay. And you indicated a           10:12:07
   24   obviously was engaged in the manufacture and 10:10:40         24   little earlier that -- go ahead.        10:12:09
   25   sale of a variety of scheduled            10:10:43            25        A. Well, I'm sorry. Are you          10:12:10

                                                          Page 71                                                              Page 73
    1 pharmaceuticals under the Controlled             10:10:47        1 referring to when I was being hired?              10:12:12
    2   Substances Act, correct?                  10:10:48             2        Q. Well, let's start with that,       10:12:15
    3       A. Correct.                      10:10:49                  3   and then you can tell me also in the future 10:12:17
    4       Q. And that was somewhat different 10:10:49                4   whether you received any such training.          10:12:21
    5   from your prior experience, correct?          10:10:51         5        A. Okay. When I was hired, I did 10:12:22
    6       A. Yes.                        10:10:53                    6   not receive any training specific to here's 10:12:24
    7       Q. And did you undertake any             10:10:54          7   the Controlled Substances Act, here's what it 10:12:29
    8   effort to become familiar with any of the       10:10:57       8   is. I had familiarity with it as far as like 10:12:31
    9   regulatory requirements imposed by the           10:11:00      9   222 forms and that you can't just be shipping 10:12:35
   10   Controlled Substances Act when you joined          10:11:03   10   product anywhere to anybody.                   10:12:37
   11   Mallinckrodt?                         10:11:04                11             The -- I gained additional       10:12:40
   12            MR. O'CONNOR: Object to form. 10:11:04               12   knowledge while I worked at Mallinckrodt            10:12:44
   13            THE WITNESS: My familiarity            10:11:06      13   through Karen Harper giving sessions to the 10:12:46
   14       ran to that I knew things had to be      10:11:08         14   team about what it is and -- not what the Act 10:12:50
   15       ordered using a 222 form. Customers         10:11:11      15   is in particular, but what we should be doing 10:12:53
   16       couldn't just place an order and       10:11:13           16   from our end.                          10:12:57
   17       expect to get it like any other drug    10:11:14          17        Q. Okay. You had indicated a             10:12:59
   18       product. So there were some things        10:11:16        18   little earlier today in terms of your general 10:13:04
   19       that I was already familiar with.       10:11:18          19   education that you had occasion to             10:13:06
   20            I'm not familiar with the       10:11:21             20   participate in various types of continuing 10:13:07
   21       regulations of the Controlled          10:11:23           21   education programs over the years.              10:13:09
   22       Substances Act, so I have no idea of      10:11:26        22             Did any of those programs          10:13:11
   23       them. I'm not a specialist in that.    10:11:28           23   address in any way requirements under the          10:13:14
   24   QUESTIONS BY MR. GOTTO:                            10:11:29   24   Controlled Substances Act?                   10:13:17
   25       Q. Okay.                        10:11:30                  25        A. No.                         10:13:19

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                                                        Page 74                                                           Page 76
    1       Q. Okay. But Ms. Harper conducted 10:13:20                1        A. July 29, 2009.                 10:31:43
    2   programs from time to time, I take it, at    10:13:24         2        Q. Okay. Okay. Well, let's look 10:31:47
    3   Mallinckrodt that addressed certain aspects 10:13:26          3   at Exhibit 3 for a moment under the heading 10:31:48
    4   of the Controlled Substances Act?            10:13:28         4   of director of marketing, specialty generics. 10:31:50
    5       A. From how it impacted the            10:13:29           5            Item Number 1 is "oversee the       10:31:53
    6   commercial aspect of the business and what we 10:13:32        6   management of generic products by developing 10:31:56
    7   needed to do, yes.                    10:13:34                7   financially sound business plans."           10:31:58
    8            MR. GOTTO: Okay. All right.         10:13:37         8            Tell me what -- well, first of 10:32:01
    9       Well, why don't we take a break.        10:13:37          9   all, during your time as director of        10:32:09
   10       We've been going for about an hour.       10:13:40       10   marketing, did you develop business plans for 10:32:10
   11            VIDEOGRAPHER: We are going off 10:13:41             11   the generic products?                    10:32:12
   12       the record at 10:13 a m.            10:13:42             12        A. Yes, I did.                  10:32:13
   13        (Off the record at 10:13 a m.)       10:13:44           13        Q. Were there separate plans for        10:32:14
   14            VIDEOGRAPHER: We are back on             10:30:20   14   different products, or how did that work?       10:32:15
   15       the record at 10:30 a m.            10:30:22             15        A. Each product had a separate          10:32:18
   16   QUESTIONS BY MR. GOTTO:                           10:30:23   16   plan, separate market share, because each had 10:32:20
   17       Q. Welcome back, Ms. Collier.           10:30:27         17   different competitors.                  10:32:22
   18       A. Thank you.                    10:30:28                18        Q. Okay. And so the components of 10:32:24
   19       Q. Before the break, we had marked 10:30:28              19   the business plan for a generic product would 10:32:26
   20   as Exhibit 3 a document that included the job 10:30:31       20   consist of what?                       10:32:30
   21   description director of marketing. I'd like 10:30:36         21        A. It would consist of reviewing        10:32:31
   22   to go through some of those items in some       10:30:39     22   historical sales, what sales projections      10:32:33
   23   more detail.                        10:30:41                 23   there are, what new products we anticipated 10:32:35
   24            Before I do, who had been your 10:30:42             24   to launch, any additional customer programs 10:32:38
   25   predecessor at Mallinckrodt as director of     10:30:46      25   we intended to implement, any problems we had 10:32:40

                                                         Page 75                                                          Page 77
    1 marketing; do you know?                     10:30:49            1 within the past year regarding such thing as      10:32:43
    2       A. Jeff Burd.                   10:30:50                  2   quota allocation, inventory management          10:32:45
    3       Q. And did Mr. Burd leave             10:30:51            3   issues, manufacturing issues, and how do we 10:32:49
    4   Mallinckrodt?                        10:30:54                 4   address those going forward.               10:32:52
    5       A. Yes, he did.                  10:30:54                 5       Q. Okay. When you say "quota             10:32:54
    6       Q. And did you -- was there any         10:30:56          6   allocation," what do you mean by that?         10:32:57
    7   sort of transition from Mr. Burd to you in 10:31:01           7       A. The DEA allots quota based on          10:32:58
    8   terms of any meetings or transfer of        10:31:03          8   some criteria, and we may not get everything 10:33:02
    9   information from him to you?               10:31:07           9   we need to supply our customers throughout        10:33:05
   10       A. No, he was gone before I was         10:31:09         10   the year.                         10:33:07
   11   hired.                          10:31:11                     11       Q. Okay. And do you -- were you           10:33:08
   12       Q. Okay. Did you have access to 10:31:11                 12   involved in the process of applying for or     10:33:12
   13   any materials that he had prepared to assist 10:31:15        13   requesting quota from the DEA from time to        10:33:17
   14   the incoming director of marketing in        10:31:18        14   time?                             10:33:20
   15   transition?                       10:31:21                   15       A. The only aspect that I was          10:33:20
   16       A. Most of his files were -- I       10:31:22            16   involved in is occasionally they would ask if 10:33:23
   17   don't remember seeing any of his files. They 10:31:26        17   we picked up new business, and the customers 10:33:26
   18   probably weren't going to be relevant to me 10:31:27         18   had to provide a letter saying that it was   10:33:28
   19   because it was old data.                10:31:29             19   new business that we secured from a           10:33:29
   20            But I mostly got my information 10:31:31            20   competitor, and therefore the DEA would          10:33:31
   21   from working with the product managers in        10:31:33    21   switch the quota from the competitor to us. 10:33:33
   22   what the process had been about product        10:31:35      22            I'm not sure of the process or 10:33:35
   23   forecasting and product management.            10:31:37      23   how the request was made. I just was          10:33:37
   24       Q. Okay. And you started at           10:31:40           24   supplied the information by the customer.       10:33:39
   25   Mallinckrodt in mid-2009; is that right?      10:31:41       25       Q. Okay. And who would request             10:33:42

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    1 that information from you regarding the         10:33:43        1       A. Yes. The exception in              10:35:41
    2 customer?                             10:33:45                  2   oxycodone is that we had a 5 milligram and       10:35:44
    3       A. Karen Harper.                   10:33:45               3   not everyone had that. Not all competitors 10:35:46
    4       Q. And so in formulating the           10:33:47           4   had it, so that would call out for something 10:35:49
    5   business plans for the different products,    10:33:56        5   different.                         10:35:51
    6   one of the -- one of the issues you had to    10:33:58        6       Q. So you had a separate business 10:35:51
    7   deal with was quota allocation, correct?      10:34:03        7   plan on the 5 milligram?                  10:35:53
    8       A. Correct.                     10:34:05                  8       A. Right. A separate projection         10:35:54
    9       Q. And so the DEA quota, did you          10:34:06        9   of market share percentage, because obviously 10:35:56
   10   have an understanding as to how that quota      10:34:09     10   there were fewer competitors.               10:35:58
   11   was granted in terms of its applicability to 10:34:13        11       Q. Okay. But in terms of the           10:36:00
   12   various of the products?                 10:34:21            12   quota from the DEA, your understanding was          10:36:02
   13           MR. O'CONNOR: Object to form. 10:34:23               13   there was a single quota that Mallinckrodt      10:36:05
   14           THE WITNESS: The only thing I 10:34:24               14   had for oxycodone in whatever dosage and          10:36:07
   15       was aware of is that they would give     10:34:27        15   strength it chose to manufacture and sell,     10:36:10
   16       quota based on historical sales. I     10:34:28          16   correct?                           10:36:12
   17       have no idea how that was derived or      10:34:30       17       A. Correct.                      10:36:13
   18       who set that quota or how Mallinckrodt 10:34:33          18            MR. O'CONNOR: Object to form. 10:36:13
   19       played a role in that.            10:34:36               19            THE WITNESS: Correct.               10:36:14
   20   QUESTIONS BY MR. GOTTO:                           10:34:37   20   QUESTIONS BY MR. GOTTO:                            10:36:15
   21       Q. Okay. And so the quota, did          10:34:38         21       Q. Okay. So, for example,              10:36:22
   22   you understand it to be -- to be applicable 10:34:39         22   oxycodone 15 milligram versus 30 milligram, 10:36:23
   23   to each particular molecule of controlled     10:34:42       23   were there separate business plans for those 10:36:27
   24   substance?                          10:34:45                 24   two dosages?                          10:36:29
   25       A. Correct.                     10:34:45                 25       A. I don't recall doing separate       10:36:30

                                                         Page 79                                                            Page 81
    1       Q. And did you understand -- did         10:34:46         1 business plans for them.                    10:36:32
    2   you have an understanding as to whether there 10:34:49        2        Q. Okay. When you -- when you              10:36:33
    3   was quota for a particular dosage of that     10:34:51        3   started at Mallinckrodt, did you review the 10:36:41
    4   molecule?                          10:34:54                   4   then existing business plans for the various 10:36:46
    5            MR. O'CONNOR: Object to form. 10:34:55               5   products that were within the specialty         10:36:49
    6            THE WITNESS: No.                  10:34:56           6   generics umbrella?                       10:36:51
    7   QUESTIONS BY MR. GOTTO:                           10:34:57    7        A. When I started, they did not         10:36:52
    8       Q. Okay. You didn't have an            10:34:58           8   have a formal business plan. They continued 10:36:55
    9   understanding one way or the other on that? 10:35:00          9   doing what they were doing as far as product 10:36:58
   10       A. I'm sorry, no, I do not believe 10:35:01              10   forecasting and pricing and customer            10:37:02
   11   that it was per molecule.               10:35:03             11   strategy.                           10:37:04
   12       Q. Okay.                       10:35:05                  12        Q. Okay. So Exhibit 3, when             10:37:05
   13       A. It was just to the molecule,       10:35:05           13   there's a reference to developing financially 10:37:07
   14   not to the dosage form or the strength.      10:35:08        14   sound business plans, was that a new            10:37:10
   15       Q. Okay. And so in terms of            10:35:11          15   initiative for the director of marketing when 10:37:14
   16   formulating business plans for the different 10:35:13        16   you joined compared to what Mallinckrodt had 10:37:17
   17   products, did you have a different business 10:35:15         17   done historically?                      10:37:18
   18   plan for different dosage and strength of the 10:35:18       18        A. I think that was the             10:37:19
   19   same molecule?                        10:35:22               19   expectation; it's just that I brought a     10:37:20
   20       A. Not typically. Typically you         10:35:23         20   formal level to it.                    10:37:22
   21   would have it just for the molecule itself. 10:35:26         21        Q. Okay. Item Number 2, "direct           10:37:23
   22       Q. Okay. So, for example, with          10:35:28         22   and lead the creation and development of          10:37:30
   23   oxycodone, when you -- when you joined           10:35:35    23   marketing plans, promotional literature,        10:37:32
   24   Mallinckrodt, would you have a single          10:35:38      24   product messages/identity and product-related 10:37:35
   25   business plan for oxycodone?                10:35:39         25   activities."                        10:37:39

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    1            Does that accurately describe      10:37:41           1 you to implement to attempt to increase           10:39:48
    2   an aspect of your responsibilities while you 10:37:45          2   market share on a given product?              10:39:51
    3   were director of marketing?                 10:37:49           3        A. Well, one of the biggest things 10:39:53
    4       A. It's a little vague, but, yes. 10:37:52                 4   you would do is differentiate yourself as a 10:39:55
    5       Q. Okay. Well, let's break it          10:37:55            5   company, provide better customer service, be 10:39:57
    6   down a little bit.                    10:37:56                 6   responsive to customer needs. Communication 10:40:00
    7            First of all, it makes         10:37:57               7   is the biggest, letting them know what's       10:40:02
    8   reference to marketing plans. Tell me what 10:37:59            8   going on if there's a product issue, new       10:40:05
    9   you understand it to mean -- what you           10:38:03       9   entrants coming, you know, advising them of 10:40:08
   10   understand a marketing plan to mean in this 10:38:05          10   what's going on. So just providing good          10:40:11
   11   context.                            10:38:07                  11   customer service is the bottom line.          10:40:14
   12       A. A marketing plan would be              10:38:08        12        Q. Okay. So when you say               10:40:16
   13   developing the pricing strategy, what target 10:38:09         13   communicating, letting them know "if there's 10:40:26
   14   customers we wanted, what market share, who 10:38:12          14   a product issue," are there types of product 10:40:28
   15   were the competitors and who would we             10:38:15    15   issues you can recall arising during your       10:40:31
   16   displace in selling product if we wanted to 10:38:17          16   time at Mallinckrodt that you communicated          10:40:34
   17   gain share.                          10:38:20                 17   with customers on?                       10:40:36
   18       Q. Okay. So in terms of gaining           10:38:21        18            MR. O'CONNOR: Object to form. 10:40:38
   19   market share, since it's -- you're in a      10:38:24         19            THE WITNESS: Sure. There's            10:40:39
   20   generic industry here, what techniques were 10:38:31          20        always problems with supply. Either 10:40:40
   21   available to you as a marketing director to 10:38:34          21        there's a manufacturing issue, it's    10:40:42
   22   develop strategies for gaining market share 10:38:39          22        delayed, a raw material issue.        10:40:44
   23   with respect to a particular product?         10:38:41        23        Advising them on anything that you can 10:40:47
   24            MR. O'CONNOR: Object to form. 10:38:44               24        see might be a long term versus a       10:40:49
   25            THE WITNESS: I'm not sure what 10:38:45              25        short term and when you can supply the 10:40:52

                                                         Page 83                                                             Page 85
    1       you mean by "techniques." It would be 10:38:46             1        product again.                   10:40:54
    2       evaluating the market, so I'm going to 10:38:49            2   QUESTIONS BY MR. GOTTO:                            10:40:55
    3       answer just what I'm thinking you        10:38:51          3        Q. Okay. So back to my question          10:40:55
    4       might mean.                      10:38:54                  4   on, you know, techniques to increase market 10:41:04
    5   QUESTIONS BY MR. GOTTO:                            10:38:55    5   share, competing on price being one,           10:41:08
    6       Q. Okay.                       10:38:55                    6   excellent customer service of the type you      10:41:11
    7       A. It would be evaluating the          10:38:56            7   described being another.                  10:41:13
    8   market, see who the competitors are, who         10:38:58      8            Are there other approaches        10:41:14
    9   might be entering based on market             10:39:00         9   available to you as a director of marketing 10:41:18
   10   intelligence provided by the national account 10:39:02        10   to try to increase market share with respect 10:41:20
   11   managers or anything we read online from the 10:39:05         11   to a given product?                     10:41:23
   12   FDA site. So evaluating who might be            10:39:08      12        A. Sure. There's -- the customers 10:41:24
   13   potential threats and who make take our        10:39:12       13   have incentive programs in place, and so        10:41:28
   14   business, and if we wanted to retain the      10:39:14        14   participating in their incentive programs      10:41:30
   15   business or let it go.                10:39:15                15   that help them achieve their corporate goals 10:41:33
   16       Q. Okay. So in general, generic         10:39:16          16   is one. So it still goes back to price,     10:41:35
   17   pharmaceuticals, to expand market share -- I 10:39:25         17   because you're still going to price them       10:41:38
   18   mean, I'm not in the business, so I'm        10:39:29         18   appropriately for the market.              10:41:40
   19   obviously asking you as someone who has spent 10:39:31        19            And just -- again, just        10:41:44
   20   many years at this -- it would seem to be one 10:39:32        20   differentiating yourself as the vendor, as     10:41:48
   21   of the things you can do is develop          10:39:36         21   the manufacturer. Providing consistency of 10:41:51
   22   strategies to compete on price, correct?      10:39:38        22   supply is really important to customers so      10:41:55
   23       A. Correct.                     10:39:40                  23   that they don't have to have the pharmacies 10:41:59
   24       Q. Okay. Apart from competing on 10:39:41                 24   constantly switching product. So that's        10:42:01
   25   price, what other strategies are available to 10:39:45        25   another thing that's important.            10:42:03

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                                                          Page 86                                                            Page 88
    1        Q. Okay. When you joined               10:42:04           1       cycles. But I don't remember a         10:44:20
    2   Mallinckrodt, what was your understanding as 10:42:07          2       specific instance where we said, oh,    10:44:21
    3   to Mallinckrodt's market share with respect 10:42:12           3       we really want to go after this      10:44:23
    4   to its various generic products?           10:42:17            4       product, and we're going to cut        10:44:25
    5             MR. O'CONNOR: Object to form. 10:42:19               5       everybody out of the market.          10:44:26
    6             THE WITNESS: Mallinckrodt had 10:42:20               6   QUESTIONS BY MR. GOTTO:                          10:44:27
    7        strong market share on some products. 10:42:24            7       Q. Okay. What are examples of           10:44:27
    8        We're trailing on other products.      10:42:27           8   products you can recall shedding because of 10:44:29
    9   QUESTIONS BY MR. GOTTO:                            10:42:28    9   nonprofitability?                    10:44:32
   10        Q. Okay. When you first joined,         10:42:29         10       A. There was methylphenidate, one 10:44:33
   11   were there any products that you can          10:42:30        11   of the methylphenidates, it wasn't making any 10:44:37
   12   recall -- as to which you can recall any      10:42:32        12   money. It was a difficult product to make, 10:44:40
   13   particular effort to increase market share? 10:42:37          13   and so we were losing money on it, and we       10:44:42
   14        A. Well, frankly, when you launch 10:42:38               14   decided not to sell it anymore.           10:44:45
   15   a product, you obviously want to get some        10:42:45     15       Q. Okay. Any others?                10:44:47
   16   market share. I don't remember particular       10:42:47      16       A. None that I can recall, but I     10:44:48
   17   strategies where we wanted to gain more          10:42:52     17   know we did terminate several products, but I 10:44:51
   18   share, because in some instances the more        10:42:53     18   can't remember the names of them at this       10:44:54
   19   share we gained, the more the price came down 10:42:55        19   point.                           10:44:56
   20   and we actually got diminished returns. So 10:42:57           20       Q. Okay. What product launches           10:44:56
   21   there were instances when I remember that we 10:43:01         21   can you recall during your period at        10:44:58
   22   would say we would surrender share because         10:43:03   22   Mallinckrodt?                        10:44:59
   23   somebody else entered.                    10:43:05            23       A. We launched fentanyl lozenge,         10:45:00
   24             But as far as gaining share,    10:43:06            24   fentanyl patch and methylphenidate ER, the      10:45:06
   25   there might be cases that we did it for a     10:43:08        25   generic for Concerta.                  10:45:09

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    1 particular customer because we wanted a full        10:43:10     1       Q. From -- in terms of your             10:45:11
    2   line with that customer, but other than that, 10:43:12         2   position as director of marketing, what were 10:45:19
    3   that wasn't our target, other than launching 10:43:16          3   your responsibilities associated with a        10:45:21
    4   products.                           10:43:18                   4   product launch?                         10:45:23
    5       Q. Okay. So putting aside product 10:43:19                 5       A. To establish the market base          10:45:25
    6   launches for a moment, during your time at        10:43:22     6   that we were going to target, who -- what        10:45:30
    7   Mallinckrodt, as a general matter, is it your 10:43:27         7   customers did we want to pursue, what            10:45:33
    8   recollection that in terms of market share, 10:43:34           8   incentives were involved, what would be the 10:45:37
    9   again, apart from launching new products, the 10:43:37         9   margin be if we targeted those customers, and 10:45:38
   10   emphasis was on maintaining existing market 10:43:43          10   who would we take the market share from.           10:45:41
   11   share?                             10:43:46                   11       Q. And so how did you go about             10:45:44
   12            MR. O'CONNOR: Object to form. 10:43:46               12   performing the analysis pertinent to those 10:45:46
   13            THE WITNESS: Our emphasis was 10:43:47               13   types of issues with respect to, for example, 10:45:49
   14       more on sales margin and maintaining         10:43:49     14   a fentanyl lozenge launch?                 10:45:52
   15       margin, so we did more things in line 10:43:54            15       A. We would look at -- that one          10:45:57
   16       with pricing adjustments in order to      10:43:57        16   was a little bit easier; there was limited    10:45:58
   17       achieve our objectives, and we           10:44:00         17   competition. It's a really difficult product 10:46:00
   18       actually shed products because they        10:44:03       18   to make; very few companies have the             10:46:03
   19       were not profitable. So I remember         10:44:05       19   machinery. So we knew we would be taking it 10:46:06
   20       culling out products instead of         10:44:09          20   from -- I believe it was Teva at the time.     10:46:08
   21       looking to gain share.               10:44:11             21   So we were going to be taking a product away 10:46:10
   22            I don't remember specifically      10:44:13          22   from Teva, and so we knew we were strong in a 10:46:11
   23       anything along that line, but that's    10:44:14          23   particular customer, so we'd better -- we       10:46:14
   24       typical that you would try and gain       10:44:15        24   would be better suited to align with that      10:46:17
   25       share from competitors during bid         10:44:17        25   customer. We knew their incentive programs 10:46:20

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    1 and what their contract said about what we'd          10:46:21     1             So the challenge we had with       10:48:31
    2   have to offer, so we would determine pricing 10:46:24            2   messaging on fentanyl patch is that we          10:48:32
    3   based on that. And we knew what share we             10:46:26    3   couldn't say anything about we had a good         10:48:34
    4   needed to hit and did that with a couple of 10:46:30             4   tear factor, too, or that we had anything      10:48:36
    5   customers.                              10:46:34                 5   that was better about our product, the size 10:48:39
    6       Q. Okay. How about the fentanyl              10:46:35        6   of it. And that's the one thing. Once they 10:48:41
    7   patch?                               10:46:38                    7   did see the size of ours, because it was a 10:48:43
    8       A. The fentanyl patch was a little 10:46:39                  8   little bit smaller, they liked that because a 10:48:46
    9   bit different in that Mylan had a good           10:46:42        9   patient didn't want it to be as obvious. And 10:48:48
   10   product out there. They had -- the customers 10:46:46           10   easy to tear off, you know, after they're      10:48:53
   11   liked it. It's -- because, again, it's -- 10:46:49              11   done using it for three days.              10:48:55
   12   that one's a little bit differentiated than 10:46:51            12             So the only -- that was one      10:48:56
   13   taking the tablet because it's got a tear      10:46:54         13   campaign that we did advertising, to show         10:48:59
   14   factor. So Mylan's product was                 10:46:56         14   that the size of our patch was relatively      10:49:02
   15   well-received, so it was a little bit         10:46:59          15   small. And it had the strength on the patch 10:49:04
   16   difficult because pharmacists knew the            10:47:01      16   itself so the patients could tell. And it 10:49:07
   17   patients liked that.                     10:47:04               17   was color-coded so it made it easier. So we 10:49:10
   18            So we struggled to find our         10:47:05           18   did some trade journal advertising in that      10:49:13
   19   share and our footing on that at first, but 10:47:08            19   case so pharmacies could see why it was a         10:49:15
   20   we had a good product also. So once patients 10:47:09           20   good product.                          10:49:18
   21   started using our product, they liked it and 10:47:12           21        Q. Okay. And when you say "we"             10:49:18
   22   they were -- they stayed on it.              10:47:14           22   did that, that was Mallinckrodt advertising? 10:49:23
   23       Q. Okay. So as director of               10:47:15           23        A. Yes. Yes.                      10:49:26
   24   marketing, what steps can you recall taking 10:47:19            24        Q. Were there similar or -- strike 10:49:26
   25   to deal with -- for example, in the fentanyl 10:47:24           25   "similar."                           10:49:35

                                                            Page 91                                                            Page 93
    1 patch example, to deal with the fact Mylan         10:47:30        1            Were there other messaging         10:49:36
    2   already had a well-received product and         10:47:33         2   initiatives with respect to other generic     10:49:40
    3   Mallinckrodt would be a new entrant into that 10:47:36           3   products that you can recall during your        10:49:43
    4   market?                              10:47:38                    4   period as director of marketing?            10:49:47
    5       A. We would pursue other customers 10:47:39                  5        A. Sure. We made a product             10:49:49
    6   that were more about price and they weren't 10:47:42             6   announcement in trade journals, goes to         10:49:50
    7   as concerned about customer -- patient         10:47:45          7   pharmacists, to announce that we had fentanyl 10:49:53
    8   feedback. So that's part of it.           10:47:47               8   lozenge. And fentanyl patch was the same,         10:49:57
    9            So -- and then we also pursued 10:47:49                 9   and methylphenidate ER was the same.              10:49:59
   10   customers that we knew could work with the         10:47:52     10        Q. Okay. And how about with the           10:50:04
   11   pharmacies in messaging, I guess, to them.       10:47:55       11   existing product line, were there any         10:50:04
   12   They don't really -- like the wholesalers     10:47:57          12   messaging initiatives that you can recall?      10:50:07
   13   don't message. They list the product in       10:48:00          13        A. I know we did some advertising. 10:50:10
   14   their catalogs and they list it on their    10:48:02            14   We changed some of our labeling, so we            10:50:13
   15   website so they don't send a message behind 10:48:05            15   announced that the labels had changed so the 10:50:15
   16   it. So it was kind of a challenge, frankly, 10:48:07            16   customers could see that.                 10:50:19
   17   to get our share on that at first.        10:48:11              17            I don't remember any other        10:50:21
   18       Q. And when you say "message" in            10:48:13        18   advertising that we did around our core         10:50:22
   19   that setting, what do you mean by that?        10:48:16         19   products.                           10:50:25
   20       A. You can't tell -- you can't say 10:48:16                 20        Q. Okay. All right. Back on           10:50:25
   21   that we have a better tear factor or we have 10:48:18           21   Item 2 on Exhibit 3, there's reference to,     10:50:30
   22   a better -- our product's better in any way. 10:48:21           22   you know, "direct and lead the creation and 10:50:35
   23   They're equivalent. The FDA declared them          10:48:24     23   development of marketing plans" and then           10:50:36
   24   equivalent so they're the same, no matter      10:48:26         24   promotional literature.                 10:50:39
   25   which product you're looking at.             10:48:29           25            Is promotional literature       10:50:40

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    1 something that was part of your                10:50:42            1 competitor. You had to show that -- you           10:52:46
    2   responsibilities?                     10:50:44                   2 know, we showed the hand and showed how small 10:52:51
    3        A. Yes.                        10:50:46                     3 it was next to somebody's hand.                10:52:53
    4        Q. So tell me what sorts of           10:50:47              4           Our fentanyl lozenge, I know we 10:52:54
    5   promotional literature you oversaw.            10:50:49          5 advertise. I think that in the trade       10:52:58
    6        A. The advertising for the product 10:50:50                 6 journals we would simply show that we had the 10:53:01
    7   launch products in the trade journals. We       10:50:54         7 four sizes, strengths, and just the color of     10:53:03
    8   developed several programs to better connect 10:50:57            8 the packaging because that helped, because          10:53:09
    9   with the customers, so we had advertising -- 10:50:59            9 the pharmacists could quickly identify which        10:53:10
   10   or not advertising, but we send information 10:51:02            10 strength they were pulling from the shelf if      10:53:12
   11   out to the customers. If there was a product 10:51:06           11 they were taking care of a patient and           10:53:14
   12   change or a product announcement, we would           10:51:12   12 filling a prescription.                10:53:16
   13   send information to the customers.            10:51:14          13           And methylphenidate, just to         10:53:19
   14             So my team oversaw that and        10:51:15           14 announce that it was available.                10:53:21
   15   messaged the message about the product's now 10:51:18           15      Q.    Okay. Item Number 4 on               10:53:23
   16   available, here's the wholesaler order entry 10:51:20           16 Exhibit 3 is "identify new product/growth          10:53:34
   17   numbers to the wholesalers. You know, here's 10:51:24           17 areas, including new dosage forms of existing 10:53:37
   18   all the information we have. If -- we have 10:51:27             18 products, preparing the necessary analyses to 10:53:40
   19   to fill out a form that tells them everything 10:51:29          19 support same, which includes working with R&D 10:53:43
   20   from what the list price is to the packaging 10:51:31           20 on potential product line extensions and          10:53:46
   21   weights, dimensions, so we'd -- it's not      10:51:33          21 working with new product group and business           10:53:48
   22   really promotional material, but we had to       10:51:36       22 development to develop strategies and tactics 10:53:51
   23   send all that material, too.             10:51:37               23 resulting in additions to Mallinckrodt's         10:53:53
   24        Q. Okay. In terms of material you 10:51:39                 24 product portfolio."                    10:53:57
   25   would think of as promotional material,         10:51:42        25           Does Item 4 describe an aspect       10:53:59

                                                           Page 95                                                                    Page 97
    1 approximately -- was that a regular process       10:51:47         1 of what you understood to be your              10:54:06
    2   or was that an occasional process when there 10:51:51            2   responsibilities as director of marketing?    10:54:08
    3   was, say, a new development with respect to a 10:51:54           3        A. Yes, it does.                10:54:09
    4   product?                           10:51:56                      4        Q. And tell me what you did to go 10:54:10
    5       A. It was an occasional process.       10:51:57              5   about identifying new product and growth         10:54:11
    6   As products go, the only thing we really did 10:52:00            6   areas in the matter described in Item 4 here. 10:54:14
    7   was announce when products were available,        10:52:03       7        A. The easiest path we had for new 10:54:17
    8   again, if there was some change to a product. 10:52:05           8   products would be to do line extensions. For 10:54:22
    9       Q. The next item under heading 2         10:52:08            9   example, oxycodone had 5, 10, 15, 20 and         10:54:23
   10   is product messages/identity. I guess it's 10:52:14             10   30 milligrams. We did not have the 10 or the 10:54:28
   11   creation and development of product           10:52:19          11   30 milligram to launch those.              10:54:30
   12   messages/identities.                  10:52:24                  12            We looked at solutions. If we 10:54:32
   13            Is that something that you      10:52:25               13   had the finished dosage form in an oral       10:54:33
   14   viewed as part of your responsibility as      10:52:26          14   solid, can we launch it in a solution form. 10:54:36
   15   director of marketing?                  10:52:28                15            We looked at other products       10:54:39
   16       A. Yes.                       10:52:29                      16   like methylphenidate ER; should we continue 10:54:40
   17       Q. And tell me what that consisted 10:52:29                 17   filing for a patent challenge. And if so, I 10:54:44
   18   of.                             10:52:30                        18   would be involved in those discussions with 10:54:49
   19       A. That was what I was just           10:52:31              19   legal about what would be the implications if 10:54:51
   20   explaining about trying to get across a      10:52:34           20   we want a patent challenge versus not. So       10:54:53
   21   message to the pharmacists that our product 10:52:35            21   there was many things like that.           10:54:56
   22   was available, that -- you know, you couldn't 10:52:36          22            And then there were other        10:54:58
   23   talk about we had a smaller size; you could 10:52:39            23   products that were in the pipeline portfolio 10:55:01
   24   show, basically. You had to -- we couldn't 10:52:41             24   when I started, and we killed some of those, 10:55:05
   25   compare it to a Mylan product or any other      10:52:44        25   too, and said they're not worth launching      10:55:06

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    1 because the market would dwindle before we               10:55:09    1 regulatory issues like the changes in         10:57:26
    2 even got to market, so there wasn't anything           10:55:12      2   hydrocodone. It moved from a Schedule III to 10:57:28
    3 of value there.                       10:55:14                       3   a Schedule II.                      10:57:30
    4       Q. Okay. And so were there any           10:55:16              4       Q. Okay. Item 8 is "work closely 10:57:31
    5   new products you can recall during your time 10:55:17              5   with sales to ensure business plans are met." 10:57:43
    6   at Mallinckrodt that were developed where        10:55:20          6            Was that part of your         10:57:46
    7   the -- where the impetus for that development 10:55:26             7   responsibility as director of marketing?      10:57:48
    8   came from the marketing department?             10:55:28           8       A. Yes.                       10:57:49
    9       A. None that they took on that I       10:55:30                9       Q. And so who did you work with in 10:57:50
   10   can remember.                         10:55:40                    10   the sales department to ensure business plans 10:57:53
   11       Q. Okay. And so in terms of the         10:55:40              11   are met?                          10:57:55
   12   new products, it was -- marketing           10:55:41              12       A. Primarily I worked with John          10:57:57
   13   department's involvement was essentially        10:55:44          13   Adams in the beginning, and then John left, 10:57:58
   14   responding to ideas that came out of other -- 10:55:49            14   and then I worked with Jane Williams.          10:58:00
   15   other parts of the company?               10:55:50                15       Q. Okay. Do you recall when             10:58:03
   16       A. Right.                      10:55:51                       16   Mr. Adams left?                       10:58:04
   17       Q. Okay. Item Number 5. And I            10:55:53             17       A. Not really. I think it was        10:58:05
   18   won't read the whole paragraph, but at the -- 10:56:08            18   around 2011 or 2012.                    10:58:08
   19   toward the end it talks about compliance with 10:56:11            19       Q. Okay. And in terms of working 10:58:10
   20   associated product-related dimensions as far 10:56:16             20   with those individuals, what was -- describe 10:58:12
   21   as working with the regulatory and legal       10:56:19           21   for me the types of things you would interact 10:58:15
   22   departments.                        10:56:23                      22   with them on.                        10:58:18
   23            Who did you work with -- who        10:56:23             23       A. Marketing would interact with         10:58:19
   24   did the folks in the marketing department      10:56:24           24   sales on a regular basis. Sales would be -- 10:58:23
   25   under you, as part of your team, work with in 10:56:27            25   would bring customer requests to us such as 10:58:28

                                                               Page 99                                                           Page 101
    1 the regulatory and legal departments to            10:56:30          1 the customer wants this incentive, they want        10:58:33
    2 ensure compliance as it's described in this        10:56:32          2   this pricing, here's the contract. So I     10:58:35
    3 paragraph?                              10:56:35                     3   constantly worked with them on the contract 10:58:39
    4      A.    Primarily -- oh.              10:56:36                    4   terms, incentives that the customers were        10:58:43
    5           MR. O'CONNOR: Object to form.              10:56:36        5   receiving, any value that the customer got, 10:58:45
    6           THE WITNESS: Primarily we                10:56:37          6   because we did the analytics in my team on 10:58:47
    7      worked with Stu Kim on regulatory and           10:56:39        7   what the real net margin was for that          10:58:49
    8      Don Lohman on compliance.                 10:56:43              8   particular customer, those product mix or        10:58:52
    9 QUESTIONS BY MR. GOTTO:                                10:56:45      9   whatever was in the mix with that. And then 10:58:54
   10      Q.    Okay. And when you say "on              10:56:45         10   we also worked with them on forecasting.          10:58:58
   11 regulatory" in this setting, what do you           10:56:48         11       Q. Okay. In terms of contract           10:59:02
   12 mean? What sorts of things did you work on?            10:56:51     12   terms, pricing, et cetera, incentives and the 10:59:04
   13      A.    Again, I'll go back to the       10:56:53                13   like, who made the ultimate decision on          10:59:08
   14 methylphenidate ER. Stu Kim was working on a 10:56:55               14   whether to offer a particular term or         10:59:13
   15 strategy on some of the products, like how we 10:56:59              15   incentive to a customer?                  10:59:15
   16 would respond to the FDA on some of our               10:57:03      16       A. If we were in conflict, if I       10:59:17
   17 filings. Methylphenidate ER, should we              10:57:05        17   was in conflict with the vice president of 10:59:20
   18 continue filing a paragraph IV challenge.           10:57:09        18   sales, it would roll up to our president of 10:59:21
   19 Even though other people were ahead of us,            10:57:10      19   generics.                           10:59:25
   20 should we continue doing that. What value            10:57:12       20       Q. Okay. And that was?                 10:59:25
   21 would it bring to the company if we won. And 10:57:13               21       A. Mike Gunning at one time and             10:59:26
   22 so -- because it's an expense, obviously, to       10:57:15         22   then David Silver for an interim and then        10:59:29
   23 hire external lawyers to do that, so was it        10:57:18         23   Walt Kaczmarek.                          10:59:35
   24 worth it to hire them to do that.            10:57:20               24       Q. Do you recall that occurring          10:59:38
   25           And just if there were          10:57:22                  25   from time to time?                      10:59:39

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    1       A. Yes.                       10:59:40                     1 and tell me that a customer wasn't agreeing        11:01:28
    2       Q. Okay. When can you recall that 10:59:41                 2   to something in the terms, do we want to just 11:01:32
    3   occurring?                          10:59:42                   3   quit negotiating, or what do we want to do. 11:01:34
    4       A. There were several instances         10:59:43           4       Q. Okay. It appears to me from           11:01:36
    5   when we would not give an incentive, and then 10:59:46         5   some of the documents I've seen that you and 11:01:41
    6   sales would push back. And either I would        10:59:52      6   Mr. Borelli had some difficulties in your       11:01:43
    7   refer to the contract and they would comply 10:59:58           7   relationship from time to time; is that fair? 11:01:46
    8   with the contract, or if we came to a        11:00:01          8            MR. O'CONNOR: Object to form. 11:01:48
    9   disagreement about what we should do as far 11:00:05           9            THE WITNESS: I would agree             11:01:48
   10   as should we offer an incentive, then that     11:00:09       10       with that.                    11:01:49
   11   would roll up to our boss. And I do remember 11:00:11         11   QUESTIONS BY MR. GOTTO:                            11:01:49
   12   that happening with a particular customer one 11:00:13        12       Q. Okay. Can you recall the             11:01:50
   13   time with Jane Williams.                  11:00:16            13   circumstances that gave rise to those         11:01:51
   14       Q. And who was -- what was that           11:00:18        14   difficulties?                      11:01:53
   15   occasion?                          11:00:19                   15       A. Yes. Victor would campaign on 11:01:53
   16       A. It was -- we were looking at a 11:00:19                16   behalf of the customer oftentimes to gain       11:02:02
   17   smaller customer that wanted a price in order 11:00:20        17   business or to give incentives, and I would 11:02:07
   18   to secure their business away from a          11:00:24        18   do analytics around it because I'm a numbers 11:02:11
   19   competitor, and by offering that, we would      11:00:26      19   person. So I would say, no, we don't want to 11:02:13
   20   have to offer a really big customer that same 11:00:31        20   do that. And he and I had business            11:02:15
   21   discount, which would devalue the entire        11:00:33      21   challenges. We did not see the business the 11:02:17
   22   product line.                       11:00:35                  22   same way.                           11:02:20
   23       Q. I see.                     11:00:35                    23       Q. Okay. Do you recall how those 11:02:21
   24            Do you recall what the product 11:00:36              24   issues were resolved from time to time?         11:02:24
   25   line was?                          11:00:36                   25            MR. O'CONNOR: Object to form. 11:02:29

                                                        Page 103                                                                 Page 105
    1        A. No. I just remember the           11:00:37             1           THE WITNESS: Victor --               11:02:30
    2   moment.                             11:00:40                   2      sometimes they escalated, and            11:02:33
    3        Q. Okay. Did you personally           11:00:41            3      sometimes Victor said, okay, he -- he       11:02:36
    4   interact with any of the national account     11:00:47         4      wouldn't pursue it anymore. It just       11:02:40
    5   managers?                            11:00:49                  5      depended on the situation and how           11:02:43
    6        A. Yes, I did.                 11:00:49                   6      strongly he felt about it.            11:02:45
    7        Q. And with whom can you recall          11:00:50         7 QUESTIONS BY MR. GOTTO:                                11:02:46
    8   interacting?                        11:00:52                   8      Q.      Do you recall anyone at the      11:02:48
    9        A. I would generally interact with 11:00:53               9 company ever communicating to you anything to 11:02:50
   10   all of them at some point.               11:00:54             10 the effect that Mr. Borelli would say           11:02:54
   11        Q. Okay. And what was the -- what 11:00:55               11 anything to make a sale?                    11:02:58
   12   were the types of issues you would interact 11:00:57          12           MR. O'CONNOR: Object to form.            11:02:59
   13   with them on?                         11:00:59                13           THE WITNESS: I don't recall           11:03:01
   14        A. Again, it would go back to the 11:01:00               14      that.                         11:03:03
   15   contract terms, the incentives, the customer 11:01:03         15 QUESTIONS BY MR. GOTTO:                                11:03:03
   16   earned their incentive. Because the contract 11:01:07         16      Q.      Okay. Did you interact with       11:03:03
   17   admin team would come to me and say, "This         11:01:10   17 Ms. Stewart from time to time?                 11:03:04
   18   customer wants this payment and it's not -- 11:01:12          18           MR. O'CONNOR: Object to form.            11:03:11
   19   they didn't reach their goal."           11:01:16             19           THE WITNESS: I know the name,               11:03:11
   20            And so I would say, "yes, they 11:01:17              20      but I don't remember who she is or         11:03:14
   21   deserve it" or "they don't," based on doing 11:01:20          21      what she did.                    11:03:15
   22   market research on what they've done. So        11:01:21      22 QUESTIONS BY MR. GOTTO:                                11:03:15
   23   that would happen on occasion. The NAMs           11:01:24    23      Q.      Okay. Then I guess you didn't     11:03:16
   24   would come to me.                       11:01:27              24 interact with her very much, if at all?        11:03:17
   25            Or the NAMs would come to me          11:01:27       25      A.      Yeah, probably not.            11:03:20

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                                                               Page 106                                                        Page 108
    1      Q.    Okay. How about Mr. Rausch?           11:03:21            1 Mallinckrodt -- so this -- this chart that   11:06:07
    2      A.    Jim?                    11:03:23                          2   we're looking at from January 2010, this is 11:06:08
    3      Q.    Uh-huh.                   11:03:23                        3   about six months after you joined the        11:06:11
    4      A.    Rausch? Yes.                 11:03:24                     4   company, correct?                     11:06:13
    5      Q.    Okay. In what context did you       11:03:26              5       A. Right.                     11:06:13
    6 interact with him?                      11:03:29                     6       Q. And so when you joined the           11:06:14
    7      A.    Occasionally orders would be        11:03:29              7   company, were you aware of the existence of a 11:06:16
    8 held up and -- because we were allocating, or 11:03:31               8   suspicious order monitoring program at the 11:06:23
    9 a customer issue might come up, and they           11:03:34          9   company at that time?                   11:06:25
   10 would contact my department.                  11:03:36              10            MR. O'CONNOR: Object to form. 11:06:26
   11      Q.    Okay.                    11:03:38                        11            THE WITNESS: I don't             11:06:27
   12      A.    Or he's in customer service, so    11:03:41              12       understand what you mean was I aware 11:06:29
   13 the customer service team would contact my          11:03:44        13       of a suspicious order monitoring       11:06:31
   14 department or me personally.                 11:03:47               14       program.                       11:06:32
   15           (Mallinckrodt-Collier Exhibit 4    11:04:12               15            Oh, in 2010, did I know that    11:06:34
   16      marked for identification.)          11:04:12                  16       they had one?                   11:06:35
   17 QUESTIONS BY MR. GOTTO:                              11:04:12       17   QUESTIONS BY MR. GOTTO:                          11:06:36
   18      Q.    Okay. Let's mark another          11:04:12               18       Q. Yes, when you joined in 2009,         11:06:36
   19 document here.                        11:04:13                      19   into early 2010.                    11:06:39
   20           We've marked as Exhibit 4 a        11:04:14               20       A. Yes, I was aware that there was 11:06:41
   21 document bearing Bates MNK-T1_0004887323, and 11:04:30 21                a compliance team.                     11:06:42
   22 it's a two-page document. One page is blank, 11:04:40               22       Q. Okay. And who was involved in 11:06:45
   23 indicating that it was produced in native       11:04:44            23   the compliance team?                    11:06:47
   24 format. The second page is another             11:04:45             24       A. I remember Don Harper -- I          11:06:47
   25 organizational chart relating to specialty      11:04:50            25   mean, Don Lohman, Karen Harper, and then -- 11:06:53

                                                               Page 107                                                        Page 109
    1 generic marketing goals and responsibilities            11:04:59     1 those were the only two I interacted with.       11:06:54
    2 as of 1/12/2010.                           11:04:55                  2        Q. Okay. So you knew there was a 11:06:57
    3           Take a moment to look at this         11:05:00             3   compliance team.                        11:06:59
    4   chart and tell me if that -- if this chart is 11:05:02             4            Did you --                 11:07:00
    5   consistent with your recollection of those       11:05:05          5        A. Right.                      11:07:01
    6   roles and responsibilities at this time.       11:05:07            6        Q. Did you have any understanding 11:07:02
    7       A. Yes.                           11:05:09                     7   of how the suspicious order monitoring          11:07:03
    8       Q. Okay. And I think you've               11:05:10             8   process worked at Mallinckrodt at that time? 11:07:07
    9   already indicated Lisa Lundergan, that's -- 11:05:17               9        A. No. I just knew they would          11:07:09
   10   she changed her name to Cardetti at some           11:05:19       10   call on occasion about high orders.          11:07:11
   11   point?                               11:05:22                     11        Q. Okay. Were you familiar with          11:07:15
   12       A. Correct.                        11:05:22                   12   the term "peculiar order" at that time?      11:07:17
   13       Q. Okay. And at this point she            11:05:22            13        A. I don't remember them calling        11:07:20
   14   was an associate.                        11:05:25                 14   it that.                         11:07:22
   15           Did she report to                11:05:25                 15        Q. Okay. When you say they would 11:07:23
   16   Ms. Muhlenkamp at this point?                   11:05:26          16   call from time to time with high orders, what 11:07:29
   17       A. Yes.                           11:05:28                    17   do you recall them calling and asking about? 11:07:33
   18       Q. Okay. And so for -- there are 11:05:29                     18        A. On occasion they would call my 11:07:35
   19   various products listed under each of the        11:05:37         19   department and say that a customer ordered       11:07:37
   20   product managers, and to the best of your         11:05:40        20   more than their usual amount; did we know         11:07:39
   21   recollection, is that allocation of products 11:05:45             21   why. Did we just win a contract award where 11:07:43
   22   among those product managers as of January           11:05:49     22   we took the business from a competitor. Is 11:07:46
   23   2010 accurate?                           11:05:51                 23   the customer buying an inventory for the end 11:07:49
   24       A. Yes.                           11:05:52                    24   of the year. Sometimes they'd do that for      11:07:52
   25       Q. Okay. When you joined                  11:05:54            25   inventory purposes. So they would ask those 11:07:55

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    1 kinds of questions.                     11:07:58                  1       help us find out more information."       11:09:41
    2       Q. Okay. And would they ask that 11:07:59                   2   QUESTIONS BY MR. GOTTO:                            11:09:43
    3   directly of you or would they ask that of the 11:08:01          3       Q. Okay. So apart from just the         11:09:43
    4   product managers?                      11:08:04                 4   size of the order, what other sorts of issues 11:09:45
    5       A. They would sometimes ask it of 11:08:06                  5   can you recall them flagging an order about? 11:09:47
    6   the product managers, and then if the product 11:08:08          6       A. Frequency. The customer               11:09:50
    7   managers didn't know, they'd ask me, and I'd 11:08:10           7   ordered more than -- most of the customers 11:09:52
    8   work with the NAMs to find out what was going 11:08:12          8   order once a week, or even some of the small 11:09:55
    9   on.                            11:08:15                         9   guys once a month, and they might have           11:09:59
   10       Q. Okay. Can you remember               11:08:15           10   ordered more often than usual and did we know 11:10:00
   11   specific examples where you worked with one 11:08:15           11   why.                              11:10:03
   12   or more of the national account managers       11:08:18        12       Q. Okay. And when you would                11:10:03
   13   responding to an inquiry you had received in 11:08:20          13   receive such an inquiry, would it come          11:10:06
   14   this regard?                       11:08:22                    14   through an e-mail typically?               11:10:09
   15       A. Not a specific example, no.         11:08:22            15       A. Yes.                        11:10:10
   16       Q. Okay. But you recall that it       11:08:24             16       Q. Okay. So to the extent you           11:10:11
   17   did happen?                         11:08:25                   17   received -- you personally received any such 11:10:14
   18       A. Yes.                       11:08:26                     18   inquiries, they would be reflected in -- to 11:10:16
   19       Q. And do you recall the            11:08:26               19   the best of your knowledge, they'd be          11:10:18
   20   approximate frequency with which that would 11:08:28           20   reflected in your e-mails, correct?         11:10:20
   21   happen?                            11:08:30                    21            MR. O'CONNOR: Object to form. 11:10:21
   22       A. I don't remember it being very 11:08:30                 22            THE WITNESS: Yes. There may 11:10:21
   23   frequent. It did happen. I don't remember 11:08:34             23       have been phone calls, but I don't      11:10:25
   24   the frequency.                      11:08:36                   24       recall, you know, if it was phone call 11:10:28
   25       Q. Okay. Do you recall any of the 11:08:37                 25       or e-mail only.                  11:10:29

                                                        Page 111                                                            Page 113
    1 feedback you received from the national           11:08:41        1 QUESTIONS BY MR. GOTTO:                              11:10:30
    2   account managers when you were personally           11:08:43    2        Q. Okay. And when you inquired -- 11:10:30
    3   involved in responding to an inquiry in this 11:08:48           3   and so when you personally received an           11:10:31
    4   regard?                            11:08:49                     4   inquiry, you indicated you would inquire of 11:10:33
    5       A. No. The national account             11:08:50            5   the national account managers, correct?         11:10:36
    6   managers obviously wouldn't be happy if an         11:08:55     6        A. Yes.                       11:10:37
    7   order was cut off, but I don't even remember 11:08:57           7        Q. Did you take any other steps         11:10:37
    8   the outcomes because I was not involved in        11:09:00      8   other than inquiring of the national account 11:10:39
    9   the decision about whether -- I would just      11:09:03        9   managers?                            11:10:41
   10   report the information, and I was not         11:09:04         10        A. Yes. We would look at the            11:10:41
   11   responsible for the outcome of shipping or       11:09:07      11   customer historical volume on -- overall and 11:10:44
   12   not shipping.                        11:09:09                  12   find out if they did indeed award us a new      11:10:50
   13       Q. Okay. Do you recall from whom 11:09:10                  13   product, if we got a new contract with them. 11:10:54
   14   the inquiry would come?                    11:09:14            14   If they were in fair share for the market, if 11:10:56
   15       A. Karen Harper's office.             11:09:15             15   they were oversized share for the market,       11:10:59
   16       Q. Okay. And am I understanding            11:09:17        16   that would be a concern.                 11:11:02
   17   you correctly that generally the inquiry      11:09:20         17        Q. What does that mean, "fair          11:11:03
   18   would be along the lines that we've received 11:09:23          18   share" versus "oversized share"?             11:11:06
   19   a large order and we're trying to ascertain 11:09:26           19        A. For example, if you had a small 11:11:07
   20   the reasons for this increased size in order? 11:09:30         20   distributor that ordered 30 percent of the     11:11:10
   21            MR. O'CONNOR: Object to form. 11:09:33                21   total market value, that's a concern.        11:11:11
   22            THE WITNESS: It could be for          11:09:33        22        Q. Okay. And when you responded             11:11:13
   23       any number of reasons that they          11:09:37          23   back to Ms. Harper's department to respond to 11:11:23
   24       flagged the order, but they would tell 11:09:38            24   the inquiry, would that be in an e-mail form 11:11:26
   25       us, "We've got an issue, and can you      11:09:41         25   that you would have responded?                11:11:27

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                                                          Page 114                                                                Page 116
    1            MR. O'CONNOR: Object to form. 11:11:29                   1 you recall other circumstances in which you        11:14:04
    2            THE WITNESS: Possibly.              11:11:29             2 were aware that Ms. Muhlenkamp was conducting 11:14:06
    3   QUESTIONS BY MR. GOTTO:                            11:11:30       3 any review of a potentially suspicious order? 11:14:11
    4       Q. In what other forms might you          11:11:30            4      A.   No, I don't recall that. You'd 11:14:15
    5   have responded?                        11:11:33                   5 have to ask Kate.                      11:14:18
    6       A. Phone call.                   11:11:34                     6      Q.   Okay. How about                11:14:19
    7       Q. Do you recall if there was any 11:11:34                    7 Mr. Montgomery?                          11:14:23
    8   requirement in place at Mallinckrodt at the 11:11:40              8      A.   I doubt that he would be        11:14:24
    9   time that a response to any such inquiry from 11:11:42            9 involved. He was not strong on analytics.         11:14:26
   10   Ms. Harper's department be in writing?          11:11:46         10      Q.   Okay. And how about Ms. Myers?           11:14:29
   11       A. I don't recall that.           11:11:49                   11      A.   No.                    11:14:34
   12       Q. Do you know if any order as to 11:11:51                   12      Q.   Or Ms. Lundergan?               11:14:36
   13   which you personally received an inquiry from 11:12:00           13      A.   I'm not sure about Lisa either. 11:14:39
   14   Ms. Harper's department was ultimately           11:12:02        14      Q.   Okay. So in -- so when the       11:14:44
   15   determined to be a suspicious order and         11:12:05         15 compliance department had a question              11:15:01
   16   reported to the DEA?                    11:12:07                 16 regarding a potentially suspicious order, was 11:15:02
   17       A. Honestly, I never got that         11:12:08               17 there a procedure in place at Mallinckrodt        11:15:06
   18   information, so I wouldn't know.            11:12:11             18 under which they would refer that question to 11:15:16
   19       Q. Okay. Do you know if the             11:12:14             19 any particular person in the marketing          11:15:19
   20   product managers who reported to you received 11:12:22           20 department?                           11:15:22
   21   inquiries from Ms. Harper's department with 11:12:27             21           MR. O'CONNOR: Object to form.           11:15:22
   22   respect to potentially suspicious orders?      11:12:31          22           THE WITNESS: I'm not sure what          11:15:23
   23       A. I don't know that for a fact.      11:12:34               23      you're asking. Could you rephrase the 11:15:24
   24       Q. Okay. Do you recall any             11:12:37              24      question?                       11:15:26
   25   situation or occasion in which             11:12:45              25

                                                          Page 115                                                                Page 117
    1 Ms. Muhlenkamp, for example, informed you               11:12:47    1 QUESTIONS BY MR. GOTTO:                                11:15:26
    2   that she had received an inquiry from           11:12:51          2      Q.     Sure.                     11:15:26
    3   Ms. Harper's department with respect to a         11:12:56        3            If someone in the compliance        11:15:27
    4   potentially suspicious order?               11:12:58              4   department had a question regarding whether 11:15:31
    5       A. I don't remember any of that.          11:12:59            5   an order was a suspicious order and they        11:15:35
    6       Q. Okay. Did you perform periodic 11:13:02                    6   wanted to refer that to the marketing         11:15:38
    7   evaluations of the performance of the product 11:13:12            7   department for further information, was there 11:15:40
    8   managers who reported to you?                  11:13:14           8   a procedure in place at Mallinckrodt whereby 11:15:43
    9       A. Yes, I did.                   11:13:14                     9   they would know what person at the -- in the 11:15:45
   10       Q. And so did that evaluation            11:13:15            10   marketing department was the appropriate          11:15:48
   11   include in any regard their activities in      11:13:18          11   person to refer that question to?           11:15:49
   12   responding to inquiries they had received        11:13:24        12            MR. O'CONNOR: Object to form. 11:15:51
   13   with respect to potentially suspicious         11:13:26          13            THE WITNESS: I'm not sure a           11:15:51
   14   orders?                            11:13:29                      14       procedure, per se. Karen Harper might 11:15:57
   15       A. I don't recall ever having that 11:13:29                  15       be able to tell you that if she had a 11:16:00
   16   in anybody's review. It would be more around 11:13:33            16       process in which she followed, but I'm 11:16:02
   17   forecasting accuracy.                    11:13:37                17       not aware of a specific procedure that 11:16:03
   18       Q. Okay. With respect to               11:13:39              18       was taught to my team.                11:16:05
   19   Ms. Muhlenkamp in particular, do you recall 11:13:42             19   QUESTIONS BY MR. GOTTO:                            11:16:06
   20   being aware at any point of any -- well,        11:13:44         20       Q. Okay. So in terms of -- within 11:16:06
   21   strike that.                       11:13:48                      21   the marketing department, from your             11:16:08
   22            You've already testified with      11:13:48             22   standpoint, there wasn't any formal procedure 11:16:11
   23   regard to activities Ms. Muhlenkamp took when 11:13:51           23   in place that stated that inquiries from the 11:16:17
   24   the Sunrise issues came up and accessing the 11:13:53            24   compliance department with respect to           11:16:24
   25   chargeback data. Apart from that example, do 11:13:58            25   potentially suspicious orders that were made 11:16:26

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    1 to the marketing department should be handled 11:16:28                1 expectation that they would inform you of          11:18:29
    2 by person A, person B, person C, anything              11:16:31       2   their receipt of an inquiry from the        11:18:31
    3 like that; is that fair?                 11:16:33                     3   compliance department with respect to a         11:18:33
    4           MR. O'CONNOR: Objection.                  11:16:36          4   potentially suspicious order?             11:18:36
    5           THE WITNESS: I would say                  11:16:37          5        A. I didn't have that expectation. 11:18:36
    6      that's fair. They understood who             11:16:38            6   They are responsible product managers, and I 11:18:42
    7      managed which products, so they might            11:16:41        7   expect them to answer the question. They         11:18:44
    8      go to that specific product manager.          11:16:42           8   were not making the final decision. So they 11:18:45
    9           But I'm still not clear on        11:16:44                  9   would supply the information needed, and I 11:18:47
   10      where you're going with this because           11:16:50         10   knew they knew how to supply the correct          11:18:48
   11      it -- it wasn't a formal policy that     11:16:52               11   information. So it was not my expectation 11:18:50
   12      I'm aware of. Karen might have had             11:16:54         12   they would provide it to me.              11:18:52
   13      something in place, but I don't          11:16:57               13        Q. Okay. And so there was no -- 11:18:54
   14      remember us ever being educated on              11:16:58        14   is it fair to say that there was no      11:18:56
   15      something about this is exactly how           11:17:00          15   requirement in place within the marketing       11:18:59
   16      you handle it.                     11:17:01                     16   department that a product manager report to 11:19:01
   17 QUESTIONS BY MR. GOTTO:                                 11:17:02     17   you when they received a -- an inquiry from 11:19:05
   18      Q.    Okay. And so when you say               11:17:02          18   the compliance department as to a potentially 11:19:09
   19 "they" knew who handled which products, you              11:17:07    19   suspicious order?                     11:19:12
   20 mean the compliance department knew which --              11:17:09   20        A. That would be a good              11:19:12
   21 which product manager handled which product;             11:17:11    21   assumption.                          11:19:14
   22 is that fair?                          11:17:14                      22        Q. Okay. Okay. Focusing back on 11:19:14
   23      A.    Correct.                     11:17:14                     23   exhibit -- what are we on, 4? I realize      11:19:22
   24      Q.    Okay. And certain inquiries            11:17:15           24   you've testified that the composition of your 11:19:29
   25 you became involved in personally.                  11:17:24         25   team changed over time as folks left.         11:19:33

                                                               Page 119                                                          Page 121
    1             Are you aware of any inquiries 11:17:28                   1           In terms of the particular      11:19:36
    2   that were referred to anyone in the market         11:17:30         2   products that are set forth on Exhibit 4,     11:19:39
    3   department -- marketing department, you know, 11:17:32              3   when Ms. Muhlenkamp left, did Lisa              11:19:45
    4   inquiries regarding potentially suspicious        11:17:36          4   Lundergan/Cardetti -- Cardetti, is it?       11:19:54
    5   orders, other than the inquiries that you        11:17:39           5       A. Yes.                        11:19:57
    6   personally became involved in?                  11:17:41            6       Q. Thank you.                     11:19:57
    7       A. I'm not aware unless they              11:17:43              7           Did she assume responsibility       11:19:57
    8   involved me.                            11:17:45                    8   for those products?                    11:19:58
    9       Q. Okay.                           11:17:47                     9       A. Actually, they -- I split them 11:19:59
   10       A. They may have made other                 11:17:47           10   out between Lisa, Marc, and hired a new          11:20:01
   11   inquiries and I would not be aware.             11:17:49           11   product manager, Jennifer Block.              11:20:05
   12       Q. Okay. Was it your expectation 11:17:53                      12       Q. Okay. All right. And               11:20:06
   13   that if a product manager received an inquiry 11:17:56             13   Mr. Montgomery, was he a product manager            11:20:09
   14   from the compliance department with respect 11:18:00               14   through your tenure at Mallinckrodt?           11:20:13
   15   to a potentially suspicious order that the       11:18:02          15       A. No, he got promoted to senior         11:20:14
   16   product manager would inform you of that             11:18:05      16   product manager while I was there.            11:20:16
   17   inquiry?                              11:18:07                     17       Q. Okay. And so senior product           11:20:18
   18       A. The product managers were                11:18:07           18   manager was -- did he still report to you -- 11:20:20
   19   generally good about informing me of things 11:18:11               19       A. Yes, he did.                  11:20:22
   20   going on with their products, so I may have 11:18:14               20       Q. Okay. Were there other senior 11:20:23
   21   known, but they may not have always advised 11:18:16               21   product managers?                       11:20:28
   22   me. If they didn't tell me, I don't know.       11:18:19           22       A. No, he was the only one at the 11:20:29
   23       Q. Sure.                          11:18:21                     23   time.                            11:20:31
   24             But as the -- as their -- the    11:18:21                24       Q. Okay. And who took his spot as 11:20:31
   25   person to whom they reported, was it your           11:18:27       25   product manager when he was promoted?              11:20:33

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                                                              Page 122                                                        Page 124
    1      A.     Jake Longenecker.              11:20:36                 1 rest of the country.                     11:22:58
    2      Q.     Okay. The particular products     11:20:38              2       Q. Okay. And what did you                11:22:59
    3 that are listed under Mr. Montgomery's name           11:20:41      3   discover?                            11:23:01
    4 on Exhibit 4, did they -- were they taken by     11:20:45           4       A. It was higher in Florida, but        11:23:01
    5 Mr. Longenecker when he took Mr. Montgomery's 11:20:48              5   there was no -- we had no cause and effect. 11:23:03
    6 position?                          11:20:52                         6   We had no causal understanding of why there 11:23:08
    7      A.     No, those were taken over by      11:20:52              7   was greater dispensing down there.             11:23:13
    8 Jennifer Block.                      11:20:57                       8       Q. Okay. When you say "we," do              11:23:14
    9      Q.     Okay.                  11:20:57                         9   you mean Mallinckrodt?                      11:23:17
   10      A.     And Lisa Lundergan left, so       11:20:58             10       A. Yeah.                         11:23:17
   11 Jake took over Lisa's products and some of       11:21:01          11       Q. Okay.                         11:23:17
   12 Kate's. So it was mixed on who was managing            11:21:04    12       A. Yeah.                         11:23:17
   13 what.                             11:21:08                         13       Q. So this effort of looking into 11:23:18
   14      Q.     And I'm sorry, when you say       11:21:09             14   Florida distribution in particular, was this 11:23:25
   15 Lisa Lundergan left, I thought -- did I       11:21:14             15   something that you were -- did anyone else at 11:23:27
   16 misunderstand? I thought she had taken --        11:21:17          16   Mallinckrodt ask you to undertake this          11:23:34
   17      A.     She had gotten a NAM position,      11:21:19           17   inquiry?                            11:23:35
   18 yeah --                           11:21:22                         18            MR. O'CONNOR: Object to form. 11:23:35
   19      Q.     Okay.                  11:21:23                        19            THE WITNESS: No. It was Kate 11:23:36
   20      A.     -- when she left my department. 11:21:23               20       Neely in part of the -- looking into     11:23:39
   21 Sorry.                            11:21:26                         21       Sunrise Medical. We said, "They're         11:23:43
   22      Q.     Okay. Great. Okay. You can        11:21:26             22       selling into the state of Florida.     11:23:46
   23 set that document aside.                   11:21:27                23       What else is going into Florida that      11:23:49
   24           When you joined Mallinckrodt in 11:21:29                 24       we don't know about," because they          11:23:51
   25 mid-2009, did you have any awareness at that          11:21:54     25       said it was physician prescribing down 11:23:52

                                                              Page 123                                                        Page 125
    1 time of circumstances that have come to be          11:22:05        1       there. So we were trying to            11:23:54
    2   known as the opioid epidemic in this country? 11:22:11            2       understand that.                  11:23:55
    3            MR. O'CONNOR: Object to form. 11:22:13                   3   QUESTIONS BY MR. GOTTO:                            11:23:55
    4            THE WITNESS: I was not aware           11:22:13          4       Q. Okay. And when you said "they 11:23:55
    5       of the opioid epidemic, as they call     11:22:17             5   said," these are press accounts you were -- 11:23:57
    6       it today, no.                    11:22:19                     6       A. Yeah, I'm sorry.                11:23:59
    7   QUESTIONS BY MR. GOTTO:                            11:22:20       7       Q. Okay. And so -- so were you            11:24:02
    8       Q. Okay. When did you become               11:22:21           8   looking into distribution in Florida of       11:24:04
    9   aware of that, do you think?               11:22:22               9   product that Mallinckrodt had originally        11:24:09
   10       A. Probably in 2010 when I started 11:22:23                  10   manufactured, or were you looking more            11:24:11
   11   hearing about Sunrise and then started --      11:22:28          11   generally at the entire industry?           11:24:13
   12   then started doing a little bit of background 11:22:31           12            MR. O'CONNOR: Object to form. 11:24:14
   13   on what was going on.                     11:22:33               13            THE WITNESS: That I remember, 11:24:15
   14       Q. Okay. What kind of background 11:22:37                    14       I think we were looking at             11:24:17
   15   did you do?                           11:22:39                   15       Mallinckrodt specifically.            11:24:20
   16       A. Just looked to see about            11:22:39              16   QUESTIONS BY MR. GOTTO:                            11:24:22
   17   Florida, the state of Florida, and how many 11:22:41             17       Q. Okay. And what did you do with 11:24:22
   18   pills were being dispensed in the state of     11:22:43          18   that information after you -- after you       11:24:25
   19   Florida.                            11:22:47                     19   developed it?                        11:24:28
   20       Q. Okay. And how did you go about 11:22:47                   20       A. Turned it over to the             11:24:29
   21   doing that?                          11:22:48                    21   compliance team.                        11:24:31
   22       A. Pulling IMS data and looking at 11:22:48                  22       Q. Okay. And was it to                11:24:32
   23   the population of Florida versus the rest of 11:22:53            23   Ms. Harper, or do you remember who in             11:24:35
   24   the country, and the percent of pills that    11:22:54           24   particular --                       11:24:37
   25   were being dispensed in Florida versus the       11:22:56        25       A. I don't remember specifically. 11:24:37

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    1       Q. Okay. Do you remember the              11:24:38          1 happened, or is that what you projected        11:26:53
    2   format in which you turned it over?           11:24:39          2 and --                              11:26:56
    3       A. In a spreadsheet.               11:24:41                 3       A. It's what actually happened.        11:26:56
    4       Q. Okay. And did you receive back 11:24:44                  4       Q. Okay. And do you know what              11:26:57
    5   from the compliance department any requests 11:24:49            5   caused that to happen, for the sales to be    11:27:02
    6   for follow-up information or analysis?         11:24:51         6   lower?                             11:27:05
    7       A. Not that I recollect. I          11:24:54                7            MR. O'CONNOR: Object to form. 11:27:06
    8   believe another department started running       11:24:59       8            THE WITNESS: I'm not exactly          11:27:07
    9   reports.                           11:25:01                     9       sure, but we projected that some        11:27:10
   10       Q. Okay. Do you know which other 11:25:02                  10       customers would not be able to ship      11:27:12
   11   department?                           11:25:04                 11       into the state of Florida and        11:27:14
   12       A. David Silver's department.           11:25:04           12       estimated their sales.             11:27:16
   13            So we didn't pull any data. No 11:25:07               13   QUESTIONS BY MR. GOTTO:                           11:27:17
   14   one -- I don't recollect anybody asking me      11:25:09       14       Q. Okay. And mechanically, how            11:27:17
   15   for more data.                       11:25:11                  15   did you go about estimating what the          11:27:23
   16       Q. Okay. And in terms of when you 11:25:13                 16   consequences would be of certain customers        11:27:26
   17   pulled this data, this was in the 2010 time 11:25:16           17   not being able to ship into Florida?        11:27:28
   18   frame?                             11:25:19                    18       A. We would look at what the            11:27:31
   19       A. Correct.                     11:25:19                   19   customer's historical sales were. And there 11:27:33
   20       Q. And it was triggered by the          11:25:20           20   were certain distribution centers that we     11:27:36
   21   Sunrise DEA issues you became aware of?            11:25:23    21   shipped to, so we could tell which -- the     11:27:38
   22       A. Uh-huh.                       11:25:25                  22   wholesaler distributor centers they went to, 11:27:40
   23       Q. Do you know if as a result of        11:25:27           23   and so we would know that that distributor      11:27:43
   24   the compilation of that data there were any 11:25:35           24   was not going to be able to ship in that     11:27:44
   25   changes in Mallinckrodt's approach to the       11:25:40       25   area. And if we had that business, we knew 11:27:47

                                                         Page 127                                                          Page 129
    1 sale of any of the opioid products?             11:25:47          1 that we lost that business. It may have been 11:27:48
    2            MR. O'CONNOR: Object to form. 11:25:49                 2 picked up by a competitor in a region, but we 11:27:50
    3            THE WITNESS: I don't.               11:25:49           3 knew that it would not be our business         11:27:54
    4   QUESTIONS BY MR. GOTTO:                             11:25:50    4 because we were aligned with a particular       11:27:56
    5       Q. Did you have occasion -- well, 11:25:55                  5 customer.                             11:27:57
    6   strike that.                         11:25:59                   6           (Mallinckrodt-Collier Exhibit 5 11:28:44
    7            Part of your job responsibility 11:25:59               7       marked for identification.)          11:28:44
    8   was preparing forecasts and reviewing sales 11:26:01            8   QUESTIONS BY MR. GOTTO:                           11:28:44
    9   results, et cetera, right, on a regular     11:26:05            9       Q. We've marked as Exhibit 5 a           11:28:45
   10   basis; is that fair?                   11:26:07                10   document that was produced in native format 11:28:47
   11       A. Correct.                       11:26:07                 11   under MNK-T1_0004881300.                       11:28:48
   12       Q. So after you compiled the data 11:26:08                 12           And the document is a strategic 11:28:53
   13   in 2010, as you prepared sales forecasts or 11:26:11           13   business update for Covidien Pharmaceuticals 11:28:58
   14   reviewed sales results going forward, did you 11:26:20         14   Specialty Generics dated December 2, 2009.        11:29:03
   15   make any effort to evaluate whether the sales 11:26:22         15           Could you take a moment and          11:29:06
   16   patterns going forward were different in any 11:26:29          16   look through that document and tell me if you 11:29:07
   17   way from what had predated the period during 11:26:33          17   recognize it?                       11:29:10
   18   which you compiled this information about the 11:26:39         18       A. Okay.                        11:29:11
   19   Florida sales?                         11:26:41                19       Q. Do you recognize that document? 11:30:27
   20            MR. O'CONNOR: Object to form. 11:26:42                20       A. I don't remember it, but I        11:30:29
   21            THE WITNESS: Yes.                   11:26:43          21   recognize it.                       11:30:32
   22   QUESTIONS BY MR. GOTTO:                             11:26:45   22       Q. Okay.                        11:30:33
   23       Q. And what did you find?                11:26:45          23       A. You know, the business review. 11:30:33
   24       A. We projected lower sales.             11:26:46          24       Q. Okay. Did -- would you have           11:30:35
   25       Q. And is that what actually            11:26:50           25   participated in the preparation of any of the 11:30:40

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    1   materials that are contained in this         11:30:43           1 type prior to the time you joined                11:32:51
    2   document?                             11:30:44                  2   Mallinckrodt?                            11:32:53
    3       A. Yes.                         11:30:44                    3       A. I would have no knowledge of              11:32:53
    4       Q. Which ones?                       11:30:45               4   that.                              11:32:54
    5       A. My team might have actually             11:30:45         5       Q. Okay. On slide 7, it says "VIP 11:32:54
    6   pulled information on the business, the         11:30:50        6   update" at the top.                      11:33:12
    7   units, and all the financials and, on        11:30:53           7            What does VIP mean in this            11:33:16
    8   slide 12, the pipeline --                11:31:02               8   context?                              11:33:17
    9       Q. Okay.                         11:31:05                   9       A. Volume incentive plan -- or             11:33:18
   10       A. -- in REMS.                      11:31:06               10   program.                               11:33:20
   11       Q. What are REMS?                      11:31:07            11       Q. And what is that?                   11:33:20
   12       A. Risk evaluation and mitigation 11:31:09                 12       A. That is an incentive plan put          11:33:20
   13   strategy. They're put in place for           11:31:13          13   in place for customers to reach certain          11:33:22
   14   particular products so that it requires an 11:31:16            14   volume hurdles on dollars and so that they         11:33:24
   15   additional patient insert and more            11:31:18         15   can be paid a rebate in addition. And they 11:33:29
   16   monitoring.                           11:31:22                 16   pass that along to the pharmacies, oftentimes 11:33:33
   17       Q. Okay. So it's a regulatory           11:31:22           17   either a portion or all of it, on to the      11:33:35
   18   requirement?                           11:31:23                18   pharmacies for complying with their programs. 11:33:37
   19       A. Yes.                         11:31:24                   19       Q. Okay. Is this separate from            11:33:40
   20       Q. Okay. So turning to the slides 11:31:24                 20   the chargeback program that you discussed           11:33:41
   21   1 and 2, on slide 2, it refers to meeting     11:31:31         21   earlier?                             11:33:44
   22   participants, yourself and three other        11:31:38         22       A. Yes, it is.                    11:33:44
   23   Covidien/Mallinckrodt folks, and then four 11:31:41            23       Q. Okay. And so slide 7 is               11:33:45
   24   AmerisourceBergen folks, correct?               11:31:47       24   showing us the volume-based rebate. Is that 11:33:48
   25       A. Correct.                      11:31:49                  25   the VIP rebate?                          11:33:51

                                                         Page 131                                                            Page 133
    1       Q. Was this a regular type of           11:31:49            1       A. Correct.                       11:33:53
    2   meeting that was held between Mallinckrodt          11:31:55    2       Q. Okay. And so                       11:33:53
    3   and AmerisourceBergen?                       11:31:58           3   AmerisourceBergen, from April of '09 through 11:33:57
    4            MR. O'CONNOR: Object to form. 11:32:00                 4   October of '09, had total sales of a little 11:34:03
    5            THE WITNESS: I would not say            11:32:01       5   bit more than 29 million, correct?             11:34:06
    6       it was regular. It was not regular.      11:32:02           6       A. Correct.                       11:34:07
    7   QUESTIONS BY MR. GOTTO:                             11:32:05    7       Q. And then the numbers below the 11:34:08
    8       Q. Okay. Do you recall if there          11:32:06           8   table, what do those numbers indicate?           11:34:10
    9   was any particular reason for this -- this     11:32:09         9       A. Those numbers are the volume              11:34:14
   10   meeting and this strategic business update to 11:32:10         10   that if they reached -- to the right is the 11:34:18
   11   be prepared?                         11:32:13                  11   amount of the rebate that they would receive, 11:34:20
   12       A. No, I don't. I don't.           11:32:13                12   AmerisourceBergen --                        11:34:23
   13       Q. Okay. Do you recall                11:32:15             13       Q. Okay.                         11:34:24
   14   participating in similar strategic meetings 11:32:18           14       A. -- for reaching those dollar          11:34:24
   15   with other customers of Mallinckrodt from          11:32:25    15   amounts.                             11:34:28
   16   time to time?                        11:32:28                  16       Q. Okay. So if Amerisource --             11:34:28
   17            MR. O'CONNOR: Object to form. 11:32:28                17   since AmerisourceBergen had 29 million and           11:34:31
   18            THE WITNESS: I don't recall           11:32:29        18   change during this period, am I reading this 11:34:34
   19       any specific meetings, no.             11:32:30            19   correctly they would have received 5 percent 11:34:36
   20   QUESTIONS BY MR. GOTTO:                             11:32:31   20   of 17.6 million and then 7 percent of the        11:34:38
   21       Q. Okay. Do you recall if -- I          11:32:32           21   difference between 17.6 -- well, I guess 15 11:34:43
   22   realize this -- this is from December of '09, 11:32:41         22   million more on top of that 17.76, to 32.6, 11:34:46
   23   which was your first year at Mallinckrodt.       11:32:44      23   and then 8 percent -- well, they didn't get 11:34:52
   24            Do you recall if there had been 11:32:46              24   to 32.6.                           11:34:53
   25   prior meetings with AmerisourceBergen of this 11:32:48         25             So they would have gotten          11:34:54

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    1 5 percent of the first 17.6 and 7 percent of      11:34:55        1 that document aside.                      11:37:15
    2   the balance; is that correct?              11:34:58             2            MR. GOTTO: Actually, before we 11:37:47
    3       A. No, they would have gotten             11:34:58          3       get into this, maybe it would be a      11:37:48
    4   7 percent of the entire sale.             11:35:00              4       good time to take a break. So why         11:37:51
    5       Q. I see.                       11:35:01                    5       don't we go off the record.           11:37:52
    6            So it ratchets it up for the    11:35:02               6            VIDEOGRAPHER: We're going off 11:37:54
    7   entire thing if you reach the -- the next      11:35:03         7       the record at 11:19 a m. {sic}.        11:37:55
    8   tier?                              11:35:06                     8        (Off the record at 11:37 a m.)        11:37:58
    9       A. Correct.                       11:35:07                  9            VIDEOGRAPHER: We are back on              11:52:26
   10       Q. Okay. And was that volume --             11:35:08       10       the record at 11:52 a m.             11:52:36
   11   were those volume thresholds, were those six 11:35:16          11            (Mallinckrodt-Collier Exhibits 11:52:37
   12   months? One year? How were they set out?            11:35:20   12       6 and 7 marked for identification.)      11:52:38
   13       A. One year.                       11:35:23                13   QUESTIONS BY MR. GOTTO:                            11:52:38
   14       Q. Okay. So here we have six --           11:35:24         14       Q. Ms. Collier, we've marked as          11:52:45
   15   one, two, three, four, five -- these are      11:35:32         15   Exhibits 6 and 7 an e-mail and attachment        11:52:47
   16   seven months, actually, of results that we're 11:35:32         16   from 2009.                           11:52:57
   17   seen on this chart, correct, from April        11:35:36        17            Exhibit 6 is Bates           11:52:57
   18   through October?                         11:35:37              18   MNK-T1_0006305472, and Exhibit 7 is a              11:53:00
   19       A. Correct.                       11:35:38                 19   document that was produced in native format 11:53:05
   20       Q. So if AmerisourceBergen had              11:35:38       20   under MNK-T1_0006305473.                       11:53:07
   21   additional sales over the remaining five        11:35:43       21            Would you take a moment to look 11:53:13
   22   months, their rebate would be determined          11:35:46     22   at those materials and tell me if you        11:53:16
   23   based on the table -- the figures below the 11:35:49           23   recognize them.                       11:53:18
   24   table, ultimately, correct?               11:35:52             24            Do you recognize those           11:56:59
   25       A. Correct.                       11:35:53                 25   materials?                          11:57:00

                                                         Page 135                                                              Page 137
    1       Q. Okay. On slide 9, there's          11:35:54              1        A. Yes, I do.                     11:57:00
    2   reference to scorecard service levels.       11:36:12           2        Q. Okay. And it appears that the 11:57:02
    3             What does "scorecard" mean in      11:36:14           3   attachment is the beginnings of the business 11:57:04
    4   this setting?                       11:36:16                    4   review that you referred to in your 11/20/09 11:57:10
    5       A. This would be on                  11:36:16               5   e-mail, correct?                         11:57:13
    6   AmerisourceBergen-driven grading of how            11:36:19     6        A. Correct.                       11:57:14
    7   Mallinckrodt delivered product over time: if 11:36:25           7        Q. Okay. So did you compile the             11:57:14
    8   we delivered on time, didn't deliver at all, 11:36:28           8   information that's included in Exhibit 7?         11:57:17
    9   how did we perform.                      11:36:31               9        A. My team did, yes.                   11:57:22
   10       Q. Okay. So on the table, there's 11:36:33                 10        Q. Okay. If you would turn to             11:57:23
   11   COV, raw service level and PRO raw service         11:36:37    11   slide 5 in Exhibit 7, there's a term           11:57:29
   12   level.                           11:36:42                      12   "Covidien modified gross" with an asterisk. 11:57:36
   13             What are those showing us?        11:36:42           13   It's -- slide 5 it would be. I believe        11:57:40
   14       A. Covidien means what we shipped 11:36:44                 14   you're looking at 6.                      11:57:43
   15   to the customer, and the blue line represents 11:36:46         15        A. Oh, I'm looking at 6. Okay.            11:57:44
   16   what ABC was allowed to ship to their           11:36:49       16        Q. There you go.                     11:57:46
   17   customer. So even though we declined in          11:36:52      17              There's a reference to Covidien 11:57:47
   18   sales, they had enough inventory to cover it 11:36:54          18   modified gross with an asterisk, and then the 11:57:50
   19   during that period to ship to their customers 11:36:56         19   asterisk explains how modified gross is            11:57:53
   20   with a slight dip.                    11:36:59                 20   determined.                             11:57:56
   21       Q. Okay.                        11:37:00                   21              Is that a metric that had been 11:57:57
   22       A. That's my understanding. I           11:37:00           22   used at Mallinckrodt at the time that you          11:58:01
   23   mean, AmerisourceBergen, it's their data, so 11:37:03          23   joined, modified gross?                      11:58:05
   24   it might be better to ask them.            11:37:04            24        A. Yes.                          11:58:06
   25       Q. Okay. All right. We can set          11:37:06           25        Q. Okay. And do you know why that 11:58:08

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    1 metric was used?                         11:58:12               1 exclusivity period before the patent expired. 12:00:03
    2       A. Because if we used WAC sales, 11:58:13                 2      Q.    Okay. On slide 6, under the        12:00:08
    3   that would greatly increase the value of the 11:58:15         3 pie chart there's a reference to four key      12:00:14
    4   products without having actual value.         11:58:18        4   product families represent 82 percent of       12:00:16
    5       Q. Okay.                        11:58:21                  5   total modified gross sales.              12:00:19
    6       A. So it would -- it would inflate 11:58:21               6           Do you see that?              12:00:20
    7   the value of the product.                11:58:24             7       A. Correct.                     12:00:21
    8       Q. Okay. And when you say "WAC               11:58:25     8       Q. And do you recall that being         12:00:21
    9   sales," you mean if you were not calculating 11:58:26         9   the case back in fiscal '09?             12:00:24
   10   in the chargebacks?                     11:58:28             10       A. Yes.                        12:00:27
   11       A. Correct.                     11:58:30                 11       Q. And do you recall if that          12:00:27
   12       Q. Okay. And what's -- in the          11:58:30          12   metric changed over time in terms of those      12:00:37
   13   footnote there's a reference to wholesaler 11:58:32          13   four product families and the percentage       12:00:40
   14   differentials.                      11:58:34                 14   total modified gross sales that they        12:00:43
   15            What is that?               11:58:35                15   represented?                         12:00:45
   16       A. Correct. We sometimes would            11:58:36       16       A. Yes, it changed significantly. 12:00:45
   17   give a rebate or a discount on a given       11:58:39        17       Q. And how did it change?              12:00:47
   18   product, for example, if we wanted to not       11:58:42     18       A. We launched new products which 12:00:48
   19   deflate the total market. And so we would 11:58:45           19   contributed to the modified gross, and that 12:00:52
   20   offer the customer one price, but we would 11:58:49          20   changed -- because one of the products we        12:00:55
   21   give them a discount -- oh, excuse me,        11:58:51       21   launched, methylphenidate ER, was a sizeable 12:00:58
   22   differentials is different.            11:58:56              22   product, so that made all these numbers look 12:01:02
   23            Differentials is that, for    11:58:57              23   smaller, and some of our smaller products       12:01:05
   24   example, we would price a particular          11:58:59       24   contributed, so we had a bigger contribution 12:01:07
   25   customer, a chain store, higher and then give 11:59:02       25   from other products.                    12:01:09

                                                       Page 139                                                           Page 141
    1 them a rebate or discount down to the actual       11:59:06     1       Q. Okay. All right. If you would 12:01:10
    2   contract price because we didn't want the      11:59:08       2   turn back to slide 38, under the assumptions 12:01:23
    3   wholesaler to be able to see their actual    11:59:11         3   under the table, one of the assumptions is     12:01:38
    4   contract price.                      11:59:12                 4   market growth rate 7 percent.               12:01:40
    5       Q. Okay. And then to get to           11:59:13            5            Do you recall what the basis      12:01:43
    6   modified gross, you're also backing out the 11:59:16          6   was for that assumption?                  12:01:45
    7   oxycodone ER, fentanyl lozenge and fentanyl 11:59:20          7       A. That would be historical            12:01:47
    8   patch.                            11:59:25                    8   trends, what you see in historical trends,    12:01:49
    9            What's the reason for taking     11:59:26            9   that it was -- the market had been growing      12:01:51
   10   those out?                          11:59:27                 10   over time.                          12:01:53
   11       A. Because we hadn't launched them 11:59:27              11       Q. The next bullet item says,          12:01:55
   12   yet, so we were looking forward and saying        11:59:28   12   "COV" -- I assume that's Covidien or           12:02:00
   13   that we don't include those -- the oxy ER was 11:59:30       13   Mallinckrodt -- "will increase compliance at 12:02:02
   14   discontinued. We had it for a period of time 11:59:33        14   McKesson."                            12:02:05
   15   before I arrived at the company. Part of a 11:59:34          15            Do you see that?              12:02:06
   16   paragraph IV filing against the branded        11:59:39      16       A. Yes.                       12:02:06
   17   product, so we had exclusivity for a period. 11:59:41        17       Q. What does that phrase mean,           12:02:06
   18       Q. What do you mean when you say            11:59:44     18   "increase compliance" in this setting?        12:02:10
   19   "a paragraph IV filing"?                 11:59:46            19       A. Anytime that we get a contract 12:02:11
   20       A. You've challenged the patent         11:59:47         20   with a customer, we ask them for how many          12:02:13
   21   that the brand has and say that you should be 11:59:49       21   units they'll sell. And then we set our      12:02:15
   22   able to launch before they -- before the      11:59:51       22   pricing and incentives based on what they say 12:02:17
   23   patent expires. And so that's what          11:59:55         23   they're going to sell, and they may not come 12:02:19
   24   Mallinckrodt had done, and so they negotiated 11:59:57       24   in at that level.                   12:02:21
   25   with the brand company that we would have an 11:59:59        25            Then we offered them additional 12:02:22

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    1 value for the value that they said they were      12:02:24       1              Is that always the case, it's 12:04:18
    2   going to deliver, and that drives production 12:02:26          2   based on historical data that you had?            12:04:20
    3   at the plant and everything, so we expect      12:02:28        3        A. Yes, it is.                    12:04:22
    4   them to buy as much as they said they were        12:02:30     4        Q. Okay. Under slide 40, or on            12:04:23
    5   going to.                           12:02:33                   5   slide 40, under Assumptions, the second             12:04:33
    6             And in this particular case,    12:02:33             6   bullet item says, "COV will recover 2009 lost 12:04:35
    7   McKesson was not buying what they said they 12:02:35           7   market share that resulted from backorders." 12:04:39
    8   would.                              12:02:38                   8              Do you see that?               12:04:43
    9        Q. So the word "compliance" in          12:02:38          9        A. Correct.                        12:04:44
   10   this setting means compliance with what their 12:02:42        10        Q. Do you know what that's                12:04:44
   11   sales or purchasing forecast had been?         12:02:44       11   referring to?                           12:04:45
   12        A. No, it's what they said they       12:02:47           12        A. That means that we were not              12:04:46
   13   could -- what they were buying from another 12:02:49          13   able to supply our customers with what they 12:04:47
   14   company, and we would gain their business.         12:02:51   14   needed at the time, so we think that we'll 12:04:50
   15   And they said, for example, that we can sell 12:02:53         15   pick up that business in the coming year.          12:04:52
   16   a hundred thousand tablets, and they might       12:02:56     16        Q. Slide 44, Actions to Improve            12:04:55
   17   have been buying 90,000 instead of a hundred 12:02:58         17   Performance, the bullet item says, "Secure 12:05:13
   18   thousand, or whatever the variance is.        12:03:01        18   Walgreens business."                        12:05:16
   19             And so we needed to ask them,      12:03:02         19              Do you recall if that occurred? 12:05:18
   20   "why are you not buying at the level you said 12:03:04        20        A. I know we had a good                  12:05:20
   21   you would," and try and drive and find out       12:03:06     21   partnership with Walgreens. I'm not exactly 12:05:25
   22   why there was an issue, and get them to buy 12:03:09          22   sure what this is referring to.              12:05:27
   23   at the level they said they would.          12:03:12          23        Q. Okay.                           12:05:29
   24        Q. Okay. I'm just trying to          12:03:13            24        A. If it's a particular product or 12:05:29
   25   understand the meaning of the word             12:03:15       25   if it's in general.                     12:05:31

                                                        Page 143                                                            Page 145
    1 "compliance" in this setting.                12:03:16            1       Q. Okay. Okay. We can set those 12:05:33
    2             Is compliance with what they       12:03:17          2   documents aside.                       12:05:35
    3   had forecast they would be buying?              12:03:21       3           (Mallinckrodt-Collier Exhibit 8 12:06:02
    4       A. What they told us they had been 12:03:22                4       marked for identification.)          12:06:03
    5   purchasing from the competitor. So it could 12:03:24           5   QUESTIONS BY MR. GOTTO:                            12:06:03
    6   be that either their demand had dropped off, 12:03:26          6       Q. We've marked as Exhibit 8 a           12:06:23
    7   even though they switched from the other          12:03:28     7   document produced in native format under          12:06:25
    8   competitor, so we needed to find out why.         12:03:29     8   Bates MNK-T1_0002236317, and it's a               12:06:28
    9   And if it was a reason -- compliance is not 12:03:31           9   PowerPoint deck that's -- first slide       12:06:39
   10   like a contractual term. It's just a term, 12:03:34           10   indicates Covidien Pharmaceuticals Specialty 12:06:43
   11   this is what you committed to. So this is       12:03:38      11   Generics Business Review, April 7, 2010.         12:06:45
   12   what you said you were going to buy; we want 12:03:41         12           Could you take a look and tell 12:06:49
   13   you to buy that much. And find out why they 12:03:43          13   me if you recognize that document?             12:06:51
   14   were not, and if they could not meet the        12:03:46      14       A. Okay.                        12:06:52
   15   original number that they provided.            12:03:48       15       Q. Do you recognize that document? 12:10:08
   16       Q. Okay. If you turn to the next 12:03:50                 16       A. Yes, I do.                    12:10:09
   17   slide, slide 30 -- I'm sorry, 39, under the 12:03:56          17       Q. And what is it?                 12:10:10
   18   assumptions, there's a -- market growth rate 12:04:02         18       A. It is our business review          12:10:11
   19   is 15 percent here.                     12:04:06              19   document explaining the generic and our         12:10:13
   20             Would that also be based on        12:04:08         20   budget and forecast for the year.           12:10:17
   21   historical data?                       12:04:09               21       Q. And did you participate in the 12:10:18
   22       A. Correct.                       12:04:11                22   preparation of this document?               12:10:20
   23       Q. Okay. And would that be --             12:04:12        23       A. Yes, I did.                   12:10:21
   24   various of these products had a market growth 12:04:13        24       Q. Okay. And is this a document          12:10:22
   25   rate assumption on the different slides.       12:04:16       25   that you would prepare on an annual basis?       12:10:25

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    1       A. Yes. It changed over time,          12:10:27           1       obtaining sufficient raw materials.      12:12:28
    2   but, yes, something similar.             12:10:29             2       It's about our ability to manufacture 12:12:30
    3       Q. If you turn to slide 4, it      12:10:32               3       the raw material, that it's a        12:12:32
    4   indicates Fiscal Year 2010 Specialty Generics 12:10:44        4       difficult process and sometimes they       12:12:34
    5   Objectives. First one is "rebuild customer 12:10:48           5       had failures. And so we couldn't get 12:12:36
    6   confidence."                        12:10:51                  6       enough product, API, up to Hobart in        12:12:38
    7            Do you recall why the objective 12:10:53             7       order to manufacture the finished        12:12:42
    8   was to rebuild customer confidence at this     12:10:57       8       dosage form.                      12:12:45
    9   time?                            12:10:59                     9   QUESTIONS BY MR. GOTTO:                            12:12:45
   10       A. Because we had supply issues.         12:10:59        10       Q. Okay. So it's Mallinckrodt           12:12:45
   11       Q. And what were those supply            12:11:01        11   manufacture of the raw materials for Hobart 12:12:46
   12   issues?                           12:11:03                   12   that was the issue?                    12:12:49
   13       A. We had -- they were various,         12:11:03         13       A. Correct.                      12:12:49
   14   but some of it was having problems out of our 12:11:06       14       Q. I see. Okay.                   12:12:50
   15   API site, active pharmaceutical ingredients, 12:11:09        15             And do you know if the -- if     12:12:50
   16   which are the raw materials, their inability 12:11:12        16   the manufacturing level -- or if the target 12:12:53
   17   to supply enough product to the manufacturing 12:11:14       17   manufacturing level in 2009 was a higher         12:12:56
   18   site in Hobart. Or Hobart had issues         12:11:18        18   level than the company had historically         12:12:58
   19   supplying product. They couldn't produce to 12:11:18         19   engaged in?                           12:13:01
   20   the commitment -- the forecast, so they       12:11:23       20             MR. O'CONNOR: Object to form. 12:13:01
   21   sometimes would not have inventory readily        12:11:27   21             THE WITNESS: I don't know            12:13:02
   22   available when we needed it.               12:11:29          22       that.                         12:13:02
   23       Q. Okay. And so was that a             12:11:32          23   QUESTIONS BY MR. GOTTO:                            12:13:02
   24   problem that existed at the time you joined 12:11:35         24       Q. On slide 4, second bullet item 12:13:05
   25   Mallinckrodt?                        12:11:37                25   is "control price erosion."              12:13:08

                                                       Page 147                                                           Page 149
    1       A. Yes, it was.                   12:11:38                1            Do you see that?             12:13:10
    2       Q. Okay. Do you know if the              12:11:38         2       A. Correct.                     12:13:11
    3   company had experienced similar supply            12:11:39    3       Q. And what's that referring to?        12:13:11
    4   problems historically?                   12:11:42             4       A. That means that we do not want 12:13:13
    5       A. I don't know for sure before         12:11:43          5   to have our products erode in the            12:13:16
    6   me, but it obviously happened before my time, 12:11:47        6   marketplace, so we balance our market share 12:13:19
    7   so I don't know when --                   12:11:50            7   against the additional prices that we need to 12:13:21
    8       Q. Sure.                        12:11:51                  8   price -- concessions we need to give or        12:13:24
    9       A. -- how -- the frequency.            12:11:52           9   incentives we need to give in order to gain 12:13:27
   10       Q. Okay. In terms of the problems 12:11:53               10   that additional business.               12:13:31
   11   that were experienced in fiscal '09, do you 12:11:55         11       Q. Okay. Was price erosion a            12:13:32
   12   know if it was the result of an increase in 12:11:58         12   problem at the time that you were             12:13:35
   13   demand for the products?                   12:12:00          13   particularly focused on addressing?           12:13:38
   14       A. In 2009, I'm not sure what the 12:12:02               14       A. Yes.                        12:13:39
   15   problem was.                           12:12:05              15       Q. And do you know what was                12:13:40
   16       Q. Okay. And you indicated part           12:12:07       16   causing that problem in fiscal '09?          12:13:42
   17   of the problem was some difficulty in          12:12:10      17       A. In the generic industry in         12:13:46
   18   obtaining sufficient raw materials.          12:12:15        18   general, that is just additional competitors, 12:13:48
   19            Do you know if in 2009 the --      12:12:17         19   fierce competition among competitors, people 12:13:51
   20   Mallinckrodt was seeking to obtain raw          12:12:21     20   taking business from each other, trying to      12:13:53
   21   materials at a greater level than it had     12:12:23        21   gain share. Or companies taking business,        12:13:55
   22   historically?                        12:12:26                22   not people.                         12:13:57
   23            MR. O'CONNOR: Objection.              12:12:26      23       Q. Okay. Turn if you would to            12:13:58
   24       Form.                          12:12:27                  24   slide 51, which is a pie chart showing the      12:14:01
   25            THE WITNESS: It wasn't about          12:12:27      25   specialty generic expenses.               12:14:11

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    1           One of the items in the pie       12:14:15                1      A.    Some of them are general          12:16:24
    2 chart is seminars, meetings, conferences.           12:14:20        2 national conventions, so that was just          12:16:27
    3           Do you see that?                12:14:22                  3 standard industry attendance. So it was         12:16:30
    4      A.    Yes.                     12:14:23                        4 expected that we would attend those, but          12:16:32
    5      Q.    What types of seminars,            12:14:23              5 ultimately that would be decided by the          12:16:35
    6 meetings, conferences would Mallinckrodt              12:14:24      6 president of the team.                   12:16:36
    7 participate in that gave rise to this        12:14:29               7      Q.    Okay. Take a look at slide 54,    12:16:38
    8 expense?                                12:14:33                    8 if you would, please. There's a reference to 12:16:48
    9      A.    We would attend conferences or          12:14:33         9 unapproved products deletions -- unapproved          12:16:56
   10 trade shows with -- sometimes with the              12:14:35       10 products deletion.                     12:17:01
   11 executives, so the buyers from the             12:14:40            11           Do you know what that's           12:17:03
   12 warehousing chains, the wholesalers or their         12:14:43      12 referring to?                        12:17:04
   13 executives. And sometimes we would attend              12:14:47    13      A.    Yes. At one point products        12:17:04
   14 like a -- there's a hospital pharmacy buyer         12:14:49       14 that were before the -- I don't know the        12:17:06
   15 meeting, so we would attend a buyer meeting            12:14:52    15 regulation or the ruling, but before generics 12:17:11
   16 to talk to the pharmacy buyers to find out          12:14:54       16 had proved that they were safe and effective, 12:17:14
   17 what they're doing as far as their trends and 12:14:56             17 these products were already in the market so        12:17:18
   18 going forward.                           12:14:59                  18 they didn't have to go through that process.      12:17:20
   19           And some were educational, some          12:15:01        19 And so they were grandfathered, and you could 12:17:21
   20 were -- like, for example, the Wholesale            12:15:06       20 sell grandfathered products.                12:17:24
   21 Distributor Manufacturer Association, HDMA at 12:15:08             21           And Mallinckrodt was selling       12:17:26
   22 the time, we would attend that to find out          12:15:11       22 these products long ago, and so we were           12:17:28
   23 industry trends like on the REMS regulations          12:15:14     23 excluded. So -- but we were going to have to 12:17:32
   24 or what was going on with other regulations           12:15:17     24 discontinue them because the government             12:17:34
   25 with serialization. And that often would be          12:15:18      25 wanted everyone -- the FDA wanted everyone to 12:17:35

                                                              Page 151                                                             Page 153
    1 somebody on my team to get an education                12:15:20     1 issue a new FDA -- I mean an ANDA to prove              12:17:37
    2 around some of this.                       12:15:22                 2 that they were safe and effective.             12:17:42
    3       Q. Okay. And so down below I see 12:15:23                     3        Q. Okay. And on the right-hand            12:17:44
    4   COND, which I assume is conventions and              12:15:28     4   column there's identity of the products that 12:17:47
    5   exhibits.                            12:15:30                     5   fall under this category, correct?           12:17:50
    6            Is that a different type of     12:15:30                 6        A. Correct.                     12:17:50
    7   event from what you've just described?           12:15:32         7        Q. Okay. Turn, if you would, to          12:17:51
    8       A. Correct. That would include            12:15:35            8   slide 59.                          12:18:01
    9   the conventions, you know, attending some of 12:15:37             9        A. (Witness complies.)                12:18:03
   10   the educational shows to learn, but also the 12:15:39            10        Q. Improve Customer Confidence.             12:18:03
   11   cost of the exhibits when we had to display. 12:15:44            11   The second bullet item is "narcotic story." 12:18:09
   12       Q. Okay. Who made the                   12:15:47             12            Do you see that?              12:18:12
   13   determination as to what seminars and           12:15:53         13        A. Yes.                       12:18:12
   14   meetings Mallinckrodt would participate in         12:15:57      14        Q. What does that refer to?            12:18:13
   15   that give rise to the expenses that are shown 12:16:00           15        A. That was an active                12:18:14
   16   on this slide?                        12:16:02                   16   pharmaceutical ingredient initiative. It       12:18:17
   17       A. That often was the sales leader 12:16:04                  17   showed everything from how -- because our           12:18:20
   18   would decide which sales meeting -- which          12:16:07      18   customers didn't understand how the products 12:18:22
   19   customer meetings they would attend. And            12:16:10     19   were actually made from raw opium, so it was 12:18:24
   20   then for educational purposes, I would decide 12:16:12           20   just giving them information on -- and I        12:18:28
   21   who on my team should go to learn a little        12:16:14       21   don't know that we used it, so I'll start     12:18:31
   22   bit more about a category or an area.          12:16:17          22   that off. But it was intended to show them 12:18:33
   23       Q. And how about the conventions            12:16:20         23   how the product goes from raw opium into a 12:18:35
   24   and exhibits? Who would decide what -- which 12:16:21            24   finished dosage tablet.                   12:18:39
   25   of those to participate in?               12:16:23               25        Q. Okay. And was -- since that's 12:18:40

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                                                         Page 154                                                                  Page 156
    1 under the heading "Improve Customer               12:18:46        1 package?                             12:22:42
    2   Confidence," was there a belief that there    12:18:48          2      A.     Yes, I did.              12:22:42
    3   was some failure of customer confidence with 12:18:53           3      Q.     Okay. If you turn to slide 2,     12:22:44
    4   respect to Mallinckrodt's manufacturing        12:18:55         4 you'll see it's an org chart, and this -- the 12:22:48
    5   process, or what gave rise to that being     12:18:58           5 spot that previously had been occupied by          12:22:52
    6   something that you'd address to deal with      12:19:01         6 Ms. Muhlenkamp is identified as vacant.            12:22:55
    7   customer confidence?                     12:19:03               7           So is that consistent with your     12:22:58
    8       A. Supply. It was a supply issue. 12:19:05                  8 recollection, by February 2011 Ms. Muhlenkamp 12:23:00
    9   And to explain to them -- and it went all the 12:19:07          9 had left?                           12:23:04
   10   way back to India where we secured the opium, 12:19:10         10      A.     Yes.                    12:23:04
   11   and then we had our manufacturing in           12:19:13        11      Q.     And ultimately -- ultimately,      12:23:05
   12   St. Louis and in Hobart. So just to explain 12:19:14           12 who took that spot?                         12:23:10
   13   to them that we are thoroughly knowledged in 12:19:19          13      A.     Jennifer Bullerdick, and then I     12:23:11
   14   the process of converting it from raw        12:19:21          14 hired Jake Longenecker from the API site.              12:23:14
   15   material to finished dosage form.           12:19:23           15      Q.     Okay. Great.               12:23:26
   16       Q. Okay. You can set that             12:19:26             16           On slide 3, Ranking of Generic        12:23:26
   17   document aside.                       12:19:30                 17 Companies, Covidien/Mallinckrodt is indicated 12:23:35
   18       A. Okay.                        12:19:56                   18 MAT September 2010 rank.                         12:23:38
   19            (Mallinckrodt-Collier Exhibit 9 12:19:56              19           What is MAT?                  12:23:41
   20       marked for identification.)          12:19:57              20      A.     Moving annual total.             12:23:42
   21   QUESTIONS BY MR. GOTTO:                           12:19:57     21      Q.     Okay. And scripts are             12:23:44
   22       Q. We've marked as document -- as 12:20:05                 22 prescriptions; is that right?               12:23:47
   23   Exhibit 9 a document produced in native         12:20:09       23      A.     Correct.                 12:23:47
   24   format under Bates MNK-T1_0002237098.               12:20:11   24      Q.     Okay. And share of generics,        12:23:49
   25            Would you take a moment to take 12:20:19              25 do you know how that's calculated?                12:23:51

                                                         Page 155                                                                  Page 157
    1 a look at that document, please?              12:20:20            1       A. It's the total number of         12:23:53
    2       A. Okay.                       12:20:20                     2   prescriptions. For example, on Teva, it      12:23:57
    3       Q. Do you recognize that document? 12:22:03                 3   would be their number of prescriptions by the 12:23:59
    4       A. Yes, I do.                   12:22:04                    4   total number that were provided in the        12:24:01
    5       Q. And what is it?                12:22:04                  5   Wolters Kluwer study.                    12:24:03
    6       A. It is a business review that       12:22:05              6       Q. Okay. So it's not a dollar        12:24:04
    7   was presented to our manufacturing site in      12:22:11        7   determination?                        12:24:06
    8   Hobart.                           12:22:12                      8       A. No.                        12:24:06
    9       Q. Okay. Was that a regular            12:22:13             9       Q. It's a number of prescriptions 12:24:06
   10   process, to present a business review to      12:22:16         10   determination?                        12:24:08
   11   Hobart?                            12:22:18                    11       A. Correct.                     12:24:08
   12       A. No, it was not.                12:22:18                 12       Q. Okay. And again -- so here the 12:24:08
   13       Q. Was there a reason this           12:22:19              13   company is identified Covidien/Mallinckrodt, 12:24:13
   14   particular presentation was made when it was? 12:22:21         14   but there was no separate product line that 12:24:16
   15       A. To help them understand why            12:22:23         15   was Covidien versus Mallinckrodt, correct?      12:24:18
   16   consistent supply was important in what they 12:22:26          16       A. Correct.                     12:24:19
   17   were doing and why we came up with our            12:22:28     17       Q. Okay.                        12:24:20
   18   forecast numbers.                      12:22:30                18       A. Not for the generics.            12:24:22
   19       Q. Okay. And so who made this             12:22:31         19       Q. Yeah.                        12:24:24
   20   presentation?                        12:22:33                  20           Was that the case with branded 12:24:24
   21       A. My team.                      12:22:33                  21   product, that there was --              12:24:25
   22       Q. And you participated in that?        12:22:35           22       A. I don't know.                  12:24:26
   23       A. Yes, I did.                  12:22:37                   23       Q. Okay. If you turn to             12:24:28
   24       Q. And participated in compiling         12:22:38          24   slide 12 -- I'm sorry, 11. 11 says "FY '11 12:24:42
   25   the information that's contained in this     12:22:40          25   overall goal: Preserve, maintain but grow, 12:24:50

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    1 underscore, the generic core business."          12:24:50         1 QUESTIONS BY MR. GOTTO:                                12:27:07
    2            So the reference here to the     12:24:53              2        Q. We've marked as Exhibit 10 a            12:27:28
    3   generic core business, what would that be        12:24:56       3   single-page -- or two-page document, sorry, 12:27:31
    4   referring to?                       12:24:58                    4   beginning at Bates MNK-T1_0002738887. It              12:27:37
    5       A. Our portfolio products. And so 12:24:58                  5   appears to be a letter that you sent out       12:27:43
    6   we would work on initiatives to either gain 12:25:01            6   October 11, 2011.                        12:27:47
    7   additional share or increase prices or       12:25:06           7             Please take a look and tell me 12:27:48
    8   maintain the current business of customers. 12:25:12            8   if you recognize it.                    12:27:50
    9       Q. Okay. Okay. And turn to              12:25:16            9        A. Okay.                         12:27:51
   10   slide 12, please.                    12:25:18                  10        Q. Do you recognize that letter?         12:28:27
   11       A. Yes.                        12:25:19                    11        A. Yes, I do.                    12:28:30
   12       Q. Slide 12, one of the fiscal        12:25:19             12        Q. And do you recall sending this 12:28:31
   13   year '11 objectives is "reinforce          12:25:23            13   letter out in October of 2011?               12:28:34
   14   Covidien/Mallinckrodt as pain management            12:25:28   14        A. I don't recall the date, but,      12:28:36
   15   experts."                          12:25:30                    15   yes, it's on the letter, so I assume that's 12:28:39
   16            Do you see that?              12:25:30                16   it.                               12:28:42
   17       A. Yes.                        12:25:30                    17        Q. Okay. Did you send a series of 12:28:42
   18       Q. And what steps were taken to           12:25:31         18   similar letters out to other customers?        12:28:44
   19   reinforce Covidien/Mallinckrodt as pain         12:25:33       19        A. Yes.                         12:28:45
   20   management experts?                       12:25:37             20        Q. Okay. And this letter, the          12:28:46
   21       A. I can only remember having             12:25:38         21   first paragraph says, "Mallinckrodt, LLC,         12:28:47
   22   discussions with Karen about customers that 12:25:39           22   continues to experience supply challenges          12:28:51
   23   were trying to set up their own warehouse,       12:25:43      23   related to our oxycodone immediate release          12:28:54
   24   and she could help them do that.             12:25:46          24   tablets in 15-milligram and 30-milligram          12:28:57
   25            I don't think anything came to 12:25:49               25   strengths. The supply issue is driven by         12:28:59

                                                         Page 159                                                             Page 161
    1 fruition of this, but I don't remember for      12:25:50          1 unexpected quota shortfalls from the US Drug          12:29:03
    2   sure. I don't remember developing any           12:25:52        2 Enforcement Administration, with no firm            12:29:06
    3   materials around this particular program.      12:25:54         3   answer at this point as to when that          12:29:07
    4       Q. Okay. When you say "Karen," is 12:25:55                  4   situation will improve."                  12:29:09
    5   that Karen Harper?                     12:25:57                 5            Do you recall that circumstance 12:29:11
    6       A. Karen Harper.                   12:25:57                 6   back in 2011?                          12:29:12
    7       Q. So in terms of pain management, 12:25:58                 7       A. Yes, I do.                    12:29:13
    8   I mean, that would -- your recollection is     12:26:05         8       Q. So you had testified earlier         12:29:14
    9   to -- that meant storing and warehousing        12:26:09        9   back in 2009 there were some supply issues        12:29:18
   10   product?                           12:26:13                    10   relating to some manufacturing constraints or 12:29:21
   11       A. That's our portfolio of           12:26:13              11   difficulties, correct?                 12:29:26
   12   products, is pain management, so schedule        12:26:14      12            In 2011, now there's supply        12:29:28
   13   drugs would be another name.                 12:26:17          13   issues resulting from quota shortfalls. Do 12:29:31
   14       Q. But the expertise that is being 12:26:20                14   you know what cause or -- well, strike that. 12:29:36
   15   reinforced here, what expertise is that, as 12:26:25           15            There's a reference here to       12:29:39
   16   best you can recall?                   12:26:29                16   unexpected quota shortfalls. Did you ever        12:29:41
   17       A. Well, it would be the expertise 12:26:30                17   come to have an understanding as to the          12:29:45
   18   that Karen offered in the compliance because 12:26:31          18   reasons for those quota shortfalls?          12:29:49
   19   she could -- in the past they had helped      12:26:35         19            MR. O'CONNOR: Object to form. 12:29:51
   20   other people with DEA inspections, how do you 12:26:37         20            THE WITNESS: No, I don't             12:29:51
   21   work with the DEA and things like that.         12:26:42       21       recall why, because I did not interact 12:29:54
   22       Q. Okay. All right. You can set 12:26:43                   22       with the DEA.                      12:29:55
   23   that document aside.                    12:26:50               23   QUESTIONS BY MR. GOTTO:                             12:29:56
   24            (Mallinckrodt-Collier Exhibit      12:27:06           24       Q. Okay. So when you use the              12:29:56
   25       10 marked for identification.)         12:27:07            25   phrase "quota shortfalls" in this letter,    12:29:59

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    1 what do you mean by that exactly?               12:30:03         1      A.    I don't recall any specific     12:32:12
    2       A. My understanding was at the           12:30:04          2 situations, but I'm sure I did.            12:32:14
    3   time Mallinckrodt expected to have additional 12:30:06         3      Q.    Did you -- were there any         12:32:16
    4   quota, or enough quota to meet their annual 12:30:09           4 modifications made to the proposed               12:32:18
    5   needs. And we did not receive that approval 12:30:13           5 allocations as a result of any feedback         12:32:22
    6   from the DEA, and so we didn't have enough         12:30:18    6 received from customers?                    12:32:25
    7   inventory to allow that.                12:30:21               7      A.    No.                      12:32:26
    8             I honestly don't even know if   12:30:23             8      Q.    Okay. You can set that aside.       12:32:31
    9   it was an API or finished dosage form quotas. 12:30:24         9      A.    Not that I'm aware of.          12:32:32
   10       Q. Okay. And do you know if              12:30:28         10      Q.    Okay. And is that something         12:32:33
   11   the -- if the quota that Mallinckrodt       12:30:29          11 that would have been a decision you would            12:32:34
   12   received for the year was less than prior     12:30:32        12 have been involved in?                     12:32:37
   13   year quota, or do you have any understanding 12:30:37         13      A.    Yes.                     12:32:38
   14   of that at all?                    12:30:39                   14      Q.    Okay. You can set that aside.       12:32:39
   15       A. I don't remember.                12:30:40              15           (Mallinckrodt-Collier Exhibit      12:32:49
   16       Q. In the third paragraph you say, 12:30:42               16      11 marked for identification.)         12:32:50
   17   "You were one of our valued partners, and it 12:30:50         17 QUESTIONS BY MR. GOTTO:                               12:32:50
   18   is our goal to meet as much of your demand as 12:30:52        18      Q.    We've marked as Exhibit 12          12:33:11
   19   possible. The impact this supply reduction 12:30:55           19 {sic} a multipage document beginning at Bates 12:33:14
   20   could have on your business is well           12:30:58        20 MNK-T1_0007289278. Appears to be minutes and 12:33:16
   21   understood. We have developed a supply plan, 12:31:00         21 action item from a November 23, 2011 business 12:33:23
   22   attached, to maximize the amount of oxycodone 12:31:03        22 review meeting.                          12:33:30
   23   we can ship to you in the coming months that 12:31:05         23           MR. O'CONNOR: Just for               12:33:31
   24   are helping you to meet the needs of your       12:31:08      24      clarity, this is marked 11.          12:33:32
   25   customers and their patients," correct?       12:31:10        25           MR. GOTTO: Is it 11? Oh,             12:33:36

                                                        Page 163                                                                   Page 165
    1       A. Correct.                      12:31:12                  1       that's because I was looking at 12       12:33:38
    2       Q. How did you go about developing 12:31:12                2       over here that we hadn't used yet.       12:33:39
    3   the supply plan and allocating the available 12:31:14          3            Thank you.                  12:33:41
    4   quota among the existing customers?             12:31:21       4            MR. O'CONNOR: No problem.               12:33:41
    5       A. First, we evaluated who had           12:31:23          5   QUESTIONS BY MR. GOTTO:                            12:33:42
    6   intercontractual obligation of failure to     12:31:27         6       Q. If you could take a moment and 12:33:42
    7   supply, which is a penalty for not supplying, 12:31:29         7   look at that document, Ms. Collier. I just 12:33:43
    8   so that could be very costly, so they were      12:31:31       8   have a question for you on the third page.      12:33:45
    9   prioritized. Other customers that had more 12:31:33            9       A. Page 3.                      12:35:51
   10   of our portfolio in their line were         12:31:35          10       Q. Yes, page 3, please.              12:35:52
   11   prioritized over others. If it was a       12:31:39           11            First of all, do you recognize 12:35:53
   12   customer that we knew we could supply their 12:31:43          12   what this document is?                    12:35:54
   13   full amount, we'd try and take care of them. 12:31:46         13       A. Yes, I do.                    12:35:55
   14            But it was based on primarily      12:31:48          14       Q. And what is it?                 12:35:57
   15   the failure to supply and the impact it'd     12:31:49        15       A. This is from our sales and          12:35:58
   16   have on our business.                    12:31:52             16   operations planning meeting that we would         12:36:01
   17       Q. Do you recall receiving             12:31:53           17   have with the leaders of each business unit 12:36:03
   18   responses from various customers to this and 12:31:59         18   and manufacturing.                      12:36:06
   19   other similar letters that went out at this 12:32:01          19       Q. Okay. So turn to the third          12:36:08
   20   time?                             12:32:03                    20   page, please, and the table in the middle of 12:36:09
   21       A. I recall many customers were           12:32:05        21   the page, the second line that begins with     12:36:14
   22   not happy about receiving this kind of         12:32:07       22   "oxymorphone/oxycodone constraint."              12:36:19
   23   information.                          12:32:09                23            Do you see that?              12:36:21
   24       Q. Did you have any direct contact 12:32:09               24       A. Yes.                        12:36:22
   25   with any of those customers?                12:32:11          25       Q. It says, "Favor oxymorphone            12:36:22

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    1 production at the expense of oxycodone for             12:36:25          1 that and tell me if you recognize that            12:38:45
    2 generics."                              12:36:27                         2   document.                              12:38:46
    3            Do you know why that decision           12:36:28              3       A. (Witness nods head.)                 12:38:46
    4 was made?                                12:36:30                        4       Q. Do you recognize that document? 12:39:57
    5      A.     The St. Louis plant -- I        12:36:31                     5       A. Yes, I do.                      12:39:58
    6 believe this was an incidence where the              12:36:34            6       Q. And what is it?                   12:39:58
    7 St. Louis plant was having a hard time              12:36:36             7       A. It is to work with interns to         12:39:59
    8 manufacturing enough materials on a                  12:36:38            8   explain to them who Mallinckrodt is, what our 12:40:04
    9 consistent basis due to the complexity, and I 12:36:41                   9   product looks like, our product line looks        12:40:06
   10 think that they -- we were reducing the             12:36:43            10   like, and educate them a little bit about the 12:40:08
   11 amount of oxycodone we were producing because 12:36:46                  11   industry.                            12:40:10
   12 we lost some sales, and so they had to make a 12:36:48                  12       Q. Okay. And did you prepare this 12:40:10
   13 decision: Should they make more oxymorphone                  12:36:50   13   document?                               12:40:12
   14 and -- at the expense of oxycodone for our            12:36:53          14       A. I was one of the people. My             12:40:13
   15 business.                              12:36:56                         15   team did it.                          12:40:14
   16      Q.     Okay. And then the next           12:36:57                  16       Q. Okay. If you would turn to             12:40:15
   17 paragraph in that -- in that box on the table 12:37:00                  17   slide 4, which is Mallinckrodt Generics           12:40:22
   18 says, "Need to know impact of further                12:37:03           18   Business Overview, our key products in order 12:40:33
   19 oxycodone reduction for the generics business 12:37:05                  19   of sales value, and then it lists a series of 12:40:36
   20 in order to manage demand to the appropriate           12:37:07         20   products.                            12:40:40
   21 levels."                               12:37:09                         21            Best of your recollection, is      12:40:41
   22            Do you see that?               12:37:10                      22   this an accurate depiction of the key           12:40:43
   23      A.     Oh, I see, in that same --       12:37:11                   23   products Mallinckrodt generics offered in          12:40:46
   24 okay. "Need to know" the further -- yes.             12:37:16           24   fiscal 2014?                           12:40:49
   25      Q.     And my question is: The               12:37:18              25       A. Yes.                          12:40:50

                                                                   Page 167                                                         Page 169
    1 reference to manage demand to appropriate           12:37:20             1        Q. Okay. And turn, if you would, 12:40:51
    2   levels, how would you -- what steps would -- 12:37:22                  2   to slide 17.                        12:40:56
    3   as marketing director, what steps would you 12:37:25                   3        A. (Witness complies.)                12:41:07
    4   take to try to manage demand to appropriate 12:37:28                   4        Q. Products driving net sales. It 12:41:11
    5   levels?                            12:37:30                            5   says, "FY '14 net sales LE."                12:41:14
    6       A. We could slow down shipping             12:37:30                6             What does the LE refer to in       12:41:17
    7   some orders to customers. We could ask           12:37:32              7   this setting?                        12:41:19
    8   customers, do not load inventory. We could 12:37:35                    8        A. Latest estimate.                12:41:19
    9   not have as much safety stock. So there were 12:37:38                  9        Q. Okay. And FY '13 net sales,           12:41:20
   10   a lot of things we could do to reduce the      12:37:41               10   those are actuals, I take it?             12:41:24
   11   amount of inventory that was required for the 12:37:43                11        A. Correct. It's an overlay, so 12:41:25
   12   year.                             12:37:45                            12   it's hard to see.                    12:41:27
   13       Q. Okay. And that -- you'd view           12:37:46                13        Q. Okay. And to the best of your 12:41:29
   14   those steps as managing demand?                12:37:48               14   knowledge, the data depicted on this pie         12:41:33
   15       A. Yes.                         12:37:51                          15   chart for fiscal '13 and '14 is accurate?     12:41:36
   16       Q. Okay. You can set that aside. 12:37:51                         16        A. Yes.                        12:41:39
   17             (Mallinckrodt-Collier Exhibit     12:38:05                  17        Q. Okay. And turn, if you would, 12:41:41
   18       12 marked for identification.)         12:38:06                   18   to slide 20.                        12:41:51
   19   QUESTIONS BY MR. GOTTO:                            12:38:06           19        A. (Witness complies.)                12:41:53
   20       Q. Ms. Collier, we have now marked 12:38:26                       20        Q. And it's current market model, 12:41:57
   21   as Exhibit 12 a document, a multipage           12:38:27              21   revised market model. And under current            12:42:02
   22   document, beginning at Bates                 12:38:30                 22   market model it says, "Products are pushed         12:42:03
   23   MNK-T1_0000661013. It appears to be an              12:38:33          23   out to customers through pricing and            12:42:05
   24   intern initiation prepared in June of 2014. 12:38:39                  24   incentive programs."                      12:42:06
   25             If you could take a look at     12:38:44                    25             And then under revised market        12:42:08

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    1 model, "Customers add products through           12:42:10       1        need to address their issues first."   12:43:49
    2 pricing incentive programs and preferred        12:42:11        2            So that's what we were doing,       12:43:51
    3 service."                           12:42:13                    3        was changing the way the company            12:43:52
    4            Could you elaborate on the       12:42:14            4        looked at the customers.             12:43:56
    5   distinction that's being drawn there and what 12:42:17        5   QUESTIONS BY MR. GOTTO:                             12:43:57
    6   steps were taken at Mallinckrodt to move from 12:42:20        6        Q. Okay. Turn to slide 22, if you 12:43:57
    7   current model to revised model?             12:42:23          7   would. There's a reference to customer          12:44:05
    8            MR. O'CONNOR: Object to form. 12:42:25               8   connectivity initiative, which sounds like it 12:44:09
    9            THE WITNESS: Sure. Sure.            12:42:26         9   may be part of what you were just talking        12:44:11
   10            Previously we had the product, 12:42:29             10   about.                             12:44:12
   11       we launched it. We went and talked to 12:42:32           11        A. Exactly.                      12:44:12
   12       customers and said, "Okay, you've got 12:42:33           12        Q. If you could just describe to       12:44:13
   13       Mylan product, you've got Teva          12:42:36         13   me what's meant by a customer connectivity         12:44:14
   14       product, and we'd like you to switch     12:42:39        14   initiative.                        12:44:16
   15       to our product."                 12:42:40                15        A. That's exactly what it was. It 12:44:16
   16            And what we decided that we        12:42:40         16   was to get our internal groups to understand 12:44:18
   17       needed to do was put the customer at      12:42:41       17   who the important customers were. So we            12:44:21
   18       the center of our focus.           12:42:43              18   taught them, like, these are the customers      12:44:23
   19            So our drug wholesalers,        12:42:44            19   driving the value for the business, and        12:44:24
   20       warehousing chains and distributors,     12:42:46        20   that's who's really paying your paycheck.       12:44:27
   21       mostly the drug wholesalers and the      12:42:47        21            And then we empowered them to          12:44:30
   22       warehousing chains, they had formed a 12:42:50           22   make their own decisions to resolve issues. 12:44:33
   23       consortium, so we had to align better 12:42:51           23   So if there was a chargeback issue and they 12:44:36
   24       with them and meet their needs rather 12:42:55           24   thought that the customer was entitled to       12:44:38
   25       than us going to them and asking them 12:42:56           25   that chargeback but we deducted it for some 12:44:39

                                                       Page 171                                                                  Page 173
    1      to meet our needs.                  12:42:58               1 reason, they were now saying that they could          12:44:43
    2           So we came up with initiatives 12:43:00               2 resolve that issue themselves.               12:44:44
    3      to focus more on providing better        12:43:01          3            And we actually surveyed          12:44:46
    4      customer service than we had in the       12:43:05         4 customers on what was important to them, and           12:44:47
    5      past, better communication about          12:43:05         5 that's how we came up with what we needed to           12:44:51
    6      supply issues. And that's what this      12:43:07          6 do.                              12:44:53
    7      was about, was how do we communicate           12:43:11    7            MR. GOTTO: Okay. You can put           12:44:53
    8      better than what we've been doing in       12:43:13        8       that aside.                  12:44:55
    9      the past.                      12:43:15                    9            Why don't we take our lunch        12:44:55
   10           Because they had -- for         12:43:15             10       break.                       12:44:58
   11      example, a huge customer might call in 12:43:18           11            VIDEOGRAPHER: We are going off              12:44:59
   12      and ask about where their order is.      12:43:20         12       the record at 12:44 p m.             12:45:00
   13      They might get a voicemail because         12:43:24       13       (Off the record at 12:44 p m.)         12:45:01
   14      they got bounced around on the phone        12:43:25      14            VIDEOGRAPHER: We are back on                13:26:47
   15      call for several people, so we gave      12:43:27         15       the record at 1:33 p m.              13:33:43
   16      them dedicated people to work with.        12:43:29       16            (Mallinckrodt-Collier Exhibit      13:33:44
   17           We had -- we informed people in 12:43:31             17       13 marked for identification.)         13:33:45
   18      contract admin, "If this particular     12:43:34          18 QUESTIONS BY MR. GOTTO:                               13:33:45
   19      customer calls, make sure you answer        12:43:35      19       Q.    Welcome back, Ms. Collier.         13:33:46
   20      their call and address their issues.    12:43:37          20       A.    Thank you.                 13:33:48
   21      They're a priority. Don't think that 12:43:40             21       Q.    We've marked as Exhibit 13 a       13:33:48
   22      everybody in your basket is as          12:43:41          22 multipage document beginning with Bates               13:33:51
   23      important. There's 11 customers          12:43:43         23 MNK-T1_0000607429. Appears to be a specialty 13:33:52
   24      driving all of our business, and you     12:43:46         24 generic strategic plan, 2013 to 2017. It's      13:34:03
   25      need -- most of our business, and you 12:43:47            25 quite a lengthy document. I just have a few       13:34:07

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    1 questions for you on it.                    13:34:09              1 though, what sorts of things would you do        13:36:41
    2             If you could just look at it     13:34:10             2 to -- to -- as it says, "Growing more         13:36:44
    3   just briefly to confirm that -- or ascertain 13:34:11           3 profitable product families through a          13:36:46
    4   if you're familiar with it.               13:34:15              4 compliance initiative"?                   13:36:48
    5       A. Yes, I'm familiar with it.           13:34:37            5      A.    That means -- so, for example,     13:36:49
    6       Q. And what is it?                   13:34:38               6 if one of the drug wholesalers was not         13:36:51
    7       A. It is a STRAT plan, a strategic 13:34:39                 7 purchasing the volume that we thought they        13:36:55
    8   plan, about how our sales will project in the 13:34:44          8 would, we would, again, work with them, find         13:36:56
    9   future.                            13:34:48                     9 out why they weren't purchasing, were they        13:36:59
   10       Q. Okay. And did you participate 13:34:48                  10 buying from somebody else, too, because they         13:37:01
   11   in the preparation of this?                13:34:50            11 could do that. They didn't have a commitment 13:37:03
   12       A. Yes, I did.                     13:34:52                12 in their contract to buy any certain volumes. 13:37:06
   13       Q. Okay. If you would turn to             13:34:53         13           And because we didn't have a       13:37:09
   14   slide 20. And this is an industry trends        13:34:56       14 commitment from them that we would change              13:37:09
   15   retail slide.                       13:35:07                   15 your pricing, the only thing we could do was      13:37:11
   16             And the bottom two bullet          13:35:08          16 ask them specifically why were they were not         13:37:13
   17   items, one says, "Our focus here will           13:35:12       17 buying.                           13:37:16
   18   continue to diminish as C-IIs become less of 13:35:15          18           And if they were buying off of     13:37:16
   19   an opportunity."                        13:35:18               19 another program because somebody was offering 13:37:17
   20             Do you know what's meant by           13:35:22       20 at a lower price or if it was something       13:37:19
   21   that?                              13:35:24                    21 that -- pharmacist's preference, anything      13:37:22
   22       A. I'm not clear what this meant          13:35:24         22 like that, then we would try and uncover that 13:37:23
   23   in the context, no.                     13:35:26               23 and find out what we needed to do differently 13:37:25
   24       Q. Okay. How about the next                13:35:27        24 at our company in order to ensure that         13:37:27
   25   bullet, "Need to implement SOM monitoring for 13:35:28         25 they're buying our product.                 13:37:29

                                                         Page 175                                                                Page 177
    1 HB/APAP for this class of customers in              13:35:31      1      Q. Okay. Turn to slide 54,           13:37:31
    2   addition to the wholesalers."               13:35:34            2 please. This is the SWOT analysis.            13:37:38
    3            Do you know what's meant there? 13:35:36               3          Under Strengths, the first --   13:37:55
    4        A. Hydrocodone APAP was going from 13:35:38                4      A. It must be the wrong page, I'm 13:37:57
    5   a Schedule III to a Schedule II, so that       13:35:39         5 sorry.                            13:37:58
    6   means it was included in the suspicious order 13:35:43          6      Q. I'm sorry, it's slide 54.       13:37:58
    7   monitoring program.                       13:35:45              7      A. I was on 64. Even with my           13:38:00
    8        Q. Okay. All right. If you'd          13:35:46             8 glasses I'm having a hard time reading those 13:38:02
    9   turn to slide 28, please. This is a slide     13:35:55          9 numbers.                            13:38:04
   10   entitled "Customer Initiatives."             13:36:05          10      Q. These are a little tiny.        13:38:04
   11            Toward the middle of the slide, 13:36:09              11      A. Yes, they are. Thank you.          13:38:06
   12   there's a reference to "compliance            13:36:11         12      Q. Okay. So the SWOT analysis for 13:38:07
   13   initiatives based on growing more profitable 13:36:13          13 Mallinckrodt, under Strengths, the first      13:38:10
   14   product families."                      13:36:16               14 bullet item is, "Recognized as leader in      13:38:11
   15            What would be examples of            13:36:17         15 narcotics."                         13:38:15
   16   compliance initiatives?                   13:36:20             16          Do you see that?              13:38:16
   17        A. That would be, again, ensuring 13:36:21                17      A. Yes.                       13:38:16
   18   that the customers, when they gave us the         13:36:24     18      Q. And what's the basis for that, 13:38:16
   19   volume, that they were buying at that volume 13:36:26          19 that Mallinckrodt is recognized as a leader 13:38:19
   20   level. And then we would worry more about           13:36:28   20 in narcotics?                        13:38:20
   21   the profitable products than the less         13:36:31         21      A. Partly due to our market share. 13:38:21
   22   profitable ones, because before we were just 13:36:32          22 It was a 150-year-old company that started      13:38:24
   23   kind of focusing on everything. We needed to 13:36:35          23 out making the raw materials in narcotics and 13:38:27
   24   change our focus.                       13:36:37               24 grew from -- growing our -- making narcotics 13:38:30
   25        Q. So in terms of the initiative, 13:36:38                25 all the way through to having a finished       13:38:33

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                                                          Page 178                                                            Page 180
    1 dosage form, so they also sold tablets and       13:38:35          1       Q. Okay. Turn to slide 95,               13:40:30
    2 everything.                            13:38:37                    2   please. If it's easier, it's -- the Bates    13:40:46
    3            And anytime you're vertically       13:38:38            3   number ends in 523 in the lower right-hand 13:40:47
    4   integrated like that in the industry, that's 13:38:40            4   corner.                               13:40:52
    5   really widely appreciated because there          13:38:42        5       A. Perfect. Thank you.                  13:40:52
    6   should be some consistency of supply behind 13:38:44             6       Q. This slide is on promotional            13:40:53
    7   that.                            13:38:46                        7   positioning.                            13:40:57
    8        Q. Okay. Under Strengths, the           13:38:47            8            What's meant by that phrase,         13:40:57
    9   bottom bullet item says, "Lobbyists engaged 13:38:52             9   "promotional positioning"?                    13:41:01
   10   in legislation."                     13:38:54                   10       A. It means how are we different            13:41:02
   11            Do you recall at this time if     13:38:57             11   than Mylan, Teva and other competitors at           13:41:04
   12   there were any particular legislative         13:38:58          12   that time.                            13:41:07
   13   initiatives that lobbyists were engaged in? 13:39:00            13       Q. Okay. And the second main                 13:41:07
   14        A. I can't remember the specific        13:39:03           14   bullet item says, "Primary focus is             13:41:12
   15   initiative. I remember working with one of 13:39:09             15   Mallinckrodt is a leader in pain management." 13:41:14
   16   our lobbyists at that time. We were at a        13:39:12        16            Do you see that?                 13:41:17
   17   meeting in Washington, DC, and I can't            13:39:16      17       A. Yes.                           13:41:17
   18   remember specifically what that was around. 13:39:18            18       Q. And under that, the bullet item 13:41:17
   19   It might have had to do with REMS, because of 13:39:19          19   is "committed to education."                  13:41:19
   20   the cost of REMS.                        13:39:22               20            What's that referring to,         13:41:21
   21        Q. Under Weaknesses there's              13:39:23          21   "committed to education"?                     13:41:24
   22   "prolonged supply issues," and that's          13:39:25         22       A. At one time there -- and I'm -- 13:41:25
   23   something we've touched on here today,            13:39:28      23   and I'm sorry if I misstate this, but I        13:41:29
   24   correct?                           13:39:29                     24   believe that there was a program intended to 13:41:31
   25        A. Correct.                     13:39:30                   25   educate about pain management, and there were 13:41:34

                                                          Page 179                                                            Page 181
    1       Q. And it appears that that             13:39:30             1 alternative therapies such as medication and       13:41:38
    2   continued to be a problem up till the time        13:39:32       2 things like that.                       13:41:41
    3   this document was prepared, correct?             13:39:36        3             And I'm not sure -- we never      13:41:42
    4       A. Correct.                        13:39:37                  4   launched that program. But I'm not sure what 13:41:45
    5       Q. Under Threats, first bullet           13:39:37            5   it means in this context, what all we         13:41:48
    6   item is "pill mill legislation."            13:39:42             6   intended to do.                        13:41:50
    7            Why was pill mill legislation a 13:39:45                7       Q. Okay. Two bullet items below 13:41:51
    8   threat?                              13:39:47                    8   that, there's a bullet item "education about 13:41:57
    9            MR. O'CONNOR: Objection.                13:39:47        9   the proper use of medication and therapeutic 13:41:58
   10            THE WITNESS: It wouldn't be             13:39:48       10   category."                           13:42:00
   11       considered a threat. It would mean -- 13:39:51              11             Do you see that?              13:42:01
   12       a threat would be anything that would 13:39:53              12       A. Yes.                         13:42:01
   13       adjust our business, so we had to          13:39:54         13       Q. Any more insight into education 13:42:02
   14       consider it. So I wouldn't say it's a 13:39:58              14   in that context?                      13:42:05
   15       threat, per se, that it's a reduction 13:40:00              15       A. Well, and it seems that we did 13:42:05
   16       in our business, so it's going to        13:40:02           16   run a CE article, continuing education         13:42:08
   17       impact the overall value of our           13:40:04          17   article, about proper use, and I do know that 13:42:10
   18       portfolio.                        13:40:06                  18   we looked at proper disposal of products,        13:42:13
   19   QUESTIONS BY MR. GOTTO:                              13:40:06   19   especially with the launch of fentanyl patch, 13:42:16
   20       Q. Okay. Do you know if there was 13:40:08                  20   so it was probably around that.             13:42:19
   21   specific pending or proposed legislation         13:40:15       21       Q. Okay. And the next bullet            13:42:22
   22   related to pill mills at this time that was 13:40:20            22   item, "Sponsor CE article in drug topics." 13:42:25
   23   of particular interest?                   13:40:22              23             Do you know what that article 13:42:28
   24       A. I really don't remember what            13:40:23         24   pertained to?                         13:42:29
   25   that was around.                         13:40:28               25       A. I can't remember the specific 13:42:31

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    1 topic.                                13:42:32                  1       A. We would do a direct mail on         13:44:45
    2        Q. Okay. Next bullet item says, 13:42:33                 2   new products and tell them what product is 13:44:47
    3   "Our primary vehicles for getting out our        13:42:36     3   now available. For example, I -- earlier I 13:44:49
    4   messages will be direct mail, Pharm/alert and 13:42:39        4   spoke to that we had fentanyl patch, fentanyl 13:44:51
    5   PDQ."                                13:42:43                 5   lozenge and methylphenidate, so we would give 13:44:51
    6             Direct mail in this setting,    13:42:44            6   them information if the product's available 13:44:56
    7   what is that referring to?                13:42:46            7   so that they were aware. Because they may 13:44:59
    8        A. That would be send it out --         13:42:48         8   have been continuing to order -- even though 13:45:02
    9   send information out -- there's two levels: 13:42:51          9   we might have gotten the award on a contract, 13:45:04
   10   One is our buyers, our customers, which are 13:42:53         10   they may have continued to order from the       13:45:06
   11   the warehousing chains, wholesalers and           13:42:55   11   competitor, not knowing that we were now         13:45:08
   12   distributors, or send something out to the 13:42:59          12   available.                        13:45:10
   13   retail pharmacies, which is downstream a          13:43:01   13       Q. Okay. What is PDQ?                 13:45:12
   14   little bit further. And so we -- so         13:43:04         14       A. PDQ is a pharm -- like            13:45:22
   15   Pharm/alert goes to retail pharmacies. They 13:43:07         15   Pharm/alert or any other mail. It's a      13:45:24
   16   can't sell them to hospital pharmacies, so 13:43:11          16   collection of pieces from different        13:45:26
   17   the pharmacists get information that way.        13:43:12    17   manufacturers, and it comes in a big mailing 13:45:28
   18        Q. When you said "they can't sell 13:43:16              18   packet, you know, like some of the junk mail 13:45:30
   19   to hospital pharmacies," who is the "they" 13:43:39          19   you get, and so the pharmacists receive that. 13:45:32
   20   you're referring to there?                13:43:41           20   And they get a whole packet of information 13:45:34
   21             Maybe I just didn't understand 13:43:45            21   about new products and whatever other          13:45:36
   22   your answer. You were talking in terms of a 13:43:46         22   information that other companies might want 13:45:40
   23   direct mail to pharmacies.                 13:43:47          23   to put out.                       13:45:43
   24        A. It can go to hospital            13:43:50            24       Q. Okay. The next bullet item          13:45:43
   25   pharmacies, hospital pharmacists.             13:43:53       25   says, "Other vehicles will be webinars, our 13:45:44

                                                       Page 183                                                           Page 185
    1       Q. Okay.                        13:43:55                  1 website and e-mails."                       13:45:48
    2       A. So we did sell to pharmacies         13:43:55          2            What types of webinars were          13:45:49
    3   through the wholesalers.                 13:43:58             3   conducted?                            13:45:51
    4       Q. Okay. And so direct mail could 13:43:59                4       A. I don't remember what webinars 13:45:52
    5   go to retail pharmacies and hospital         13:44:02         5   we may or -- may have even done them, if we 13:45:56
    6   pharmacies?                          13:44:03                 6   did them at all.                      13:46:01
    7       A. Correct.                     13:44:03                  7       Q. Who would have coordinated               13:46:02
    8       Q. Okay. And how often -- well,          13:44:04         8   webinar activity?                       13:46:03
    9   who was in charge of any kind of direct mail 13:44:12         9       A. That would have been within             13:46:04
   10   program that you engaged in from time to        13:44:19     10   promotion -- within the promotional group,         13:46:07
   11   time?                            13:44:21                    11   which was in my team.                       13:46:10
   12            MR. O'CONNOR: Object to form. 13:44:21              12       Q. Okay. But you don't recall if 13:46:10
   13            THE WITNESS: In charge of and 13:44:21              13   that actually was done?                    13:46:12
   14       actually --                    13:44:23                  14       A. No, I don't recall that.           13:46:12
   15   QUESTIONS BY MR. GOTTO:                           13:44:23   15       Q. Turn to slide 97, please, two         13:46:14
   16       Q. Who decided what was going to           13:44:24      16   after the one you're on. It's a slide about 13:46:27
   17   get sent out to whom?                   13:44:25             17   other promotional activities.               13:46:34
   18       A. Well, that would be generated         13:44:27        18            And there's a bullet, "advisory 13:46:36
   19   out of my department, and usually instructed 13:44:28        19   boards, question mark, topics, value,          13:46:39
   20   by me and with approval of the president of 13:44:32         20   potential participants."                 13:46:42
   21   the division.                       13:44:35                 21            Do you recall if Mallinckrodt       13:46:43
   22       Q. Okay. And so in terms of            13:44:35          22   became involved in any advisory boards?            13:46:48
   23   direct mail to retail pharmacy or to hospital 13:44:38       23       A. No, we did not.                   13:46:51
   24   pharmacy, what sort of information would you 13:44:40        24       Q. Was there a decision made not           13:46:52
   25   provide to them in a direct mailing?         13:44:42        25   to do that, or is it just something that     13:46:54

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    1 didn't come together?                       13:46:56              1   document?                             13:51:03
    2       A. It was a decision not to do it. 13:46:57                 2       A. Yes, I am.                     13:51:03
    3       Q. Do you know why?                     13:46:59            3       Q. And what is it?                  13:51:04
    4       A. My input was that there were            13:47:00         4       A. It's a strategic plan developed 13:51:05
    5   challenges in trying to decide who would be 13:47:04            5   by the generics group, generics marketing        13:51:07
    6   on the board and what would even be the topic 13:47:06          6   group, for periods 2014 to 2019.             13:51:10
    7   that we wanted to discuss. We couldn't           13:47:10       7       Q. Okay. And did you participate 13:51:12
    8   perceive it to be something that we were         13:47:11       8   in the preparation of this document?           13:51:13
    9   having the customers do to give the customers 13:47:13          9       A. Yes, I did.                   13:51:15
   10   a day out of the office.                 13:47:16              10       Q. Okay. If you would turn to           13:51:16
   11             It needed to be something that 13:47:17              11   slide 8, please. The Bates number ends in        13:51:18
   12   was constructive for the company. We              13:47:18     12   723.                               13:51:25
   13   couldn't come up with what would be value for 13:47:20         13       A. (Witness complies.)                13:51:28
   14   the company.                            13:47:22               14       Q. This is a trends slide, and the 13:51:29
   15       Q. And if you turn to the next          13:47:23           15   bottom half, there's a bullet item talking     13:51:35
   16   slide, slide 98, it's Generic Business        13:47:35         16   about "abuse-deterrent legislation."          13:51:37
   17   Expenses, and the first line, which says,       13:47:45       17            Do you see that?              13:51:40
   18   "Product Manager Collier." And there's some 13:47:47           18       A. Yes.                         13:51:40
   19   prior year, fiscal '12 and fiscal '13       13:47:52           19       Q. What was abuse-deterrent              13:51:41
   20   figures, which show a significant increase in 13:47:56         20   legislation as used in this slide?         13:51:44
   21   fiscal year '13 budget versus the prior        13:47:58        21       A. There was consideration by            13:51:46
   22   years.                              13:48:00                   22   several states to have products that if there 13:51:47
   23             Do you know what the reason for 13:48:00             23   was an abuse-deterrent product available,        13:51:49
   24   that is?                            13:48:02                   24   that they would give preference to that drug 13:51:53
   25       A. I think this was with the           13:48:03            25   over other nonabuse-deterrent drugs.           13:51:57

                                                            Page 187                                                         Page 189
    1 launch -- this may have been that we were           13:48:05      1        Q. Okay. And the very last bullet 13:51:59
    2 preparing for the launch of -- one, I had        13:48:10         2   item on this slide says, "Mallinckrodt and       13:52:00
    3 more people on my staff to do more analytics, 13:48:12            3   GPHA are opposed to this."                   13:52:03
    4 and this may have had to do something with           13:48:15     4             Is that the abuse-deterrent     13:52:06
    5 the launch of methylphenidate, that we needed 13:48:18            5   legislation that Mallinckrodt was opposed to? 13:52:09
    6 to increase the staffing prior to launch, and 13:48:21            6             MR. O'CONNOR: Object to form. 13:52:09
    7 just better analytics around all of our sales 13:48:24            7             THE WITNESS: Yes, I would             13:52:11
    8 numbers.                              13:48:27                    8        assume based where it's placed in the 13:52:12
    9      Q.    Okay. You can set that aside.     13:48:27             9        slide, yes.                    13:52:15
   10      A.    Okay.                      13:48:38                   10   QUESTIONS BY MR. GOTTO:                             13:52:15
   11           (Mallinckrodt-Collier Exhibit     13:49:10             11        Q. And do you know why                   13:52:15
   12      14 marked for identification.)         13:49:10             12   Mallinckrodt was opposed to abuse-deterrent 13:52:16
   13 QUESTIONS BY MR. GOTTO:                              13:49:10    13   legislation?                          13:52:21
   14      Q.    Ms. Collier, Exhibit 14 is a     13:49:18             14        A. No, but I -- I could speculate, 13:52:21
   15 multipage document beginning at Bates               13:49:21     15   but I would think that it would be better       13:52:23
   16 MNK-T1_0000663716. Appears to be a strategic 13:49:28 16              placed with the lobbyists that were working 13:52:25
   17 plan for the years 2014 through '19. Again,        13:49:30      17   on the program.                         13:52:28
   18 I just have a couple of questions for you on       13:49:35      18        Q. Okay. All right. And if you          13:52:28
   19 the document.                           13:49:37                 19   would turn to the Bates -- Bates number 768 13:52:31
   20      A.    Okay.                      13:49:37                   20   at the end, toward the back of the document. 13:52:35
   21      Q.    But if you can look through it    13:49:37            21   It's slide 53. It's the SWOT analysis.        13:52:38
   22 briefly just to familiarize yourself and         13:49:39        22             And this is similar to the SWOT 13:52:50
   23 confirm that you are familiar with it.        13:49:41           23   analysis we looked at in the prior exhibit. 13:52:52
   24      A.    Okay.                      13:49:43                   24             Under Threats, though, I had a 13:52:54
   25      Q.    Are you familiar with this       13:51:02             25   question on the last item: "Continued          13:52:58

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    1 attempts by government to restrict access in      13:53:00          1       they'll sell to the customer. They      13:56:17
    2 an effort to reduce abuse or misuse which         13:53:02          2       may not know that that particular        13:56:18
    3 affects pain patients."                13:53:06                     3       customer is buying from other            13:56:19
    4           Do you know what continued            13:53:07            4       distributors or wholesalers.          13:56:21
    5 attempts by the government are being referred 13:53:11              5            So because of the issue in       13:56:22
    6 to in that bullet item?                13:53:14                     6       Florida, we looked at Florida and        13:56:24
    7      A.    Yes. It would have been           13:53:16               7       pulled those customers that we thought 13:56:27
    8 switching -- for here, for example,           13:53:20              8       were possibly buying from other           13:56:29
    9 hydrocodone APAP to a C-II to restrict access 13:53:22              9       distributors.                   13:56:33
   10 so patients were getting fewer pills. So we       13:53:26         10   QUESTIONS BY MR. GOTTO:                            13:56:34
   11 would have to accommodate the new request by            13:53:28   11       Q. Okay. So is this the work           13:56:34
   12 the government, and what would that mean in          13:53:31      12   product that you were referring to earlier     13:56:37
   13 our total volume.                      13:53:33                    13   today when you talked about analysis that you 13:56:39
   14      Q.    Okay. And that was a threat to     13:53:35             14   and Ms. Muhlenkamp did after the Sunrise          13:56:41
   15 Mallinckrodt for what reason?                 13:53:36             15   issues surfaced?                      13:56:46
   16      A.    It just would be a reduction in   13:53:38              16       A. Correct.                     13:56:47
   17 our overall volume of units and sales,          13:53:40           17       Q. Okay. So the attachment --           13:56:48
   18 obviously.                           13:53:44                      18   just to be sure I understand the -- what's    13:56:52
   19      Q.    Okay. You can set that aside.      13:53:44             19   depicted here. Customer name -- the customer 13:56:57
   20           (Mallinckrodt-Collier Exhibits     13:54:19              20   in the context of Exhibit 16 is            13:57:00
   21      15 and 16 marked for identification.)      13:54:20           21   Mallinckrodt's customer's customer, correct? 13:57:03
   22 QUESTIONS BY MR. GOTTO:                             13:54:20       22            MR. O'CONNOR: Object to form. 13:57:07
   23      Q.    We've marked as Exhibit 15 a         13:54:53           23            THE WITNESS: Well, I want to           13:57:08
   24 single-page e-mail bearing Bates              13:54:57             24       be clear I'm not sure, because what       13:57:11
   25 MNK-T1_0000418885, and as Exhibit 16 what I              13:55:00 25        could happen is one of our customers       13:57:12

                                                           Page 191                                                            Page 193
    1 believe is one of the attachments to that       13:55:08            1       could sell to another pharmacy, and        13:57:14
    2   e-mail, a multipage document that was           13:55:12          2       that pharmacy, in turn, sold to other 13:57:16
    3   produced in native form under Bates            13:55:17           3       pharmacies. So it's never really         13:57:19
    4   MNK-T1_0000418886.                          13:55:21              4       clear unless we get chargeback data        13:57:21
    5            Take a look at those documents, 13:55:25                 5       back on where it went.                13:57:26
    6   if you would, and tell me if you recognize      13:55:29          6   QUESTIONS BY MR. GOTTO:                             13:57:27
    7   them.                             13:55:31                        7       Q. Okay. So is the customer              13:57:28
    8       A. Yes, I do recognize them.           13:55:32               8   that's listed on Exhibit 16 the entity that 13:57:29
    9       Q. And what are they?                13:55:38                 9   would be identified as a customer in the         13:57:32
   10       A. This is a sales report that was 13:55:39                  10   chargeback report that Mallinckrodt             13:57:34
   11   pulled to indicate if some of our customers 13:55:44             11   maintained?                           13:57:37
   12   were buying from more than one distributor, 13:55:48             12       A. Correct.                      13:57:37
   13   because we did not typically look at that.     13:55:49          13       Q. Okay. And that may be the              13:57:38
   14   We just would get chargebacks from individual 13:55:52           14   direct customer of Mallinckrodt's customer or 13:57:45
   15   wholesalers or distributors and never looked 13:55:55            15   may be an indirect customer of Mallinckrodt's 13:57:48
   16   across the channel to see if they were       13:55:57            16   customer; is that fair?                  13:57:51
   17   possibly buying from other distributors.       13:55:59          17             MR. O'CONNOR: Object to form. 13:57:52
   18       Q. And why was that of interest to 13:56:01                  18             THE WITNESS: Correct.               13:57:52
   19   you, whether they were buying from other         13:56:03        19   QUESTIONS BY MR. GOTTO:                             13:57:53
   20   distributors?                       13:56:04                     20       Q. And this report is for the          13:58:04
   21            MR. O'CONNOR: Object to form. 13:56:05                  21   September 2010 time period; is that correct? 13:58:07
   22            THE WITNESS: It was my thought 13:56:06                 22       A. Yes. It appears to be.             13:58:09
   23       that our distributors may not know       13:56:10            23       Q. Is this the first time that you 13:58:15
   24       that -- distributors and wholesalers    13:56:14             24   and Ms. Muhlenkamp gathered this information; 13:58:33
   25       each have a limit, too, in which       13:56:15              25   do you know?                            13:58:36

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                                                        Page 194                                                           Page 196
    1       A. Yes.                       13:58:37                     1 the list, the Tru-Valu Drugs customer, that      14:00:15
    2       Q. Okay.                       13:58:38                    2 was buying from six distributors, correct?       14:00:19
    3       A. That I remember it is.           13:58:38               3       A. Yes.                       14:00:22
    4       Q. Okay. Did you engage in this         13:58:40           4       Q. How did you ascertain how many 14:00:23
    5   data gathering process again in the future? 13:58:44           5   different distributors a customer was buying 14:00:26
    6            MR. O'CONNOR: Object to form. 13:58:47                6   from?                             14:00:30
    7            THE WITNESS: Not that I            13:58:48           7       A. Kate Neely, Kate Muhlenkamp,            14:00:30
    8       recall.                      13:58:51                      8   pulled this, and I'm not sure exactly, but 14:00:36
    9   QUESTIONS BY MR. GOTTO:                           13:58:51     9   I'm sure in a query you can develop this and 14:00:38
   10       Q. Okay. So according to             13:58:52             10   then have what distributor or wholesaler       14:00:41
   11   Exhibit 15, your cover e-mail, you sent this 13:58:56         11   issued the chargeback. So she would be able 14:00:46
   12   to Mr. Becker, Mr. Borelli and Ms. Williams, 13:58:58         12   to ascertain from that.                 14:00:48
   13   correct?                          13:59:04                    13       Q. So the number of distributors 14:00:50
   14       A. Correct.                    13:59:04                   14   here -- so, for example, Tru-Valu Drugs         14:00:57
   15       Q. And did you have further            13:59:05           15   buying from six different distributors, are 14:01:01
   16   discussions with them regarding the data or 13:59:06          16   those six different Mallinckrodt            14:01:03
   17   any further evaluation of this data?        13:59:09          17   distributors?                       14:01:06
   18            MR. O'CONNOR: Object to form. 13:59:13               18       A. Correct.                     14:01:06
   19            THE WITNESS: Yes, we did.            13:59:13        19       Q. Okay. So it's possible they         14:01:08
   20   QUESTIONS BY MR. GOTTO:                           13:59:14    20   could have been buying from other parties as 14:01:11
   21       Q. What can you recall?              13:59:14             21   well, correct?                      14:01:13
   22       A. I recall having a discussion       13:59:15            22       A. Correct.                     14:01:13
   23   with them that they needed to talk to their 13:59:18          23       Q. Okay. Is there -- what would 14:01:14
   24   distributors and wholesalers and advise them 13:59:20         24   be a business reason why a party identified 14:01:31
   25   that these might be problem customers and       13:59:23      25   as a customer on this list would buy from       14:01:35

                                                        Page 195                                                           Page 197
    1 that we would no longer issue chargebacks --        13:59:26     1 multiple Mallinckrodt distributors?             14:01:37
    2   or pay them chargebacks for these customers 13:59:28           2        A. I'm not sure why they would do 14:01:40
    3   if they continued selling to them.          13:59:30           3   that. I don't know if you need me to         14:01:45
    4        Q. Okay. And so would that be the 13:59:32                4   speculate, but I'm not sure that I know why 14:01:50
    5   case as to any of your customers' customers 13:59:36           5   each individual customer did that.           14:01:53
    6   if they were buying from multiple            13:59:38          6        Q. Okay. When you gathered this           14:01:57
    7   distributors, you would not pay chargebacks 13:59:40           7   information, was it surprising to you to       14:02:01
    8   to your -- to Mallinckrodt's distributor?     13:59:42         8   learn how many distributors these customers 14:02:04
    9            MR. O'CONNOR: Object to form. 13:59:44                9   were buying from?                        14:02:08
   10            THE WITNESS: No, it was             13:59:45         10            MR. O'CONNOR: Object to form. 14:02:09
   11        specific to these customers that we     13:59:48         11            THE WITNESS: Yes.                  14:02:10
   12        identified, and that was all.       13:59:50             12   QUESTIONS BY MR. GOTTO:                            14:02:11
   13   QUESTIONS BY MR. GOTTO:                            13:59:52   13        Q. Would your expectation have           14:02:12
   14        Q. Okay.                       13:59:52                  14   been that they would have been buying from         14:02:13
   15        A. I don't know if anybody else        13:59:52          15   just one distributor?                  14:02:16
   16   took action later.                    13:59:55                16        A. Yes.                        14:02:18
   17        Q. Okay. But the rationale was         13:59:57          17        Q. And in the month of September, 14:02:18
   18   because they were buying from multiple           13:59:58     18   if I'm reading this correctly, it's       14:02:32
   19   distributors, Mallinckrodt wouldn't pay        14:00:00       19   approximately a million and a half dollars of 14:02:35
   20   chargebacks to the distributor who was buying 14:00:03        20   gross sales to these various customers; is     14:02:38
   21   from Mallinckrodt, correct?                14:00:05           21   that correct?                        14:02:40
   22        A. Correct.                    14:00:06                  22        A. Yes.                        14:02:40
   23            MR. O'CONNOR: Object to form. 14:00:06               23        Q. Do you have any estimate of the 14:02:41
   24   QUESTIONS BY MR. GOTTO:                            14:00:06   24   percentage of sales of Mallinckrodt product 14:02:51
   25        Q. Okay. And the second entry on 14:00:13                25   in September of 2010 that went to the state 14:02:56

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    1 of Florida, what percentage of those sales       14:02:59        1 Exhibit 16, correct?                         14:04:59
    2   are reflected on Exhibit 16?              14:03:02             2         A. Correct.                      14:05:00
    3            MR. O'CONNOR: Object to form. 14:03:05                3             MR. O'CONNOR: Object to form. 14:05:01
    4            THE WITNESS: I don't know.           14:03:06         4   QUESTIONS BY MR. GOTTO:                               14:05:01
    5   QUESTIONS BY MR. GOTTO:                           14:03:06     5         Q. Do you know if any similar             14:05:02
    6       Q. Was any effort made to              14:03:08            6   analysis was ever conducted with respect to 14:05:05
    7   ascertain that?                     14:03:10                   7   sales in states other than Florida?            14:05:08
    8       A. I'm sure that we knew              14:03:11             8         A. I believe there were other           14:05:11
    9   somewhere, but I didn't know for a fact based 14:03:13         9   states listed in here. Well, I know there        14:05:15
   10   on this.                          14:03:14                    10   are, so I don't know if it was just run for 14:05:19
   11       Q. Do you know if the chargeback          14:03:16        11   all states or if there was a limited          14:05:22
   12   database that Mallinckrodt maintained would 14:03:27          12   population that we were looking for.              14:05:25
   13   have been a source for that information?       14:03:30       13         Q. Well, it appears that the           14:05:28
   14            MR. O'CONNOR: Object to form. 14:03:31               14   significant -- the substantial majority of       14:05:32
   15            THE WITNESS: Could you repeat 14:03:32               15   the states -- of the customers on here are 14:05:36
   16       the question?                   14:03:35                  16   identified as Florida, although there were 14:05:38
   17   QUESTIONS BY MR. GOTTO:                           14:03:35    17   multiple other states listed as well.          14:05:47
   18       Q. Yeah.                       14:03:36                   18             Do you know -- is it your          14:05:42
   19            My question about the           14:03:36             19   understanding that this list, Exhibit 16, is 14:05:45
   20   percentage of sales into Florida that these 14:03:37          20   a list of all of the parties identified as    14:05:48
   21   Exhibit 16 sales reflect, do you know if the 14:03:42         21   customer in Mallinckrodt's chargeback data 14:05:52
   22   chargeback data that Mallinckrodt maintained 14:03:44         22   for September 2010 who were indicated to have 14:05:55
   23   could have been queried to ascertain the       14:03:48       23   bought from multiple distributors?               14:05:59
   24   answer to that question?                 14:03:51             24         A. To my knowledge, this was the 14:06:01
   25            MR. O'CONNOR: Object to form. 14:03:51               25   list.                              14:06:03

                                                         Page 199                                                            Page 201
    1            THE WITNESS: I would assume             14:03:52      1        Q. Okay.                         14:06:03
    2       so, because we did it here.           14:03:53             2        A. This is the entire list.         14:06:04
    3   QUESTIONS BY MR. GOTTO:                            14:03:55    3        Q. For all states?                 14:06:05
    4       Q. And I think you indicated            14:04:00           4        A. And I want to be clear, too.         14:06:07
    5   earlier that when you spoke to Mr. Becker and 14:04:06         5   It says September 2010. I don't know the          14:06:09
    6   Borelli and Ms. Williams about this data,       14:04:14       6   time frame on this.                      14:06:12
    7   part of the idea was to let the distributors 14:04:17          7        Q. Okay. Do you have an                 14:06:12
    8   know what you had discovered.                 14:04:20         8   understanding of what the reference to           14:06:16
    9            Do you know if that's -- if      14:04:24             9   September 2010 in the title of the document 14:06:19
   10   that information would otherwise have been        14:04:27    10   means?                                14:06:21
   11   available to Mallinckrodt's distributor       14:04:30        11        A. That's when the query was             14:06:22
   12   customers?                            14:04:33                12   pulled for the September -- in 2010. She         14:06:24
   13            MR. O'CONNOR: Object to form. 14:04:33               13   does not have a specific date on here. We 14:06:28
   14   QUESTIONS BY MR. GOTTO:                            14:04:34   14   normally would have documented that                14:06:32
   15       Q. In other words, would they have 14:04:34               15   somewhere.                              14:06:33
   16   had any independent way of ascertaining which 14:04:36        16        Q. Do you --                      14:06:33
   17   of their customers were buying from other        14:04:40     17        A. But --                       14:06:35
   18   Mallinckrodt distributors?                 14:04:41           18        Q. Go ahead.                       14:06:36
   19            MR. O'CONNOR: Same objection. 14:04:42               19        A. Okay. It was run on                14:06:36
   20            THE WITNESS: I wouldn't know            14:04:43     20   11/19/2010, but she doesn't even say there if 14:06:38
   21       what their systems could do.            14:04:45          21   it's just one month or -- I don't know the 14:06:41
   22   QUESTIONS BY MR. GOTTO:                            14:04:47   22   time frame, sorry.                       14:06:43
   23       Q. Okay. And I think you've             14:04:47          23        Q. Okay. So you don't know if the 14:06:44
   24   already testified you performed this analysis 14:04:55        24   data -- if the sales that are reflected on 14:06:45
   25   just this one time that's reflected here on 14:04:57          25   Exhibit 16 occurred in September 2010 or at 14:06:49

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    1 some other point?                          14:06:52              1       A. It's the percent of the total     14:08:38
    2       A. Right.                        14:06:53                  2   units. And so she had to divide where --       14:08:43
    3       Q. Presumably it would have               14:06:54         3   where was the units, who was the average, who 14:08:48
    4   included September 2010, but it might have         14:06:56    4   was the median, the most frequent number, and 14:08:51
    5   extended beyond that?                      14:06:59            5   so the total dispensed units.             14:08:54
    6       A. Correct.                       14:07:00                 6       Q. Okay. So it's a comparison.          14:08:57
    7       Q. You just don't know?                 14:07:00           7            So, for example, West Coast        14:08:58
    8       A. Correct.                       14:07:02                 8   Pharmacy on the first page, 499.7 percent is 14:09:00
    9       Q. Okay. And so if it's the case 14:07:03                  9   a comparison of the 173,900 to the 34,800 for 14:09:05
   10   that Exhibit 16 reflects all of the customers 14:07:11        10   David's Pharmacy?                        14:09:11
   11   buying from multiple Mallinckrodt               14:07:16      11       A. Yes, that would be the --           14:09:13
   12   distributors for whatever time period is        14:07:18      12   they're 499 percent to the average purchaser. 14:09:17
   13   applicable here, it would appear to be the       14:07:20     13       Q. Okay. Thank you.                   14:09:20
   14   case that that phenomenon of customers buying 14:07:23        14            At the time of the preparation 14:09:43
   15   from multiple distributors was highly           14:07:28      15   of the analysis or the compilation that's     14:09:44
   16   concentrated, if not exclusive, to the state 14:07:32         16   reflected on Exhibit 16, did you make any        14:09:50
   17   of Florida.                          14:07:34                 17   attempt to evaluate the magnitude of sales      14:09:53
   18            It was at least highly         14:07:35              18   from Mallinckrodt to any of the particular      14:10:03
   19   concentrated in Florida, correct?            14:07:37         19   distributors who -- whose customers, direct 14:10:06
   20            MR. O'CONNOR: Object to form. 14:07:38               20   or indirect, are reflected on Exhibit 16?     14:10:11
   21            THE WITNESS: This would                14:07:39      21       A. I do remember knowledge of --           14:10:14
   22       reflect only those customers or          14:07:40         22   that there were certain distributors or      14:10:19
   23       pharmacies that were issued a            14:07:42         23   wholesalers in the list.                14:10:21
   24       chargeback as part of a contract.        14:07:43         24       Q. And whom do you recall being in 14:10:23
   25            So I cannot speak to that,       14:07:45            25   that category?                       14:10:25

                                                         Page 203                                                          Page 205
    1       because I don't know who purchased the 14:07:47            1       A. I remember Smith Drug was one            14:10:25
    2       product at this price from the        14:07:49             2   of them.                            14:10:28
    3       wholesaler or at some other -- on        14:07:50          3       Q. Okay. Do you remember if there 14:10:29
    4       other various contracts or various       14:07:54          4   was any particular analysis of KeySource?        14:10:32
    5       pharmacy names. So it could be            14:07:56         5            MR. O'CONNOR: Object to form. 14:10:39
    6       misleading if I tell you yes.        14:07:58              6            THE WITNESS: I don't.              14:10:40
    7   QUESTIONS BY MR. GOTTO:                            14:08:00    7   QUESTIONS BY MR. GOTTO:                            14:10:41
    8       Q. Okay. But certainly among the 14:08:00                  8       Q. Okay. And how about Sunrise?            14:10:41
    9   universe of customers whose purchases gave         14:08:03    9            MR. O'CONNOR: Object to form. 14:10:42
   10   rise to a chargeback claim that a distributor 14:08:05        10            THE WITNESS: I don't remember 14:10:44
   11   made to Mallinckrodt, it's the case that this 14:08:08        11       that either.                    14:10:44
   12   phenomenon of purchases from multiple             14:08:11    12            At that time I'm not sure if    14:10:45
   13   distributors was heavily concentrated in        14:08:13      13       they were still in our sales, because 14:10:46
   14   Florida?                            14:08:15                  14       I'm not sure when the DEA took            14:10:49
   15            MR. O'CONNOR: Object to form. 14:08:15               15       enforcement action on them.             14:10:52
   16            THE WITNESS: It appears so,           14:08:16       16   QUESTIONS BY MR. GOTTO:                            14:10:54
   17       yes.                          14:08:20                    17       Q. Okay. You can set those aside. 14:10:54
   18   QUESTIONS BY MR. GOTTO:                            14:08:20   18            (Mallinckrodt-Collier Exhibit      14:11:26
   19       Q. And on page 3, the David's            14:08:21         19       17 marked for identification.)         14:11:26
   20   Pharmacy line is highlighted.               14:08:25          20   QUESTIONS BY MR. GOTTO:                            14:11:26
   21            Do you have any idea why that        14:08:26        21       Q. We have marked as Exhibit 17 a 14:11:26
   22   is? Is it because it's the average?        14:08:28           22   multipage e-mail thread beginning at           14:11:30
   23       A. Correct.                      14:08:30                 23   MNK-T1_0000483766, and it's an e-mail              14:11:33
   24       Q. And that percent to average           14:08:31         24   exchange from June of 2010 concerning            14:11:41
   25   column, what is that reflecting?            14:08:35          25   oxycodone sales in Florida.                14:11:45

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                                                               Page 206                                                          Page 208
    1            Take a moment to look at those 14:11:47                     1 investigatory work she had done?                14:15:05
    2   and -- those e-mails. Let me know after         14:11:50             2       A. Yes, she did.                  14:15:07
    3   you've reviewed them.                      14:11:53                  3            MR. O'CONNOR: Object to form. 14:15:07
    4       A. Okay.                         14:11:55                        4   QUESTIONS BY MR. GOTTO:                           14:15:08
    5       Q. Do you recognize those e-mails? 14:12:56                      5       Q. Okay. And she sent her              14:15:10
    6       A. Yes, I do.                     14:12:58                       6   e-mail -- I just would like to understand who 14:15:13
    7       Q. Okay. So turning to the              14:13:00                 7   the folks are that she sent it to.       14:15:15
    8   earliest in time in the thread, from         14:13:03                8            Who was Dave Irwin?               14:15:17
    9   Ms. Muhlenkamp on June 18th, e-mail from her 14:13:08                9       A. Dave Irwin was a national            14:15:19
   10   to a number of people and copying you, she         14:13:13         10   account manager.                        14:15:21
   11   talks about Harvard Drug's license being         14:13:21           11       Q. Okay. As was Mr. Becker,              14:15:22
   12   suspended. She then goes on to mention that 14:13:26                12   correct?                           14:15:24
   13   Sunrise wholesaler's DEA license was             14:13:30           13       A. Correct.                     14:15:24
   14   suspended.                            14:13:34                      14       Q. And how about Tim Berry?               14:15:25
   15            And then she says, "The two         14:13:34               15       A. National account manager.            14:15:28
   16   wholesaler distributor license suspensions       14:13:36           16       Q. And Bonnie New?                    14:15:29
   17   led us to do a more in-depth analysis of        14:13:38            17       A. Correct, national account           14:15:30
   18   Covidien's oxycodone sales in the state of       14:13:42           18   manager.                            14:15:33
   19   Florida. We specifically focused on doctors' 14:13:44               19       Q. As was Mr. Borelli and Dan            14:15:33
   20   offices and pain clinics."                14:13:49                  20   Sanders?                            14:15:37
   21            And is that the initiative that 14:13:51                   21       A. Yes.                        14:15:38
   22   we discussed this morning --                 14:13:53               22       Q. Also a national account            14:15:38
   23       A. Yes, it is.                   14:13:54                       23   manager?                             14:15:39
   24       Q. -- where she queried the             14:13:54                24       A. Yes, for hospital accounts.         14:15:39
   25   chargeback database?                       14:13:57                 25       Q. And Rich McKendrick?                  14:15:40

                                                               Page 207                                                          Page 209
    1      A.     Yes.                   14:13:58                            1       A. Yes, he was for government             14:15:43
    2      Q.     Okay. She says, "It appears       14:13:59                 2   accounts.                            14:15:45
    3 that Harvard and Sunrise were the dominant            14:14:04         3       Q. And Alex McGregor?                    14:15:45
    4 players in this market, with over 50 percent      14:14:06             4       A. National account manager for            14:15:47
    5 of their total sales coming from this market. 14:14:08                 5   hospital accounts.                      14:15:49
    6 HD Smith, KeySource and McKesson Onestop are               14:14:11    6       Q. Okay. And on the cc line, who 14:15:50
    7 next, with only 3 percent to their total       14:14:15                7   was Robert Lesnak?                        14:15:52
    8 sales coming from doctors' offices and pain       14:14:17             8       A. Robert Lesnak led the hospital 14:15:53
    9 clinics."                         14:14:19                             9   institutional sales team and addiction         14:15:56
   10           She goes on to say, "Karen         14:14:20                 10   treatment team. He's a sales leader.          14:15:59
   11 Harper and team, parens, internal Covidien        14:14:22            11       Q. And so when you and                  14:16:03
   12 investigators, paren, will be working closely 14:14:27                12   Ms. Muhlenkamp discussed the results of her 14:16:10
   13 with the DEA regarding their investigation of 14:14:28                13   work before she sent the e-mail out, did you 14:16:13
   14 the distribution of oxycodone in Florida, and 14:14:32                14   instruct her who to forward the information 14:16:15
   15 we will keep you apprised of further            14:14:34              15   to?                              14:16:19
   16 happenings, period."                       14:14:37                   16       A. Yes. I would have been               14:16:19
   17           You then -- you responded to        14:14:41                17   included in the conversation. I don't think 14:16:22
   18 that e-mail by saying, "It was excellent.       14:14:44              18   I instructed her, but I think I was included 14:16:24
   19 You may want to send this to Karen Harper,            14:14:46        19   in the conversation to copy everyone.           14:16:27
   20 too."                            14:14:48                             20       Q. Okay. And what was the reason 14:16:28
   21           Correct?                 14:14:49                           21   for providing this information to the         14:16:29
   22      A.     Yes.                   14:14:49                           22   national account managers?                  14:16:33
   23      Q.     And so before Ms. Muhlenkamp          14:14:50            23       A. To apprise them that there was 14:16:33
   24 sent her e-mail, her June 18th e-mail, had       14:14:58             24   a problem with accounts and to be aware of         14:16:35
   25 she discussed with you the results of the       14:15:00              25   who might be targeted next and who they           14:16:38

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    1 should be watching; if there was any issues       14:16:44        1       Q. And what was your reason for             14:18:34
    2 going on with the account, that they should       14:16:46        2   making those site visits?                  14:18:35
    3 be aware of it.                         14:16:49                  3       A. I had not dealt with some of           14:18:37
    4       Q. Okay. And so the analysis that 14:16:49                  4   these distributors in the past, and I was not 14:18:38
    5   Ms. Muhlenkamp did here regarding doctors'          14:16:52    5   familiar with them, so I was curious as to 14:18:41
    6   offices and pain clinics, that's a separate 14:16:56            6   what they were about and how they did             14:18:43
    7   analysis from the multi-distributor analysis 14:16:58           7   business.                           14:18:44
    8   we looked at a few minutes ago, correct?         14:17:01       8       Q. Did you ever express to anyone 14:18:45
    9            MR. O'CONNOR: Object to form. 14:17:02                 9   at Mallinckrodt at this time period, early in 14:18:53
   10            THE WITNESS: Yes.                  14:17:03           10   your tenure, any sentiments that would           14:18:59
   11   QUESTIONS BY MR. GOTTO:                            14:17:04    11   indicate a skepticism of the distributors in 14:19:02
   12       Q. And you then suggested to             14:17:11          12   any regard?                            14:19:06
   13   Ms. Muhlenkamp that she send her e-mail to         14:17:14    13            MR. O'CONNOR: Object to form. 14:19:07
   14   Karen Harper.                          14:17:16                14            THE WITNESS: I think my                14:19:08
   15            What was your reason for that? 14:17:16               15       skepticism on dealing with most of          14:19:10
   16       A. I think Karen Harper, as the         14:17:18           16       these distributors is that they --      14:19:12
   17   lead of the suspicious order monitoring or      14:17:21       17       their value was driving down the price 14:19:14
   18   the compliance team, that she needed to be        14:17:22     18       in the market, and as a business --       14:19:15
   19   fully aware of what we uncovered in case she 14:17:25          19       sound business practice, that's not       14:19:18
   20   gets questions herself, that she could be      14:17:29        20       good. You're driving down the value 14:19:20
   21   fully informed.                        14:17:32                21       of your own business because you're          14:19:22
   22       Q. So at this time you had been at 14:17:33                22       selling to them, they're underselling 14:19:24
   23   Mallinckrodt about nine or ten -- about 10 or 14:17:34         23       the wholesalers that actually provide 14:19:26
   24   11 months, correct?                      14:17:37              24       a value in a marketplace, and so they 14:19:28
   25       A. Correct.                      14:17:38                  25       were undermining the marketplace. And 14:19:31

                                                         Page 211                                                           Page 213
    1        Q. Had you -- as of the time of         14:17:39           1       I was concerned about that.           14:19:33
    2   Ms. Muhlenkamp's e-mail, had you dealt with 14:17:42            2            On my tour to Masters, I do      14:19:36
    3   Ms. Harper at all?                      14:17:45                3       remember that was a little bit taken    14:19:38
    4        A. Yes, I had.                    14:17:45                 4       aback about their sales practice.      14:19:41
    5        Q. In what context?                 14:17:47               5       That's not something I had normally       14:19:42
    6        A. Conversations and some               14:17:48           6       seen in the pharmaceutical industry.     14:19:44
    7   educational materials around suspicious order 14:17:53          7       And that they were selling on price      14:19:45
    8   monitoring because I was not as familiar with 14:17:56          8       and shouting out deals, and that was     14:19:47
    9   it as I needed to be.                   14:17:58                9       very shocking to me.                14:19:49
   10             And I went with her to -- she     14:18:00           10   QUESTIONS BY MR. GOTTO:                           14:19:51
   11   was doing site visits to a couple of          14:18:06         11       Q. Okay. And when you say               14:19:51
   12   facilities, and I went with her to site      14:18:08          12   "selling on price and shouting out deals," 14:19:52
   13   visits.                           14:18:10                     13   what -- in what sort of setting do you mean 14:19:55
   14        Q. Okay. Where can you remember              14:18:10     14   that?                            14:19:57
   15   going for site visits?                  14:18:11               15       A. They had someone at the front         14:19:58
   16        A. Masters Drug and Masters              14:18:14         16   would say, "Now we're selling acetaminophen 14:20:00
   17   Wholesale and KeySource.                      14:18:17         17   for two dollars a bottle from this company," 14:20:05
   18        Q. Are those in Cincinnati?            14:18:18           18   and that is not how I normally saw it; that 14:20:08
   19        A. Masters? Yes.                    14:18:20              19   they typically would call the customer and      14:20:10
   20        Q. Okay. And about when did those 14:18:22                20   ask them what they needed.                 14:20:13
   21   site visits occur, if you can recall?       14:18:26           21            This one was that they were      14:20:14
   22        A. I can't. It was fairly early 14:18:29                  22   doing calls out and driving sales to        14:20:15
   23   in my tenure --                        14:18:30                23   particular products based on pricing.        14:20:18
   24        Q. Okay.                         14:18:33                 24       Q. Huh.                        14:20:20
   25        A. -- with Mallinckrodt.              14:18:33            25            And in your experience, that     14:20:21

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    1 was not something you were familiar with in               14:20:24         1       A. Yes.                        14:23:09
    2 the industry?                             14:20:27                         2       Q. Okay. And this indicates that 14:23:11
    3      A.    I had not seen it done that         14:20:27                    3   committee met once per quarter. Is that       14:23:13
    4 way, no.                                 14:20:29                          4   consistent with your recollection?          14:23:17
    5      Q.    On the second page of the               14:20:29                5       A. I don't remember the frequency 14:23:18
    6 exhibit, there's an e-mail from                 14:20:44                   6   of the meetings.                      14:23:19
    7 Ms. Muhlenkamp to Karen Harper, copying you,                   14:20:46    7       Q. Okay. Do you remember the             14:23:21
    8 saying, "We communicated the bullet to our                14:20:50         8   topics that would be discussed at those       14:23:22
    9 sales team. We tried to word it carefully as 14:20:54                      9   meetings?                           14:23:26
   10 to not overstep any actions you are taking."            14:20:56          10       A. I do remember one meeting, a          14:23:27
   11           Do you know what actions                 14:20:58               11   meeting with the committee, in discussing       14:23:30
   12 Ms. Harper may have been taking that                    14:21:00          12   chargeback reports and what's contained in 14:23:34
   13 Ms. Muhlenkamp was being careful not to                   14:21:04        13   them and how they might possibly be used to 14:23:37
   14 overstep?                                14:21:07                         14   monitor what we found. You know, you could 14:23:39
   15      A.    Right. Our role in marketing            14:21:08               15   find multiple distributors in the chargeback 14:23:41
   16 was not to be a compliance team. That was                14:21:10         16   report, and if you know what you're looking 14:23:44
   17 not what we did. So we were very sensitive               14:21:13         17   for, you can possibly do that.            14:23:47
   18 to that Karen had her job, she dealt with the 14:21:17                    18       Q. Okay. Do you recall               14:23:49
   19 DEA, she had to deal with the customers on               14:21:21         19   approximately when that meeting occurred?         14:23:50
   20 these issues. So that's why I was a little          14:21:23              20       A. No, I don't. It would be after 14:23:52
   21 uncomfortable about us sending out                   14:21:25             21   we ran the report, obviously.             14:23:54
   22 communication that Karen was not aware of,                14:21:26        22       Q. Okay. Do you recall               14:23:56
   23 because she needed to be aware of everything              14:21:28        23   approximately how long a steering committee 14:24:01
   24 that was being said.                         14:21:29                     24   meeting would typically last?              14:24:03
   25           So that's -- that's where it       14:21:30                     25       A. No.                         14:24:04

                                                                 Page 215                                                           Page 217
    1 is. We don't want -- we want to be careful          14:21:32               1       Q. Were there materials provided         14:24:05
    2 not to overstep our boundary as marketing            14:21:34              2   before the meeting for use at the meeting?      14:24:07
    3 people. That's not what we do.                 14:21:37                    3       A. Not that I can recall.          14:24:10
    4           She drives compliance and tells       14:21:39                   4       Q. Do you recall if minutes were         14:24:12
    5 us what we need to do, and we follow her             14:21:40              5   maintained of the meetings of the committee? 14:24:16
    6 direction. We don't provide the direction.          14:21:44               6       A. I don't remember.               14:24:17
    7      Q.    Okay. You can set that aside.        14:21:46                   7       Q. Apart from the discussion about 14:24:19
    8           (Mallinckrodt-Collier Exhibit        14:22:12                    8   chargeback data, any other particular         14:24:25
    9      18 marked for identification.)           14:22:12                     9   recollection of anything discussed at any of 14:24:27
   10 QUESTIONS BY MR. GOTTO:                                 14:22:12          10   the steering committee meetings?              14:24:31
   11      Q.    Exhibit 18 is a single-page        14:22:19                    11       A. I remember one meeting that was 14:24:32
   12 document, MNK-T1_0000496062, suspicious order 14:22:21                    12   vivid to me is that Karen Harper showed a        14:24:37
   13 monitoring team charter, updated April 7th of 14:22:28                    13   video of what they called the OxyContin          14:24:40
   14 2011.                               14:22:33                              14   Express, and it was about a bunch of patients 14:24:45
   15           Take a look at that, if you        14:22:33                     15   outside a pharmacy or pain clinic, I can't     14:24:47
   16 would, and let me know if you recognize that            14:22:35          16   remember which it was, in Florida just         14:24:52
   17 document.                               14:22:36                          17   waiting to get drugs. And they were showing 14:24:53
   18      A.    I'm not familiar with it, but I    14:22:36                    18   they were from all around the country. So I 14:24:55
   19 recognize it.                           14:22:56                          19   just remember that.                   14:24:57
   20      Q.    Okay. You're shown as a member 14:22:57                        20       Q. Okay. And do you recall             14:24:58
   21 of the SOM steering committee, correct?              14:23:03             21   approximately when that occurred?              14:24:59
   22      A.    Correct.                     14:23:04                          22       A. It was sometime in 2011, 2010, 14:25:01
   23      Q.    And were you a member of that            14:23:05              23   2011 time frame.                      14:25:07
   24 committee throughout your tenure at                 14:23:07              24       Q. Okay. And was there a               14:25:08
   25 Mallinckrodt?                            14:23:09                         25   discussion you can recall occurring around       14:25:10

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    1 that presentation?                       14:25:12                1 of this page there are some subcommittees             14:27:20
    2       A. Yes, that there was a serious        14:25:14           2 listed.                           14:27:23
    3   problem in Florida around pain clinics and       14:25:19      3            Were you a member of the         14:27:24
    4   the abuse, and that they were getting         14:25:22         4   director order monitoring subcommittee?        14:27:25
    5   dispensed product and taking it up I-95 and 14:25:25           5       A. I have no idea, because I don't 14:27:29
    6   reselling it.                       14:25:30                   6   even know what that is.                14:27:35
    7       Q. Do you recall any subsequent           14:25:31         7       Q. Yeah.                      14:27:36
    8   meetings where there was any update or           14:25:40      8            How about the --            14:27:37
    9   follow-up on that presentation to monitor how 14:25:45         9       A. Oh, that's probably direct       14:27:37
   10   the situation was developing over time?         14:25:47      10   order monitoring.                    14:27:40
   11            MR. O'CONNOR: Object to form. 14:25:51               11       Q. I suspect so.               14:27:41
   12            THE WITNESS: I can't remember 14:25:52               12       A. Yeah.                      14:27:42
   13       specifically what was discussed in        14:25:55        13            And indirect customer review.    14:27:44
   14       future -- in the future or at any of   14:25:57           14   They might have included me in discussions or 14:27:45
   15       the meetings. To be honest, it's        14:26:00          15   might have included me to ask me for data out 14:27:48
   16       like -- it would be just another       14:26:02           16   of my team --                       14:27:50
   17       meeting to me to go to.              14:26:03             17       Q. Uh-huh.                     14:27:50
   18   QUESTIONS BY MR. GOTTO:                            14:26:05   18       A. -- but I wasn't directing any     14:27:51
   19       Q. Okay. Do you recall any              14:26:07          19   meetings or anything like this.          14:27:52
   20   discussions of any proposed enhancements to 14:26:16          20       Q. Do you recall participating in 14:27:54
   21   the suspicious order monitoring program that 14:26:20         21   any meetings of any of these subcommittees? 14:27:56
   22   Mallinckrodt had in place?                 14:26:22           22       A. I'm sure I did, but I don't     14:28:00
   23       A. The only thing I remember is           14:26:24        23   remember the content.                  14:28:02
   24   that they were going to use different         14:26:26        24       Q. Okay. And do you remember             14:28:02
   25   algorithms than what had been used in the        14:26:29     25   which of the subcommittees it would have been 14:28:05

                                                        Page 219                                                                Page 221
    1 past.                              14:26:34                      1 that you would have participated in?              14:28:07
    2       Q. Okay. Do you remember anything 14:26:34                 2      A.    It would have been anything           14:28:08
    3   about the algorithms that had been used       14:26:35         3 involving the customer, like direct or the         14:28:12
    4   previously?                         14:26:36                   4 monitoring, indirect customer review and the         14:28:14
    5       A. No, I didn't have anything to       14:26:36            5 customer checklist.                      14:28:16
    6   do with developing that.                14:26:38               6      Q.    Okay. You can set that aside.         14:28:17
    7       Q. Okay. Anything -- any              14:26:39             7      A.    Okay.                      14:28:18
    8   description of the reasons for changing from 14:26:40          8           (Mallinckrodt-Collier Exhibit      14:28:20
    9   the prior algorithms to the subsequent       14:26:44          9      19 marked for identification.)          14:28:21
   10   algorithms?                         14:26:46                  10 QUESTIONS BY MR. GOTTO:                               14:28:21
   11            MR. O'CONNOR: Object to form. 14:26:46               11      Q.    We've marked as Exhibit 19 a           14:28:45
   12            THE WITNESS: I just know it         14:26:47         12 single-page e-mail thread, Bates                 14:28:47
   13       was to enhance the information they      14:26:49         13 MNK-T1_0000262709. It appears to be an                 14:28:51
   14       were receiving.                  14:26:53                 14 e-mail exchange between you and Karen Harper. 14:28:58
   15   QUESTIONS BY MR. GOTTO:                          14:26:53     15           Take a look at it, if you       14:29:01
   16       Q. And do you know who had               14:26:56         16 would, please, and let me know if you              14:29:02
   17   ultimate responsibility for implementing the 14:27:00         17 recognize it.                         14:29:04
   18   suspicious order monitoring program?           14:27:05       18      A.    Okay.                      14:29:05
   19            MR. O'CONNOR: Object to form. 14:27:07               19      Q.    Do you recognize these e-mails?        14:29:31
   20            THE WITNESS: Karen Harper was 14:27:08               20      A.    Yes.                       14:29:32
   21       my contact in compliance, so she's the 14:27:12           21      Q.    Okay. So the initial e-mail      14:29:34
   22       one that I knew, and I knew Don         14:27:14          22 from Ms. Harper on August 7th, subject,             14:29:38
   23       Lohman.                         14:27:17                  23 Friday suspicious order monitoring meeting,          14:29:42
   24   QUESTIONS BY MR. GOTTO:                          14:27:17     24 says to you that she "shared your frustration 14:29:46
   25       Q. Okay. Down toward the bottom           14:27:19        25 during Friday's meeting. We realize the            14:29:49

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                                                         Page 222                                                          Page 224
    1 group could have been much more focused by            14:29:52    1 I saw the CARES Alliance, it all comes back       14:31:46
    2   making sure only the right people were         14:29:54         2 to me.                              14:31:49
    3   brought to the table and having a published 14:29:57            3            The CARES Alliance was an            14:31:49
    4   agenda that we adhered to."                14:29:58             4   initiative to be a responsible opioid       14:31:53
    5            Do you remember the meeting          14:29:59          5   supplier in a marketplace. So we would talk 14:31:56
    6   that Ms. Harper is referring to here?        14:30:00           6   about things like proper disposal. We          14:31:58
    7       A. I don't recall this specific      14:30:02               7   supported opioid groups, you know, that were 14:32:01
    8   meeting. I recall the tenor of the issue     14:30:03           8   helping either with abuse deterrence or        14:32:07
    9   here.                            14:30:08                       9   things likes that. So that's what the CARES 14:32:11
   10       Q. Okay. What do you recall of           14:30:08          10   Alliance was.                         14:32:15
   11   the issue?                         14:30:10                    11            And that is not what we were       14:32:15
   12       A. We had another group that was          14:30:11         12   trying to accomplish. We were trying to         14:32:16
   13   involved that was developing a CARES             14:30:15      13   understand what the DEA suspicious order          14:32:17
   14   Alliance, a Covidien acting responsibly or      14:30:18       14   monitoring requirements were and if there        14:32:19
   15   something like that, along the lines of pain 14:30:21          15   were materials that some of the team members, 14:32:21
   16   management enacting responsibility, and I        14:30:24      16   not only in my group, from other groups like 14:32:23
   17   remember they kept jumping in with things         14:30:28     17   Jeremy's, that they could provide.          14:32:25
   18   thinking it was about CARES Alliance.           14:30:32       18        Q. Okay. Do you recall in any of 14:32:28
   19            What we wanted to do was           14:30:33           19   the suspicious order monitoring steering        14:32:37
   20   evaluate what we were supposed to be doing to 14:30:35         20   committee meetings that you attended any          14:32:38
   21   be in compliance with the DEA and what            14:30:37     21   discussion of the extent to which           14:32:44
   22   reports could we bring to the table so that 14:30:38           22   Mallinckrodt should be monitoring -- or         14:32:48
   23   they knew -- so that Karen Harper's team        14:30:41       23   should be familiar with not only its         14:32:55
   24   could know what information we had access to. 14:30:43         24   customer, but it's customers' customers?        14:32:57
   25       Q. Okay. So this is in August          14:30:47            25            MR. O'CONNOR: Object to form. 14:33:00

                                                         Page 223                                                          Page 225
    1 of 2010, which I think the analysis of the      14:30:53          1            THE WITNESS: I've heard that         14:33:00
    2   Florida doctor and pain clinic orders was      14:30:58         2       phrase before.                  14:33:02
    3   shortly before this, correct?            14:31:01               3   QUESTIONS BY MR. GOTTO:                           14:33:03
    4       A. Uh-huh.                       14:31:02                   4       Q. Did you hear it in the context 14:33:04
    5            MR. O'CONNOR: Objection.             14:31:02          5   of any of the SOM steering committee           14:33:05
    6       Form.                          14:31:03                     6   meetings?                          14:33:08
    7            THE WITNESS: Yes.                 14:31:03             7       A. I'm not sure what context I        14:33:09
    8   QUESTIONS BY MR. GOTTO:                           14:31:04      8   heard it in. I just remember hearing that    14:33:12
    9       Q. And so at this meeting, is it      14:31:05              9   the DEA had the belief or the thought process 14:33:15
   10   your general recollection that there was -- 14:31:10           10   that we should know our customer's customer. 14:33:19
   11   that it was -- from your standpoint, the     14:31:12          11       Q. Okay. Do you recall in the,         14:33:21
   12   intention was to discuss potential          14:31:15           12   again, the SOM steering committee context,       14:33:23
   13   information that could be brought to bear on 14:31:18          13   any discussion of ways to obtain information 14:33:27
   14   the suspicious order monitoring process?        14:31:21       14   regarding Mallinckrodt's customers'          14:33:31
   15       A. Yes.                        14:31:23                    15   customers?                          14:33:34
   16       Q. Okay. And sounds like the            14:31:25           16       A. That was discussed, yes.           14:33:34
   17   discussion got somehow side-railed by folks 14:31:28           17       Q. Okay. And what sort of             14:33:35
   18   who were there wanting to talk about the        14:31:31       18   information was discussed?                 14:33:36
   19   CARES initiative, correct?                14:31:35             19       A. Chargeback data. How could we 14:33:37
   20       A. Correct.                     14:31:36                   20   get chargeback data and find out what         14:33:39
   21       Q. And explain to me again what          14:31:37          21   customers are purchasing downstream from          14:33:41
   22   the CARES initiative was?                  14:31:38            22   different wholesalers and distributors.      14:33:44
   23       A. It was -- they were trying to      14:31:40             23       Q. Okay. Anything apart from the 14:33:46
   24   develop an initiative -- and this goes back 14:31:42           24   chargeback data?                      14:33:48
   25   to the lobbying. Now I remember -- now that 14:31:43           25            MR. O'CONNOR: Object to form. 14:33:50

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                                                        Page 226                                                                 Page 228
    1            THE WITNESS: Not that I             14:33:50          1 the data sets that we get, and so she was          14:35:50
    2        recall. Not from my group. There         14:33:52         2 looking specifically for something. Jeremy           14:35:52
    3        were other groups that possibly had      14:33:54         3 could do that much easier than our group.           14:35:54
    4        information, but not from my group.       14:33:55        4      Q.    Okay. Okay. You can set that         14:35:57
    5   QUESTIONS BY MR. GOTTO:                            14:33:57    5 aside.                            14:36:01
    6        Q. Okay. All right. Back on           14:33:57            6           (Mallinckrodt-Collier Exhibit       14:36:03
    7   Exhibit 19, your response to Ms. Harper, in 14:34:00           7      20 marked for identification.)          14:36:03
    8   your first paragraph you say, "I truly hoped 14:34:05          8 QUESTIONS BY MR. GOTTO:                                14:36:03
    9   Carol could have brought more positive          14:34:07       9      Q.    We have marked as Exhibit 20 a          14:36:27
   10   feedback and seen the big picture."          14:34:09         10 multipage document beginning at Bates                14:36:30
   11            Do you know who Carol is that       14:34:12         11 MNK-T1_0000496098. It appears to be a 2011               14:36:32
   12   you're referring to in that sentence?       14:34:13          12 presentation concerning the suspicious order         14:36:40
   13        A. No, I don't.                 14:34:14                 13 monitoring program.                        14:36:43
   14        Q. Okay. The next sentence you           14:34:15        14           If you could take a look at       14:36:44
   15   say, "I also think Sherice is making this too 14:34:17        15 that and tell me if you're familiar with that 14:36:45
   16   encompassing."                         14:34:21               16 document.                               14:36:48
   17            Do you know who Sherice is?         14:34:22         17           Do you recognize that document?          14:40:26
   18        A. Sherice was someone in Art           14:34:23         18      A.    Yes, I do.                   14:40:27
   19   Morelli's group that was part of the         14:34:26         19      Q.    And is it a presentation that     14:40:28
   20   initiative for the CARES Alliance.           14:34:27         20 was made to the marketing group in 2011?              14:40:30
   21        Q. Okay. And you went on to say, 14:34:29                21      A.    Yes.                      14:40:32
   22   "If we go with her scope, we will monitor       14:34:30      22      Q.    Do you recall the presentation?      14:40:32
   23   hundreds of thousands of transactions and get 14:34:33        23      A.    This is the one where I          14:40:33
   24   nowhere."                           14:34:35                  24 recalled having the OxyContin Express video.           14:40:37
   25            Do you recall what her scope       14:34:36          25      Q.    Okay. Great.                  14:40:40

                                                        Page 227                                                                 Page 229
    1 was that you're referring to there?           14:34:39           1            So on the -- on slide 5,       14:40:41
    2       A. I don't remember that, but she 14:34:40                 2   there's a reference here to the suspicious    14:40:48
    3   was thinking really high level, I think      14:34:43          3   order monitoring subcommittee -- I'm sorry, 14:40:53
    4   across the entire industry, and she just was 14:34:46          4   suspicious order monitoring steering          14:40:55
    5   not focused in the meeting on what we were 14:34:52            5   committee that convenes once per month.           14:40:56
    6   trying to accomplish.                   14:34:54               6            I think in the prior document     14:41:00
    7       Q. She was thinking across the          14:34:54           7   we just looked at indicated it was a         14:41:01
    8   industry in terms of order monitoring?        14:35:00         8   quarterly meeting.                     14:41:03
    9       A. Yes.                        14:35:01                    9            Do you recall that committee       14:41:04
   10       Q. Okay.                        14:35:01                  10   meeting monthly?                        14:41:07
   11       A. And involving other suppliers. 14:35:05                11            MR. O'CONNOR: Object to form. 14:41:07
   12       Q. Okay. The next paragraph you 14:35:08                  12            THE WITNESS: The steering             14:41:08
   13   say, "Jeremy is your best bet."            14:35:11           13       committee, it said it meets once a      14:41:08
   14            Who is Jeremy that you're        14:35:14            14       month. Quarterly was the other           14:41:11
   15   referring to there?                   14:35:16                15       members. There was a core group and         14:41:13
   16       A. Jeremy worked in an analytical 14:35:16                16       then peripheral members.               14:41:15
   17   team that mostly focused on brand products, 14:35:22          17   QUESTIONS BY MR. GOTTO:                            14:41:16
   18   but he was very good at getting huge sets of 14:35:25         18       Q. I see. Okay.                   14:41:18
   19   data and distilling it down into very strong 14:35:28         19            You were not a member of the        14:41:18
   20   content and material. So just taking a bunch 14:35:35         20   steering committee; is that correct?         14:41:19
   21   of data, eliminating the noise and making it 14:35:37         21       A. I was a peripheral member.           14:41:20
   22   see what we need to see to it.            14:35:41            22       Q. Okay. And on page -- I'm             14:41:21
   23            Because as I keep saying, it's 14:35:42              23   sorry, slide number -- slide number 13,        14:41:29
   24   really difficult that Kate looked for       14:35:44          24   there's a description of the pre-June of 2010 14:41:35
   25   something very minor or very minute in all of 14:35:47        25   SOM program.                            14:41:40

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                                                                           Review
                                                          Page 230                                                                 Page 232
    1            Do you see that?               14:41:41                 1            You testified a little earlier 14:43:59
    2       A. Yes.                          14:41:41                    2   recalling a meeting where there was             14:44:00
    3       Q. And do you recall becoming              14:41:42          3   discussion about use of chargeback data as 14:44:02
    4   familiar at this time with what the SOM          14:41:44        4   part of the SOM program.                     14:44:04
    5   program consisted of prior to June of 2010? 14:41:48             5            Do you know if that was -- if       14:44:06
    6       A. Yes.                          14:41:51                    6   that discussion was in the context of          14:44:09
    7       Q. Okay. And you see in the one, 14:41:52                    7   selection of distributors to be audited, or 14:44:13
    8   two, three, four, five, sixth bullet        14:42:01             8   was it for some other part of the SOM            14:44:15
    9   there's -- I'm sorry, the fifth bullet,     14:42:06             9   program?                              14:44:19
   10   "Customer accounts or orders that appear,         14:42:08      10            MR. O'CONNOR: Object to form. 14:44:19
   11   quote, peculiar, close quote, based on         14:42:09         11            THE WITNESS: I'm not clear on 14:44:20
   12   customer checklist results, credit check, CSR 14:42:13          12       when that was discussed. Obviously, 14:44:22
   13   interaction or order entry system flags are 14:42:15            13       it was used with -- the information we 14:44:24
   14   reviewed by customer service -- customer          14:42:18      14       had was used, but I don't remember          14:44:27
   15   service manager."                        14:42:19               15       exactly what -- if this was what they 14:44:29
   16            Do you see that?               14:42:20                16       were intending to use.                14:44:32
   17       A. Yes.                          14:42:21                   17            MR. GOTTO: Okay. Okay. You 14:44:33
   18       Q. Okay. And do you recall               14:42:22           18       can set that aside. Why don't we take 14:44:40
   19   learning at this time that that was part of 14:42:24            19       a short break.                     14:44:43
   20   the SOM program?                           14:42:26             20            VIDEOGRAPHER: We were going                 14:44:44
   21       A. Yes.                          14:42:27                   21       off the record at 2:44 p m.            14:44:45
   22       Q. Okay. Two pages after that, on 14:42:28                  22        (Off the record at 2:44 p m.)          14:44:47
   23   slide 15 there's a slide concerning the DEA 14:42:36            23            VIDEOGRAPHER: We were back on 14:57:20
   24   St. Louis conversation, July 20th of 2010. 14:42:42             24       the record at 2:57 p m.               14:57:21
   25            Do you recall learning of this 14:42:50                25            (Mallinckrodt-Collier Exhibit       14:57:27

                                                          Page 231                                                                 Page 233
    1 St. Louis conversation at this presentation?      14:42:53         1      21 marked for identification.)           14:57:28
    2       A. Yes.                         14:42:54                     2 QUESTIONS BY MR. GOTTO:                                14:57:28
    3       Q. And the third entry on that           14:42:55            3      Q.    We've marked as Exhibit 21 a          14:57:52
    4   slide, "Mallinckrodt is viewed as the kingpin 14:42:57           4 letter dated November 10, 2010, beginning at           14:57:56
    5   within the drug cartel."                 14:43:00                5 Bates MNK-T1_0000484110, and it appears to be 14:57:58
    6             Do you recall hearing that at     14:43:02             6 a letter from Karen Harper to KeySource              14:58:07
    7   the time of this presentation?              14:43:04             7 Medical on which you were bcc'ed.                   14:58:12
    8             MR. O'CONNOR: Object to form. 14:43:04                 8           If you'd take a look at that      14:58:15
    9             THE WITNESS: Yes.                   14:43:05           9 and tell me if you recognize that document.          14:58:17
   10   QUESTIONS BY MR. GOTTO:                              14:43:05   10      A.    Okay.                      14:58:19
   11       Q. Did that surprise you?              14:43:07             11      Q.    Do you recall -- are you          14:59:37
   12       A. Yes, it did.                  14:43:08                   12 familiar with this letter?                 14:59:39
   13       Q. If you look on slide 17, is         14:43:10             13      A.    Yes, I am.                    14:59:40
   14   that a still from the video that you were       14:43:19        14      Q.    Okay. And do you recall            14:59:41
   15   recalling seeing, the one outside the pain       14:43:21       15 receiving a copy of it back in November              14:59:42
   16   clinic?                            14:43:25                     16 of 2010?                              14:59:45
   17       A. Yes.                         14:43:25                    17      A.    Yes.                     14:59:45
   18       Q. Okay. And if you turn to              14:43:25           18      Q.    Now, in this letter, Ms. Harper     14:59:45
   19   slide 20, SOM distributor audit next steps, 14:43:35            19 transmits various information regarding             14:59:52
   20   the first entry is "ongoing review of          14:43:45         20 KeySource orders into the state of Florida.         14:59:56
   21   chargeback data to select other distributors 14:43:48           21           Was the source of the            15:00:01
   22   to be audited."                       14:43:50                  22 information for Ms. Harper's letter, at least 15:00:04
   23             Do you see that?              14:43:51                23 in part, the multi-distributor analysis we       15:00:06
   24       A. Yes.                         14:43:51                    24 looked at earlier today?                   15:00:09
   25       Q. So this is March of 2011.            14:43:52            25           MR. O'CONNOR: Object to form.              15:00:10

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                                                        Page 234                                                                   Page 236
    1            THE WITNESS: Yes. Yes.              15:00:11          1 might have identified that there were a few        15:03:23
    2   QUESTIONS BY MR. GOTTO:                           15:00:14     2 repeat pharmacies in there, and so we said,        15:03:28
    3       Q. And in this letter, Ms. Harper 15:00:14                 3 well, wait a minute, there's repeat            15:03:31
    4   requested various information from KeySource. 15:00:18         4 pharmacies from different distributors.           15:03:33
    5            Do you have any knowledge as to 15:00:20              5 Let's pull and see if we can bring this into     15:03:35
    6   what KeySource's response to this letter was? 15:00:23         6 a better picture --                    15:03:38
    7       A. No, I do not.                 15:00:26                  7      Q.    I see.                   15:03:40
    8       Q. Okay. Did you or anyone on            15:00:28          8      A.    -- of what's going on.          15:03:41
    9   your team, to your knowledge, conduct any        15:00:30      9      Q.    Okay. So it may have grown out 15:03:42
   10   subsequent analysis or inquiry with respect 15:00:32          10 of the original inquiry in terms of MD and         15:03:43
   11   to ongoing orders from KeySource?              15:00:36       11 pain clinic purchasers in Florida?             15:03:47
   12       A. I don't recall.              15:00:38                  12      A.    Yes.                     15:03:50
   13       Q. Do you know if the information 15:00:40                13      Q.    Okay. And do you know if the          15:03:50
   14   contained in this letter was ever provided to 15:00:42        14 information contained in the letters included 15:03:52
   15   the DEA?                            15:00:45                  15 in Exhibit 22 was ever provided to the DEA?           15:03:54
   16       A. I don't know. That would be          15:00:47          16      A.    I didn't report to the DEA. I    15:03:57
   17   Karen Harper's responsibility.            15:00:49            17 have no idea.                         15:03:59
   18       Q. Okay. All right. You can set 15:00:50                  18      Q.    Okay. You can set that aside.       15:04:01
   19   that aside.                        15:00:51                   19      A.    Okay.                      15:04:03
   20            (Mallinckrodt-Collier Exhibit     15:00:53           20           (Mallinckrodt-Collier Exhibit      15:04:04
   21       22 marked for identification.)        15:00:53            21      23 marked for identification.)         15:04:04
   22   QUESTIONS BY MR. GOTTO:                           15:00:53    22 QUESTIONS BY MR. GOTTO:                               15:04:04
   23       Q. We've marked as Exhibit 22 a          15:01:29         23      Q.    We've marked as Exhibit 23 a          15:04:48
   24   series of letters, Bates MNK-T1_0000484145         15:01:32   24 single-page e-mail thread, Bates               15:04:50
   25   through 156, from November 12th of 2010.          15:01:43    25 MNK-T1_0000558202. Take a moment and look at 15:04:53

                                                        Page 235                                                                   Page 237
    1 You're indicated as a bcc on the first           15:01:49        1 those e-mails, if you would, and tell me if       15:04:59
    2   letter, and I don't know if you were bcc'ed 15:01:51           2   you recognize them.                      15:05:02
    3   on the balance of the letters in that        15:01:56          3       A. Yes.                        15:05:27
    4   package.                            15:01:59                   4       Q. And the earlier e-mail in the        15:05:28
    5             But if you could take a look at 15:02:00             5   thread is from a Debbie Digby.               15:05:31
    6   those letters and tell me if you recognize      15:02:02       6            Who is that?                15:05:34
    7   them.                              15:02:04                    7       A. She was a senior financial           15:05:35
    8        A. Yes.                        15:02:05                   8   analyst. I'm not sure who she reported to or 15:05:38
    9        Q. Do you recall receiving copies 15:02:44                9   what her role was. I did not interact with 15:05:40
   10   of these letters back in November of 2010?         15:02:45   10   her very often.                       15:05:43
   11        A. Yes, I do.                    15:02:47                11       Q. Okay. And her e-mail went to            15:05:43
   12        Q. Okay. And again, each of these 15:02:47               12   Ms. Harper, to Susan Moore.                  15:05:45
   13   letters contains information regarding          15:02:50      13            Who was Susan Moore?                15:05:47
   14   Florida purchasers who were purchasing from 15:02:56          14       A. I do not remember.                 15:05:49
   15   multiple distributors.                  15:02:58              15       Q. How about Pat Duft?                 15:05:53
   16             Do you understand that           15:02:59           16       A. Pat was in logistics.            15:05:56
   17   information to be based on the               15:03:01         17       Q. Okay. And how about Carol               15:05:57
   18   multi-distributor information we looked at a 15:03:04         18   Svejkosky?                            15:06:00
   19   little earlier today?                  15:03:05               19       A. She was in customer service.           15:06:01
   20        A. Yes.                        15:03:06                  20       Q. Okay. And Ms. Digby indicates, 15:06:03
   21        Q. And that analysis of multiple         15:03:07        21   here are -- "attached are the March monthly 15:06:06
   22   distributors that you and Ms. Muhlenkamp did, 15:03:10        22   SOM reports." And there are three reports: 15:06:09
   23   what triggered performing that analysis?         15:03:12     23   a customer sourcing greater than two            15:06:11
   24        A. I'm not sure if in the pulling 15:03:15               24   distributors, a state concentration report, 15:06:15
   25   of the data for the state of Florida that she 15:03:20        25   and a summary report by distributor compared 15:06:17

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    1 to all products distributing.              15:06:20               1 me if you recall them.                    15:08:55
    2             Do you recall that you would       15:06:22           2        A. Okay.                       15:08:57
    3   receive this package of reports monthly?         15:06:25       3        Q. Do you recall these e-mails        15:09:29
    4        A. I don't recall receiving it      15:06:29               4   from 2013?                           15:09:30
    5   monthly, but apparently it was.              15:06:32           5        A. I don't recall them, but I       15:09:31
    6        Q. Okay. Do you know what the             15:06:34         6   recognize them.                       15:09:33
    7   state concentration report, what information 15:06:37           7        Q. Okay. On the bottom of the          15:09:34
    8   was contained on that?                    15:06:39              8   first page, Mr. Longenecker's e-mail says, "I 15:09:37
    9        A. I do remember that was a report 15:06:40                9   just met with Karen and Jennifer. Prior to 15:09:42
   10   that showed sales by state. I can't recall 15:06:42            10   removing the current allocation model,         15:09:45
   11   if -- there were two different reports, and I 15:06:47         11   they're going to take some time to review the 15:09:47
   12   can't recall if this would have been         15:06:50          12   algorithms for the SOM."                  15:09:49
   13   Mallinckrodt sales by state.               15:06:51            13             Do you recall what the -- what 15:09:51
   14        Q. Okay. And the report by             15:06:54           14   the interplay was between the SOM algorithms 15:09:55
   15   distributor compared to all products          15:06:57         15   and the allocation model?                 15:09:58
   16   distributed, do you recall what information 15:07:00           16             MR. O'CONNOR: Object to form. 15:10:00
   17   was contained in that report?               15:07:02           17             THE WITNESS: In the allocation 15:10:01
   18        A. I remember specifically that we 15:07:04               18        model, we would look at who had          15:10:03
   19   were looking at seeing if they were only        15:07:08       19        failure to supply and how much          15:10:06
   20   purchasing oxycodone or were they purchasing 15:07:10          20        inventory we had available and when       15:10:08
   21   all products. And if they were purchasing        15:07:12      21        the next production schedule would       15:10:09
   22   just oxycodone, that was something we            15:07:17      22        happen and how much we could release 15:10:10
   23   evaluated and sent on to suspicious order       15:07:20       23        to specific customers.             15:10:12
   24   monitoring.                          15:07:24                  24             The algorithms that they were     15:10:13
   25        Q. Okay. And so in terms of your 15:07:24                 25        doing for SOM was entirely different, 15:10:16

                                                            Page 239                                                        Page 241
    1 personal involvement with the SOM process,            15:07:27    1       and they would stop orders or release 15:10:18
    2 did you review these reports when you              15:07:30       2       orders through that process. That was 15:10:21
    3 received them?                          15:07:33                  3       separate from what we were doing.          15:10:25
    4       A.    I looked at them, but I didn't    15:07:34            4   QUESTIONS BY MR. GOTTO:                            15:10:26
    5 make any direction on the SOM, so I probably          15:07:36    5       Q. Okay. And so Mr. Longenecker             15:10:26
    6 didn't really dig into them too much.           15:07:40          6   goes on to say, "This should take about two 15:10:27
    7       Q.    Okay. Do you recall ever          15:07:43            7   weeks. They would like us to delay sending a 15:10:29
    8 taking any action based on any information          15:07:45      8   letter until they have completed this."      15:10:32
    9 that was contained in any of those reports?        15:07:48       9             Do you know why the letter on      15:10:34
   10       A.    No, that was outside the scope     15:07:51          10   the allocation model or the allocation --     15:10:37
   11 of my responsibility.                    15:07:52                11   yeah, the allocation model would be delayed 15:10:40
   12       Q.    Okay. Do you ever recall          15:07:53           12   waiting for the SOM algorithms?               15:10:42
   13 calling to anyone else's attention at         15:07:56           13             MR. O'CONNOR: Objection to            15:10:45
   14 Mallinckrodt any information that was              15:07:59      14       form.                         15:10:46
   15 contained in any of those reports?             15:08:00          15             THE WITNESS: It's likely --       15:10:46
   16       A.    I may have, but I don't recall    15:08:02           16       it's likely that they would have      15:10:48
   17 it.                              15:08:05                        17       said -- that we would have gotten       15:10:51
   18       Q.    Okay. Okay. You can set that        15:08:05         18       information from Karen or Jen Buist in 15:10:52
   19 aside.                             15:08:07                      19       compliance that they didn't want        15:10:56
   20            (Mallinckrodt-Collier Exhibit      15:08:08           20       certain customers to get product at     15:10:57
   21       24 marked for identification.)          15:08:09           21       all.                         15:10:59
   22 QUESTIONS BY MR. GOTTO:                              15:08:09    22   QUESTIONS BY MR. GOTTO:                            15:10:59
   23       Q.    Exhibit 24 is a two-page e-mail     15:08:41         23       Q. Okay. Okay. You can set that 15:10:59
   24 thread starting at MNK-T1_0005905204. Take a 15:08:44            24   aside.                            15:11:06
   25 look at those e-mails, if you would, and tell 15:08:53           25             (Mallinckrodt-Collier Exhibit    15:11:07

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                                                                           Review
                                                               Page 242                                                                Page 244
    1      25 marked for identification.)          15:11:07                1           And my question for you is:         15:13:47
    2 QUESTIONS BY MR. GOTTO:                                15:11:07      2 What programs are you referring to, and what         15:13:50
    3      Q.    Exhibit 25 is a multipage         15:11:32                3 type of behavior did you understand the DEA           15:13:52
    4 e-mail thread beginning at MNK-T1_0004951225. 15:11:34               4 viewing them as driving?                     15:13:55
    5 Take a look at those and tell me if you          15:11:43            5           MR. O'CONNOR: Okay. And you                15:13:57
    6 recognize these e-mails.                    15:11:48                 6      can answer the question. Just do not        15:13:59
    7           The only one I have a question      15:11:49               7      discuss anything you said to or from        15:14:01
    8 for you on is the very last one, the e-mail      15:11:50            8      Don.                           15:14:03
    9 from you to Jane Williams on October 23rd.             15:11:53      9           THE WITNESS: Then I cannot               15:14:03
   10      A.    Okay.                      15:11:57                      10      discuss that.                    15:14:07
   11           MR. O'CONNOR: Counsel, while              15:12:40        11 QUESTIONS BY MR. GOTTO:                               15:14:09
   12      reading this document, it looks like      15:12:41             12      Q.     Okay. All right. You can put       15:14:10
   13      the top two e-mails might be subject        15:12:42           13 that aside.                         15:14:12
   14      to a clawback.                     15:12:45                    14           (Mallinckrodt-Collier Exhibit        15:14:14
   15           Are you planning to ask about       15:12:46              15      26 marked for identification.)          15:14:42
   16      either of those top two e-mails?         15:12:48              16           MR. O'CONNOR: Counsel, just              15:14:42
   17           MR. GOTTO: Do you mean the               15:12:48         17      for the record, we'll be making a         15:14:43
   18      October 23rd?                      15:12:49                    18      clawback request and objecting on the         15:14:45
   19           MR. O'CONNOR: Yes. From                  15:12:50         19      basis of attorney-client privilege on     15:14:47
   20      Ginger to Jane at 1:50.              15:12:52                  20      the document.                      15:14:48
   21           MR. GOTTO: I was going to ask            15:12:56         21           MR. GOTTO: Okay. Very good.              15:14:48
   22      about that one.                    15:12:57                    22 QUESTIONS BY MR. GOTTO:                               15:14:49
   23           MR. O'CONNOR: Okay. Yeah, we               15:12:57       23      Q.     Exhibit 26 is a multipage        15:14:52
   24      would assert privilege over the          15:13:00              24 document beginning with MNK-T1_0000384634.                  15:14:54
   25      references to the discussion she had        15:13:03           25 It's a printout of a spreadsheet.            15:15:03

                                                               Page 243                                                                Page 245
    1       with Don, who I believe is Don Lohman, 15:13:05                1            If you can take a look at that 15:15:04
    2       who is counsel at Mallinckrodt. It       15:13:09              2   document and tell me if you're familiar with 15:15:06
    3       appears this was inadvertently          15:13:11               3   it.                             15:15:08
    4       produced.                        15:13:13                      4       A. Yes, I am.                    15:15:08
    5             MR. GOTTO: Okay. Well, I'll         15:13:14             5       Q. What is it?                   15:15:18
    6       ask her one question and see if it -- 15:13:15                 6       A. This is a list of various trade 15:15:18
    7       if it is okay with you or if you have 15:13:17                 7   shows, conventions and conferences for the 15:15:20
    8       a problem with it.                 15:13:21                    8   generic team.                         15:15:23
    9             MR. O'CONNOR: Okay.                 15:13:24             9       Q. Okay. And is this a list the        15:15:24
   10             MR. GOTTO: After she's --          15:13:24             10   marketing department maintained from time to 15:15:27
   11       once --                        15:13:26                       11   time?                             15:15:29
   12   QUESTIONS BY MR. GOTTO:                            15:13:26       12       A. Marketing and sales, yes.           15:15:29
   13       Q. Have you been through the             15:13:26             13       Q. Okay. And we talked a little         15:15:30
   14   document?                             15:13:27                    14   earlier today about conventions, and you        15:15:34
   15       A. I focused more up here.             15:13:28               15   indicated that I think many of the           15:15:39
   16       Q. Okay.                         15:13:30                     16   conventions are sort of industry-wide that 15:15:41
   17       A. So I'm familiar with what's -- 15:13:30                    17   Mallinckrodt would attend or participate in 15:15:45
   18       Q. Here's the one question.           15:13:32                18   regularly.                          15:15:48
   19             MR. O'CONNOR: And be sure to           15:13:32         19            Are those the types of          15:15:49
   20       let me chime in before you answer.        15:13:33            20   conventions that are listed on this exhibit? 15:15:51
   21   QUESTIONS BY MR. GOTTO:                            15:13:35       21            MR. O'CONNOR: Object to form. 15:15:53
   22       Q. Yeah. Here's the one question 15:13:35                     22            THE WITNESS: Yes.                  15:15:53
   23   I had on that October 23 e-mail. You make         15:13:38        23   QUESTIONS BY MR. GOTTO:                            15:15:56
   24   reference to "the DEA views these programs as 15:13:41            24       Q. If you turn to the page that -- 15:16:18
   25   driving the wrong type of behavior."           15:13:45           25   where the Bates number ends in 638 in the        15:16:21

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    1 lower right-hand corner.                   15:16:23                  1 audience.                            15:19:03
    2           In column F on that page, there     15:16:37               2       Q. Okay. You can set that aside. 15:19:05
    3 are references to things like briefcase, 10     15:16:40             3           (Mallinckrodt-Collier Exhibit      15:19:07
    4 by 30, et cetera.                     15:16:42                       4       28 marked for identification.)        15:19:08
    5           Can you tell me what that         15:16:44                 5   QUESTIONS BY MR. GOTTO:                           15:19:08
    6 column is describing?                     15:16:45                   6       Q. Exhibit 28 is a multipage          15:19:51
    7      A.    Those are displays.            15:16:46                   7   e-mail thread beginning with               15:19:54
    8      Q.    The displays that would be used 15:16:48                  8   MNK-T1_0005964786. Take a look at those             15:19:56
    9 at the convention?                     15:16:51                      9   e-mails, if you would, and tell me if you     15:20:03
   10      A.    Yes.                     15:16:52                        10   recognize them.                       15:20:05
   11      Q.    Okay. You can set that aside.       15:16:52             11       A. Okay.                       15:20:06
   12           (Mallinckrodt-Collier Exhibit       15:16:58              12       Q. Do you recognize those e-mails? 15:22:29
   13      27 marked for identification.)          15:16:58               13       A. Yes, I do.                   15:22:31
   14 QUESTIONS BY MR. GOTTO:                                15:16:58     14       Q. And if you turn to the second        15:22:31
   15      Q.    Exhibit 27 is a one-page         15:17:26                15   page, your e-mail at the bottom of that page 15:22:36
   16 document produced in native format,              15:17:35           16   dated September 29th, it appears that you      15:22:38
   17 MNK-T1_00006714382, and appears to be certain 15:17:38              17   were making adjustments to VIP tiers to        15:22:47
   18 advertising expenditures.                   15:17:48                18   remove oxy 30 milligrams; is that correct?      15:22:50
   19           Can you tell me what the          15:17:50                19       A. Yes.                       15:22:53
   20 information on this document is?               15:17:52             20       Q. And what was the reason for          15:22:53
   21           MR. O'CONNOR: Object to form.           15:17:56          21   that?                            15:22:54
   22           THE WITNESS: It relates to           15:17:56             22       A. Because the oxy 30 milligram we 15:22:54
   23      materials that we would -- programs or 15:17:59                23   didn't want to appear to be promoting         15:22:57
   24      advertising that we spend on             15:18:02              24   increasing value of volume on products, so we 15:23:00
   25      particular products, our programs that 15:18:04                25   didn't want to provide incentives for that. 15:23:04

                                                               Page 247                                                         Page 249
    1       we had.                         15:18:08                       1            And most of them, obviously,        15:23:08
    2   QUESTIONS BY MR. GOTTO:                            15:18:08        2   came -- some of them fell off with the         15:23:10
    3       Q. Okay. And this is for the           15:18:08                3   Florida issues that were going on at the       15:23:12
    4   years 2011 through 2015?                    15:18:09               4   time.                             15:23:15
    5       A. Yes.                         15:18:10                       5        Q. When you say "fell off," what         15:23:15
    6       Q. Okay. In terms of budgeting           15:18:12              6   do you mean?                           15:23:17
    7   for advertising expenses of these types, was 15:18:18              7        A. Many of their sales of some of 15:23:17
    8   this something that fell within your         15:18:21              8   our customers fell off, so the customers       15:23:19
    9   responsibility?                       15:18:24                     9   weren't selling into the state of Florida.    15:23:21
   10       A. Yes.                         15:18:25                      10   So it -- we just advised them that the best 15:23:24
   11       Q. Okay. And how did you go about 15:18:26                    11   thing to do was just remove it from their       15:23:27
   12   making the determination of what sorts of        15:18:28         12   agreement so that they wouldn't have volume 15:23:29
   13   journals or other publications were           15:18:33            13   incentive program for it.                 15:23:32
   14   appropriate ones to be spending money on          15:18:35        14        Q. Okay. In the second paragraph 15:23:34
   15   advertising in?                       15:18:38                    15   of your e-mail you say, "Sounds as if we         15:23:43
   16       A. It depended on which magazines 15:18:38                    16   didn't have pushback from Steve's             15:23:45
   17   or trade -- they were all trade journals, so 15:18:41             17   perspective."                        15:23:47
   18   they went to pharmacists. And it depended on 15:18:45             18            Who is Steve in that sentence? 15:23:47
   19   specific to the product, if it was used in    15:18:47            19        A. Steve Becker was the sales           15:23:49
   20   more hospitals or if it was used in retail    15:18:48            20   representative.                       15:23:53
   21   pharmacies and what the messaging was trying 15:18:51             21        Q. Okay. On the first page            15:23:53
   22   to be about. You know, if the fentanyl patch 15:18:54             22   there's an October 6th e-mail from Jane         15:24:05
   23   size was a good size, we would try and          15:18:57          23   Williams to you talking about a January          15:24:08
   24   demonstrate that, or if we were launching a 15:18:59              24   target date for removal of oxy 15 and 30 from 15:24:12
   25   new product, we would try and capture that        15:19:01        25   all volume incentive programs.               15:24:16

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    1            And then in the second           15:24:18             1      A.    Yes.                   15:26:14
    2   paragraph she says, "It's also my            15:24:23          2      Q.    Okay. And which was it? Was           15:26:14
    3   recommendation that we consider a change in 15:24:26           3 it excluding all oxycodone or just 15 and 30; 15:26:17
    4   strategy for customers requesting trade show 15:24:29          4 do you know?                          15:26:20
    5   buys on our products by providing a trade        15:24:31      5           MR. O'CONNOR: Object to form.           15:26:20
    6   show allowance equal to what we might             15:24:33     6           THE WITNESS: I believe it          15:26:21
    7   normally offer in discounted product costs or 15:24:36         7      became only the 15 and 30. We            15:26:23
    8   possibly an educational giveaway to be          15:24:38       8      remained with the 5 milligram.          15:26:25
    9   determined in order to keep this consistently 15:24:40         9 QUESTIONS BY MR. GOTTO:                             15:26:29
   10   managed."                             15:24:43                10      Q.    Okay. You can set that aside.     15:26:29
   11            And then you respond, "This is 15:24:44              11           (Mallinckrodt-Collier Exhibit    15:26:30
   12   the direction we discussed. I would like to 15:24:46          12      29 for identification.)           15:26:59
   13   stop paying the trade show rebates and fees 15:24:48          13 QUESTIONS BY MR. GOTTO:                             15:26:59
   14   for our products when the contracts come         15:24:50     14      Q.    Exhibit 29 is a two-page        15:26:59
   15   due."                              15:24:52                   15 document beginning at Bates                  15:27:01
   16            Are the trade show rebates        15:24:52           16 MNK-T1_0001553297. It appears to be a mailer 15:27:08
   17   related to the -- to the oxy 15 and oxy 30     15:24:55       17 concerning a CME presentation.                15:27:14
   18   sales, or is that a separate issue?        15:25:00           18           Do you recognize this document?     15:27:22
   19            MR. O'CONNOR: Objection to             15:25:01      19      A.    No, I do not.              15:27:24
   20       form.                           15:25:02                  20      Q.    Do you recall having any        15:27:25
   21            THE WITNESS: Are the trade            15:25:02       21 familiarity with any CME presentations            15:27:37
   22       show rebates related to the oxy -- no. 15:25:04           22 concerning opioid rotation?                15:27:42
   23       The customers gets trade show rebates, 15:25:06           23      A.    Not the specific CE. We did       15:27:45
   24       just a standard percentage of all       15:25:11          24 discuss doing continuing education.           15:27:51
   25       sales.                         15:25:12                   25      Q.    On this topic?             15:27:52

                                                        Page 251                                                               Page 253
    1 QUESTIONS BY MR. GOTTO:                              15:25:13    1            MR. O'CONNOR: Object to form. 15:27:53
    2       Q. Okay. And that would -- were           15:25:13         2            THE WITNESS: I don't remember. 15:27:54
    3   those rebates being suspended with respect to 15:25:15         3   QUESTIONS BY MR. GOTTO:                           15:27:55
    4   oxy 15 and 30 sales?                     15:25:22              4        Q. Okay. Do you know what opioid 15:27:55
    5       A. I wanted them suspended for all 15:25:23                5   rotation means in the context of this mailer? 15:27:57
    6   products.                           15:25:25                   6        A. No, I do not.                15:28:00
    7       Q. Okay. Did that happen?               15:25:25           7        Q. Okay. And down toward the             15:28:02
    8       A. I believe we did.                15:25:27               8   bottom of the mailer it says, "This activity 15:28:04
    9       Q. Okay. And what was the reason 15:25:28                  9   is funded through an educational grant from 15:28:06
   10   for that?                          15:25:32                   10   Mallinckrodt/Covidien."                   15:28:11
   11       A. I just didn't think that         15:25:33              11            Do you see that?             15:28:12
   12   Mallinckrodt had value in offering an          15:25:34       12        A. Yes.                      15:28:13
   13   additional discount to some of these          15:25:36        13        Q. And educational grants of that 15:28:13
   14   customers. They would just get additional        15:25:39     14   type, is that something that was handled by 15:28:17
   15   rebate for doing nothing, basically. So we 15:25:42           15   the marketing department?                  15:28:20
   16   just didn't see that there was value in doing 15:25:47        16        A. Not in my group, because this        15:28:21
   17   that.                            15:25:49                     17   is targeting physicians. We don't target      15:28:25
   18       Q. Okay. And then in the top            15:25:49          18   physicians at all. We don't even talk to     15:28:27
   19   e-mail on the first page from Lisa Cardetti, 15:25:56         19   them.                            15:28:29
   20   she says, "Originally we were going to         15:25:56       20        Q. Okay. So whatever educational 15:28:29
   21   exclude all oxycodone. Just wanted to verify 15:26:01         21   grant underlay this presentation would have 15:28:33
   22   that we will only be excluding 15 and 30."       15:26:02     22   been something that someone else handled?         15:28:35
   23            Now, do you understand her          15:26:05         23        A. Correct.                   15:28:37
   24   there to be talking about excluding from the 15:26:08         24        Q. Okay. All right. You can set 15:28:37
   25   VIP program?                           15:26:13               25   that aside.                       15:28:41

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                                                                Page 254                                                               Page 256
    1           (Mallinckrodt-Collier Exhibits      15:28:55                 1        Q. Okay. Do you remember what              15:31:40
    2      30 and 31 marked for identification.)      15:28:56               2   division in Mallinckrodt he worked in?          15:31:42
    3 QUESTIONS BY MR. GOTTO:                               15:28:56         3        A. He wasn't brand or generic. He 15:31:44
    4      Q.    We've marked as Exhibit 30 a         15:29:23               4   actually -- both of us had to report our      15:31:47
    5 single-page document, MNK-T1_0004673096, and               15:29:54    5   materials through him. I remember his first 15:31:49
    6 as Exhibit 31, a single-page document bearing 15:30:01                 6   name is Dennis. That's all I can remember. 15:31:53
    7 the next succeeding Bates number.               15:30:06               7        Q. Okay. So there are available         15:31:55
    8           Could you take a look at those     15:30:08                  8   sales material -- materials that are listed 15:31:57
    9 materials and tell me if you recognize them?       15:30:09            9   on the attachment, a sell sheet and a         15:32:01
   10      A.    I recognize this.          15:30:11                        10   tri-fold sell sheet with "think Mallinckrodt" 15:32:07
   11      Q.    The attachment?                 15:30:20                   11   focus.                             15:32:10
   12      A.    I do.                  15:30:21                            12             Do you know what those            15:32:10
   13      Q.    Okay. So in Exhibit 30,          15:30:21                  13   materials are?                        15:32:11
   14 Mr. Vorderstrasse sends you an e-mail saying          15:30:26        14        A. The tri-fold sell sheet was        15:32:12
   15 that "working on ideas for McKesson, who was           15:30:28       15   something that we were thinking of doing.         15:32:15
   16 looking for information to show that we were          15:30:33        16   It's a folder. So if you go into brochure, 15:32:17
   17 accepted in the market and to give them ideas 15:30:37                17   it's folded three times, and it opens up and 15:32:21
   18 of selling techniques that have proven          15:30:38              18   it gives you information. So it was           15:32:23
   19 successful."                         15:30:42                         19   something we were thinking of doing, and the 15:32:24
   20           And then Exhibit 31 appears to      15:30:42                20   pharmacy said they couldn't use it because       15:32:26
   21 be the attachment to the e-mail; is that       15:30:44               21   they didn't put anything on their shelves      15:32:28
   22 right?                           15:30:49                             22   anymore, on their counters for patients to      15:32:30
   23      A.    Uh-huh.                   15:30:49                         23   pick up.                            15:32:32
   24      Q.    And so Exhibit 31 has some          15:30:50               24             The sell sheet would be just a 15:32:32
   25 information about Mallinckrodt historical         15:30:53            25   sell sheet explaining -- with a copy of the 15:32:34

                                                         Page 255                                                                      Page 257
    1 market share and then "available sales           15:30:55              1 ad, the package insert, and all the          15:32:37
    2   materials, parens, we will likely need PARC, 15:30:59                2 information about the risks of the product.        15:32:39
    3   P-A-R-C, approval to send examples."            15:31:02             3 And then it just showed, like I said, the        15:32:46
    4            What is PARC in this setting? 15:31:06                      4 size of our patch.                      15:32:48
    5       A. Promotional material review           15:31:07                5           And then we were going to          15:32:49
    6   meeting. Promotional advertising review          15:31:10            6 enclose a sample patch that was inactive so         15:32:51
    7   committee.                           15:31:13                        7 they could see the size of the patch, because 15:32:55
    8       Q. Okay. And that was a               15:31:13                   8 we felt that was our biggest advantage.           15:32:56
    9   Mallinckrodt committee?                    15:31:15                  9      Q.    Okay. Okay. All right. You         15:32:58
   10       A. Yes.                        15:31:15                         10 can set that aside.                    15:33:01
   11       Q. Were you on the committee?             15:31:15              11           (Mallinckrodt-Collier Exhibit      15:33:33
   12       A. No, I submitted materials to         15:31:16                12      32 marked for identification.)         15:33:33
   13   them --                           15:31:18                          13 QUESTIONS BY MR. GOTTO:                               15:33:33
   14       Q. Okay.                        15:31:19                        14      Q.    Exhibit 32 is a two-page e-mail 15:33:41
   15       A. -- for approval.               15:31:19                      15 thread beginning at Bates MNK-T1_0000925331.             15:33:43
   16       Q. Who was on the committee; do            15:31:19             16 Please take a look at those e-mails and tell       15:33:49
   17   you know?                            15:31:21                       17 me if you recognize them.                   15:33:51
   18       A. I didn't think I'd ever forget 15:31:21                      18      A.    Okay.                      15:34:48
   19   his name, but, no, I don't remember the name. 15:31:26              19      Q.    Do you recognize those e-mails? 15:34:48
   20       Q. Do you remember what his --            15:31:29              20      A.    Yes, I do.                  15:34:49
   21       A. The key gentleman.                15:31:30                   21      Q.    Okay. On the first page, the      15:34:50
   22       Q. Do you remember what                  15:31:34               22 bottom half, e-mail from you to Leah LaRue            15:34:53
   23   his position was?                     15:31:35                      23 and others.                           15:34:58
   24       A. He was the lead at PARC, and so 15:31:35                     24           First of all, who was Leah        15:34:58
   25   he reviewed all communications.               15:31:37              25 LaRue?                                15:35:01

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                                                        Page 258                                                                   Page 260
    1       A. She was part of the CARES              15:35:01         1       Q.    Okay. And do you recall if you 15:37:16
    2   Alliance team.                         15:35:05                2 were ever able to locate that poster again?        15:37:22
    3       Q. And how about Dan Brague?               15:35:05        3       A.    They never developed it again.        15:37:25
    4       A. He was in brands. I don't           15:35:07            4       Q.    Okay. You can set that aside.       15:37:26
    5   remember what his role was.                  15:35:11          5            (Mallinckrodt-Collier Exhibit       15:37:27
    6       Q. Okay. Chris Wagner?                  15:35:12           6       33 marked for identification.)         15:38:01
    7       A. Not familiar with him.              15:35:13            7 QUESTIONS BY MR. GOTTO:                                15:38:01
    8       Q. Okay. In your e-mail you say, 15:35:15                  8       Q.    Exhibit 33 is a multipage        15:38:01
    9   "For generics we need more educational and         15:35:22    9 e-mail thread beginning MNK-T1_0000660532.                 15:38:03
   10   communication materials for pharmacies,           15:35:24    10 Take a look at those, and tell me if you          15:38:09
   11   including how to identify a patient that may 15:35:25         11 recognize those e-mails.                    15:38:11
   12   be at risk, how to handle a patient that      15:35:27        12            Do you recognize those e-mails? 15:39:16
   13   comes in too soon for a refill," and then you 15:35:31        13       A.    Yes.                     15:39:19
   14   have several other bullet items under that. 15:35:34          14       Q.    And your e-mail on the bottom         15:39:19
   15            How did you develop that list      15:35:36          15 part of the first page lists a series of     15:39:21
   16   of information that you felt needed more        15:35:37      16 grants that had been funded the prior year,        15:39:24
   17   education and communication materials for?         15:35:40   17 correct?                             15:39:27
   18       A. At trade shows we had asked            15:35:42        18       A.    Correct.                   15:39:27
   19   customers what they thought was lacking and 15:35:46          19       Q.    And the funding of these         15:39:27
   20   what kind of information would they need from 15:35:48        20 grants, is that -- who was responsible for         15:39:30
   21   a company like Mallinckrodt.                 15:35:50         21 making the decision to fund grants of this         15:39:32
   22       Q. Okay. At the end of your             15:35:51          22 type?                               15:39:35
   23   e-mail you say, "I am sure I will think of     15:35:58       23       A.    That actually would have been         15:39:35
   24   more once I dig into the SOM program more." 15:36:00          24 the president of our team.                  15:39:37
   25            So this is in -- you send the    15:36:03            25       Q.    And Mr. Gunning?                 15:39:38

                                                        Page 259                                                                   Page 261
    1 e-mail in February 2013.                   15:36:08              1       A. Yes.                       15:39:40
    2           Do you recall what digging into 15:36:12               2       Q. Okay.                       15:39:41
    3   the SOM program you were doing at this time? 15:36:15          3       A. At this time it might have been 15:39:43
    4       A. I don't recall.              15:36:18                   4   David Silver because Mr. Gunning had passed 15:39:45
    5       Q. Do you recall if you did come        15:36:19           5   away.                            15:39:47
    6   up with additional proposed items for         15:36:23         6       Q. Oh, I see. Okay.                15:39:47
    7   education for pharmacies?                 15:36:26             7            Did you have input into -- or    15:39:49
    8       A. I don't remember if we did.         15:36:28            8   did you make recommendations as to grant -- 15:39:52
    9       Q. Okay. Do you recall if -- do        15:36:31            9   you personally make recommendations as to         15:39:55
   10   you recall participating in preparing any     15:36:36        10   which grants you thought were worthwhile?        15:39:57
   11   educational and communication materials of       15:36:39     11            MR. O'CONNOR: Object to form. 15:40:00
   12   the type you describe in your e-mail?        15:36:41         12            THE WITNESS: Sometimes I did, 15:40:00
   13       A. The only thing I remember that 15:36:43                13       yes.                        15:40:01
   14   we did was information on safe disposal.       15:36:44       14   QUESTIONS BY MR. GOTTO:                           15:40:01
   15       Q. Okay. The last bullet item in 15:36:47                 15       Q. And what criteria did you          15:40:02
   16   your e-mail you say, "There was a poster we 15:36:55          16   employ in making that determination?           15:40:03
   17   handed out at showing the most widely abused 15:36:58         17       A. Relationship to Mallinckrodt.        15:40:05
   18   drugs. It would be good to have that again." 15:37:01         18   Their relationship to Mallinckrodt.         15:40:09
   19           Do you recall that poster?       15:37:04             19       Q. And what sorts of -- when you         15:40:11
   20       A. I do recall seeing that poster. 15:37:05               20   say "relationship to Mallinckrodt," what do 15:40:16
   21       Q. And in what context do you           15:37:07          21   you mean by that?                      15:40:17
   22   remember seeing it?                     15:37:09              22       A. For example, AATOD is a big            15:40:18
   23       A. There was a closet full of all 15:37:09                23   organization about opioid dependence, and       15:40:25
   24   promotional materials, and I happened to see 15:37:13         24   they do a lot of education on methadone, and 15:40:27
   25   something in there.                    15:37:15               25   we actually sold methadone, too. So it would 15:40:29

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    1 be that relationship, that they were very       15:40:31                 1 another initiative, so they wouldn't have        15:42:55
    2   important in the industry for methadone         15:40:33               2 been in my area.                       15:42:57
    3   treatment, so you want to make sure that they 15:40:36                 3      Q.    Okay. Okay. So in terms of          15:42:58
    4   continued doing work that they were doing.        15:40:38             4 grants that the marketing department made a         15:43:01
    5       Q. Okay. Are there any other of          15:40:40                  5 determination on, those would be reflected on 15:43:07
    6   these organizations in particular that you     15:40:44                6 the -- the prior exhibit we just looked at?      15:43:08
    7   can recall recommending Mallinckrodt make the 15:40:45                 7           MR. O'CONNOR: Object to form.            15:43:10
    8   grant?                            15:40:48                             8           THE WITNESS: Correct.                15:43:11
    9       A. American Pharmacists                15:40:49                    9 QUESTIONS BY MR. GOTTO:                              15:43:11
   10   Association. American Society Health System 15:41:01                  10      Q.    Okay. All right. You can set        15:43:12
   11   Pharmacists Research and Education              15:41:03              11 that aside.                        15:43:13
   12   Foundation. And the two customer requests         15:41:05            12           (Mallinckrodt-Collier Exhibit       15:43:14
   13   for Kroger and Cardinal would have come from 15:41:10                 13      35 marked for identification.)           15:43:15
   14   the sales team.                      15:41:13                         14 QUESTIONS BY MR. GOTTO:                              15:43:15
   15       Q. And in terms of the two            15:41:14                    15      Q.    Exhibit 35 is a two-page e-mail 15:43:51
   16   pharmacists associations that you mentioned, 15:41:18                 16 thread beginning at Bates MNK-T1_0000558153.              15:43:55
   17   what was the reason for recommending those         15:41:20           17 Please take a look at that and let me know if 15:44:01
   18   grants?                           15:41:22                            18 you recognize those e-mails.                  15:44:03
   19       A. They provide educational             15:41:22                  19      A.    Yes, I recognize it.         15:44:04
   20   materials for pharmacies, and they help        15:41:24               20      Q.    Okay. The bottom e-mail on the 15:44:10
   21   provide programs and services to independent 15:41:30                 21 first page from Debbie Digby is another           15:44:14
   22   pharmacies which we don't have reach to.         15:41:32             22 e-mail transmitting monthly SOM reports             15:44:17
   23       Q. Okay. You can set that aside. 15:41:35                         23 similar to a document we looked at a little       15:44:21
   24            (Mallinckrodt-Collier Exhibit      15:41:49                  24 earlier this afternoon.                 15:44:23
   25       34 marked for identification.)         15:41:50                   25           You recall?                 15:44:27

                                                              Page 263                                                                    Page 265
    1 QUESTIONS BY MR. GOTTO:                               15:41:50           1       A. Yes.                         15:44:27
    2      Q.    I'll apologize in advance for     15:41:53                    2       Q. And then the top e-mail is an         15:44:27
    3 the small type on this document.               15:41:54                  3   e-mail from you to, well, a number of folks, 15:44:29
    4      A.    Oh, boy.                    15:41:57                          4   but in the body of the e-mail you say          15:44:33
    5      Q.    Exhibit 34 is a multipage --      15:41:58                    5   "Karen."                             15:44:35
    6 well, actually it's a document that was           15:42:02               6             I assume that means Karen         15:44:35
    7 produced in native at MNK-T1_0000661003, and                 15:42:03    7   Harper?                             15:44:37
    8 it appears to be a list of grants.         15:42:11                      8       A. I would assume so.                 15:44:37
    9           And perhaps I can just ask you      15:42:14                   9       Q. Okay. And you indicate that           15:44:44
   10 a general question about the very first line       15:42:17             10   you took highest volume pharmacies ran by          15:44:50
   11 where it says, "GCC approved grants                15:42:20             11   distributor, et cetera, and compiled the data 15:44:53
   12 January 14 to present."                    15:42:25                     12   that's in the table on the e-mail, correct? 15:44:55
   13           Do you know what GCC means in             15:42:26            13       A. Correct.                      15:44:58
   14 this setting?                          15:42:28                         14       Q. And what was your reason for            15:44:59
   15      A.    No, I don't.                15:42:29                         15   doing that?                          15:45:00
   16      Q.    Okay. Do you know if the            15:42:31                 16       A. I guess so that -- to inform        15:45:01
   17 grants and contributions that are contained         15:42:35            17   Karen of what the wholesalers' sales are.       15:45:07
   18 in this document were grants and                  15:42:38              18       Q. And why did you think that            15:45:12
   19 contributions that Mallinckrodt made, or is         15:42:40            19   would be something that she should be            15:45:21
   20 it some other compilation of grants and            15:42:43             20   informed of?                          15:45:23
   21 contributions?                          15:42:45                        21       A. I'm trying to understand what         15:45:24
   22      A.    I don't know if these are        15:42:45                    22   I'm even saying here.                    15:45:26
   23 grants that -- specifically that Mallinckrodt 15:42:48                  23             Okay. Well, I guess in the       15:45:42
   24 made. It looks as if many of them would have 15:42:50                   24   process we continued to monitor what some of 15:45:43
   25 been funded either through CARES Alliance or            15:42:53        25   the wholesalers were doing in their sales.      15:45:47

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    1       Q. And monitoring it for what              15:45:50               1 notes?                              15:48:17
    2   purpose?                               15:45:57                       2      A.    No, I did not.                15:48:17
    3       A. To see if there's any high            15:45:57                 3      Q.    Do you know who did?                15:48:18
    4   concentration by some of these smaller             15:46:00           4      A.    This would have been someone in            15:48:19
    5   distributors.                          15:46:03                       5 sales, possibly Jane.                      15:48:21
    6       Q. And high concentration meaning 15:46:03                        6      Q.    Okay. Did you have any input          15:48:23
    7   what in this setting?                     15:46:09                    7 into what she put into the notes?              15:48:26
    8       A. So, for example, if Masters             15:46:11               8      A.    I don't recall putting anything     15:48:28
    9   would have 15 percent share, that would be           15:46:12         9 in, adding any comments.                      15:48:30
   10   concerning because we have large volume               15:46:15       10      Q.    Were these meetings held            15:48:32
   11   customers on here. Or if KeySource was high. 15:46:17                11 regularly?                            15:48:35
   12       Q. And do you recall if you               15:46:22               12      A.    Annually, yes.                  15:48:35
   13   performed this analysis on other occasions, 15:46:34                 13      Q.    And did you participate each         15:48:37
   14   or was this a one-time thing that you did?         15:46:38          14 year?                              15:48:39
   15             MR. O'CONNOR: Object to form. 15:46:41                     15      A.    Yes, I did.                15:48:39
   16             THE WITNESS: I'm not sure if            15:46:42           16           MR. GOTTO: Okay. All right.             15:48:46
   17       it was done on a frequent basis. I -- 15:46:44                   17      Why don't we go off the record.            15:48:47
   18       I just said I just took this, so I     15:46:50                  18           VIDEOGRAPHER: We're going off                 15:48:49
   19       assume that possibly from the data           15:46:52            19      the record at 3:48 p m.                15:48:50
   20       that was provided by Debbie, I twisted 15:46:53                  20       (Off the record at 3:48 p m.)          15:48:52
   21       it a little bit further, you know, to 15:46:55                   21           VIDEOGRAPHER: We are back on                  15:53:10
   22       look at the numbers in a different         15:46:57              22      the record at 3:52 p m.                15:53:11
   23       way.                             15:46:58                        23           CROSS-EXAMINATION                           15:53:12
   24   QUESTIONS BY MR. GOTTO:                                15:46:58      24 QUESTIONS BY MS. HERZFELD:                                15:53:13
   25       Q. Do you know if you had any                15:46:58            25      Q.    Good afternoon, Ms. Collier.          15:53:14

                                                              Page 267                                                                   Page 269
    1 particular reason for performing that            15:46:59               1 My name is Tricia Herzfeld. I'm an attorney            15:53:15
    2 analysis in March of 2011?                  15:47:02                    2 representing the plaintiffs in the Tennessee        15:53:17
    3      A.    I don't recall.             15:47:03                         3 state court litigation.                  15:53:19
    4      Q.    Okay. You can put that aside.         15:47:06               4           How are you doing this             15:53:20
    5           (Mallinckrodt-Collier Exhibit      15:47:11                   5 afternoon?                            15:53:21
    6      36 marked for identification.)         15:47:12                    6      A.    Very good, thank you.              15:53:21
    7 QUESTIONS BY MR. GOTTO:                               15:47:12          7      Q.    Good.                      15:53:22
    8      Q.    Exhibit 36 is a multipage        15:47:33                    8           Are you familiar at all with       15:53:22
    9 document beginning at MNK-T1_0000609142. It                 15:47:36    9 the Tennessee litigation?                    15:53:23
   10 appears to be NACDS meeting notes from April            15:47:42       10      A.    No, I'm not.                  15:53:24
   11 of 2013.                              15:47:48                         11      Q.    Okay.                      15:53:25
   12           Are you familiar with what the      15:47:49                 12           MS. HERZFELD: Well, before we               15:53:26
   13 NACDS meetings were?                          15:47:53                 13      get on the record, I'm just going to      15:53:27
   14      A.    Yes.                    15:47:55                            14      make our standard objection, which           15:53:28
   15      Q.    And what were they?              15:47:55                   15      we've made in every deposition we've           15:53:30
   16      A.    They were National Association         15:47:57             16      had thus far, so I won't repeat all      15:53:32
   17 of Chain Drugstores, and it was meeting --          15:47:59           17      the specifics.                   15:53:35
   18 this particular meeting was with executives         15:48:03           18           MR. O'CONNOR: And we'll make                 15:53:35
   19 from the big wholesalers and big chains            15:48:05            19      our standard objection to your           15:53:36
   20 and -- with the executives from the              15:48:09              20      objection.                       15:53:37
   21 manufacturers.                          15:48:11                       21           MS. HERZFELD: Excellent.                15:53:38
   22      Q.    Okay. And did you participate         15:48:11              22      Wonderful. Moving on.                    15:53:39
   23 in those meetings?                       15:48:13                      23 QUESTIONS BY MS. HERZFELD:                                15:53:41
   24      A.    I participated, yes.          15:48:13                      24      Q.    Ms. Collier, have you ever been       15:53:42
   25      Q.    Okay. Did you prepare these           15:48:15              25 to the state of Tennessee?                   15:53:42

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    1       A. Yes, I have.                15:53:44                      1       A.   Yes.                    15:55:07
    2       Q. And for business or pleasure?       15:53:44              2       Q.   Okay. And which cities did you 15:55:07
    3       A. Both.                     15:53:45                        3   visit?                          15:55:09
    4       Q. Okay. When for business?            15:53:46              4       A.   Memphis.                   15:55:09
    5       A. When for business?               15:53:47                 5       Q.   Oh, okay.                 15:55:11
    6       Q. Yes, ma'am.                  15:53:50                     6           Did you get to go to the Civil 15:55:13
    7       A. I believe I was there for a      15:53:50                 7   Rights Museum?                        15:55:14
    8   conference in Nashville, and doing business 15:53:52             8       A. No.                       15:55:16
    9   in Memphis with McKesson.                   15:53:54             9       Q. Graceland?                   15:55:16
   10       Q. Okay. And when was the              15:53:59             10       A. Yes.                      15:55:18
   11   conference in Nashville?                15:54:00                11       Q. Did you like it?              15:55:18
   12       A. I have no idea.              15:54:00                    12       A. No.                       15:55:19
   13       Q. Okay. Do you know who you were 15:54:01                  13       Q. Okay. It's a little different 15:55:19
   14   working for when you attended the conference? 15:54:03          14   than people think.                   15:55:21
   15       A. Probably Baxter.               15:54:04                  15           Okay. And does that pretty       15:55:22
   16       Q. Okay. And when you said "in          15:54:08            16   much close out your visits to Tennessee, just 15:55:24
   17   Memphis," was that for your time with         15:54:11          17   Memphis and Nashville?                    15:55:27
   18   McKesson?                           15:54:12                    18       A. Yes.                      15:55:28
   19       A. No. It was calling on           15:54:13                 19       Q. Okay. Have you ever been to          15:55:29
   20   McKesson.                          15:54:15                     20   the Appalachian region of Tennessee?          15:55:31
   21       Q. Oh, calling on McKesson.           15:54:16              21       A. Possibly driven through it.       15:55:34
   22       A. They have a warehouse there.         15:54:18            22       Q. Okay.                      15:55:36
   23       Q. Okay.                     15:54:18                       23       A. I'm not really sure where it      15:55:37
   24       A. They had a warehouse there.         15:54:20             24   is.                            15:55:39
   25       Q. And who were you employed by            15:54:21         25       Q. Okay. You've heard of the           15:55:39

                                                             Page 271                                                     Page 273
    1 when you were calling on McKesson?                15:54:23         1 Smoky Mountains?                           15:55:42
    2      A.   Baxter.                  15:54:24                        2       A. Yes.                       15:55:42
    3      Q.   Okay. In your capacity as an        15:54:25             3       Q. Okay. Do you know there's an          15:55:43
    4 employee of Mallinckrodt, did you ever visit      15:54:27         4   area of Tennessee that's like up northeast of 15:55:44
    5 Tennessee?                           15:54:31                      5   the Smoky Mountains? It's almost in           15:55:47
    6      A.   Yes.                     15:54:31                        6   Kentucky, West Virginia?                  15:55:49
    7      Q.   Okay. And when was that?            15:54:32             7       A. Then I might have driven            15:55:51
    8      A.   I don't recall.            15:54:33                      8   through it.                        15:55:52
    9      Q.   Okay. And what were you doing          15:54:39          9       Q. Okay. Do you know where you             15:55:53
   10 in Tennessee?                        15:54:40                     10   were going?                         15:55:55
   11      A.   Visiting the McKesson            15:54:41               11       A. From New Jersey to St. Louis.         15:55:55
   12 warehouse.                           15:54:43                     12       Q. Okay. Okay. I'm going to go          15:55:57
   13      Q.   Okay. So you visited the         15:54:43               13   through just a couple of e-mails with you      15:56:11
   14 McKesson warehouse in Memphis during your job 15:54:45            14   quickly, hopefully. I don't think they've    15:56:13
   15 at Baxter as well as your job at           15:54:49               15   been previously added as exhibits, so if they 15:56:17
   16 Mallinckrodt; is that correct?             15:54:52               16   have, if somebody will stop me and hopefully 15:56:21
   17      A.   Correct.                 15:54:52                       17   we won't repeat it.                   15:56:23
   18           MR. O'CONNOR: Object to form.          15:54:52         18            If we could mark this one as     15:56:24
   19 QUESTIONS BY MS. HERZFELD:                             15:54:53   19   Exhibit -- are we on 29?                15:56:26
   20      Q.   Okay. Any other times that you 15:54:53                 20            COURT REPORTER: 36.                  15:56:32
   21 visited Tennessee in your capacity as an        15:54:56          21            MS. HERZFELD: 36.                 15:56:32
   22 employee of Mallinckrodt?                   15:54:58              22            MR. O'CONNOR: I think I have a 15:56:32
   23      A.   Not that I remember.           15:54:59                 23       36 already. So 37.                15:56:32
   24      Q.   Okay. And you've gone             15:55:01              24            MS. HERZFELD: 37. Okay.              15:56:47
   25 personally for vacation or something?           15:55:05          25            (Mallinckrodt-Collier Exhibit     15:56:47

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    1      37 marked for identification.)           15:56:48                 1 distributors, stating, "Have we ever asked       15:58:53
    2 QUESTIONS BY MS. HERZFELD:                                15:56:48     2   them to provide written protocol for how they 15:58:56
    3      Q.    Okay. If you'd take a moment          15:56:51              3   vet the customers that they sell to?"       15:58:58
    4 and look at this e-mail, please.              15:56:52                 4            Do you see where I'm at?         15:59:00
    5      A.    Okay.                      15:56:53                         5       A. Yes, I do.                   15:59:02
    6           MR. HIBEY: If there's a Bates         15:56:53               6       Q. And did I read that correctly? 15:59:02
    7      number for the document, could you           15:56:53             7       A. Yes, you did.                  15:59:04
    8      please read it for us?                15:57:13                    8       Q. Okay. And then, "Can we start 15:59:05
    9           MS. HERZFELD: Sure. But it's            15:57:13             9   making it a requirement that they provide us 15:59:07
   10      been produced in the Tennessee state         15:57:14            10   with written standard operating practices as 15:59:09
   11      litigation, so I don't have a Bates      15:57:17                11   to how they confirm that an account is okay?" 15:59:12
   12      number for the MDL.                     15:57:18                 12            Do you see that?             15:59:16
   13           MR. HIBEY: Well, I guess I'd          15:57:20              13       A. Yes.                        15:59:16
   14      take that Bates number as well, just       15:57:21              14       Q. Okay. And then Karen Harper            15:59:16
   15      some kind of identifier.               15:57:22                  15   responds, "The question whether our customers 15:59:18
   16           MS. HERZFELD: Sure.                  15:57:25               16   monitor their customers was removed from the 15:59:22
   17           Who is it on the phone?            15:57:25                 17   questionnaire by the Mallinckrodt suspicious 15:59:24
   18           MR. HIBEY: This is David Hibey 15:57:28                     18   order monitoring team because there is no       15:59:25
   19      from Arnold & Porter.                   15:57:29                 19   {sic} actual regulatory obligation to monitor 15:59:28
   20           MS. HERZFELD: Okay. And                  15:57:31           20   customers' customers."                   15:59:32
   21      you're representing whom?                 15:57:31               21            Do you see where I'm at?         15:59:35
   22           MR. HIBEY: Endo and Par.               15:57:33             22       A. Yes.                        15:59:36
   23           MS. HERZFELD: Okay. So the               15:57:35           23       Q. Okay. Was that your                15:59:37
   24      Tennessee state litigation number is        15:57:36             24   understanding of the DEA requirements?           15:59:38
   25      MNK_TNSTA05202063. And I have no idea 15:57:37                   25       A. I did not know the DEA              15:59:39

                                                                Page 275                                                              Page 277
    1      if this was produced in the MDL.            15:57:45              1 requirements. That's why we were requesting. 15:59:40
    2 QUESTIONS BY MS. HERZFELD:                                 15:57:55    2      Q.    Okay. And were you part of the         15:59:43
    3      Q.    Ma'am, you've had an                15:57:56                3 decision to take that off the questionnaire?       15:59:44
    4 opportunity to review it?                     15:57:57                 4      A.    No, I was not.               15:59:46
    5      A.    Yes. I'm still reviewing the        15:57:57                5      Q.    Okay. And were you part of the         15:59:48
    6 top. I'm sorry.                        15:57:59                        6 decision to not require distributors to          15:59:50
    7      Q.    That's okay.                    15:58:00                    7 provide their written policies?             15:59:52
    8           Okay. Are you finished              15:58:01                 8      A.    No, I was not.               15:59:53
    9 reviewing it?                          15:58:23                        9      Q.    Okay. That was my only            15:59:54
   10      A.    Yes, ma'am.                     15:58:24                   10 questions on that document. Thank you,              15:59:57
   11      Q.    Okay. Do you recognize this           15:58:24             11 ma'am.                                15:59:58
   12 document?                              15:58:25                       12      A.    Okay.                      15:59:58
   13      A.    Yes, I do.                  15:58:25                       13           (Mallinckrodt-Collier Exhibit      16:00:08
   14      Q.    Okay. Does it appear to be an         15:58:26             14      38 marked for identification.)         16:00:09
   15 e-mail that was sent to you and Kate Neely             15:58:28       15           MS. HERZFELD: For those on the            16:00:09
   16 from Karen Harper?                           15:58:32                 16      phone, this is MNK_TNSTA05202176.                16:00:27
   17      A.    The top one is. The bottom one         15:58:33            17 QUESTIONS BY MS. HERZFELD:                              16:00:34
   18 started with Kate Neely sending something to             15:58:36     18      Q.    Okay. You've had an              16:01:09
   19 Karen Harper and me -- and copying me.                  15:58:39      19 opportunity to read it?                   16:01:10
   20      Q.    Okay. And then it looks like a        15:58:41             20      A.    Yes, I have.                16:01:11
   21 response on the top?                        15:58:44                  21      Q.    Okay. And what does this          16:01:11
   22      A.    Correct, from Karen.               15:58:45                22 e-mail appear to be to you?                 16:01:14
   23      Q.    Okay. Great.                    15:58:46                   23      A.    This appears that we were         16:01:16
   24           And so looking at this e-mail,       15:58:47               24 requested to provide an average on               16:01:17
   25 Kate Neely asks about the audits of               15:58:51            25 OxyContin -- I mean, oxycodone units                16:01:24

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    1 dispensed at the pharmacy level by state.        16:01:26            1   average is well above 5,000 units, so I          16:02:50
    2       Q. Okay. And it's an e-mail from 16:01:28                      2   assume that they were probably trying to set 16:02:53
    3   you to Michael Gunning; is that correct?       16:01:30            3   a standard. And I was saying that 5,000 is 16:02:54
    4       A. Correct.                     16:01:31                       4   too low based on that standard.               16:02:57
    5       Q. Okay. And it's dated              16:01:32                  5        Q. Okay. So I'm going to back up 16:02:58
    6   4/18/2011?                           16:01:35                      6   a little bit and just make sure that I fully 16:03:00
    7       A. Correct.                     16:01:35                       7   understand it because I'm struggling just a 16:03:02
    8       Q. Okay. And do you have any             16:01:36              8   tiny bit.                            16:03:05
    9   reason to think you didn't receive this      16:01:37              9             Okay. So when you're looking          16:03:05
   10   e-mail?                           16:01:38                        10   at the -- it's dispensing units, is that     16:03:08
   11       A. No, I have no reason.             16:01:38                 11   right, DISP?                            16:03:10
   12       Q. Okay. And so who is Michael            16:01:40            12        A. Right.                        16:03:11
   13   Gunning?                            16:01:43                      13        Q. Okay. And so does that stand            16:03:12
   14       A. He was the president -- or the 16:01:43                    14   for tablets or bottles, or what is a         16:03:13
   15   general manager of the generics division.      16:01:46           15   dispensing unit?                         16:03:15
   16       Q. Okay. And do you have any             16:01:48             16        A. In this --                    16:03:16
   17   specific memory of him requesting this         16:01:51           17             MR. O'CONNOR: Objection to the 16:03:16
   18   information from you?                    16:01:53                 18        form.                           16:03:16
   19       A. No.                        16:01:53                        19             THE WITNESS: In this context I 16:03:16
   20       Q. Okay. And do you know why he             16:01:55          20        would think that it's tablets. It      16:03:21
   21   requested it from you?                  16:01:56                  21        doesn't say, but I refer to tablets     16:03:22
   22       A. I'm not sure that he did          16:01:58                 22        later on. In looking at these          16:03:23
   23   request it.                       16:02:00                        23        numbers, it looks like it could refer 16:03:25
   24       Q. Okay. Might it have been            16:02:01               24        to the tablets.                  16:03:27
   25   something that you just came up with to send? 16:02:03            25

                                                              Page 279                                                               Page 281
    1      A.     It might have been a discussion       16:02:05           1 QUESTIONS BY MS. HERZFELD:                              16:03:28
    2 and I decided -- I could have acted            16:02:07              2      Q.    Okay. And so when you're            16:03:28
    3 proactively, or it could have been at a           16:02:09           3 looking here, this looks like it is for, what 16:03:30
    4 request.                           16:02:12                          4 is it, a month? For a year? Do you know            16:03:34
    5      Q.     And from the testimony that        16:02:12              5 what the time period is?                  16:03:35
    6 we've received a little bit earlier, it looks 16:02:13               6      A.    No, I do not.                16:03:36
    7 like sometimes you acted proactively and            16:02:15         7      Q.    Okay. And so looking at this,       16:03:37
    8 crunched numbers in a way and would pass that 16:02:17               8 it looks like it's oxy 15 and oxy 30,          16:03:39
    9 on to someone; is that correct?               16:02:19               9 according to your e-mail here; is that right? 16:03:42
   10      A.     Correct.                   16:02:20                     10      A.    Yes.                    16:03:44
   11            MR. O'CONNOR: Objection.                16:02:21         11      Q.    Okay. And it's for pharmacies       16:03:45
   12 QUESTIONS BY MS. HERZFELD:                               16:02:22   12 purchasing from two or more distributors; is        16:03:47
   13      Q.     Okay. So looking at this         16:02:23               13 that right?                        16:03:49
   14 e-mail, it says, "Based on the report we get       16:02:24         14      A.    Yes.                    16:03:49
   15 for suspicious order monitoring, below are          16:02:26        15      Q.    Okay. And it says, "I will ask     16:03:51
   16 the averages -- are the average pharmacy            16:02:28        16 if they can expand the report to include all       16:03:54
   17 dispensing units for the 15-milligram and           16:02:32        17 oxy sales."                         16:03:56
   18 30-milligram combined."                       16:02:35              18           What other oxy sales would be        16:03:58
   19            Do you see where it says that?     16:02:36              19 included that are not included here?            16:04:00
   20      A.     Yes.                   16:02:37                         20      A.    Oxy 5 milligram.               16:04:02
   21      Q.     Okay. And then kind of moving          16:02:38         21      Q.    Okay. Is that what you're         16:04:04
   22 forward, it says, "By any standard it appears 16:02:40              22 referring to that's excluded?                16:04:05
   23 5,000 tablets is too low."                  16:02:42                23      A.    Yes.                    16:04:06
   24            What did you mean by that?          16:02:44             24      Q.    Okay. "And so by any standard         16:04:07
   25      A.     When I'm looking at this, the      16:02:45             25 it appears that 5,000 tablets is too low."      16:04:11

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    1            So do you know what the goal            16:04:14              1            Do you have any specific          16:05:36
    2 was of this chart?                        16:04:15                       2   knowledge of communicating with him about           16:05:36
    3            MR. O'CONNOR: Objection to                16:04:18            3   suspicious order monitoring target numbers? 16:05:38
    4       form.                           16:04:19                           4       A. Well, this relates to a           16:05:39
    5            THE WITNESS: I don't recall.            16:04:19              5   suspicious order monitoring report that we 16:05:44
    6 QUESTIONS BY MS. HERZFELD:                                   16:04:20    6   received.                           16:05:46
    7       Q.      Okay. And you said before -- I       16:04:20              7       Q. Okay.                         16:05:46
    8 think you said something about setting               16:04:21            8       A. And so it's referring to           16:05:46
    9 standards.                             16:04:23                          9   dispensing units.                      16:05:48
   10            What did you mean by that?             16:04:23              10       Q. Okay.                         16:05:49
   11       A.      Setting standards on -- it says    16:04:25               11       A. When I'm looking at sales, I'm 16:05:49
   12 "by any standard." I don't know what                16:04:28            12   not looking at dispensing units. I'm usually 16:05:53
   13 standard they were looking for, but it says          16:04:30           13   look at dollars --                    16:05:55
   14 in here looking at -- if they're looking at        16:04:31             14       Q. Okay.                         16:05:56
   15 5,000 to make that a benchmark, that's below           16:04:34         15       A. -- and units sold to             16:05:56
   16 most of these numbers.                          16:04:37                16   wholesalers --                        16:05:57
   17       Q.      Okay. And when you say               16:04:38             17       Q. Okay.                         16:05:58
   18 "benchmark," I guess I'm trying to figure out 16:04:39                  18       A. -- and distributors.             16:05:58
   19 a benchmark for what. A benchmark for sales? 16:04:42                   19       Q. Okay. So based on that, you           16:06:00
   20       A.      I don't recall.           16:04:45                        20   think this is based on suspicious order       16:06:01
   21       Q.      Target sales?               16:04:46                      21   monitoring levels?                      16:06:02
   22       A.      I have no idea. I don't know        16:04:48              22            MR. O'CONNOR: Object to form. 16:06:05
   23 if this is in relation to setting any -- the      16:04:49              23            THE WITNESS: I cannot say             16:06:07
   24 suspicious order monitoring baseline to              16:04:52           24       definitively, yes, it is. That would 16:06:08
   25 trigger part of their algorithms. Because           16:04:54            25       be drawing a conclusion, and I don't      16:06:11

                                                                 Page 283                                                              Page 285
    1 they were looking at changing how they were                16:04:56      1      know, and I don't recollect.          16:06:12
    2 doing their algorithms, so it could have been 16:04:58                   2 QUESTIONS BY MS. HERZFELD:                             16:06:13
    3 part of that. It could have been part of           16:04:59              3      Q.      Okay. But if you had to guess,     16:06:14
    4 sales. It could have been anything.                16:05:01              4 do you think that's what it is?            16:06:17
    5       Q.      Okay. And Michael Gunning,             16:05:02            5           MR. O'CONNOR: Objection to              16:06:18
    6 what did you typically communicate with him                16:05:04      6      form.                          16:06:19
    7 about? Was it suspicious order monitoring or 16:05:06                    7           THE WITNESS: I would think             16:06:20
    8 sales?                                16:05:08                           8      that it might have something to do         16:06:21
    9       A.      Typically I would communicate          16:05:09            9      with that.                      16:06:22
   10 with him about forecast and employee issues.           16:05:11         10 QUESTIONS BY MS. HERZFELD:                             16:06:23
   11       Q.      Forecast and employee issues.        16:05:15             11      Q.      Okay. Very good.             16:06:23
   12 Okay.                                 16:05:15                          12           Looking at this, it says on     16:06:24
   13            So when you say "forecast,"           16:05:15               13 state average, right? California average,        16:06:30
   14 that would be sales; is that right?              16:05:17               14 Florida average, Georgia average; is that        16:06:32
   15       A.      Yes.                     16:05:18                         15 right?                              16:06:34
   16       Q.      Okay. So if you were sending         16:05:19             16      A.      Yes.                   16:06:34
   17 something to Michael Gunning in your                  16:05:21          17      Q.      Okay. And do you know if those       16:06:35
   18 position, and typically you dealt with him           16:05:24           18 are pharmacy-level oxy units per month?            16:06:36
   19 about sales, it's likely that this chart here 16:05:26                  19           MR. O'CONNOR: Objection to              16:06:39
   20 would have to do with sales; is that right?          16:05:29           20      form.                          16:06:41
   21            MR. O'CONNOR: Objection.                  16:05:31           21           THE WITNESS: There's no way to           16:06:41
   22       Form.                           16:05:32                          22      tell without some context.            16:06:42
   23            THE WITNESS: That's a reach.             16:05:32            23 QUESTIONS BY MS. HERZFELD:                             16:06:43
   24 QUESTIONS BY MS. HERZFELD:                                   16:05:34   24      Q.      Okay. And it says,           16:06:43
   25       Q.      That's a reach. Okay.             16:05:34                25 "Tennessee's average here is 14,100 tablets"; 16:06:44


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    1 is that correct?                      16:06:51                         1 there's a higher population in that             16:08:06
    2      A.      Yes.                    16:06:51                          2 concentration, in that area, and so there's       16:08:10
    3      Q.      Okay. And could you tell from        16:06:51             3 more people coming to that pharmacy or that              16:08:12
    4 that, from this chart, if Tennessee was           16:06:52             4 area because it's a higher population and it       16:08:14
    5 considered high or low?                       16:06:56                 5 borders on other states.                     16:08:16
    6           MR. O'CONNOR: Objection to               16:06:57            6      Q.      Okay. And so you've just given       16:08:17
    7      form.                          16:06:57                           7 two different examples of information that             16:08:19
    8           THE WITNESS: I cannot tell             16:06:58              8 you don't know when assessing the number of               16:08:22
    9      that because I wouldn't know what the         16:06:58            9 oxy that are going to a particular area.          16:08:25
   10      medical needs or the population was of        16:07:03           10            Why did you choose those two?          16:08:28
   11      Tennessee --                      16:07:05                       11      A.      Those are the first two that      16:08:30
   12 QUESTIONS BY MS. HERZFELD:                                 16:07:06   12 come to mind.                               16:08:33
   13      Q.      Okay.                    16:07:06                        13      Q.      Okay. And where did you --           16:08:33
   14      A.      -- so I wouldn't know that.       16:07:07               14 where did you develop that knowledge of                 16:08:35
   15      Q.      And are those things that are      16:07:08              15 things you should look for in oxy                16:08:36
   16 important for you to determine if someone's             16:07:09      16 prescriptions going to a specific area?           16:08:39
   17 oxy numbers are high or low, is                 16:07:11              17            MR. O'CONNOR: Objection to                  16:08:40
   18 population or -- what was the other thing you 16:07:16                18      form.                           16:08:41
   19 said?                               16:07:17                          19            THE WITNESS: I didn't develop           16:08:41
   20      A.      Or medical needs.               16:07:17                 20      that knowledge. You asked me a               16:08:42
   21      Q.      Medical needs?                  16:07:18                 21      question, and I responded to your           16:08:44
   22           MR. O'CONNOR: Objection.                 16:07:18           22      question, so with what I would think          16:08:45
   23      Form.                           16:07:19                         23      top of mind.                      16:08:47
   24           THE WITNESS: I wouldn't have                16:07:19        24 QUESTIONS BY MS. HERZFELD:                                 16:08:48
   25      any way to know that, so I couldn't         16:07:20             25      Q.      Okay. So you came up with that        16:08:48

                                                                Page 287                                                                 Page 289
    1      use that in any decision-making            16:07:23               1 information on your own. You didn't have                16:08:50
    2      anyway.                          16:07:24                         2 that in a discussion in like a suspicious         16:08:52
    3 QUESTIONS BY MS. HERZFELD:                                 16:07:25    3 order monitoring team meeting or anyplace                16:08:55
    4      Q.      Okay. But is that some -- is      16:07:25                4 else?                               16:08:57
    5 that information you would like to know, the            16:07:27       5            MR. O'CONNOR: Objection.                16:08:57
    6 population of a particular area?               16:07:29                6      Form.                           16:08:58
    7           MR. O'CONNOR: Objection to               16:07:30            7            THE WITNESS: Not that I'm              16:08:58
    8      form.                          16:07:31                           8      aware of.                        16:08:58
    9           THE WITNESS: It wouldn't help,           16:07:31            9 QUESTIONS BY MS. HERZFELD:                                 16:08:58
   10      so, no, I wouldn't need to know that.       16:07:35             10      Q.      Okay. Do you recall ever being       16:08:59
   11 QUESTIONS BY MS. HERZFELD:                                 16:07:37   11 in a suspicious order monitoring team meeting 16:09:00
   12      Q.      Okay. It wouldn't help what?        16:07:38             12 where factors relating to the volume of oxy            16:09:03
   13      A.      I'm sorry. It wouldn't help       16:07:39               13 prescriptions going to a particular area were 16:09:09
   14 why?                                 16:07:43                         14 discussed?                             16:09:10
   15      Q.      Yes, ma'am.                   16:07:44                   15      A.      We had discussions about            16:09:11
   16      A.      Oh. It wouldn't help because I     16:07:44              16 Florida.                             16:09:16
   17 have no idea why the prescriptions are being            16:07:46      17      Q.      Okay.                    16:09:17
   18 dispensed or being written for, so I cannot        16:07:49           18      A.      I do remember that discussion.       16:09:17
   19 make a judgment on somebody's medical                   16:07:51      19      Q.      Okay. And what types of things        16:09:19
   20 condition that I do not know and that I have          16:07:54        20 were discussed in relation to Florida?            16:09:21
   21 not seen come into a pharmacy. I'm not there 16:07:55                 21      A.      That Florida had a problem with       16:09:24
   22 physically in a pharmacy, so I have no idea           16:07:58        22 pain clinics and that they hadn't implemented 16:09:26
   23 what's going on in that region.                16:07:59               23 any legislation to shut down the pain             16:09:30
   24           And I also have no idea does it       16:08:01              24 clinics.                            16:09:35
   25 border next to another state that they --        16:08:04             25      Q.      Okay. Anything else that you         16:09:35

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                                                                  Page 290                                                                     Page 292
    1 recall?                                   16:09:37                          1 of things.                               16:11:00
    2      A.      That's all -- that's all I      16:09:37                       2           But did you mean did I do             16:11:00
    3 remember.                                   16:09:39                        3 anything at Mallinckrodt, go back to                 16:11:02
    4      Q.      Okay. Do you recall ever being            16:09:39             4 Mallinckrodt and talk to them about the show             16:11:03
    5 involved in a conversation with anyone during 16:09:42                      5 that I saw?                               16:11:04
    6 your time at Mallinckrodt where anyone                   16:09:43           6      Q.      Did you do anything in response          16:11:05
    7 mentioned that oxy from Florida were going to 16:09:45                      7 to that? Did watching that show or learning             16:11:07
    8 Tennessee?                                  16:09:47                        8 that information, did that make you take any            16:11:10
    9           MR. O'CONNOR: Objection to                    16:09:48            9 steps in your personal or professional life?           16:11:13
   10      form.                                16:09:49                         10           MR. O'CONNOR: Object to form.                 16:11:17
   11           THE WITNESS: I don't remember                  16:09:50          11           THE WITNESS: In my personal or                16:11:20
   12      specifically them saying any state. I            16:09:51             12      professional life?                     16:11:22
   13      do remember them saying they would                  16:09:53          13 QUESTIONS BY MS. HERZFELD:                                  16:11:22
   14      come up Highway 95. And I have no                   16:09:55          14      Q.      Yes, ma'am.                    16:11:23
   15      idea if that even goes through              16:09:57                  15      A.      I don't recall if it did.      16:11:23
   16      Tennessee or not.                        16:09:59                     16      Q.      Okay. So you thought it was            16:11:24
   17 QUESTIONS BY MS. HERZFELD:                                      16:10:00   17 important to clarify that point, so I just          16:11:25
   18      Q.      Okay. Could it have been                16:10:00              18 want to --                               16:11:26
   19 Highway 75?                                  16:10:01                      19      A.      Okay.                        16:11:26
   20           MR. O'CONNOR: Objection.                      16:10:02           20      Q.      I want to be clear, okay?         16:11:27
   21      Form.                                16:10:02                         21           So let's kind of back up, and         16:11:28
   22           THE WITNESS: I thought they                   16:10:02           22 I'll try to make sure I'm understanding you.           16:11:30
   23      said 95, but I don't remember.                  16:10:04              23      A.      Okay.                        16:11:30
   24 QUESTIONS BY MS. HERZFELD:                                      16:10:05   24      Q.      So you said you'd seen a show           16:11:33
   25      Q.      And did you ever hear about a            16:10:05             25 that had talked about -- somewhere on coal              16:11:34

                                                                  Page 291                                                                     Page 293
    1 particular problem with oxy in West Virginia              16:10:07          1 mining, problems with OxyContin or oxycodone                   16:11:35
    2 or Appalachia region?                           16:10:10                    2 in a coal mining area, in a coal mining town. 16:11:38
    3           MR. O'CONNOR: Objection to                    16:10:13            3           Am I right on that?                16:11:41
    4      form.                                16:10:14                          4           MR. O'CONNOR: Objection to the                16:11:42
    5           THE WITNESS: I remember seeing                  16:10:14          5      form.                               16:11:44
    6      something about there was a problem in              16:10:15           6           THE WITNESS: I don't remember                 16:11:44
    7      the coal mining town.                     16:10:17                     7      about it being any specific products.           16:11:44
    8 QUESTIONS BY MS. HERZFELD:                                      16:10:18    8      I remember that there was a problem in            16:11:46
    9      Q.      Okay. Do you remember where                 16:10:19           9      coal mining towns with drug abuse.               16:11:47
   10 you saw that?                                16:10:20                      10 QUESTIONS BY MS. HERZFELD:                                  16:11:49
   11      A.      On -- I believe it was a news           16:10:21              11      Q.      Okay. Do you remember it being            16:11:50
   12 show.                                     16:10:25                         12 opioid abuse?                              16:11:51
   13      Q.      Okay. And do you think that              16:10:25             13      A.      I don't remember.                16:11:51
   14 was during your time of employment at                    16:10:26          14      Q.      Okay. And so based on that             16:11:53
   15 Mallinckrodt?                                16:10:28                      15 show that you saw at the time that you were             16:11:55
   16      A.      Yes.                         16:10:29                         16 employed at Mallinckrodt, did you take any               16:11:57
   17      Q.      Okay. And did you do anything              16:10:30           17 steps in your job at Mallinckrodt to focus on 16:11:59
   18 in response to learning that information?               16:10:32           18 coal mining areas?                           16:12:04
   19      A.      No.                          16:10:34                         19      A.      No, I did not.                 16:12:06
   20      Q.      Okay. Okay. Marking the next              16:10:36            20      Q.      Okay. Did you talk to anybody           16:12:07
   21 document here. I'm not sure this one --                16:10:51            21 at Mallinckrodt about that show you saw?                16:12:09
   22      A.      I think -- but wait a minute.       16:10:54                  22      A.      No, I did not.                 16:12:11
   23 I think I should clarify. What did you mean, 16:10:55                      23      Q.      Did you send any e-mails?              16:12:11
   24 did I do anything in response to that                 16:10:57             24      A.      No, I did not.                 16:12:13
   25 information? Because I could have done a lot 16:10:58                      25      Q.      Did you take any steps as part         16:12:14

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    1 of your position in the suspicious order            16:12:15             1 meeting?                                16:14:12
    2 monitoring team to monitor coal mining areas               16:12:18      2      A.      Not that I recall.          16:14:12
    3 for prescription abuse?                      16:12:21                    3      Q.      Okay. Very good. Moving on.            16:14:13
    4            MS. HERZFELD: Objection to                16:12:22            4            Okay. And I think before, we        16:14:18
    5       form.                           16:12:23                           5 talked about you were involved in the               16:14:23
    6            THE WITNESS: My role in the               16:12:23            6 indirect customer review subteam; is that            16:14:26
    7       suspicious order monitoring team was           16:12:25            7 correct?                               16:14:29
    8       peripheral. I was not part of the          16:12:27                8            MR. O'CONNOR: Objection to                16:14:29
    9       core team that established the policy        16:12:28              9      form.                         16:14:30
   10       or understood the government acts.            16:12:30            10            THE WITNESS: Yes.                   16:14:30
   11 QUESTIONS BY MS. HERZFELD:                                   16:12:33   11 QUESTIONS BY MS. HERZFELD:                                16:14:31
   12       Q.      Okay. My question is: Did you         16:12:33            12      Q.      Okay. And what did the            16:14:31
   13 take any steps in your role as being even on          16:12:34          13 indirect customer review subteam do?                 16:14:33
   14 the periphery of the suspicious order              16:12:37             14      A.      That was the team that -- which       16:14:36
   15 monitoring team to monitor coal mining areas               16:12:39     15 we were providing additional information              16:14:40
   16 for prescription abuse?                      16:12:41                   16 about chargebacks, if they wanted to know how 16:14:41
   17       A.      No.                     16:12:43                          17 were chargebacks run or generated.                 16:14:44
   18       Q.      Okay. What about in your            16:12:44              18      Q.      Okay. And you were providing           16:14:46
   19 personal life? Did you send anybody an                16:12:46          19 that information to whom?                      16:14:50
   20 e-mail about, "Hey, I saw this show"?                16:12:48           20      A.      To the suspicious order         16:14:52
   21       A.      No.                     16:12:51                          21 monitoring team.                          16:14:55
   22       Q.      Okay. Did you have any              16:12:51              22      Q.      And that would be the core           16:14:56
   23 discussions with anybody about the show?                16:12:52        23 folks on that team?                       16:14:58
   24       A.      Not that I recall.          16:12:54                      24      A.      Correct.                   16:14:59
   25       Q.      Okay. Did you take any steps         16:12:55             25      Q.      Okay. So you were kind of the         16:15:00

                                                                  Page 295                                                               Page 297
    1 because you saw that show?                        16:12:57               1 number crunchers explaining things to the             16:15:01
    2       A.      Not that I recall.          16:12:58                       2 team that was the core part of the suspicious 16:15:04
    3       Q.      Okay. So we're moving on to          16:13:01              3 order monitoring team?                       16:15:06
    4 the next document here. This one may already 16:13:03                    4            MR. O'CONNOR: Objection to                16:15:06
    5 be an exhibit. I'm not 100 percent positive, 16:13:06                    5      form.                         16:15:08
    6 so I apologize if I'm doubling up.                16:13:08               6            THE WITNESS: Correct.                  16:15:08
    7            (Mallinckrodt-Collier Exhibit          16:13:10               7 QUESTIONS BY MS. HERZFELD:                                16:15:09
    8       39 marked for identification.)             16:13:10                8      Q.      Okay. And do you know who else          16:15:09
    9            MS. HERZFELD: For those on the             16:13:20           9 was a member of the indirect customer review            16:15:12
   10       phone, it's MNK_TNSTA05296154.                    16:13:20        10 subteam?                                16:15:14
   11 QUESTIONS BY MS. HERZFELD:                                   16:13:29   11      A.      I don't recall.            16:15:15
   12       Q.      Do you recognize this document,        16:13:42           12      Q.      Okay.                     16:15:29
   13 ma'am?                                 16:13:44                         13            (Mallinckrodt-Collier Exhibits      16:15:29
   14       A.      No, I do not.              16:13:44                       14      40 and 41 marked for identification.)         16:15:37
   15       Q.      Okay. What does it appear to         16:13:47             15 QUESTIONS BY MR. GOTTO:                                16:15:37
   16 be?                                  16:13:53                           16      Q.      Okay. I'm going to hand you          16:15:37
   17       A.      It appears that the people that    16:13:53               17 two different documents, but I will submit to 16:15:38
   18 are core members of the SOM team, this was                 16:13:57     18 you that one is an e-mail and the other one          16:15:41
   19 the meeting and they were -- this was the            16:13:59           19 is an attachment to the e-mail. Okay? Just           16:15:42
   20 agenda for the meeting.                         16:14:01                20 so everybody knows what I'm doing here.               16:15:44
   21       Q.      Okay. And this would have been         16:14:02           21            MS. HERZFELD: The e-mail is              16:15:55
   22 for the core team, not for people on the            16:14:03            22      MNK-T1_0007251678.                           16:15:56
   23 periphery?                              16:14:06                        23            And we're separately going to       16:16:14
   24       A.      I would assume so.                16:14:07                24      mark the next one, which is             16:16:16
   25       Q.      Okay. You didn't attend this        16:14:10              25      MNK-T1_0007251679.                           16:16:26

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                                                             Page 298                                                            Page 300
    1 QUESTIONS BY MS. HERZFELD:                               16:16:49    1       A. Yes.                         16:18:31
    2      Q.    Okay. If you'll take a look at    16:16:49                2       Q. Okay. And if you'll turn with 16:18:31
    3 the e-mail for me, please, ma'am, Exhibit 40. 16:16:51               3   me then to the attachment, the one that ended 16:18:33
    4           This appears to be an e-mail       16:16:58                4   Bates number 1679 on the top.                 16:18:37
    5 from Debbie Digby to Karen Harper, you and             16:16:59      5             Okay. Now looking at the top 16:18:40
    6 some other folks; is that correct?            16:17:03               6   of this it says, "Customer sourcing oxy 15 16:18:49
    7      A.    Correct.                    16:17:05                      7   and 30 from more than two distributors."         16:18:52
    8      Q.    Okay. And the subject is          16:17:06                8             Did I read that correctly?      16:18:55
    9 "forward April indirect suspicious order           16:17:09          9       A. Yes.                         16:18:57
   10 monitoring reports."                      16:17:11                  10       Q. Right there. Yeah, and right 16:18:58
   11           Did I read that correctly?        16:17:12                11   here at the top, if you look right there.     16:18:59
   12      A.    Yes.                      16:17:13                       12       A. It says, "Customer sourcing oxy 16:19:01
   13      Q.    Okay. And then the date it was         16:17:14          13   15, 30 from all distributors."             16:19:05
   14 sent was May 31, 2011; is that right?             16:17:16          14       Q. Oh, you're right. It does.         16:19:06
   15      A.    Correct.                    16:17:18                     15   That is correct.                      16:19:07
   16      Q.    Okay. And on -- I think we         16:17:19              16             Did you create this document? 16:19:08
   17 already talked about who Debbie Digby was.             16:17:22     17       A. No, I did not.                  16:19:09
   18 Karen Harper has been discussed.                  16:17:25          18       Q. Okay. And were you responsible 16:19:11
   19           Who is Suzanne Pea?               16:17:27                19   for maintaining it?                     16:19:12
   20      A.    I believe Suzanne Pea was          16:17:30              20       A. No, I was not.                   16:19:13
   21 involved in chargebacks.                    16:17:37                21       Q. Okay. Did you use the                16:19:14
   22      Q.    Okay. Was there a specific         16:17:38              22   information that was contained within this 16:19:16
   23 department for chargebacks?                   16:17:39              23   document to assist you with your -- to assist 16:19:20
   24      A.    There was a contract admin           16:17:40            24   you with your job duties?                  16:19:25
   25 team.                              16:17:42                         25       A. No, I did not.                  16:19:27

                                                        Page 299                                                                    Page 301
    1       Q. Okay.                        16:17:42                       1      Q.      Okay. And why did you receive         16:19:28
    2       A. Contract administration.           16:17:42                 2 this information?                       16:19:29
    3       Q. And do you know who was part of 16:17:44                    3      A.      Just so I had general        16:19:30
    4   that team?                          16:17:47                       4 knowledge.                             16:19:33
    5       A. Carol actually was. I thought 16:17:47                      5      Q.      Okay. And why was it important        16:19:34
    6   she was customer service, but she was part of 16:17:53             6 for you to have general knowledge?                16:19:36
    7   the contract administration team.           16:17:56               7           MR. O'CONNOR: Objection to               16:19:38
    8       Q. Okay. Do you recall anybody           16:17:57              8      form.                           16:19:38
    9   else who was a member of that team?            16:17:58            9           THE WITNESS: Most items that             16:19:39
   10       A. No.                         16:17:59                       10      affected the customers or the          16:19:41
   11       Q. Okay. And so here it looks          16:18:00               11      products, I was part of the           16:19:45
   12   like "all attached are the April monthly SOM 16:18:02             12      information trail.                 16:19:46
   13   reports."                          16:18:06                       13 QUESTIONS BY MS. HERZFELD:                              16:19:47
   14            SOM there stands for suspicious 16:18:07                 14      Q.      Okay. And what do you mean,           16:19:47
   15   order monitoring; is that right?          16:18:13                15 "information trail"?                     16:19:49
   16       A. Yes.                        16:18:13                       16      A.      If there was any communication       16:19:49
   17       Q. And then it looks like there's 16:18:13                    17 about the customers or the products, so that       16:19:51
   18   customer service -- or I'm sorry. Number one 16:18:16             18 I wouldn't be blindsided, I would have that        16:19:55
   19   is customer sourcing of greater than two       16:18:18           19 information at some point. They would share           16:19:57
   20   distributors; two, state concentration      16:18:21              20 that information with me.                   16:19:58
   21   report; and three, summary report by          16:18:23            21           I also was part of the         16:19:59
   22   distributor compared to all products         16:18:25             22 peripheral that helped them understand             16:20:01
   23   distributed, one for oxy and one for hydro 16:18:27               23 chargebacks, and so it may have been that           16:20:04
   24   APAP.                               16:18:29                      24 they need me to have knowledge of this report 16:20:06
   25            Did I read that correctly?     16:18:30                  25 in case they had further questions on it.       16:20:08

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                                                                Page 302                                                         Page 304
    1           But I was at that point no         16:20:10                 1       A. Not within my group, it was           16:21:32
    2 longer involved in doing any assistance on            16:20:12        2   not.                              16:21:35
    3 this level. This was Debbie.                  16:20:14                3       Q. Okay. But you're familiar with 16:21:35
    4      Q.      Okay. When you say "assistance          16:20:17         4   how to read chargeback data; is that correct, 16:21:36
    5 on this level," what do you mean?                 16:20:19            5   ma'am?                               16:21:41
    6      A.      Running these types of reports.      16:20:20            6       A. It is not my expertise, but I 16:21:41
    7      Q.      Okay. Debbie was doing that?           16:20:22          7   am familiar with it, yes.                16:21:43
    8      A.      Yes.                    16:20:23                         8       Q. Okay. So if you'll switch with 16:21:44
    9      Q.      Okay. And what was Debbie's             16:20:23         9   me to the -- I'm sorry, there's no page       16:21:45
   10 position?                              16:20:25                      10   numbers here.                          16:21:47
   11      A.      She was a senior analyst.         16:20:25              11       A. You can give me the line number 16:21:49
   12      Q.      Okay. And so if you were           16:20:28             12   on the left.                        16:21:51
   13 forwarded these reports, would you read them            16:20:30     13       Q. 2352 is the very bottom. This 16:21:52
   14 and crunch the numbers?                        16:20:32              14   one, actually, believe it or not, says      16:22:00
   15           MR. O'CONNOR: Objection to                 16:20:34        15   page 1. Right here it says page 1. Yep,        16:22:02
   16      form.                          16:20:35                         16   right there.                        16:22:04
   17           THE WITNESS: I have no idea                16:20:36        17       A. Here? Okay.                      16:22:04
   18      what I'd do with them, if I ever did       16:20:38             18       Q. Yep.                         16:22:05
   19      that.                        16:20:41                           19            Okay. Do you see where I'm at? 16:22:06
   20 QUESTIONS BY MS. HERZFELD:                                16:20:41   20       A. Yes.                         16:22:07
   21      Q.      Okay. Do you know if someone             16:20:42       21       Q. Okay. So I will represent to 16:22:08
   22 was responsible for looking at these reports          16:20:42       22   you that we've sorted this database that       16:22:11
   23 to make a determination if an order appeared           16:20:44      23   we've received, this spreadsheet by           16:22:13
   24 suspicious?                              16:20:47                    24   Tennessee, so I would let you know that this 16:22:15
   25      A.      That would be suspicious order         16:20:47         25   has been sorted by Tennessee.                16:22:17

                                                                Page 303                                                       Page 305
    1 monitoring team.                           16:20:52                   1            Okay?                       16:22:18
    2      Q.      Okay. And so nobody ever told           16:20:52         2       A. Okay.                          16:22:19
    3 you the purpose as to why you received this            16:20:54       3       Q. So looking at this, I just want 16:22:19
    4 report?                             16:20:56                          4   to go through and look at some of the numbers 16:22:22
    5      A.      For information.               16:20:57                  5   here for Tennessee to see if I can understand 16:22:24
    6      Q.      Okay. And the information that         16:20:59          6   it.                               16:22:27
    7 I have says you're the custodian of this            16:21:01          7            If you could go with me,          16:22:28
    8 report.                            16:21:03                           8   please -- okay. So the first one on this      16:22:42
    9           Do you know why it's in your          16:21:03              9   spreadsheet appears to be Lowe's Drug in          16:22:44
   10 custodian file?                           16:21:04                   10   Maryville, Tennessee; is that correct?         16:22:48
   11      A.      I have no idea. I don't know      16:21:06              11       A. Yes.                          16:22:50
   12 what they meant by that.                     16:21:07                12       Q. Okay. And it has a ZIP code            16:22:51
   13      Q.      Okay. Do you know when                 16:21:10         13   there, and it says that it sold the apparent 16:22:53
   14 Mallinckrodt began monitoring customers that             16:21:12    14   customer name Cardinal Health.                 16:22:57
   15 sourced from more than one distributor?               16:21:17       15            Would that be the distributor? 16:22:58
   16           MR. O'CONNOR: Objection to the               16:21:20      16       A. Yes.                          16:22:59
   17      form.                          16:21:21                         17       Q. Okay. And then it says, "gross 16:22:59
   18           THE WITNESS: That was stated                16:21:21       18   sales, 19,934.4."                      16:23:01
   19      earlier, that it was after Sunrise       16:21:24               19            Do you know if that's meant to 16:23:06
   20      Medical.                          16:21:26                      20   be dollars or units?                    16:23:08
   21 QUESTIONS BY MS. HERZFELD:                                16:21:26   21       A. That's dollars.                 16:23:09
   22      Q.      Okay. But that didn't occur       16:21:26              22       Q. That's dollars. Okay.              16:23:11
   23 before Sunrise Medical; is that correct?             16:21:28        23            And then it says, "DISP           16:23:12
   24      A.      No.                    16:21:29                         24   units" -- I'm guessing that's dispensing       16:23:15
   25      Q.      Okay.                     16:21:31                      25   units -- "62,000."                      16:23:19

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    1            Do you know what the dispensing 16:23:19                  1      Q.      Okay. Did you ever hear of       16:25:02
    2   units are here?                      16:23:21                      2 anybody talking about, "Hey, maybe we should            16:25:03
    3       A. That would be tablets.            16:23:21                  3 be looking at different population numbers           16:25:06
    4       Q. Tablets. Okay.                  16:23:22                    4 for where pills are going"?                 16:25:07
    5            And do you happen to know the       16:23:24              5           MR. O'CONNOR: Objection.               16:25:08
    6   population of Maryville, Tennessee?            16:23:26            6           THE WITNESS: Not that I'm             16:25:09
    7       A. I have no clue.                16:23:28                     7      aware of.                      16:25:10
    8       Q. Okay. And then looking at the 16:23:31                      8 QUESTIONS BY MS. HERZFELD:                               16:25:10
    9   next one, Food City in Knoxville, Tennessee, 16:23:34              9      Q.      Okay. At any point in your       16:25:10
   10   DBS Trading, that's Masters Pharmaceuticals, 16:23:38             10 time at Mallinckrodt were you trained to          16:25:17
   11   and then gross sales there at 8,068 and then 16:23:41             11 recognize various signs of diversion?           16:25:19
   12   dispensing units 40,000; is that correct?     16:23:44            12      A.      The only thing that we were       16:25:22
   13       A. Correct.                     16:23:47                      13 made aware of is that -- if there were         16:25:24
   14       Q. Okay. And so I guess I want to 16:23:48                    14 unusually large orders or peculiar orders.       16:25:26
   15   make sure I really understand the chargeback 16:23:50             15      Q.      Okay. And how can you tell if      16:25:28
   16   data.                            16:23:52                         16 something is an unusually large order,           16:25:30
   17            Gross sales, is that how much     16:23:52               17 according to your training?                  16:25:32
   18   money Mallinckrodt gets after the chargeback? 16:23:56            18      A.      From what -- I wouldn't have      16:25:34
   19       A. That is the sale -- yes, after 16:24:00                    19 visibility to the orders, so I wouldn't know     16:25:37
   20   the chargeback, but not including any         16:24:04            20 if something was an unusually large order or         16:25:39
   21   rebates, fees, discounts or allowances.      16:24:07             21 suspicious -- I say "peculiar" only because       16:25:43
   22       Q. Okay. Okay. So then if you'll 16:24:10                     22 we used the word "peculiar" today. But it         16:25:46
   23   go with me the third one that is labeled 225, 16:24:13            23 would be if something was -- they were            16:25:49
   24   Riggs Drugs in La Follette, Tennessee.         16:24:16           24 ordering too frequently, too often, compared         16:25:50
   25   Cardinal Health, $10,855.84, and 38,000 DISP 16:24:19             25 to what they usually did. They were ordering 16:25:52

                                                              Page 307                                                               Page 309
    1 units, dispensing units.                   16:24:27                  1 too much. They were ordering not to the           16:25:54
    2           Did I read that correctly?       16:24:29                  2 levels that they said they used to purchase.     16:25:58
    3      A.      Yes.                   16:24:30                         3      Q.      Okay. And that wasn't within      16:26:00
    4      Q.      Okay. Do you know what the            16:24:31          4 the purview of your responsibility to look       16:26:02
    5 population is of La Follette, Tennessee?           16:24:33          5 for those things?                     16:26:03
    6      A.      No.                    16:24:36                         6      A.      Correct.                16:26:04
    7      Q.      Okay. And do you know if             16:24:38           7      Q.      Okay. Okay. Did they -- were       16:26:05
    8 someone was responsible for looking at the            16:24:38       8 you taught while you were at Mallinckrodt of          16:26:13
    9 population of these various locations?             16:24:41          9 any other potential signs of diversion other     16:26:15
   10           MR. O'CONNOR: Objection to                16:24:43        10 than frequency, I think you said, and volume? 16:26:17
   11      form.                          16:24:44                        11           MR. O'CONNOR: Objection to             16:26:20
   12           THE WITNESS: I don't know                16:24:44         12      form.                         16:26:21
   13      anybody that would do that, that would         16:24:45        13           THE WITNESS: It wasn't in my           16:26:22
   14      have time to do that.                16:24:49                  14      job, so they didn't need to teach me      16:26:25
   15 QUESTIONS BY MS. HERZFELD:                               16:24:50   15      that.                        16:26:28
   16      Q.      Okay. Was that anything that         16:24:50          16 QUESTIONS BY MS. HERZFELD:                               16:26:29
   17 was ever discussed in a suspicious order            16:24:52        17      Q.      Okay. And I guess I would have      16:26:29
   18 monitoring team meeting when you were                 16:24:56      18 expected perhaps there would have been some             16:26:30
   19 present?                               16:24:59                     19 discussion of signs of diversion at the         16:26:32
   20      A.      Not when I was --             16:24:59                 20 suspicious order monitoring team meetings.           16:26:35
   21           MR. O'CONNOR: Objection.                 16:25:00         21           Did that not occur?             16:26:36
   22      Form.                          16:25:01                        22           MR. O'CONNOR: Objection to             16:26:37
   23           THE WITNESS: Oh, I'm sorry.              16:25:01         23      form.                         16:26:38
   24           Not when I was present.           16:25:01                24           THE WITNESS: I don't recall           16:26:38
   25 QUESTIONS BY MS. HERZFELD:                               16:25:01   25      everything that was discussed in the       16:26:40

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    1      meetings. So I'm sure there was some          16:26:41         1           (Mallinckrodt-Collier Exhibit        16:29:28
    2      discussion; otherwise, I wouldn't have       16:26:43          2      42 marked for identification.)           16:29:29
    3      recalled two items.                 16:26:45                   3 QUESTIONS BY MS. HERZFELD:                                16:29:29
    4 QUESTIONS BY MS. HERZFELD:                              16:26:45    4      Q.      Okay. Okay. We'll mark the            16:29:29
    5      Q.    Okay. Do you recall anybody            16:26:46          5 next exhibit 42. This is Bates                16:29:30
    6 talking about potential signs of diversion         16:26:47         6 MNK-T1_0007251680. Okay. If you'll take a                16:29:42
    7 being a percentage of cash sales?                16:26:50           7 look at this document for me, please.               16:29:56
    8      A.    No, I don't recall that.       16:26:53                  8           Okay. Do you recognize this          16:30:10
    9      Q.    Okay. What about on a             16:26:56               9 document?                                16:30:11
   10 concentration of pharmacies in a particular         16:26:59       10      A.      No, I do not.                16:30:12
   11 area that are all high prescribing oxy           16:27:00          11      Q.      Okay. Do you think you've ever         16:30:13
   12 pharmacies, did anybody ever discuss that?           16:27:05      12 seen it before?                          16:30:14
   13           MR. O'CONNOR: Objection.                 16:27:07        13      A.      I may have.                  16:30:15
   14      Form.                            16:27:08                     14      Q.      Okay. Do you know if you were           16:30:16
   15           THE WITNESS: We wouldn't have              16:27:08      15 involved in creating it?                    16:30:18
   16      that information, nor would we have           16:27:09        16      A.      I doubt that I was involved       16:30:19
   17      the information about cash sales.           16:27:10          17 creating it.                            16:30:23
   18 QUESTIONS BY MS. HERZFELD:                              16:27:12   18      Q.      Okay. Do you think perhaps you          16:30:24
   19      Q.    Okay. And when you say "we              16:27:12        19 had input into the chart at all?              16:30:25
   20 wouldn't have that information," who do you           16:27:14     20      A.      Possibly. Someone on my team            16:30:27
   21 mean by "we"?                            16:27:16                  21 might have had it.                         16:30:34
   22      A.    The marketing team.              16:27:17               22      Q.      Okay. And this chart is          16:30:34
   23      Q.    The marketing team. Okay.             16:27:18          23 labeled "State concentration, oxy 15 and 30,          16:30:36
   24           But somebody else in             16:27:20                24 April 2011"; is that correct?                16:30:39
   25 Mallinckrodt may have that information?              16:27:21      25      A.      Yes.                       16:30:40

                                                             Page 311                                                                Page 313
    1      A.      I have no idea.            16:27:22                    1      Q.      Okay. And so with this chart,         16:30:46
    2      Q.      Okay.                    16:27:22                      2 would this show that Mallinckrodt was                 16:30:49
    3      A.      I don't know how they would get 16:27:23               3 monitoring the percentage of each distributor 16:30:52
    4   it.                             16:27:24                          4 shipments going to the various states; is           16:30:55
    5       Q. Okay. Okay. Going back to our 16:27:24                     5 that right?                             16:30:57
    6   chart here. Okay. So I think the last one 16:27:31                6           MR. O'CONNOR: Objection to                 16:30:57
    7   we talked about was the one in La Follette. 16:27:50              7      form.                          16:30:58
    8   That's Riggs.                        16:27:53                     8           THE WITNESS: At this                 16:30:58
    9             And then at 334 we have         16:27:53                9      particular -- on this particular        16:30:59
   10   Ripptoe, Inc., in Morristown, Tennessee. And 16:27:56            10      report, yes.                       16:31:00
   11   there it says, sold the apparent customer     16:27:59           11 QUESTIONS BY MS. HERZFELD:                                16:31:01
   12   number AmerisourceBergen Health 11,144.4,           16:28:02     12      Q.      Okay. And so included within           16:31:01
   13   dispensing units, 31,200.                16:28:08                13 that question is, Mallinckrodt was monitoring 16:31:06
   14             Do you see where I'm at?        16:28:11               14 the percentage of each distributor's               16:31:08
   15       A. Yes.                        16:28:12                      15 shipments going to Tennessee, at least in            16:31:11
   16       Q. Okay. And so that would be            16:28:12            16 April of 2011, according to this chart; is          16:31:14
   17   gross sales, $10,855.84, and the units are    16:28:14           17 that correct?                           16:31:16
   18   38,000; is that correct?                16:28:20                 18           MR. O'CONNOR: Objection to                 16:31:16
   19       A. Correct.                     16:28:20                     19      form.                          16:31:19
   20       Q. Okay. And do you know what the 16:28:21                   20           THE WITNESS: Correct.                    16:31:20
   21   population of Morristown, Tennessee, is?        16:28:22         21 QUESTIONS BY MS. HERZFELD:                                16:31:21
   22       A. I have no idea.                16:28:25                   22      Q.      Okay. And how was this            16:31:21
   23       Q. Okay.                        16:28:26                     23 document used by the indirect customer review 16:31:22
   24       A. I don't even know what the           16:28:26             24 team, if at all?                        16:31:23
   25   population of St. Louis is, so...         16:28:27               25      A.      I'm not sure.                16:31:25

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    1      Q.      Okay. Do you know if               16:31:30               1       Q. Okay. And so hydro APAP, is             16:34:11
    2 Mallinckrodt was seeking to reduce the              16:31:35           2   that also hydrocodone?                    16:34:14
    3 concentration of oxycodone in Florida?              16:31:37           3       A. Yes.                        16:34:15
    4      A.      Yes.                    16:31:40                          4       Q. Okay. And so looking at this          16:34:16
    5      Q.      Okay. Do you know if               16:31:42               5   chart, is this a chart that you would have     16:34:18
    6 Mallinckrodt was seeking to reduce the              16:31:45           6   had input in creating or maintaining?         16:34:22
    7 concentration of oxycodone in Tennessee?              16:31:47         7       A. I would not have created this. 16:34:25
    8      A.      I do not remember that being a      16:31:50              8   I might have had input, but I'm not sure I     16:34:28
    9 topic of discussion.                     16:31:53                      9   did.                              16:34:31
   10      Q.      Okay. Other than Florida, do        16:31:55             10       Q. Okay.                        16:34:31
   11 you recall any other states being a topic of       16:31:57           11       A. Because this was taken over by 16:34:32
   12 discussion for the target of the reduction of 16:31:59                12   suspicious order monitoring.               16:34:34
   13 oxycodone concentration by state?                 16:32:03            13       Q. Okay. But you were employed by 16:34:35
   14      A.      I don't recall that.        16:32:04                     14   Mallinckrodt in April of 2010; is that        16:34:37
   15      Q.      Okay. Okay. And in this            16:32:07              15   correct?                           16:34:38
   16 chart, do you know if population was               16:32:13           16       A. Yes, I was.                    16:34:38
   17 considered at all?                       16:32:15                     17       Q. Okay. And if you'll take a          16:34:39
   18           MR. O'CONNOR: Objection to                16:32:17          18   look with me here, do you know if this chart 16:34:41
   19      form.                          16:32:19                          19   is created using chargeback data?            16:34:48
   20           THE WITNESS: Most likely not,             16:32:20          20       A. I would assume so --               16:34:50
   21      because we wouldn't know the                16:32:21             21       Q. Okay.                        16:34:56
   22      population.                       16:32:23                       22       A. -- yes.                     16:34:56
   23 QUESTIONS BY MS. HERZFELD:                                 16:32:23   23       Q. And so looking at this chart         16:34:56
   24      Q.      You wouldn't know the              16:32:24              24   here, if you go down with me to the line for 16:34:59
   25 population of a state?                     16:32:24                   25   Tennessee, which is 51?                   16:35:03

                                                               Page 315                                                                  Page 317
    1      A.      Yeah. At any given time, no.        16:32:25              1      A.      Yes.                      16:35:08
    2           (Mallinckrodt-Collier Exhibit         16:32:36               2      Q.      Okay. And then you see the           16:35:08
    3      43 marked for identification.)            16:32:36                3 various percentages. I know it's kind of           16:35:09
    4 QUESTIONS BY MS. HERZFELD:                                 16:32:36    4 hard to line up.                        16:35:12
    5      Q.      Okay. The next one is 43.          16:32:37               5           What are the -- do you know           16:35:13
    6           For those on the phone, it's        16:32:51                 6 what the percentages are indicating?               16:35:14
    7 MNK-T1_0007251681.                               16:32:55              7      A.      My -- I don't know. I'd have       16:35:18
    8           The type is very small, so my         16:32:58               8 to look at this more carefully because I'm          16:35:23
    9 apologies for that.                      16:33:22                      9 not sure.                             16:35:26
   10           Okay. And so is this the --         16:33:42                10      Q.      Okay. But the percentages are        16:35:27
   11 what I've handed you, is this the -- the         16:33:43             11 indicating something regarding each one of           16:35:29
   12 similar type of chart, a state concentration       16:33:46           12 these distributors; is that correct?           16:35:33
   13 chart?                              16:33:50                          13           MR. O'CONNOR: Objection to                16:35:35
   14           MR. O'CONNOR: Objection to                16:33:50          14      form.                           16:35:36
   15      form.                          16:33:52                          15           THE WITNESS: Yes.                     16:35:37
   16           THE WITNESS: Yes.                     16:33:53              16 QUESTIONS BY MS. HERZFELD:                                 16:35:39
   17 QUESTIONS BY MS. HERZFELD:                                 16:33:53   17      Q.      It's broken out by distributor;   16:35:40
   18      Q.      Okay. And so looking at this        16:33:54             18 is that right?                         16:35:42
   19 title here it says, "State concentration         16:33:55             19      A.      Yes.                      16:35:42
   20 hydro APAP, April 2010 data."                    16:33:58             20      Q.      Okay. And so you have it           16:35:42
   21           Did I read that correctly?          16:34:02                21 broken down by state and you have it broken           16:35:44
   22      A.      Yes.                    16:34:03                         22 down by distributor in dealing with hydro            16:35:46
   23      Q.      Okay. And hydro APAP is what?          16:34:03          23 APAP in April of 2010; is that correct?            16:35:51
   24      A.      It's a Schedule II pain med --     16:34:06              24      A.      Correct.                  16:35:52
   25 a Schedule III pain medication at this time.        16:34:10          25      Q.      And it says based on units; is     16:35:52

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    1 that right?                           16:35:55                        1 QUESTIONS BY MS. HERZFELD:                                   16:37:17
    2       A. Yes.                         16:35:55                        2       Q.      Okay. But I would like to have       16:37:17
    3       Q. Okay. And so if you look with 16:35:55                       3 your guess because I think it's probably more 16:37:18
    4   me at Tennessee, I want you to go over to         16:35:57          4 educated than mine in this matter. I've             16:37:20
    5   McKesson. If you look at Tennessee and             16:35:59         5 never seen these charts before.                  16:37:22
    6   McKesson in this itty-bitty little line, it 16:36:04                6            So can you guess what you think         16:37:23
    7   says 10.7 percent.                     16:36:08                     7 that these -- I'm just trying to understand         16:37:25
    8           Do you see where I'm at?            16:36:09                8 what it is.                            16:37:27
    9       A. I don't see a 10.7. I see          16:36:11                  9            MR. O'CONNOR: Objection to                16:37:28
   10   McKesson.                             16:36:17                     10       form.                           16:37:29
   11       Q. Okay. You see McKesson.                 16:36:17            11            THE WITNESS: Okay. Give me a                   16:37:30
   12       A. Oh, I see it now. I'm sorry, I 16:36:18                     12       minute. I'll calculate what these          16:37:33
   13   was on the wrong line.                     16:36:20                13       percentages add up to --                 16:37:34
   14       Q. Do you see it?                   16:36:21                   14 QUESTIONS BY MS. HERZFELD:                                   16:37:36
   15       A. Yes.                         16:36:21                       15       Q.      Great.                   16:37:37
   16       Q. Okay. Do you know what that              16:36:22           16       A.      -- and I might be able to come       16:37:38
   17   10.7 represents for McKesson?                  16:36:23            17 up with something.                             16:37:39
   18           MR. BENSON: Object to form.              16:36:23          18       Q.      I might be able to shortcut it     16:37:40
   19           THE WITNESS: No, I do not,              16:36:24           19 for you a little bit.                    16:37:41
   20       because I don't know what those            16:36:25            20            If you look all the way at the       16:37:42
   21       percentages represent.                16:36:28                 21 bottom, it has a grand total. And it looks          16:37:45
   22           MS. HERZFELD: I'm sorry, who 16:36:28                      22 like the bottom of every one is totaled up to 16:37:49
   23       objected?                        16:36:30                      23 100 percent.                             16:37:52
   24           MR. BENSON: (Hand gestures.) 16:36:30                      24            Do you see?                   16:37:52
   25           MS. HERZFELD: Who are you?                16:36:31         25       A.      Yes. Okay.                  16:37:53

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    1           MR. BENSON: Fred Benson for              16:36:33           1       Q.      So if you look at McKesson and        16:37:54
    2      McKesson.                         16:36:33                       2 you look at Tennessee, and if you add all            16:37:57
    3           MS. HERZFELD: You're from                16:36:34           3 those up, it gets to a hundred percent.            16:38:02
    4      McKesson. Okay.                         16:36:35                 4            So I'm looking at this and           16:38:04
    5           But I don't think you           16:36:35                    5 saying, is it that McKesson is 10.7 percent          16:38:07
    6      cross-noticed this deposition, so I'm      16:36:36              6 of their sales of hydro APAP in April 2010            16:38:14
    7      going to object to your objection.         16:36:38              7 were in Tennessee based on this chart?               16:38:21
    8      Okay? You're not a party in our case.       16:36:40             8            MR. O'CONNOR: Object to form.              16:38:23
    9           MR. BENSON: Fair enough.               16:36:43             9            THE WITNESS: That seems to be              16:38:24
   10 QUESTIONS BY MS. HERZFELD:                                16:36:44   10       the case.                        16:38:29
   11      Q.      Okay. So 10.7. Do you know          16:36:44            11 QUESTIONS BY MS. HERZFELD:                                   16:38:31
   12 what that is in relation to McKesson, what         16:36:45          12       Q.      Okay. Thank you.                  16:38:31
   13 that 10.7 represents?                     16:36:47                   13       A.      Uh-huh.                    16:38:32
   14      A.      No, because I don't know what       16:36:51            14       Q.      Do you know anything                16:38:33
   15 the percentages represent.                   16:36:53                15 specifically or -- I'm going to back up.           16:38:45
   16      Q.      Okay. Could it be that that's     16:36:53              16 Strike that.                           16:38:47
   17 10.7 percent of McKesson's hydrocodone APAP                16:37:03 17             Do you know anything about the           16:38:48
   18 of April 2010 going to the state of             16:37:06             18 sales of Mallinckrodt products to the VA?             16:38:49
   19 Tennessee?                             16:37:09                      19            MR. O'CONNOR: Objection to                16:38:51
   20           MR. O'CONNOR: Objection to               16:37:09          20       form.                           16:38:51
   21      form.                          16:37:10                         21            THE WITNESS: No, I don't                16:38:52
   22           THE WITNESS: That would ask me                16:37:10     22       recall.                        16:38:55
   23      to guess, and I would make the             16:37:12             23 QUESTIONS BY MS. HERZFELD:                                   16:38:55
   24      assumption you do not want me               16:37:14            24       Q.      Okay. Were you ever involved          16:38:55
   25      guessing.                       16:37:16                        25 in the sales of Mallinckrodt products to the         16:38:57

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    1 VA?                                 16:38:59                          1       Q. Okay. And did you create this 16:42:12
    2        A. No, I didn't have anything to      16:38:59                 2   document?                           16:42:14
    3   do with sales.                      16:39:02                        3       A. I did not.                  16:42:14
    4        Q. Okay. And when I say "VA," I         16:39:03               4       Q. Okay. Did you have any input 16:42:16
    5   mean Veterans Administration.               16:39:05                5   in this document?                     16:42:18
    6             Do you understand that?        16:39:06                   6       A. I did not.                  16:42:18
    7        A. Yes, I understood that.         16:39:07                    7       Q. Okay. This document is in your 16:42:20
    8        Q. Do you know who would have been 16:39:08                    8   custodian file.                     16:42:22
    9   the person in charge of selling Mallinckrodt 16:39:10               9            Have you seen this document        16:42:22
   10   products to the VA?                    16:39:14                    10   before?                           16:42:23
   11        A. Yes. Rich McKendrick.              16:39:15                11       A. I do not remember seeing this. 16:42:24
   12        Q. Okay. And do you know if Rich 16:39:19                     12       Q. Okay. Well, you're listed as a 16:42:28
   13   McKendrick is still employed by Mallinckrodt? 16:39:22             13   custodian for it, so do you know who would 16:42:29
   14        A. No, he is not.               16:39:24                      14   have been the person who created this         16:42:32
   15        Q. Okay. Do you know where he -- 16:39:25                     15   document?                           16:42:33
   16   if he is employed now?                  16:39:27                   16       A. I'm not sure where this came         16:42:34
   17        A. I don't know.                16:39:28                      17   from, so, no.                      16:42:37
   18        Q. Okay. Do you know if he            16:39:29                18       Q. Okay. Do you know if there was 16:42:38
   19   retired?                          16:39:37                         19   routinely a list of top 150 pharmacies that 16:42:41
   20        A. I don't know.                16:39:38                      20   was kept?                          16:42:44
   21        Q. Okay. Are you in touch with         16:39:39               21       A. No.                        16:42:44
   22   Mr. McKendrick?                        16:39:43                    22       Q. Okay.                       16:42:46
   23        A. Probably if I was, I would know 16:39:44                   23       A. I don't know that either.         16:42:46
   24   what he was doing.                     16:39:46                    24       Q. Okay.                       16:42:48
   25        Q. Okay.                      16:39:47                        25       A. If it was outside my area, I       16:42:48

                                                               Page 323                                                                 Page 325
    1      A.      No.                     16:39:47                         1 wouldn't know if somebody was doing this on a 16:42:51
    2      Q.      Okay. Very good. Okay.             16:39:47              2 regular basis.                           16:42:52
    3           If you give me just one second,       16:40:24              3            And what does it mean that it's     16:42:54
    4 I think I'm almost finished.                 16:40:27                 4 in my custodian?                           16:42:55
    5           Were you involved at all in         16:41:11                5            MS. HERZFELD: There -- maybe I              16:42:58
    6 creating a list of the 150 top pharmacies for 16:41:12                6       should have your lawyer explain that          16:43:00
    7 Mallinckrodt?                           16:41:15                      7       to you.                       16:43:01
    8           MR. O'CONNOR: Objection to               16:41:17           8            MR. O'CONNOR: It simply means               16:43:02
    9      form.                          16:41:18                          9       that it was identified as being in       16:43:04
   10           THE WITNESS: I don't know what            16:41:18         10       your e-mail or electronic files.        16:43:06
   11      you're talking about, so I'd need to       16:41:19             11            THE WITNESS: But not                 16:43:10
   12      see what you're discussing.              16:41:22               12       necessarily generated by me?              16:43:11
   13           (Mallinckrodt-Collier Exhibit        16:41:23              13            MR. O'CONNOR: Exactly right.               16:43:12
   14      44 marked for identification.)           16:41:23               14 QUESTIONS BY MS. HERZFELD:                                 16:43:13
   15           MS. HERZFELD: Okay. I'm not              16:41:25          15       Q.    Okay. But you've potentially        16:43:13
   16      sure if we have made this one an           16:41:26             16 seen this e-mail before -- or this list        16:43:16
   17      exhibit or not yet. 44.             16:41:32                    17 before?                              16:43:18
   18           For those on the phone, this is     16:41:44               18       A.    Possibly.                    16:43:18
   19      MNK_TNSTA05098003.                           16:41:47           19            MR. O'CONNOR: Objection.                 16:43:19
   20 QUESTIONS BY MS. HERZFELD:                                16:41:47   20            THE WITNESS: Possibly.                16:43:19
   21      Q.      So the title of this document     16:42:02              21 QUESTIONS BY MS. HERZFELD:                                 16:43:20
   22 is "Top 150 pharmacies, oxy 30-milligram             16:42:04        22       Q.    Okay. Do you know what this             16:43:20
   23 only, 2009 to 2011 data combined."                16:42:07           23 was used for in your capacity at                16:43:21
   24           Did I read that correctly?         16:42:10                24 Mallinckrodt?                              16:43:23
   25      A.      Yes.                    16:42:10                        25       A.    I do not remember the document,           16:43:24

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    1 so I would not remember what it was used for. 16:43:26                 1           THE WITNESS: Maybe not state                16:46:12
    2      Q.    Okay. Are you disputing that           16:43:36             2      by state. The data were pulled. That          16:46:13
    3 you've ever received this document?                16:43:37            3      does not mean that that's what we were          16:46:15
    4      A.    No.                        16:43:38                         4      reviewing.                         16:46:17
    5      Q.    Okay.                       16:43:40                        5 QUESTIONS BY MS. HERZFELD:                                 16:46:18
    6      A.    I just don't recall it.       16:43:40                      6      Q.      Okay. I don't think I          16:46:18
    7      Q.    Okay. Okay. Exhibit 45.              16:43:43               7 understand your answer.                      16:46:20
    8           (Mallinckrodt-Collier Exhibit         16:44:10               8           I'll back up.                 16:46:20
    9      45 marked for identification.)             16:44:10               9      A.      Okay. Can you ask the question         16:46:21
   10 QUESTIONS BY MS. HERZFELD:                                 16:44:10   10 a different way then?                      16:46:22
   11      Q.    Okay. If you'll look at the        16:45:00                11      Q.      Sure.                    16:46:24
   12 first page, do you recognize this document?          16:45:01         12           Okay. So looking at this, it's     16:46:24
   13      A.    I recognize it as being an         16:45:03                13 oxy -- it says attachments are sales by            16:46:26
   14 e-mail from Lisa Cardetti to me, yes.              16:45:08           14 state, August 30, 2011; is that right?           16:46:32
   15      Q.    Okay. And is it dated             16:45:11                 15      A.      Yes.                     16:46:34
   16 August 30, 2011?                          16:45:13                    16      Q.      Okay. And then, "Ginger, as           16:46:35
   17      A.    Yes.                       16:45:13                        17 requested, I've looked at the past six months 16:46:39
   18      Q.    Okay. And in the e-mail it           16:45:14              18 compared to the prior six months of oxy sales 16:46:40
   19 says, "Ginger, as requested, I've looked at         16:45:16          19 by state."                            16:46:43
   20 past six months compared to the prior six           16:45:19          20           Did I state that correctly?       16:46:46
   21 months of oxy sales by state."                  16:45:21              21      A.      Yes.                     16:46:47
   22           Did I read that correctly?         16:45:22                 22      Q.      Okay. And so looking at these         16:46:48
   23      A.    Yes.                       16:45:23                        23 charts, it was looking at oxy sales by state; 16:46:49
   24      Q.    Do you recall asking Lisa to do        16:45:23            24 is that right?                          16:46:52
   25 this project?                          16:45:27                       25      A.      Yes.                     16:46:52

                                                               Page 327                                                                 Page 329
    1      A.    I don't recall asking her to do      16:45:28               1      Q.      Okay.                      16:46:54
    2 it, no.                              16:45:31                          2      A.      That's what's in the chart.     16:46:54
    3      Q.    Okay. But she's clearly           16:45:32                  3      Q.      Okay. And the charts seem to          16:46:55
    4 responding to something, right?                   16:45:33             4 measure prior six months, past six months,            16:46:59
    5      A.    Right.                      16:45:34                        5 and then column F says percentage change.              16:47:01
    6           MR. O'CONNOR: Objection.                  16:45:35           6           I'm on the page ahead of you.         16:47:04
    7 QUESTIONS BY MS. HERZFELD:                                 16:45:36    7 This one right here.                       16:47:06
    8      Q.    And so looking at that, it        16:45:36                  8      A.      Yes.                     16:47:08
    9 looks like -- if you look at the charts that      16:45:38             9      Q.      And so my question is actually        16:47:12
   10 are attached here, the next couple, there are 16:45:40                10 pretty simple. So as of the date this e-mail 16:47:14
   11 various charts that are broken down by state; 16:45:45                11 was sent, August 30, 2011, Mallinckrodt               16:47:18
   12 is that correct?                        16:45:47                      12 monitored oxy sales by state?                   16:47:22
   13      A.    Yes.                       16:45:47                        13           MR. O'CONNOR: Objection to                 16:47:25
   14      Q.    Okay. And it has to do with           16:45:48             14      form.                           16:47:26
   15 prior six months and the past six months and          16:45:51        15           THE WITNESS: We pulled data by               16:47:26
   16 the percentage of change for oxy sales; is          16:45:53          16      state. I wouldn't say we necessarily          16:47:29
   17 that right?                            16:45:56                       17      monitored it because Lisa -- if she         16:47:31
   18      A.    Yes.                       16:45:56                        18      referred to this, she wasn't looking       16:47:33
   19      Q.    Okay. And so at least as of          16:45:58              19      at many states. She was looking at            16:47:35
   20 the date of this e-mail, during this time,        16:46:01            20      Ohio, California, New York and                16:47:37
   21 Mallinckrodt was looking at the percentage            16:46:06        21      Florida, which were flagged for SLM.            16:47:40
   22 change of oxy sales state by state; is that        16:46:08           22 QUESTIONS BY MS. HERZFELD:                                 16:47:41
   23 right?                               16:46:11                         23      Q.      Okay. So then I will back up.       16:47:42
   24           MR. O'CONNOR: Objection.                  16:46:11          24 I will rephrase my question.                  16:47:43
   25      Form.                            16:46:11                        25      A.      Okay.                      16:47:44

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    1      Q.      So as of August 2011 when these       16:47:44            1      form.                           16:49:08
    2 charts were sent to you from Lisa,               16:47:47              2           MS. HERZFELD: Okay. I'm going               16:49:09
    3 Mallinckrodt had the capability of monitoring 16:47:53                 3      to back up one more time.                  16:49:10
    4 oxy sales by state?                      16:47:55                      4           MR. O'CONNOR: Do you want to                16:49:11
    5           MR. O'CONNOR: Objection to                16:47:56           5      just try that question again? It was        16:49:12
    6      form.                           16:47:57                          6      because you stopped in the middle.            16:49:14
    7           MS. HERZFELD: What's the                 16:47:58            7           MS. HERZFELD: You're objecting             16:49:16
    8      objection?                        16:47:59                        8      because I stopped in the middle?             16:49:16
    9           MR. O'CONNOR: Vague. What                  16:48:00          9           MR. O'CONNOR: Because it                 16:49:18
   10      monitoring means, the capability.           16:48:02             10      became unclear what the question was.          16:49:20
   11 QUESTIONS BY MS. HERZFELD:                                 16:48:07   11           MS. HERZFELD: Okay. We'll be               16:49:22
   12      Q.      Do you understand what             16:48:08              12      really clear this time.             16:49:23
   13 "capability" means, ma'am?                      16:48:09              13 QUESTIONS BY MS. HERZFELD:                                  16:49:24
   14      A.      The ability.               16:48:10                      14      Q.      As of the date that this e-mail    16:49:25
   15      Q.      Okay. And do you understand           16:48:10           15 was sent to you, August 30, 2011,                 16:49:28
   16 what "monitoring" means?                        16:48:11              16 Mallinckrodt was capable of tracking oxy             16:49:34
   17      A.      Well, it could mean any number        16:48:12           17 sales by state; is that correct?               16:49:37
   18 of things. In the context of suspicious           16:48:15            18      A.      Mallinckrodt was capable of          16:49:40
   19 order monitoring? Or were we monitoring               16:48:18        19 running a report by state, yes.                16:49:42
   20 those sales? Which we were not.                   16:48:19            20      Q.      Okay. Do you not understand           16:49:45
   21      Q.      Okay. But my question wasn't         16:48:22            21 what I mean when I say "tracking"?                 16:49:47
   22 "were you." That was my question before.             16:48:24         22      A.      Tracking, to me, would indicate       16:49:49
   23           You said you only knew you were          16:48:26           23 it could be any number of things of what you          16:49:51
   24 monitoring some, right?                       16:48:28                24 were asking.                            16:49:53
   25           So my question now is: Did you          16:48:29            25      Q.      Okay. So you don't understand         16:49:54

                                                               Page 331                                                                   Page 333
    1 have -- did Mallinckrodt have the                16:48:31              1 the term "monitoring" because it can mean a         16:49:56
    2 capability -- which we've determined you            16:48:32           2 lot of things, and tracking seems like it       16:49:58
    3 understand what capability means.                 16:48:33             3   means a lot of things.                  16:50:01
    4           Did Mallinckrodt have the            16:48:35                4            So I just want to know:         16:50:01
    5 capability of monitoring -- let's use a          16:48:36              5   According to this chart, there's 50 states on 16:50:03
    6 different word -- tracking sales of oxy by         16:48:39            6   this chart, correct?                  16:50:04
    7 state?                              16:48:43                           7        A. Correct.                    16:50:06
    8           MR. O'CONNOR: Objection to                16:48:44           8        Q. And also the Virgin Islands, it 16:50:07
    9      form.                           16:48:44                          9   appears, and Puerto Rico, right?            16:50:10
   10           MS. HERZFELD: What is the                16:48:45           10        A. Yes.                       16:50:12
   11      objection?                        16:48:45                       11        Q. So looking at this, the data is 16:50:12
   12           MR. O'CONNOR: Compound.                    16:48:47         12   broken down by state; is that correct?        16:50:14
   13      Vague.                           16:48:49                        13        A. Correct.                    16:50:15
   14           MS. HERZFELD: Okay. We'll                16:48:50           14        Q. Okay. And the percentage            16:50:16
   15      back up and ask it again.                16:48:51                15   change of oxy sales is broken down per state; 16:50:17
   16 QUESTIONS BY MS. HERZFELD:                                 16:48:53   16   is that correct?                    16:50:21
   17      Q.      I'm going to ask it in smaller    16:48:53               17        A. Yes.                       16:50:21
   18 parts so we don't get a compound objection.          16:48:55         18        Q. Okay. And this information           16:50:22
   19 Okay?                                 16:48:57                        19   could have been pulled every month if           16:50:24
   20           Looking at this chart,          16:48:57                    20   Mallinckrodt wanted to pull it as of August 16:50:26
   21 Mallinckrodt, here, according to this chart,       16:48:59           21   2011; is that correct?                 16:50:29
   22 was monitoring sales -- I won't say              16:49:01             22        A. Yes.                       16:50:29
   23 monitoring -- tracking sales by state; is         16:49:04            23            MS. HERZFELD: Okay. Take a              16:50:33
   24 that correct?                          16:49:07                       24        break.                       16:50:34
   25           MR. O'CONNOR: Objection to                16:49:07          25            VIDEOGRAPHER: We are going off 16:50:34

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                                                                           Review
                                                              Page 334                                                       Page 336
    1       the record at 4:50 p m.             16:50:35                  1        form.                        17:00:07
    2        (Off the record at 4:50 p.m.)         16:50:37               2            THE WITNESS: I don't remember 17:00:07
    3            VIDEOGRAPHER: We are back on               16:58:30      3        what CDIG stood for. I thought that     17:00:09
    4       the record at 4:58 p m.             16:58:31                  4        was an acronym for sales reporting.     17:00:13
    5           REDIRECT EXAMINATION                       16:58:36       5   QUESTIONS BY MR. GOTTO:                           17:00:15
    6   QUESTIONS BY MR. GOTTO:                            16:58:37       6        Q. Okay. So you're not familiar       17:00:15
    7       Q. Ms. Collier, just a few           16:58:38                 7   with CDIG as a function at Mallinckrodt?        17:00:16
    8   follow-up questions.                    16:58:38                  8        A. No, I don't remember. And I         17:00:18
    9            If you could look back at        16:58:39                9   know that there was -- CDIG was used in some 17:00:20
   10   Exhibit 45, the document you were just          16:58:40         10   of the memos, but I don't know what it stood 17:00:25
   11   looking at with Ms. Herzfeld.               16:58:44             11   for.                            17:00:27
   12       A. Oh, yes.                      16:58:47                    12        Q. Okay. Okay. I just have a         17:00:27
   13       Q. The e-mail.                    16:58:48                   13   couple more questions for you on some           17:00:29
   14            My question -- the final        16:58:49                14   documents.                          17:00:31
   15   sentence of the first paragraph says, "The      16:58:53         15            (Mallinckrodt-Collier Exhibit     17:00:40
   16   other states that are increasing are        16:58:54             16        46 marked for identification.)       17:00:40
   17   highlighted, Ohio, California and New York, 16:58:55             17   QUESTIONS BY MR. GOTTO:                           17:00:40
   18   which are the same states that SOM             16:58:56          18        Q. Exhibit 46 is a multipage         17:00:58
   19   highlighted."                        16:58:59                    19   e-mail thread beginning at Bates            17:01:00
   20            Do you know what Ms. Cardetti         16:59:00          20   MNK-T1_0000368477, and it's a several-page 17:01:06
   21   meant when she said those were the same           16:59:02       21   document.                           17:01:10
   22   states that SOM highlighted?                16:59:04             22            My only question for you         17:01:10
   23       A. I'm not clear, but it's         16:59:05                  23   concerns your e-mail to Ms. Lundergan on         17:01:11
   24   possible that there was a discussion during 16:59:08             24   February 9th, the very top e-mail on the      17:01:15
   25   an SOM meeting about those particular states. 16:59:09           25   second page.                         17:01:23

                                                              Page 335                                                       Page 337
    1        Q.    Okay. Was Ms. Cardetti part of      16:59:13           1       A. Okay.                        17:01:59
    2 the SOM committee or any subcommittee?                  16:59:18    2       Q. In your e-mail -- well, first, 17:02:00
    3        A.    She was part of pulling data      16:59:19             3   the e-mail thread concerns resuming shipments 17:02:04
    4 for the meetings, for some of the meetings         16:59:24         4   to KeySource, correct?                   17:02:07
    5 early on. She was the one that helped with        16:59:27          5       A. Correct.                     17:02:08
    6 some of the analytics --                    16:59:29                6       Q. And this is in February            17:02:09
    7        Q.    Okay.                   16:59:34                       7   of 2011.                           17:02:12
    8        A.    -- along with Kate Neely.        16:59:34              8            On February 8th, Ms. Lundergan 17:02:12
    9        Q.    Okay. And you've testified        16:59:36             9   asks you if you agree with the resumption, 17:02:20
   10 about an indirect purchaser subcommittee of            16:59:37    10   and you say, "Yes, Karen Harper said we can 17:02:22
   11 the SOM committee.                           16:59:39              11   ship all of our approved distributors because 17:02:25
   12             Who else was on that            16:59:40               12   they performed the audits, and the           17:02:26
   13 subcommittee; can you recall?                  16:59:45            13   distributors complied with our requests. We 17:02:28
   14        A.    I don't remember.              16:59:45               14   are cutting off the suspicious pharmacies." 17:02:32
   15        Q.    You don't remember anyone at        16:59:46          15            What did you mean by that when 17:02:34
   16 all?                               16:59:47                        16   you said, "we are cutting off the suspicious 17:02:38
   17        A.    No, I don't remember who was in      16:59:47         17   pharmacies"?                          17:02:39
   18 that. It would have been people like the         16:59:49          18       A. That probably refers to where         17:02:40
   19 Carol that was mentioned because she was in a 16:59:52             19   we had pharmacies that were ordering from         17:02:42
   20 chargeback contract admin team, and so she             16:59:55    20   more than one distributor, and we were         17:02:45
   21 would have known about chargebacks.                16:59:58        21   uncomfortable with them buying from multiple 17:02:48
   22        Q.    Okay. Do you recall there        16:59:59             22   distributors, and so we wouldn't allow        17:02:50
   23 being a time when the SOM function was moved              17:00:00 23   chargebacks anymore.                      17:02:52
   24 to a group known as CDIG?                      17:00:02            24            So basically we didn't cut off 17:02:52
   25             MR. O'CONNOR: Objection to            17:00:05         25   the pharmacies; we cut off the payment          17:02:54

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    1 mechanism for the wholesaler/distributor to         17:02:56       1 MNK-T1_0000557439.                             17:06:03
    2   get their money back.                    17:02:58                2            If you can take -- this appears 17:06:10
    3       Q. Okay. And when you said "they 17:02:59                    3   to be an October 2010 compilation of            17:06:11
    4   performed the audits and the distributors       17:03:04         4   information regarding oxy 15 and 30 sales?        17:06:14
    5   complied with our requests," who is the         17:03:06         5            Do you recognize this document? 17:06:19
    6   "they" you're referring to in that sentence? 17:03:09            6       A. I recognize the content, yes.        17:06:22
    7       A. Karen Harper and the SOM team. 17:03:10                   7       Q. Okay. And again, similar to           17:06:24
    8       Q. Okay. Okay. You can put that 17:03:13                     8   the Exhibit 47 we just looked at, is this     17:06:26
    9   aside.                            17:03:16                       9   data that you or someone on your team            17:06:30
   10            (Mallinckrodt-Collier Exhibit      17:03:17            10   participated in compiling?                 17:06:33
   11       47 marked for identification.)         17:03:18             11       A. It appears it would be.            17:06:34
   12   QUESTIONS BY MR. GOTTO:                            17:03:18     12       Q. Okay. And again, any insight           17:06:36
   13       Q. Exhibit 48 {sic} is a multipage 17:03:52                 13   into the reason for the compilation of this 17:06:41
   14   document beginning at Bates                  17:03:58           14   data?                              17:06:43
   15   MNK-T1_0000273249, and it appears to be a            17:04:05   15       A. I'm not sure why we were              17:06:44
   16   spreadsheet that compiles information           17:04:07        16   running this data on a regular basis, but it 17:06:49
   17   concerning oxy 15 and 30 gross sales in         17:04:10        17   was to understand who was selling most of our 17:06:51
   18   January 2011 time frame.                   17:04:17             18   product.                            17:06:54
   19            Do you recognize this document? 17:04:18               19            MR. GOTTO: Okay. I have no            17:07:02
   20       A. I recognize the content, yes.       17:04:21             20       further questions. Thank you for your 17:07:02
   21       Q. Okay. Is it a document that          17:04:24            21       time.                          17:07:04
   22   you had involvement in preparing?              17:04:27         22            THE WITNESS: Okay. Thank you. 17:07:04
   23       A. Not that I recollect.            17:04:29                23            MR. O'CONNOR: I have no               17:07:06
   24       Q. Okay. Or anyone on your team? 17:04:31                   24       questions.                      17:07:07
   25       A. Someone on my team might have             17:04:33       25            MR. GOTTO: All right.              17:07:07

                                                          Page 339                                                          Page 341
    1 done this.                            17:04:35                     1           VIDEOGRAPHER: We are going off 17:07:08
    2        Q. Okay. Do you know the purpose 17:04:36                   2      the record at 5:07 p m.           17:07:10
    3   of compiling this data back in early 2011?       17:04:37        3     (Deposition concluded at 5:07 p.m.)     17:07:11
    4        A. Just to understand, this might 17:04:42                  4            –––––––
    5   have been part of removing it from their VIP 17:04:45            5
    6   programs and understand what each of the          17:04:48       6
    7   wholesalers were purchasing.                 17:04:50            7
    8        Q. Okay. And the column A on the 17:04:51                   8
    9   first page, sold via parent/customer name,      17:05:02         9
   10   what does that phrase mean, "parent/customer 17:05:05           10
   11   name," in this context?                  17:05:10               11
   12        A. That's our customer that we          17:05:11           12
   13   sold to, so it pulls the -- someone pulled    17:05:14          13
   14   the chargeback data by who it was shipped         17:05:16      14
   15   through.                            17:05:18                    15
   16        Q. Okay. Okay. You can set that 17:05:19                   16
   17   aside.                            17:05:23                      17
   18        A. Okay.                        17:05:32                   18
   19            (Mallinckrodt-Collier Exhibit      17:05:32            19
   20        48 marked for identification.)        17:05:32             20
   21   QUESTIONS BY MR. GOTTO:                            17:05:32     21
   22        Q. Okay. So to correct, the prior 17:05:51                 22
   23   document was Exhibit 47.                    17:05:56            23
   24            This is Exhibit 48, which was a 17:05:57               24
   25   document produced native under Bates             17:06:01       25


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                                                                           Review
                                             Page 342                                                 Page 344
    1             CERTIFICATE                            1        ACKNOWLEDGMENT OF DEPONENT
    2                                                    2
    3           I, CARRIE A. CAMPBELL, Registered        3
        Diplomate Reporter, Certified Realtime
    4   Reporter and Certified Shorthand Reporter, do    4            I,______________________, do
        hereby certify that prior to the commencement        hereby certify that I have read the foregoing
    5   of the examination, Ginger Collier was duly      5   pages and that the same is a correct
        sworn by me to testify to the truth, the             transcription of the answers given by me to
    6   whole truth and nothing but the truth.
    7           I DO FURTHER CERTIFY that the            6   the questions therein propounded, except for
        foregoing is a verbatim transcript of the            the corrections or changes in form or
    8   testimony as taken stenographically by and       7   substance, if any, noted in the attached
        before me at the time, place and on the date         Errata Sheet.
    9   hereinbefore set forth, to the best of my
        ability.                                         8
   10                                                    9
                I DO FURTHER CERTIFY that I am          10
   11   neither a relative nor employee nor attorney    11
        nor counsel of any of the parties to this
   12   action, and that I am neither a relative nor    12   ________________________________________
        employee of such attorney or counsel, and            Ginger Collier   DATE
   13   that I am not financially interested in the     13
        action.                                         14
   14
   15                                                   15   Subscribed and sworn to before me this
   16                                                   16   _______ day of _______________, 20 _____.
           ____________________________                 17   My commission expires: _______________
   17      CARRIE A. CAMPBELL,
           NCRA Registered Diplomate Reporter           18
   18      Certified Realtime Reporter                  19   Notary Public
           Notary Public                                20
   19      Dated: January 14, 2019                      21
   20
   21                                                   22
   22                                                   23
   23
                                                        24
   24
   25                                                   25

                                             Page 343                                                 Page 345
    1         INSTRUCTIONS TO WITNESS                    1          –––––––
    2                                                                 ERRATA
    3           Please read your deposition over         2          –––––––
    4   carefully and make any necessary corrections.    3   PAGE LINE CHANGE/REASON
    5   You should state the reason in the               4   ____ ____ _____________________________
    6   appropriate space on the errata sheet for any    5   ____ ____ _____________________________
    7   corrections that are made.
                                                         6   ____ ____ _____________________________
    8           After doing so, please sign the
                                                         7   ____ ____ _____________________________
    9   errata sheet and date it. You are signing
                                                         8   ____ ____ _____________________________
                                                         9   ____ ____ _____________________________
   10   same subject to the changes you have noted on   10   ____ ____ _____________________________
   11   the errata sheet, which will be attached to     11   ____ ____ _____________________________
   12   your deposition.                                12   ____ ____ _____________________________
   13           It is imperative that you return        13   ____ ____ _____________________________
   14   the original errata sheet to the deposing       14   ____ ____ _____________________________
   15   attorney within thirty (30) days of receipt     15   ____ ____ _____________________________
   16   of the deposition transcript by you. If you     16   ____ ____ _____________________________
   17   fail to do so, the deposition transcript may    17   ____ ____ _____________________________
   18   be deemed to be accurate and may be used in     18   ____ ____ _____________________________
   19   court.                                          19   ____ ____ _____________________________
   20                                                   20   ____ ____ _____________________________
   21                                                   21   ____ ____ _____________________________
   22                                                   22   ____ ____ _____________________________
   23                                                   23   ____ ____ _____________________________
   24                                                   24   ____ ____ _____________________________
   25                                                   25


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